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                                                                                                                   1




 1                                                REPORTERS         RECORD

 2                                          VOLUME       66   OF   75      VOLUMES

 3                                     TRIAL      COURT       CAUSE     NO.      F45059


 4                         COURT       OF    CRIMINAL         APPEALS           NO.    AP-76768

 5   STATE       OF    TEXAS                                               IN    THE       DISTRICT      COURT


 6   VS.                                                                   JOHNSON          COUNTY       TEXAS


 7

     MARK     ANTHONY            SOLIZ                                     413TH       JUDICIAL         DISTRICT
 8




 ----------------------------------------------------------9

10
                                                         EXHIBITS
11


----------------------------------------------------------12

13

                                  I
                        Pamela K. Waits  Official Court Reporter
14   in    and    for 413th District Court of Johnson County
                            the
     Texas do hereby certify that the following exhibits
15   constitute  true and complete duplicates   of the original
     exhibits   excluding physical evidence    offered into
16   evidence  during  the Trial  in the above-entitled and
     numbered          cause          as    set    out    hereinbefore                the Honorable
17   William          Bosworth Jr. Judge
                      C.                                              of    the       413th District
     Court       of Johnson County Texas.
18
                                 WITNESS          MY   OFFICIAL HAND                  on   this   the
19

     day    of                                       2013.
20


21
                                            Pamel     Waits
                                                         K.                 Texas          CSR   4991
22                     FILED      IN        Expiration Date                     12/31/13
                                                     Court Reporter
           COURT OF CRIMINAL APPLEAfllicia1
23                                          413th  Judicial District
                                            Johnson County Texas
                      JAN   22    2013
                                                    Buffalo Avenue
                                                                                             ý
24                                          204 S.

                                            Cleburne          Texas        76033
25               Abel Acosta           Glerý8   17     556-6041
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                                                                                             2




 1                                      EXHIBIT     INDEX
                                         VOLUME     66
 2   DEFENSE
     EXHIBIT
 3

     NO.     DESCRIPTION                                             OFFER ADMIT   VOL.
 4

     64-1A   Business     Records/CPS                                    71   72        52

 5            Pages   298     -   420   only
              Pages   1   -   297   contained     in Vol.      65

 6

     64-1B   Business     Records/CPS                                    71   72        52

 7            Pages   421     -   595   only
              Pages   596     -   850   contained     in    Vol.    67

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                                 TEXAS DEPARTMENT OF FAMILY AND PROTECTIVE SERVICES




 COMMISSIONER

 Anne   Heiligenstein




 My     name       is             12J14ri                  ýaS                                              Please              print

 On      lyýitý4
                         ý 12010                  Licensing                   the   Childcare
 Division               bf
                       Departmentthe    Texas
                                  of Family and Protective  Services
 DFPS sought permission to interview the following child or
 children during an investigation of a_childcare operation




        mnirre
 W      /01   t
                                 0kXPA-eA                     -vice       a    ýý              aJ    ýwwo        ýanc2


 My     relationship                    with        these    children          is   as       follows


                                                                                                                        l   ms
 Although               the       above-identified.               child/children                   is/are    not    in care of
 the     childcare                 operation            the investigator                     seeks    to    interview    the
 child/children                        in     an    effort to find information                        relevant          to        the
 investigation                     of       the     childcare    operation.   I understand that I do
 not     have  give to                      DFPS        permission to interview  the above-identified
 child/children.                            But     I    understand       that      in       the   event     that           I    do    not
 give DFPS such                        permission            DFPS     may      seek      a    court    order       to           conduct
 an interview.




 interview-the
 INITIAL          as         appropriate

              I  GIVE permission for the                                       DFPS      investigator          to
         above-identified child/children.


                         I       DO NOT       GIVE        permission for the DFPS                     investigator                    to
 interview              the        above-identified              child/children.




                                                                                                             S                    c20O
Signature                    f    Verson           who    provided     or      refused         consent                            Date




Name       add      Signature                 of        Investi   a           who   sought          consent                       Date




                                                                    298
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      DRIVING RECORD STATEMENT-Foster                                                                                                                                                       Parent


   Date                                                                                                             Foster Patent                 Name
                                                                                                                                                               ZL hl Y                                          ý         1
                                                                                                                                                                                                                                      5

   Foster         Parents Drivers                        License           Nwnbcr                                                                       Date        of   Bwth_                  11




   I         _   a kA                n J                     en                                                       understand that


             A.         It    is    necessary         to have use          of driving          skills     in   order to perform the job for                    which          I   am   currently          employed.

             B.         My         safe driving record                   must    be maintained            in    order to remain            employed          in
                                                                                                                                                                   my     current capacity.


             C.                                                                         the course        of business              must     maintain        minimum                             insurance as requi                     by              law.
                                   drive   my personal              vehicle
                        If    1                                                   in                                          I                                                    liability                                                   state


  It   is   with the              acknowledgment                   and    understanding            of the Standards               listed   below        that   I   hereby          attest   that     I   have     had                                  tickets      which

  involved             accidents           within       the    last      three years.

                                                                                                     be terminated from my current                                                                                                    also understand
       understand that if                  my driving record is outside the Company Standards   will                                        I                                                                      position.      I                                 that   if   a
  I



  drivers             license        check   meal a driving record that differs from what is reported here   will be terminated.                                    I




                       Foster Parent                                                                                                                    Date




                                                  Signature                                                                                             Date
                       Supervisors




                                                                                 Ufellne Children                                   Family Servieee Ihivine Standards


            A.        All         Foster Parents             who    drive a Llfellne Cltlldren                    A   Family Services                   vehicle         or    their    own      vehicle       in   the course         and      scope     of employment

                      must meet             certain driving record standards                             as defined        by      vehicle insurance requirements.                              Prospective             Foster Parents           who do        not meet

                      these         standards         will    not    be    eligible for         employment            with Lifeline             Children           A Family            Services          Minimum          Statrdarids           for   employment
                       I.          All drivers        must be            19 years old as         of last       birthday      and must have               a valid        Texas        Drivers License.

                      2.           Drivers       19 to       22 and under           may have no more                  than   one        traffic      violations.

                      3.           Drivers       23 and       over       may have no more                 than    two     traffic    violations         or   one        accident        and one          traffic   violation      during         the three year

                                   period.       ending      at    the date      of     the application.

                      4.          All   drives        using personal              vehicles       in     the course ofbusiness                   must    maintain             minimum            liability       insurance as required                  by   state   law.

            B.        Foster Parents found                                                                                                           controlled         substances
                                                               driving under the influence of non-prescribed                                                                                or alcohol            will be subject to immediate

            C.        discharge            see       policy    on        Discharge.

            D.        All     drivers      who        are    at fault      in   any     accident        while operating             a Lifeline Children                  A        Famiiv       Services vehicle               may be       subject to immediate

            E.        termination.

         F.           Foster Parents                 who have more               than    two     traffic       violations     in    any    three year period during                         the course        of his     or her       employment              may    be

                      transferred          to another          job       not    reequiring      that     Foster Parent to drive                 if   such    a position exists                 and       the Foster Parent            is   eligible     see      policy     on

                      Internal Applicant.                     If   no    position        is   available        the Foster Parent            may be          subject to termination.




                             A 11   prospective              Foster       Parents       must     a provide          proofof insurance                   If the Job for which they                        are applying          requires        them     to drive their

                       personal            vehicle      on.   company            business        and      b sign      a    release        of drivers         records          form      at the time          of application for employment.                          At that

                            time     and     twice     each year of employment.                          Foster Parents             must     also      attest      that his or her driving record                         is   accurate         as reflected        on the

                                                                                               release         form and      is    in   compliance             with      Company            standards.




                                                                                                                             DRIVING WAIVER

                  I    have         been     advised         that    I   am     not permitted            to drive     company            vehicles        trader         any   circumstances               until    such       time as      I   have

                              A.        obtained        a valid          and    current       Texas      Drivers      License

                              B.        have      an acceptable             driving record              within     company          standards

                              C.        have      personal          vehicle       insurance        if    used    on company             business

                              D.        have                 dad    the regional          office        with proof      of same
                                                 pro


                                                 S                                                                                                    Witness-Si



                       .                     t   eta          N             S       j   ImS
                  Printed           Name of Foster                 Parent                                                                                                Date




Driving          Record             Statement-10/04




                                                                                                                                            299
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        NFSQUýARTERL                                                  FOSxTERIOM.                                     REVI               -1W

      Sims ZahiraLicensedDFW                                          Home         Intake

      Homes MIS ID 179
      Home Name Last Name                                        Father       and Mother                 Sims         Zahira


      Home Address                          Physical              address             2805      Briar    Hill     Drive


      City           Grand            Prairie


      State                TX

      Zip             75052.

      Phone            972-641-7892

      Licensed                        Licensed

     Office                 DFW
     License           Number                876136-3730

     LCFS Case Manager                                Assigned           to    Home                  Moten Yolanda

     Foster          Home Closed                            No

 Dateof Review                                                                          R
                                                                                                      IVA
                                                                                                                                4ý                                                     50
                                                                                                                                                                                                 1011




     Date       of    Review                                                  3/31/2010


     Type of          Visit                                                   Unannounced

     Next Due Date                                                            6/30/2010


     Name            of Foster Family                  Last                   Sims          Zahira


     Name                                  Mother
                                                                                                                                                            .
                     Father

                                                                                 uý1-4-              h       -
                                                                                                                  -                                  .                                  a   sa
                              RKMA REVIEW SINCI YT CENSURE                                                                                                                                                                                          ..
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        RNS            QUAfiTERLY
                      b.   o.   n   .vl. Ae . .iraw....                                                                nielir..                             -.i                         6rail.4     ý.                     ý..




     Only     fill    this       section         out   if   this is     the     first       quarterly review           since             the family             was   licensed.        It   is    not        necessary to                  fill




     this   section             out      on subsequent                 Quarterly Reviews.


     Document the familys strengths and needs                                                   in   regard       to   caring for the children
                                                                                                                                                                       in their       home

                                           eiww.                 ý
                                                                                              NýCEUCENSUREý
       aq.q

      ECOND QARýTERLý/I
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                                                 out                    the    second                             Review             since licensure.                 It   is   not   necessary to                           this     out
 Only                           section                     this Is                            Quarterly
                                                                                                                                                                                                                fill
             fill     this                             if



 when          doing            any subsequent                       reviews


 NC REASING NUM EB                                                    OF      CROM1         DREW         P             ED           IN     THEHOME
 This section                    to   be   filled      out    once the family has had children placed                                                through      LCFS          for at least            6 months or                   at      the

                                                             that time         frame.               does not need                   to   be        filled   out at    any other         time.
 quarterly review closest                              to                                      It




 The family demonstrates the                                              Yes




                                                                                                                                                                                ý-ý5
 ability       to     care          for   more than 2

 foster children                      in their    home

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Minimum                    Standards              Evaluated Appendix F-3200 and F-3300/G-3200 and G-3300

A.     CHANGES                      IN    THE                             None          this   quarter or the previous quarter.

PHYSICAL FACILITY

If    there          have been changes                           in       No
the physical                    facility     is   a    new
floor       plan       in       the file


Minimum Standards Evaluated F-1200.2 and 1200.3 F-1300/G-1200.2 and 1200.3 G-1300




                                                                                                                                                                                                                                 1    of 5

                                                                                                                      300
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          B.   CHANGES                 IN         FAMILY                              none

          STRUCTURE-all                               parties

       authorized by                   LCFS                  in


       compliance                 with       Minimum

       Standards
                  -xaragv
       DTR WlffibNEEDS
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       Date of Licensure                                                          6/15/2007


       Orientation Date                                                           5/15/2007



     .4dýF      ý.a   ý.k4ir.Mr...                                 ..aSi                c.
                                                                                                    fCý1.ýcýýýýýýr..                                                   ýýýFý                   ii    .ý
      See attached                 training             report       for        itemized       list   of   training for        the foster       father.




                                                        rin.
             of hours completed                         current                  0.00

      year


          of hours          needed                for   current                  0

     year


    YaFosýýter         Mother Trai

     See attached                 training              report       for    itemized         list     of   training for       the foster mother.


          of hours          completed                  for                       0

     current year


          of hours       needed               for       current                  0




                     O0-
     year


               INSPE                                    ETC.
     Pet inspections are                           due annually unless specified otherwise by the veterinarian.                                                  In   this      section       please       list



    specific          due dates               for      each pet            if   the    due dates are different.

    Pet Vaccinations                                                             NONE
    TB Tests            Include              all
                                                      biological family                members.             If   the family     has adopted             children      include      them here as                   well.


    Only        if   the adoption                     has been         finalized.            Do       not include         foster children.




    TB       tests    for   all
                                   family                                       All   family     members have TB                  test   on     file.



    members annual due
                       date
                                                                            I




    Background              Checks                    Include       due dates            for    foster father            and foster mother as well as any                        biological          or   adopted

    children 14          and       older.



    Updates           in Life      Books               for   all                Yes

    foster children               in   the            home
                      titvm xr.                                        a                        .e     wa                                                        id-n-n ýý-                           r


    F DRIVERS THAT TRANSPORTCI- iC                                                                                  N                                z.
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                                                                                                                 -s...                    ...
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    Current Drivers License                              and                    Yes

    good       driving record                 -       Foster

    Father

    Current Drivers License                              and                    Yes

good driving record                           -       Foster

Mother

Proof of insurance                           meeting                            Yes

TDPS            liability    requirements




                                                                                                                                                                                                            2 of5
                                                                                                                         301
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       Passenger                  restraints         which                        Yes

       meet the requirements of state




                                                                                                                                                                                     .ý
       law
                .

  G...G.ROUPýHOMESONLY
                              ..v        4sr.-..      .ja    .Kr                                                               r                                  j.f                             Z..ey            aý    l         tX.        l          K..       R.
    Y4U
  ýs.J   l                        ý1ý   t...          My.c               .Y           Kye.             Y                _Sfu..                                         a.                          2.             -h3          .   tiki           ý.ý              kýY.a   F.\-bii.
                                  vr.r.
                                                                                                                                                                                                                                     s
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                                                    Yý.ý.                                                                                                                                  ýra.
  ý-n.ý
       HfOSTER FAMILYNEEDSr
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         .. 3......d.w.                         t   YO..                                          b.               -ýýýi       h           3%4i.            ..

       Cite          all
                           non-compliances by referencing the appropriate Minimum Standard

       Previous Needs/Citations                             over                  A   corrective               action               plan     was            issued       on 12-1-09                 for           non-compliance regarding
   the     last            quarter                                                timely submission of end-of-month paperwork.                                                                      The foster parent successfully

                                                                                  adhered the corrective                                   action           plan.



   Stating                 Needs        This information                 comes from                     the         New                  Needs          section          of the previous                          Quarterly Review.                               Please

  note          if    the    need was resolved or unresolved.

  New           Needs/Citations                     from     this             Citations               were issued                         for   the following                   for    non-compliance of Minimum
  review                                                                      Standard

                                                                              1-5-10              MS       749.3109                      a
                                                                              3-5-10              MS       749.1421                      and 749.1401-TB                             was    not received                     in    a timely              manner

  Action              Plan                                                    1-5-10 Transportation                                       is to        be provided                   for   the youth               to    and from                  all   activities


                                                                              to      include school.                              Transportation                 is   to      be provided                    by the foster parent and/or

                                                                              a    CPS           or   agency authorized transporter.                                                  The youth                   may walk as                      long       as Ms.

                                                                              Sims          is    walking with them.                                   At   no time are the youth                                 to   be unseprvised

                                                                              becasue              of   their            age             behaviors            and LOC.

                                                                              3-5-10 Ms. Sims                                 will       have to submit                 to      Lifeline           all        medical              dental              and any

                                                                              other treatment services                                      documentation received                                        according                to    DFPS Minimum
                                                                              Standards.                 The youth                        is to        receive      health             services               in   accordance              to DPFS


                                                                              Minimum Standards.

 Stating              New Needs                  List   any                   none

 new needs found                         after


 completing                  this   quarterly

 review.              The family should be

 cited     if
                     they are out of

 compliance with any item.



 Follow-Up                  past and future                               CTK system was checked                                                Tuesday mornings                            for     the submission of                                  monthly
                                                                          documentation.




What       action            plan       must the family follow                          in       order to get                       in   compliance with                       all    Minimum Standards. Include                                              time

frames           for       when     the family              must complete or turn                                  in    necessary paperwork/trainings.

Include              what     LCFS             staff will    do     to   ensure that the family has or                                                 will   comply with the action                                   plan.




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                    Evaluation.Questians
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Has any family member been                                      involved               in    any       activity               that       would be             classified              as a felony or                     misdemeanor

against a               person or family or of public                                  indecency                   or         violation           of the         Texas           Controlled                   Substances                  Act            If
                                                                                                                                                                                                                                                              yes
explain.


Re      Appendix G-1300.4 and G-                                         No
1300.5




                                                                                                                                                                                                                                                          3 of 5
                                                                                                                                    302
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          self-medication
          Does the foster family continue                                       to follow             the standards with regards                              to       the medical       needs of the foster children

          Medications               given         by   foster         parents except                          when      the     child     is participating                    in   a medically     approved
                                                    medications given per instructions                                           on     bottle            and      in   the                                   a locked
                                program                                                                                                                                       original    container      in


          storage           area refrigerated medications                                        in      a container separate from                            food disposed of when the                   child     leaves    the

          home         or    meds       are out of          date psychotropic                                 medications are properly administered                                      and documented with the

         foster        parents signatures on the form.                                              If   no     explain.


         Re       Appendix F-2500/G-2500                                           Yes

         Have         the foster parents followed                                emergency procedures per agency                                              policy           If   no   explain.


         Re       Appendix F-4100/G-4100                                          yes

         Is   a   copy       of the license            on display                  in       the     home
         Re       Appendix F-4200.3/G-                                            yes
         4200.3

     Are there any items on the Foster Family                                                            File   Checklist           that are not              in       compliance
     If    so      please        list   and delineate the plan of correction.

     Re           2200.7 and            8    2320 2420                           no

     2421 Appendix G-2100.2
     Appendix F-3300/G-3300

     Is    the composition                   of   the foster               home             consistent with verification


     Re           Appendix F-1200.5/G-                                           yes
     1200.5

    List      any          conflicts    of interests                e.g.         different               types of care           that are conflicting                         staff/space    conflicting       children

    acting as               staff   etc.



    Re        Appendix G-1300.4                        and G-                    none

    1300.5

    If    child       is   placed       with

    Primary Medical                     Needs see Appendix H
    Habilitative              needs see Appendix                            I




    Autistic-like              needs see Appendix K



 Additional                 Appendices                                          none


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ýý-rrvrSPýk                     waOyGýGY3ýfi-                                                                                                                 Yr         ýr-ýirkýth.tOvir3
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ýAddlýt            gna t-Inforýnation                                                           w                                     3ý
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    Include           any     trainings       needed              as       indicated                by low scores              in   the   competency                          section.




                                                                                                                                                                          týýý
 Foster            Familys comments                                                                      on                               Review
                                              .                                                               w
                                                           to     anything               listed                 this   Quarterly

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Supports relationships with                                                 Always

biological family                   members

Connects children                       to                                 Always

relationships designed                            to   last


a    lifetime



Meets             developmental needs                                      Always
and addresses developmental

delays


          ks      as a membero                                                   ways

professional                  team




                                                                                                                                                                                                                     4of5
                                                                                                                               303
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 Supports     the   cultural            needs of          Always
 children    in   the   home

 Implements and follows Safe                              Always
 Touch procedures
      dxý
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 Signature/Title/Date                                    X                                         AA        2-3/-b
Signature/Title/Date                                     X

Quarterly    Review           Is   Complete

Upon    finishing       of   this   Quarterly            Yes

Review      please indicate                  that   it




is
     thoroughly    complete by

clicking    Yes.

Case Manager Completing                                  Moten Yolanda
Quarterly Review


Reviewing     Supervisor                                 Turner    Traneika




                                                                                                                 5 of   5
                                                                                304
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 Pages   233 through   255 redacted   for the   following    reasons




                                                        ----------------------------305
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    The incident     you are being                      On 12-05--10                       the       foster   parent                 called          to   inform            Lifeline      staff that        Quorbin


    cited   for    the date of                          Riddle       had not             arrive       home          with the other school                                   children.          She immediately

    occurrence                                          called     911         to   file    a missing              report.             Ms.       Sims           left       the    home and searched                         the

                                                                                           Ms.       Sims went                 to    the school             to     check           for   the youth.              The youth
                                                    neighborhood.

                                                    was brought back                            to   school         by a neighborhood                                  parent.          After    locating        the

                                                                                                                                          t__                                                     LIJ                 .
                                                                                                                                                                           UL_                   G                          QI IvJ
                                                                                                              1I_A
                                                                                                        I.         VU                                     lOI
                                                                                                                                                                       I




                                                    yVULI      1   U IG       IVLCI        FJO V-IIt          11         ill        F UIwC3      iV             cal          Ic   I1IiJJII Ig        IDU   i
                                                                                                                                                                                                               VVVI    I.




                                                    to    inform          Lifeline staff of his location.                                       No    police           report       was issued because                           the


                                                   police          never           came         out    to   the     home.



                                                   It    was not approved                        by the treatment team nor written                                                 in   the treatment plan

                                                   that the youth                   are allowed               to    walk             to   and from school.



                                                   Due      to their               age     behaviors               and LOC                 it   is    recommended by the                             Lifeline


                                                   treatment              team        that       the youth              in     Ms.        Sims home not be allowed                                   to    walk       to    and

                                                   from school.




                                                Transportation                      is     to   be provided                    for    the youth             to    and from               all   activities        to


                                                include            school.          Transportation                      is     to    be provided                  by the           foster      parent          and/or        a

                                               CPS          or     agency            authorized transporter.

                                               The youth may walk                                as long as Ms. Sims                                 is   walking           with     them.        At      no time are

                                               the youth                 to   be unsupervised because                                       of   their      age             behaviors           and LOC.


A   copy of   this letter   will   be placed   in       your     file.        If
                                                                                   you have a grievance                                please             refer        to the grievance                procedure


explained     In   your Foster     Parent Handbook                  under           Foster           Adopt         Parent Rights.


Sincerely     Name     and Title               Yolanda             Y.     Moten MA

CC    Ricky   Walter   LCFS        Executive Director                     Foster Family File Regional                                           Director


Name    of Regional     Director               X                                                                                                                                                  L .
Foster Parent Signature                        x




                                                                                                                                                                                                           2of2

                                                                                                306
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          LCFS FOSTERnHOMERRECTIUE                                                                    ACd-RQ     P7NA
                                                                                                                    LA                                                              -




          Sims ZahiraLicensedDFW                       Home           Intake

         Homes MIS ID 179
         Home Name Last Name                        Father       and Mother              Sims      Zahira

         Home Address             Physical          address 2805 Briar                   Hill    Drive

         City     Grand       Prairie


         State          TX

         Zip     75052
        Phone          972-641-7892

        Licensed              Licensed

        Office          DFW
        License        Number     876136-3730

        LCFS Case Manager Assigned                         to    Home               Moten Yolanda
        Foster    Home Closed                  No
          4II.Jý.                                                       ..ý     ý
                                                             rýeryý3Yx.T..-at.r4.R7    -f.
                                                                                      ý.-.     ýyt
                                                                                                                                               ý-.r.ýSx..ý.rrc                  -
                                                                                                                                                                                         .                 s.-.ý.r.ý.
                                                                                                                                                                                                                      y
             Plan                 ýýnryyl.tijp
                                 Vdý.a



                                                                       /ýý
                                                                      ld.3ý ý.ck xýKySýs .1ýýýtli
                                                                                                                       Yý-7at

        Actlon                        t-5TY1rýýrý1
                                         ýrD                                                  t                                                    r.
                                                                                                                                                _faýn_
                                                                                                                                                       f3_ýýq
                                                                                                                                                          JLRR.i.ý..ýý
                                                                                                                                                                                                             rýrx
        7..p.7                                                                                                                                                                                  t.Y   . ýfý1ý.I.sý7i...J.



        Foster   Home Name Last                              Sims       Zahira

        Name     Father        Mother

    Date of Plan                                             1/5/2010


    Worker        writing/overseeing            this        Yolanda       Moten

    plan




    Incidents      preceding       plan of                  The youth        in     Ms. Sims home were allowed                                  to   walk   home    without                  prior    approval

   correction                                               from the treatment                 team CPS      or    written                as apart of the treatment                           plan.        While

                                                            in   route Quorbin Riddle walked down the wrong                                             street    talking        to       companions
                                                            therefore     he did not            arrive   home. The youth was returned                                     to   the school                  by a

                                                            neighborhood            parent       who knew        Ms.       Sims as                well.     Ms.   Sims called 911                          and

                                                            reported     him missing. She then searched                                        the   neighborhood and returned                                 to


                                                           the school.         It   was       there   she located          and secured                    the youth       in    her possession.


   Corrective          Plan                                Due    to their     age       behaviors       and LOC                it   Is    recommended by                 the           Lifeline


                                                           treatment      team       that       the youth   in   Ms.       Sims home not be allowed                                     to   walk      to      and

                                                           from school.




                                                           Transportation           is   to   be provided        for   the youth                 to   and from      all    activities            to


                                                           include     school.      Transportation          is to      be provided                    by the    foster         parent          and/or          a

                                                       CPS        or   agency        authorized transporter.




                                                       The youth may walk as long as Ms. Sims                                             is
                                                                                                                                               accompanying them.                         At   no time

                                                       are the youth           to    be unsupervised because                               of   their   age     behaviors                and LOC.


 Collective            Actlon-Plan.            Signature          s

 Worker        Completing Form                         Moten          Yolanda

Foster      Parents                                    X

Agency         Staff                                   X                                                                         2

Supervisor                                             X

Child    Placement Management                          X
Staff




                                                                                                                                                                                                1     of   2

                                                                                                307
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  This   Corrective Action    Plan    is      -Ato   ýS   -




  complete

  Clicking   Yes   verifies   that   this   corrective        action   plan   is
                                                                                   thoroughly   complete.




                                                                                                                        2of2

                                                                         308
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                                                                                                                                               Case Name                  RlddleMichelle                      R
                                                                                                                                                         Case             28219515
                                                                                                                                          Childs          Name            Michael            Rex                    DOB             10/1912005
                                                                                                                                                                          Riddle




                                                                       Common                    Application                    for Placement of Children                                           In

                                                                                                                    Residential                   Care


                                                                                                               LEVEL      OF CARE ASSESSMENT
                                                                                                                         A. Screening       Profile




                We Name                                                                           ate of       Birth
                                                                                                                                                   ge                     Security         Number
           ichael              Rex        Riddle                                                 1019/2005                                                        39-98-0209



                                                              icish
          ex                  Ethnidly                                              nary Language                       Place of    Birth   city        state    country                           hinds    Agency           ID   Number
          4orb            lothite         non-His                                                                         Texas                                                                       47526
          eight                                              sigh       ellgious       Preference                                   hinds Current          Locadon        or Placement
                0     in
                                                                                                                                          current       placement
           fl
                                                                                                                                                                          to

                 ntry          of Citizenship

          S     Citizen


                     Briefly describe                      your Impressions                  of the    child    Including       present     problems.
                     Michael               Rex     appears      to   enjoy playing with toy cars                  and    having    a   good    time.     Michael      Rex   Is   a   fun   child    that enjoys singing. playing
                     games and                   being a     kid.    Michael        Rex      enjoys jokes       and    laughing. Michael           Rex    can throw              which      can    include                               kicking
                                                                                                                                                                          fits                                 hitting        spitting
                     and bttfng.                 Michael     Rex     tends     to   curse     when he        gets     upset    Michael    Rex has         sexually acted          outdry humping                  and   oral      sex with    his

                     siblings             and foster        sibling.




                     Briefy describe the childs                              strengths
                     Michael Rex ban Incredibly                              likeable
                                                                                           young      man who         responds well       to   praise     and    approval        from   adults.




     2.                         clan      Needs       Problems          and Behaviors



                                                                                                                                                                                                            ý
                          a                       tiered a
                              child      cons                 danger         to                                   s    child   considered      a   danger       to                                          umber runaways              from
                                                                                      es
                          elf                                                                                       hers                                                    es             ito                  0
                              mbar runaways                 from     placement           0                                                y history of          setting   fires


                                    ai   P rog ram        Needs
                              temily                                                reparation        for   Adult Living
                                                     ites                                                                                                  B6                                        Fes


 3.                  Juvenile              Justice        History

                     Does           the             have     a history of involvement with the juvenile                                   system                                                   Yes            No
                                           child
                                                                                                                                justice                                                                                      a    Unknown
                                                                                                                                                                                                                         -




                                             bar of       referrals    to   juvenile                    umber       of adjudications                                 Number      of adjudications
                                                                                                                                            for                                                             for   CINS               urrent

                Fes                       tho4Itee

                                                                                                      Jdelinquent
                                                                                                                        acts                                         Menses
                                                                                                                                                                                                                                  rAmse


 4.              Pfaeem.nt                   History
                 Has           the       child    been  placed away               from     home before           Do not include stopover
                 placements such                      as emergency                shelters      detention        TYC Reception Center                                                                                    -




                 informal                placements with relatives                   or

                 s
                                                                                             return

                              to   home                                                                                                                                                            Yes            No              Unknown

                     If
                          Yes Number                 of                See    current         placement             Number        of failed         See    current        placement                LOC      of currentfmost
                     previous                                          log                                          adoption                        tog                                            recent                                    Baste
                          out-of-tame                                                                               placements                                                                     out-of-home          placement
                     placements

                     Date of discharge from                             eason        for     Discharge
                     wool                                             request        of Foster         Home      and
                          outof-home
                               nt                                            cement Agency
                     lacement
                               cemnt placement
                to




5.              Substance                   Abuse          History




                If   yes            indicate degree of substance                     abuse                                                                                                          Yes           No         ý    Unknown




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                                                                                                                                                                                                                                 Page    1




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                                                                            Case Name       RiddleMichelle            R
                                                                                 Case       28219515
                                                                       Childs        Name   Michael Rex                   DOB     10/1912005

                                                                                            Riddle



                                    Common       Application      for Placement         of Children            in

                                                            Residential      Care


           cohol                                                        nhalants

      Unknown              None         MUd    Moderate      Severe         nknown      None          Mild          Moderate      Severe
           caine/Cradc                                                        Juana

       nknown              None         Mild   Moderate      Severe     Unknown         None          Mk            Moderate      Severe
      Other Drugs        Specify


                                                                                                        Mild         Moderate      Severe

      Is   specialized program     required

      Yes          No         Unknown
                                                                                                 it
                                                                                                      yes speaty




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                                                                      310
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                                                                                                                                    Case Name                     RIddleMlchelle                     R
                                                                                                                                              Case         0      28219515

                                                                                                                                 Childs          Name             Michael Rex                               DOB        1011912005

                                                                                                                                                                  Riddle




                                                                Common              Application                        for Placement                        of Children                     In

                                                                                                         Residential                      Care




 6.
          History of                   Abuse           and    Neglect      SEE    SECTION            B
              Does             the   child      have        a history of   abuse   or   neglect
                                                                                                                                                                                                       Yes       No_      Unknown_


         1f     yes. indicate                   degreePhysiCý                                                                     tSentual



               nknown                               None           Mild           Moderate                     severe            IUnknown                    None                  Mild            Moderate            Severe


              Emotional                                                                                                              eglect

                                                                                                                                                      r      None
              Unknown                               None           Mild           Moderate                     Severe                nknown                                        Mild            Moderate            Severe


          Abandonment
                                                                                                                                                                                           Yes             No         Unknown




 7.-8.   Faro                  /Parental            Involvement

               e0al Status                   TMC       as of 5/11/2009

                    1

                        family/others                participate    in   treatment or                    an    child    return   home
              cooperate                with      others
                                                                    Yes             No               IYes-Permanently                           No-Not      At   All               For    Visits   Only              Unknown




 9.      Education

               lgheat            Grade Completed                                         Enrolled        in     School            Educational          Needs
                                                                           jCurrently


                                                                           Itee           No      V                                Regular Classes                                        Vocational                 Resource

                                of    Truancy                                                                                                                                                                    On Campus
               istory                                                                                                                                Other                  Special Education
                                                                                                                                                                       I




               as                     No                Unknown                                                                                specify

                                                                                                                                     ate of     Most      Recent       10 Test             Name      of Test
              IQ    Scones              Frill       Scale        Verbal     Performance


                                                                                    Unknown




 10.     Physical                    Health/Dlsabifitles


         Does             the        child      have    a diagnosed or suspected health                    condition       or disability                                                   Yes             No         Unknown

         If   yes. describe the condition                           and    treatment     required.        If
                                                                                                               any


                         itlon                                                                    verity                                                                      squires Specialized Treatment


                    to                  Chronic                   Unknown                                            Moderate         -

                                                                                                                                            Severe                          JYes            No              Unknown
                                                                                           IMId

                                                                                                 nknown          i




              ist   Current Medications                                                                                               ist   Allergies




                                                                                                                                                                                                       t
 11.     Mental                Health


         Does            the         child      have    mental health       needs    requiring treatment                                                                                   Yes             No         Unknown
                                                                                                                         ...........................................


         Data           of      most       recent psychological or psychiatric evaluation                                                                                                                                       OQ/01


         DSM             III    Diagnosis




                         tion                                                                   overity                                                                     equires Specialized Treatment




                                                                                                                                                                           F
                    to                  Chronic                   Unknown                        d              Moderate                    Severe                                         No              Unknown




              spoxft-es
                                                                                                nknown

                                       c medications                                       If
                                                                                                 yam

                                      No        /      Unknown

         Referring Agency/Organization                                                           ency Contact            Person                                            Telephone
                                                                                                                                                                                            No. Inc.       AIC




Texas Department                                      Of Family and                Protective                  Services                                                                                              Page 3 of 21


                                                                                                                             311
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                                                                                          Case Name        Riddle Michelle R

                                                                                                  Case     28219515

                                                                                         Childs   Name     Michael Rex          DOB    1011912005

                                                                                                           Riddle




                                  Common            Application                     for Placement        of Children     in

                                                                    Residential             Care


      PS                                                   ustin        Climer                               kW     812-4127

       en      Address

     715   E CALIFORNIA GAINESVILLE            TX   7 6240-4    1   89

       me     of Person Completing      Form           fritie                                                Date   Completed
       stin   Climer                                   JCPS         S    ecIallst   It




           era Placed-Facility   Name   and Location

            current   placement   log




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                                                                                         312
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                                                                                                                      Case        Name              RiddleMichelle R

                                                                                                                                Case        9      28219515

                                                                                                                 Childs           Name             Michael Rex         DOB     1011912005

                                                                                                                                                   Riddle




                                              Common                    Application                      for Placement of Children                               In

                                                                                          Residential                    Care



 A.
           Recommended            level of care                                                                                                                               Moderate




       List   the key elements.          in   order of Importance                that   led   you   to   the   recommended              Level    of Care



       1.   Most important
       Midiael  Rex has sexually               acted    out    dry humping              with    his siblings       and foster        siblings.




       2.   Next    most     important.
       NSchael      Rex has       occasional        tantrums which           can be      physical        in   nature.



       3.   Third    most Important
       Michael      Rex    needs     oonstant       supervision.


      Other       considerations          or   comments            if
                                                                        any

                                                                                                                                                                                 Basic
       Billing Level of          Care
                                        ......................................................................................................................




      If   the   billing   level of care       Is   different      from      the    recommended                level of     care       explain

      Change        in   level   of care has     bean     requested         to   moderate




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                                                                                                               313
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                                                                                                                                Case        Name               RlddieMichelle                         R
                                                                                                                                         Case         -        28219515

                                                                                                                           Childs           Name               Michael             Rex                    DOB          1011912005

                                                                                                                                                               Riddle




                                                          Common                    Application                     for Placement of Children                                              in

                                                                                                        Residential                Care



  C.      Referral/Admissions                       Packet




                                                                                                             CONTENTS
      SECTION          1--Social and             Developmental               Assessment                 SECTION 5-Substance                 Abuse        History       SECTION             9-Education

      SECTION          2-Special          Needs Problems                     and Behaviors              SECTION       8-History       of Abuse/Neglect                 SECTION             10--Physical HeatUJDisabil                    Was
      SECTION          3-Juvenlle          Justice History                                              SECTION       7-Family History                                 SECTION             I1--Mental      Health

      SECTION 4-Placement                       History                                                 SECTION       8-Financial        Information                   SECTION             12-Other       Attachments




  SECTION             1-Social          and Developmental Assessment
  Describe the childs                         social and developmental history.
                                        general                                                               Feel    free to   expend       the desutption             of your impressions of the                  child.     Be      sure       to

  -i   iude    all    of the following

 A.      A description                  of the    circumstances                that      led to    the childs         referral

         Michael         Rex was           in   a home         that   was     physically abusive.




 B.      The         Imrnsdlste          and     long-range            goals       ofplacement
         Immediate goals of placement are                                a   safe   and stable home             for   Michael     Rex.      long-range goals of placement would                           be    a   permanent
         home          with   parents           kinship    home        or faster        home.



 C.      A    description of the childs                         relationship with other significant adults                             and       children.



         Rexs         parents are Quentin                  and    Michelle Riddle.           They were          married     for six
                                                                                                                                       years       and   were      legally        divorced      on    3/31/2009.      Mr.     Riddle         is


         employed             in   maintenance            at   lake     Wows.        Ms.    Riddle      Is   employed     at   Shooters          Bar and       Grill   In   Oak        Ridge.   Mr.   Riddle appears              to   have
         a problem with anger and physically disciplining his children excessively. Ms. Riddle was physically assaulted by Mr. Riddle and left.

         Ms. Riddle allowed her children to remain in the care of Mr. Riddle. Ms. Riddle did not work services with FBSS. Mr. Riddle has two

         assault charges.                 Mr.    Riddle     and       Ms. Riddle         have no substance abuse history. Rex                         has an older brother. Quorbin                       and   an older sister

         Skylar.        He    is   bonded        and      attached       to his     siblings.
                                                                                               The maternal aunt and maternal                         grandparents                have    expressed the desire               to   tare       for


         the     children.         The    paternal        grandmother              has   also expressed an            Interest.    The      paternal grandmother sees the children                             on   a regular

         basis.       The     maternal grandmother stated she                             has     not   seen    the children since          December           2008.




 0.      A    description of the chlkrs                         behavior           Including       both       appropriate       and    Inappropriate             behavior.

         Rex         appears       to   be doing well           In his   placement           He    has       been   cursing     and   spitting.     He    Is   being        out   in   time-out on a regular basis.                    The
         foster parent             is   working with           Rex on        his   behavior       and    establishing     rules.      Rex   is    attending      play therapy             for   his behavior.       Rex   Is      placed
         with his siblings




 E.      The         childs developmental history and current                                     level of functioning.

         Michael         Rexs development seems to be on target.                                    he has      no major       functional        difftuftas.




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                                                                                                                         314
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                                                                                                 Case      Name          RlddleMlchelle             R
                                                                                                           Case   S      28219515

                                                                                                Childs     Name          Mkhael Rex                       DOB    10119/2005

                                                                                                                         Rlddte




                                          Common            Application            for Placement of Children                                  in

                                                                        Residential                  Care



 SECTION     2-Special          Needs Probisms and Behsvlors
 Describe   in detail   the    special   needs problems       or behaviors   Identified    in   Section 2 of the Screening        Profile.




 A.   Suicide        history.   Describe    In detail    suicide   attempts and    suicidal gestures.          Include     the   number      of suicide   attempts and   the

      date of the       fast   known     suicide   attempt.
      None



 8.   History of assaultlve          behsvtor.

      Hitting   of   siblings/adults     when   upset.




 C.   Runaway         history.
      None



 D.   Other significant   needs problems and behaviors including                           setting   fires    maternity.    etc..
      Alchael    Rex has been sexually acting out by dry humping his                      siblings   and   foster siblings.




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  Pages   266 through   279 redacted   for the   following    reasons




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Page     1    Document   Name     unti    d

                                         SSMS     CLIENT    INFORMATION


 L.IENT       NBR508092037                         SSN452872368            BIRTH DATE01-27-82

 NAMESAENZSOLIZ      MARK                     A    SEXMALE                ORIG   EFF DT12-18-91
 ADDRESS5200 S BUCKNER  BLVD                       ETHNICHISPANIC          OLD   CL
 CITYDALLAS                                        MARITLNA                COUNTY057
 STATETX           ZIP75227                        CHARCTED


                                         SSMS     PLACEMENT    HISTORY
LINE02
NAMESOLIZ                       DONNA         RESIDENCEBUCKNER  BAPTIST CHILDR
 ID    NBR508092036                           ADDRESS5200 S BUCKNER  BLVD

 PERM    PLANFAM REUNIFICATION                CITYDALLAS
ARE/OTHER EXCHANGENA                          STATETX
LIVING ARRANGEMENT21                          ZIP75227
 HOW    PROVIDED10                            COUNTY057
 TRACKING       BJN03154C02                   PLACEMENT11-27-95
 FACILITY255282
                                         SSMS     LEGAL    HISTORY
                 1                                         2                                 3
 LEGALMC/PR        NOT   TERM             LEGALDHR            TERM
                                                           RSPNS                 LEGALOTH   LEGL BASIS
 STATUS       DATE11-28-95                STATUS     DATE11-27-95                STATUS   DATE02-17-94

 LEGAL       COUNTY220                    LEGAL     COUNTYJPC                    LEGAL    COUNTYJPC




Date     4/19/96     Time   91420AM                            317
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                                             11




                                FOSTER            CARE    MEDICAID               ELIGIBILITY             CHECKLISIWA


  HILDS     NAME                                   L
 NOTE     CHILD       MUST    BE CANRISED          AND   ON   SSMS        BEFORE        ELIGIBILITY          CAN PUT       THEM      ON FOSTER           CARE

 The  following forms must              be   submitted  to the                   Eligibility/Accounting                   Unit      within      5    days       of
 placement for each child              in    substitute care


 INITIAL        PLACEMENT           REMOVAL

         Form 2646       Placement          Information--1                  copy    to     Bookkeeping


                Submit        the    following             as     a   packet              to   Eligibility                at      removal

          Form 2200A--Foster             Care       Assistance            Application

          Copy    of.   Original      Petition           with date          filed       indicated


          Copy of       Court    Order designating                PRS       as   Managing         Conservator


          Copy of childs Birth Certificate or BC ordered through accounting                                                          or   Evaluative
          Conclusion completed and signed by supervisor on the 2200A.

          Childs        Social      Security        Number       or   a     copy    of     the    Form SS5

          Form 2001-A          FACTS     FORM.

          Childs Level           of Care          Report
                                                                                                         V    VV
         Level    of     Care    approval          from Youth         for Tomorrow               for   Levels      of     2 3 4 5            or      6




dTJBSEOUENTPLACEMENTS

        Form 2646       Placement        Information--1                   copy     to Bookkeeping             and     1   to      Eligibility


        Form 2001B--FACTS


        Childs Level           of Care       Report---Only             if    different           from previous            placements            LOC


        Level    of    Care   approval        from       Youth    for       Tomorrow           for Levels      of    2 3 4 5               or    6

                                                         ---Only if          different           from previous            placements            LOC


ADOPTIVE        PLACEMENTS

        Form 2646       Placement        Information--i                   copy     to     Bookkeeping         and    1    to      Eligibility


        Form 2001B--FACTS


DISCHARGE        FROM        SUBSTITUTE            CARE

        Form 2646       Placement        Information--1                   copy     to     Bookkeeping         and    1    to      Eligibility


        Form 2001B--FACTS




                                     IF YOU

                 BRENT DAHL           817/534-1002       x403 Reviews            LOCs FACTS            Inquiry and    problem cases
                         SHIRLEY DOMINY               817/534-1002          x343 Applications          FACTS   and Inquiry

                  TAMMIE JACKSON                  817/534-1002    x421      Billing       FACTS    Inquiry and      problem cases


                         PLEASE RE11JRN      TO     ELIGIBILITY       MC31ýg       2700   BEN AVE Fr     WORTH       TX   76103
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         irr
                 Case
                 2.-.
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                                                                                                                     YOUTH FOR TOMORROW                                                                                                                                                                               Al
                                                                 UTILIZATION                                    REVIEW AND REAUTHORIZATION                                                                                                   SERVICE                                 FORM


                                     Date Completed                                    12/14/1998

                                    To            Laura Flores                        CPSS                Tarrant             Co.         CPS                                                 From             L.     Trevino                        LMSW-ACP                                  Reviewer




                                    Subject

                                             Childs   Name                                                                                                                                      Medicaid        0                                           CAPS        Identifier




                                             Mark     A.       Saenz              e710 L                                                                                                        508092037

                                             Placement                                                                                                                                          Date Admitted                                               Reviev        Date


                                             NSR      -    Contreras Ther.                      Foster              Home                                                                        09/17/1998                                                  12/11/1998



                                                                                                                                                INDICATORS

               Needs            Services                  Safety       and Security Needs/Behavioral                                                   Management                               Services

                     1                       1            Age    appropriate               behaviors             in   all   areas.         Responds                  to         normal         discipline.            No        aggression                      or   self abuse.


                     2                       2            Infrequent             minor      aggressive              behavior..            Responds                  to supplemental                       discipline             and        modifies                 inappropriate behavior.


                 31                          3            Verbally      aggressive              behaviors                  with   minor             incidents              of     physical           aggression/self                     abuse.                 Responds              to behavioral


                     4                       4                                        of                                                        injurious behavior.                             Responds              to verbal/behavioral                                     interventions.                                         in
                                                          Frequent          acts           physical          aggression/self                                                                                                                                                                                   Participates


                     5                       5                                         severe                                                                      injurious behavior.                         Requires               24 hour supervision                                     physical          and/or        medical
                                                          Unpredictable                                   physical aggression/self


                     6                       6            Imminent danger                   to self        and      others.       Requires                 maximum                       staffing      and         secure            setting.          Requires                 24 hour                 intervention          until




               Needs            Services                  Medical Needs/Medical                                   Services

                     1                       1            Requires          routine         medical          care.


                 2                           2            No more           than       minor medical conditions                                 follow-up within                              a routine        home environment.

                 31                          3            On-going          medical          follow-up              required        due          to     instability                of         mood     behavior                 or physical                     condition.


                 4                           4            Monthly monitoring by                            a physician            due       to      instability                 of       mood        behavior              or physical                      condition.


                 5                           5            Requires          frequent         medical             interventions                due       to erratic conditions                             which           require stabilization.


                 6                           6            Life   threatening               conditions requiring                     physicians                      orders for                 PRN        medications                  or special                    interventions.                     May      require         24 hour



               Needs Services                             Socialization                Needs/Recreation                           Services

                     1                       1            Situational            and   age-appropriate                     problem              solving             and         social        skills      in   all    social          settings.

                                                                                                                                                                                                                                                                         limit                           of social      norms and
                 2                           2            Requires      occasional              guidance              to assist          with age-appropriate                                  problem solving                         social           skills                       testing


                 31                          3            Develops          independence                   in   a   variety       of      settings.                Requires                frequent        guidance                  for reinforcement                            of pro-social                 behaviors.


                 4                           4            Limited      social          and problem-solving                        skills.           Requires                planned             activities           to    increase                  social         skills       and      eliminate anti-social


                                                          Unable                                            or choose                                              social         behaviors.              Focus on                                   issues          and        internalization                 of    pro-social
                     5                       5                         to    problem          solve                               appropriate                                                                                    safety

                                                                                                                                                                                                                                                                                of awareness                    of               and
                 6                           6            Unable       to participate                in social         functions.               Demonstrates                         high       risk behaviors                   that       reflect a lack                                                           safety




               Needs            Services                  Education Needs/Education                                         Services

                     1                       1            Maintains          satisfactory                 academic          and    behavioral                      performance                   according                to   developmental                           level.


                     2                       2            No more           than       occasional            minor problems                         with      academic                    and/or       behavioral                performance.


                 31                                                                                                                                                                                                   academic                and/or                behavioral
                                                          Frequent minor problems
                                                                                                                                   occasional                      adult         interventions                 for                                                                            performance.
                                             3                                                                   requiring

                                                                                                                                                                                                                                                                                                              educational
                                                                                                                                                                                                requiring additional supervision or alternate                                                                                     setting
                 4                           4            Behavioral             problems            result in        impaired             school            performance

                                                                                                           behaviors which                                                                                                and                                   maximum                                          in    an     alternate
                 5                           5            Continuously                disruptive                                                can        affect           school            performance                             requires                                        supervision


                                             6            Behavior                                                one-on-one                                              and/or              modified          educational                  plan.
                     6                                                      problems           require                                     supervision




               Needs            Services                  Relationship                 Development Needs/Therapy                                                     Services

                                             1            Able   to    trust          form                                                      and                               function           as a part            of    the family                      unit.
                     1                                                                        positive relationships                                       actively


                     2                       2            Generally          able      to trust           and maintain            positive                 relationships while                         remaining                 in a family                     unit     with therapeutic                       intervention.



                 31                                                                                                                                                                                                                                                                                             intervention.
                                             3            Limited      ability         to   trust         and maintain             positiverelationships while                                         remaining                in a     family                 unit     with therapeutic


                                                                                                                                                                                                                                                                                          unit          or   alternative
                     4                       4            Moderate          difficulty         in         establishing trust                    forming              positive relationships. Functions                                                in.       family         type                                              setting.


                                                                                                                with others                                          be                                               external controls within                                       a therapeutic                   environment.
                     5                       5            Limited      ability         to    interact                                    to     trust or                        trusted.            Requires

                                                                                                                                                                      no evidence                         an                                                                     24 hour
                                                                                             interpersonal relationships with                                                                        of                          to     trust.
                                                                                                                                                                                                                                                        Requires                                        therapeutic
                     6                       6            Grossly      impaired                                                                                                                                    ability



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                              Utilization                      Review for Mario A. Saenz page 2



                                                                                                                        RISK INDICATORS

                                                              Suicide threat                   attempt                                                                     Self-abusive

                                                              Physical aggression                                                                                           Sexual acting       out

                                                      j       Substance              abu4e                                                                                  Destroys property

                                                              Runaway                                                                                                      Low FSIQ
                                                              Failed         placements                                                                                    Fire setting

                                     Other


                                                                                                                        RISK ASSESSMENT


                                          2 Minimal                                      X      3    Minor                              4 Moderate                              5 Severe                    6    Critical




                             COMMENTS
                             Mark was                         last   authorized                for      LOC       4 services from 8/1/98                        to    10/31/98.     He has a          history of periodic

                             substance                         abuse and aggression                               with multiple             runaways             in   1997 and past gang               affiliation.        His   last


                             known             instance                  of inappropriate                       behavior           was     his   last      night      in   shelter care      on 9/16.      He became agitated

                             put a       shirt                around his neck and                              left    without       permission from 11pm to tam before coming                                        back      on his

                             own.        Since placement                                  in   the       home he has been                     mild mannered with improved social skills                                      improved

                                                                     and is more responsible.                                      He   continues           to take Adderall            and Serzone.             He   is   in   10th    grade

                                                                                                                                                                            F
                             relationships

                             special             education with mostly                                   good          to passing         grades and one                        currently      due to his not always

                                                               work.                                         from 10/30                          indicate occasional                                             mutual peer
                             completing                                       Daily notes                                          to 12/5                                        cursing teasing

                             threats                  arguing noncompliance                                      and horseplaying/hitting                        peers but he           is   able to follow          the routine with


                             prompts                      and has had no incidents.                                    He     is   noted    to   have some days with no complaints                               of   any kind and

                             was on home                             visit     with       no concerns                   noted 11/25-11/29.                      He    requires    structure       support and counseling

                             available                        as needed.                 Should other concerns arise please forward documentation                                                       for review.             This    UR
                             authorizes                        services            prior to the                review date to extend services                               as the previous authorization                   had expired.



                             If   the    PRS                   caseworker has any questions                                        or additional           information          regarding       this   re-authorization            of


                             treatment services please contact the                                                           YFT     office      at       817     640-2833 within 10 days.                  If   there     are    no

                             questions                        or additional               information                  this   re-authorization                  of services      will   be forwarded            to   PRS     State


                             Office.



                                                                                                                        REAUTHORIZATION

                                                          X         Continue              in   current setting                                                             Continue     at   current    LOC
                                                                    Placement                  in   a    less     restrictive           setting                  X         Decrease to Level of Care 3

                                                                    Placement                  in   a more             restrictive       setting                           Increase to       Level of Care



                             Please contact Youth for Tomorrow                                                          at   817        640-2833           if   you have        any questions.          Thank         you.



                             Re-authorization                             of services                   is   effective         November            1       1998       and the expiration date             is     December          31
                             1999.




                             L.   Trevino                      LMSW-ACP                      Clinical           Healthcare              Consultant




                             Approved                          L.    Trevino             LMSW-ACP


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                                                     YOUTH FOR TOMORROW
             UTILIZATION                        REVIEW AND REAUTHORIZATION                                                        SERVICE       FORM

   Date Completed                          07/27/1998


   To   Laura Flores                     CPSS   Tarrant      Co.   CPS                                 From            Emily Rowland      Reviewer



   Subject
                                                                                                                       0
     Chi     Name                                                                                        Medicaid



     Mark        A.   Saeni                                                                                 508092037

     Placement                i                                                                             Data   Admitted            Review   Dam.



     Desert      Hills        of       Texas                                                                12/05/1997                 07/21/1998




                 NEEDS                                                     INDICATORS                                                  SERVICES

                                                MILIEU       AND BEHAVIORAL                        MANAGEMENT
                          J        1           Normal routine home environment
                                  2            Minimal supervision             with guidance                                                                2       -




                                  3            Structure     and supervised                                                                                 3

                      X
                                                                                      setting

                                  4            24   hr.   awake supervision           as needed                                                X    1.      4

                                  5            24   hr.   awake    staff   limited access                                                                   5

                                  6            Constant supervision             maximum           staffing                                          1       6



                                                                               MEDICAL
                                   I           Routine     medical    and dental services                                                                   1           -




                          J       2            Routine     medical-and         dental    services                                                           2

                                  3            Medical      and dental services             medications                                                     3


                      X           4            Chronic      stable   medical         care   medications                                         X   1       4

                                  5            24   hr.   on-call medical        and psychiatric             care                                           5

                                  6            24   hr.   nursing care     -   expanded treatment                  plan                                     6


                                                                           RECREATION
                                   1           Parental     supervision        for activities      and       leisure       time                             1



                                  2            Structured     activities       and   leisure      time                                                      2

                                                                                and                time

                                                                                                                                                X
                                  3            Supervised      recreation               leisure                                                             3


                      X   J       4            Therapeutic        designed      recreation        and    leisure       time                                 4

                                   5           Individual therapeutic            recreation       plan
                                                                                                             -   IDT                                        5

                                  6            Stabilization       goals with        maximum           staffing                                     J       6


                                                                           EDUCATION
                                               Appropriate educational               services                                                               1
                                   1



                                   2           Appropriate educational               and    related      services                                           2




                 X
                                   3           Formal      liaison   and coordination             of   services                                     J       3


                                   4           Therapeutic        designed      adaptive educational                  program                   X       1   4

                                   5            Services coordinated           with treatment            plan limited                                   1   5


                                   6            Constant     supervision        with    maximum             staffing                                        6



                                                                               THERAPY
                                   1            Routine     home     environment                                                                                I



                                                Within milieu and provided                  by TDPRS
                                   2                                                                                                                            2
                          J



                  ----3                         Forma beha-vioial              egn          and
                                                                                            an         erapy       PRN                     r            i
                                                                                                                                                                3


                      X            4            Formalized therapeutic               services                                               XI                  4

                                                Treatment                      review supervise                  IDT                                            5
                                   5                           develop                                       -                                          1




                                   6                                                                                                                            6
                                                Expanded treatment plan designed                       to    stabilize




                                                                                      321
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   Utilization               Review          for   Mark A. Saenz page 2



                                                                                      RISK INDICATORS

                             Suicide         threat     attempt                                                                      Self-abusive

                 X       J   Physical         aggression                                                                             Sexual acting out

                             Substance abuse                                                                                         Destroys property

                             Runaway                                                                                                 Low FSIQ
                             Failed placements                                                                                  l    Fire   setting                            -




             Other


                                                                                      RISK ASSESSMENT


             J       2   Minimal                          l    3   Minor                  X    1    4    Moderate                      l    5 Severe                               6   Critical




   COMMENTS

   According to the records provided                                       to   YFT     during          this on-site   utilization          review Marks needs can now be met with

   LOC           4   services.          It   was noted he             is   attempting          to   change his         attitude      and behavior and he                  is   beginning          to   make a

   positive              and constructive               contribution             to his    peer culture.             Mark      has   been physically aggressive                          and he required

   restraint             on one occasion.                 Adderall          and Serzone are prescribed.



   If   the      PRS         caseworker            has    any questions or additional information regarding                                       this       re-authorization of treatment

   services please contact                          the       YFT     office      at   817         640-2833        within   10      days.    If   there are       no questions or additional

   information                   this   re-authorization of                     services    will        be forwarded      to   PRS     State      Office.




   RECOMMENDED                                     PLACEMENT

        1.   Buckner                 Chld. Fam.               Svcs.    Dallas          214     321-4543

        2.   Texas Bapt. Home                       for       Chld. Waxahachie                 972         937-1321

        3.   Therapeutic                Family Life Arlington                         817      265-2328

        4.   For Childrens                   Sake Hurst             817          268-2060

        5.   Presby.             Chld.s Svcs. Waxahachie                          972         937-1319



   The       suggested providers are intended                                    as   recommendations               and do not        constitute         a    referral.    Bed space information

   is   supplied to                  YFT     by   the providers.                This information            does not imply            an    immediate admission nor guarantee                           that


   the provider                  will   accept the            child.




                                                                                      REAUTHORIZATION

                             X   l   Continue in current                   setting                                                   Continue      at    current     LOC               services


                                     Placement          in a       less restrictive setting                               X          Decrease      to    Level     of   Care 4
                                     Placement          in a       more     restrictive setting                                 l    Increase      to   Level of     Care



   Please contact                    Youth        for   Tomorrow            at    817      640-2833           if   you have any questions.                   Thank you.



   Re-authorization of services                                is effective           August       1 1998 and         the expiration date               is   October      31           1998.




   Emily Rowland Clinical Health                                      Care Consultant




   Approved                  Emily Rowland




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                                                     YOUTH FOR TOMORROW
               UTILIZATION REVIEW AND REAUTHORIZATION                                                                 SERVICE FORM


    Date Completed                  04/23/1998


    To   Laura Flores             CPSS   Tarrant      Co. CPS                                From            T.   White   MEd LCDC           Reviewer



    Subject

      Qhi1ds   Name                                                                               Medicaid 0


      Mark     A.   Saenz                                                                         508092037
      PlacanaS                                                                                    Date   Admitted            Rcview   Date


      Desert Hills of           Texas                                                             12/05/1997                 04/22/1998




                 NEEDS                                               INDICATORS                                              SERVICES

                                         MILIEU AND BEHAVIORAL                            MANAGEMENT
                            1
                                        Normal routine home environment                                                                      I



                            2           Minimal supervision             with guidance                                                        2

                            3           Structure     and supervised           setting                                                       3


                            4           24   hr.   awake    supervision        as   needed                                                   4

                    X   1   5           24   hr.   awake    staff   limited access                                                           5


                        1   6           Constant supervision             maximum          staffing                                           6



                                                                        MEDICAL
                            1           Routine     medical     and dental services                                                          I



                            2           Routine     medical     and dental services                                                          2

                            3           Medical      and dental services medications                                                         3

                            4           Chronic                medical
                                                     stable                   care medications                                               4

                    X   1   5           24   hr.   on-call medical        and psychiatric          care                           X          5


                        1   6           24   hr.   nursing care     -
                                                                        expanded treatment plan                                              6



                                                                    RECREATION
                            1           Parental     supervision        for activities    and      leisure     time                          1



                            2           Structured     activities       and   leisure    time                                                2

                            3           Supervised recreation            and    leisure   time                                               3


                            4           Therapeutic        designed recreation           and    leisure      time                            4

                 X      1   5           Individual therapeutic           recreation       plan     -   IDT                                   5

                        1   6           Stabilization      goals with         maximum      staffing                                          6



                                                                    EDUCATION
                            I           Appropriate educational               services                                                       I



                            2           Appropriate educational               and related services                                           2

                            3           Formal      liaison   and coordination           of services                                         3


                            4           Therapeutic        designed adaptive          educational                                            4
                                                                                                           program
                 X          5           Services coordinated            with treatment         plan       limited                 X    1     5

                            6           Constant supervision             with   maximum           staffing                                   6



                                                                        THERAPY
                            1           Routine     home      environment                                                                    1



                            2           Within milieu and provided                  by TDPRS                                                 2

                                        Formal behavioral           program and            erapy         PRN                                 3

                            4           Formalized therapeutic             services                                                          4

               X1           5           Treatment      develop       review supervise             -    IDT                                   5

                            6           Expanded       treatment        plan designed        to   stabilize                                  6




                                                                              323
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    Utilization         Review for Mark A. Saenz page 2



                                                                          RISK INDICATORS

                        Suicide      threat attempt                                                           X              Self-abusive

                                                                                                                             Sexual                     out
                        Physical      aggression                                                                                           acting


                        Substance abuse                                                                                 J   Destroys property

                        Runaway                                                                                             Low FSIQ

                   j
                        Failed placements                                                                                   Fire setting


           Other.



                                                                          RISK ASSESSMENT


               2   Minimal                           3   Minor                       J
                                                                                         4   Moderate                       X    1    5 Severe                          6   Critical




    COMMENTS
    Based on the information                  provided          during        this   on      site   review Mark continues                     to   present       at least     a moderate       risk   of


    harming        himself.          He   continues       to   twist his shirt collar                around      his    neck         to   the point      of becoming          dizzy.      He   is


    described          as extremely impulsive                and     disrespectful            to staff.     He     refuses therapy sessions although                             the 2/16    note


    indicated          he   is   having   dissociative         episodes.         He was         referred      to   the psychiatrist                who        suggested      a   trial   of Serzone.


    Mark       refused the          medication just            as   he has refused             to   take   Zoloft.          He   continues         to   require    24 hour supervision.

    Desert      Hills       is   currently in    a   state     of   transition       and      services      could not be             consistently         verified.




    If   the   PRS      caseworker        has any questions or additional information regarding                                              this    re-authorization of treatment


    services       please contact          the   YFT       office        at   817        640-2833         within 10         days.         If there      are   no questions or additional

    information              this   re-authorization of services                 will        be forwarded          to   PRS      State      Office.




                                                                          REAUTHORIZATION

                                 Continue in current            setting                                            X         Continue         at   current      LOC         5 services

                                 Placement    in a       less restrictive setting                                           Decrease          to   Level of      Care
                             J


                                 Placement    in     a more         restrictive setting                                      Increase        to    Level of      Care



    Please contact               Youth for Tomorrow                 at   817    640-2833             if   you have any           questions.             Thank you.



    Re-authorization of services                     is effective         May 1          1998       and the expiration date                  is   July   31     1998.




    T.   White         MEd LCDC            Clinical       Health         Care Consultant



   --ýRV-e
    Approved                T.   White    MEd LCDC




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                                                    YOUTH FOR TOMORROW
             UTILIZATION REVIEW                        AND REAUTHORIZATION                                               SERVICE          FORM

    Date     Completed           01/20/1998


   To      Laura Flores           CPSS      Tarrant    Co. CPS                             From          Janis    Lehman   LMSW           Reviewer


   Subject
     CMIda   Name                                                                                   Medicaid


     Mark A. Saenz                                                                                  508092037
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                                                                                                    Due   Admitted               Review   Dae

     Desert     Hills       of Texas                                                                12/05/1997                   0 1/19/1998




                NEEDS                                               INDICATORS                                               SERVICES

                                         MILIEU AND BEHAVIORAL                                    MANAGEMENT
                o           1          Normal       routine    home environment                                                           o     1



               o            2          Minimal      supervision          with guidance                                                    0     2
               o            3          Structure     and     supervised        setting                                                    o     3
               o        4              24   hr.   awake supervision             as   needed                                               0     4

                        5              24   hr.   awake     staff   limited access                                                        0     5
               o        6              Constant                           maximum staffing                                                0
                                                     supervision                                                                                6



                                                                         MEDICAL
               o            1          Routine      medical    and dental            services                                             0     1


               o        2              Routine     medical     and      dental       services                                             0     2

               o        3              Medical      and    dental                     medications          maintenance                    0
                                                                    services                                                                    3

                        4              Chronic      stable    medical         care     medications                                              4
                                                                                                            monitoring
               o        5              24   hr.   on-call medical         and psychiatric            care                                 0     5

               o        6              24   hr.   nursing care      -                      treatment       plan                           0     6
                                                                         expanded



                                                                    RECREATION
               o                       Parental                         for activities       and     leisure      time                    0
                        1
                                                    supervision                                                                                 1




               o        2              Structured     activities        and   leisure      time                                           0     2

               o        3              Supervised      recreation        and    leisure      time                                         0     3

               o        4                                                                   and                time                       0     4
                                       Therapeutic        designed       recreation                leisure


                        5              Individual therapeutic             recreation        plan
                                                                                                    -    IDT                                    5

               o        6              Stabilization       goals with         maximum                                                     0     6
                                                                                              staffing




                                                                     EDUCATION
               o        1              Appropriate educational                services                                                    0     1


               o        2              Appropriate educational                and     related     services                                0     2

               o        3              Formal      liaison   and coordination               of services                                   0     3

               o        4              Therapeutic        designed adaptive educational                      program                      0     4

                        5              Services coordinated             with treatment            plan limited access                           5

               0        6              Constant     supervision          with   maximum            staffing                               0     6



                                                                         THERAPY
               o        1              Routine     home      environment                                                                  0     1


               0    2                  Within     milieu andprovided                 by    TDPRS                                          0     2

               0        3              Formal behavioral.-program                    and    therapy       PRN                             0     3

               a    4                  Formalized therapeutic              services                                                       n     4

                        5              Treatment      develop review supervise.                      -   IDT                                    5

               0    6                                treatment                                                                            0
                                       Expanded                         plan designed         to   stabilize                                    6




                                                                                325
Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16                                                                                     Page 31 of 301 PageID 8464


                                                                                RISK INDICATORS


         Suicide       threat      attempt                                                           0        Self-abusive

         Physical        aggression                                                                  0        Sexual acting out

    0    Substance        abuse                                                                      0        Destroys    property
    o    Runaway                                                                                     0        Low FSIQ
    o    Failed      placements                                                                      0        Fire   Setting

    Other


                                                                             RISK ASSESSMENT

    0    2    Minimal                           0     3    Minor                                0   4 Moderate                              5 Severe                           0   6   Critical




   COMMENTS
   Mark        was admitted             to   this facility         on 12/5497.             Since     his      admission        there   have been          4 serious      incidents


    involving physical                 aggression           and    one incident            in   which he was placed on                 suicide     precaution.           He   ties his

   shirt      around     his   neck          and    pulls    it   tight    trying      to   make himself pass                  out.   He    remains       in   close supervision

   with       staff to   ensure         his safety.          He     continues         on    zoloft.




   If   the    PRS   caseworker               has
                                                     any questions              or   additional      information regarding                  this   re-authorization           of treatment

   services       please       contact         the   YFT          office   at   817         640-2833           within     10 days.     If   there    are no      questions or

   additional        information              this    re-authorization of services                        will       be forwarded      to   PRS    State       Office.



                                                                           REAUTHORIZATION

   o     Continue         in   current         setting

   o     Placement            in   a   less restrictive            setting

   0     Placement            in   a   more     restrictive setting




         Continue        at    current        LOC         5 services

   0     Decrease        to    Level of            Care

   0     Increase        to   Level      of Care



   Please      contact        Youth      for       Tomorrow          at    817       640-2833            if
                                                                                                               you have questions.           Thank you.




   Re-authorization                of services        is    effective        February           01   1998        and    the expiration date          is
                                                                                                                                                          April    30     1998.




   Janis      Lehman      LMSW                Clinical      Healthcare           Consultant




   App        ved      Janis       Lehman           LMSW




                                                                                                    326
    Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16                                                                    Page 32 of 301 PageID 8465
A




                                                 YOUTH FOR TOMORROW
               UTILIZATION                  REVIEW AND REAUTHORIZATION                                                           SERVICE          FORM

         Date Completed                11/21/1997
                                                                                                                                                                 DEC 0   1   FF7

         To   Laura Flores             CPSS      Tarrant    Co. CPS                        From T.                  White        MEd   LCDC       Reviewer



         Subject
          Childs   None                                                                                   Medicaid /



          Mark A. Saenz                                                                                508092037

          pmt                                                                                             Due      AQmitted              Review   Date



          Choices         Adolescent    Center                                                            10/27/1997                     11/18/1997




                      NEEDS                                              INDICATORS                                                      SERVICES


                                                 MILIEU AND BEHAVIORAL                               MANAGEMENT
                      o       1             Normal        routine   home environment                                                              0      1



                      o       2             Minimal       supervision        with guidance                                                        0      2

                      o       3             Structure      and supervised                                                                         0      3
                                                                                   setting

                      o       4             24    hr.   awake supervision           as   needed                                                   0      4

                              5             24    hr.   awake staff      limited      access                                                             5

                      o       6             Constant      supervision         maximum           staffing                                          0      6



                                                                              MEDICAL
                      o       1             Routine      medical    and      dental      services                                                 0      1



                      0       2             Routine      medical    and      dental      services                                                 0      2

                      o       3             Medical       and dental     services         medications               maintenance                   0      3

                      o                                                                                                                           0      4
                              4             Chronic       stable   medical         care medications                   monitoring

                              5             24    hr.   on-call medical        and psychiatric              care                                         5

                      o       6             24    hr.   nursing care     -
                                                                             expanded treatment                     plan
                                                                                                                                                  0      6




                                                                         RECREATION
                      o                     Parental                         for activities      and        leisure           time                0
                              1                           supervision                                                                                    1



                      o       2             Structured      activities       and   leisure     time                                               0      2

                      o       3             Supervised       recreation       and     leisure   time                                              0      3

                      o       4                               designed        recreation       and     leisure           time                     0      4
                                            Therapeutic

                              5             Individual      therapeutic        recreation       plan       -       IDT                                   5


                      o       6             Stabilization     goals with           maximum           staffing                                     0      6




                                                                             EDUCATION
                      o       1             Appropriate educational                services                                                       0          1



                          o                                                                                                                       0      2
                              2             Appropriate educational                and    related     services


                          o   3             Formal       liaison   and coordination             of   services                                     0          3


                          o                                                                                                                       0          4
                              4             Therapeutic       designed        adaptive educational                     program
                              5              Services coordinated            with treatment            plan limited access                                   5


                          o   6              Constant supervision             with    maximum                                                     0          6
                                                                                                          staffing




                                                                              THERAPY
                          o                  Routine      home     environment                                                                     0         1
                              1


                          o   2              Within milieu and provided                   by   TDPRS                                               0         2

                          o   3              Formal behavioral           program and therapy                        PRN                            0         3


                          o   4              Formalized therapeutic                services                                                        0         4

                              5              Treatment      develop review supervise                           -   IDT                                       5


                          0   6                             treatment                                      stabilize                               0         6
                                             Expanded                        plan designed           to




                                                                                   327
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                                                                           RISK INDICATORS


         Suicide        threat                                                                    0 Self-abusive
                                   attempt

    o    Physical        aggression
                                                                                                  0 Sexual         acting     out

         Substance        abuse                                                                   0    Destroys property

         Runaway                                                                                  0    Low FSIQ
    o                                                                                             o Fire
                                                                                                                                                                              -

         Failed placements                                                                                    Setting

   Other


                                                                           RISK ASSESSMENT

   o     2    Minimal                          0     3    Minor                             0     4 Moderate                               5 Severe                               0   6   Critical




   COMMENTS
   Based on the information provided                               for this      on   site   review         Mark was admitted               less      than     one month prior             to this


   review.         His history           includes         inhalant    abuse           truancy running          away and             stealing      a   car while       at   his last


   placement.            Since placement                 his shirts       with   collars        have been     removed from him because                           he   twists      them    in   an

   effort     to   asphyxiate          himself and get a              rush.            He    is
                                                                                                  reported    to    be   at   the second       grade          level   in   school

   although        he    is   enrolled      in     the 9th grade.



   If   the   PRS    caseworker            has      any questions or             additional           information regarding                this   re-authorization of treatment

   services please contact                    the    YFT        office at    817        640-2833           within 10 days.            If   there are          no questions or

   additional       information               this   re-authorization of               services will         be forwarded             to   PRS        State   Office.




                                                                          REAUTHORIZATION

         Continue         in   current        setting

   o     Placement            in   a   less restrictive setting


   o     Placement            in   a   more    restrictive         setting




         Continue         at   current        LOC         5 services

   o     Decrease         to   Level      of   Care

   o     Increase        to    Level     of   Care



   Please contact             Youth for Tomorrow                    at    817         640-2833        if   you have questions.               Thank you.




   Re-authorization of services                          is   effective    December             01    1997    and    the      expiration date            is   February      28        1998.




   T.   White       MEd LCDC                  Clinical         Healthcare        Consultant




   Approved              T.    White      MEd LCDC




                                                                                                  328
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                                                                                                                                                SGT   1
                                           YOUTH FOR TOMORROW
           UTILIZATION REVIEW AND REAUTHORIZATION                                                                   SERVICE     FORM

    Date Completed        09/29/1997


    To     Laura Flores   CPSS      Tarrant   Co. CPS                              From       Deborah              Lane Reviewer


    Subject
     aua    n.                                                                              ecma.a      r


     Mark A. Saenz                                                                          508092037

     pbacm                                                                                  n.. Adtuve                             o...



     Azleway Boys Ranch                                                                     03 /21    /     1997            09/ 15   /   1997




              NEEDS                                         INDICATORS                                                     SERVICES


                                 MILIEU AND BEHAVIORAL                                 MANAGEMENT
              o   1            Normal       routine    home environment                                                         0           1



              0   2            Minimal      supervision          with guidance                                                  0          2
              o   3            Structure    and     supervised          setting                                                 o          3

              0   4            24   hr.   awake     supervision          as   needed                                            0          4

                  5            24   hr.   awake     staff   limited       access                                                           5

              o   6            Constant supervision               maximum staffing                                              0          .

                                                                  MEDICAL
              o   1            Routine     medical and           dental       services                                          0           1


              o   2            Routine     medical and           dental       services                                          0          2

              o   3            Medical     and    dental     services          medications         maintenance                  0          3

              o   4            Chronic      stable    medical          care medications              monitoring                 0.         4

                  5            24   hr. on-call     medical        and psychiatric           care                                          5

              o   6            24   hr.   nursing    care    -   expanded treatment                plan                         0          6



                                                            RECREATION
              o   1            Parental supervision              for activities       and    leisure         time                0          1



              o   2            Structured     activities         and    leisure     time                                         0         2
              o   3            Supervised        recreation       and    leisure     time                                        0          3


              o   4            Therapeutic        designed        recreation        and     leisure         time                 0         4

                  5            Individual     therapeutic          recreation        plan    -    IDT                                       5

              o   6            Stabilization      goals with           maximum         staffing                                  0         6



                                                             EDUCATION
              o   1
                               Appropriate educational                  services                                                 0          1


              0   2            Appropriate educational
                                                                        and    related    services                               0          2

              o   3            Formal      liaison   and coordination               of services                                  0          3


              o   4                                                                educational                                   0          4
                               Therapeutic        designed adaptive                                   program
                  5            Services     coordinated          with treatment            plan      limited access                         5

              o   6            Constant     supervision           with    maximum staffing                                       0          6



                                                                  THERAPY
              0   1            Routine     home environment                                                                        0        1


              o   2            Within     milieu and        provided          by   TDPRS                                           0        2

              o   3            Formal behavioral            program and therapy                   PRN                              0        3

              o   4            Formalized therapeutic                  services                                                    0        4

                  5            Treatment      develop        review supervise                 -   IDT                                       5

              o   6            Expanded treatment                                                                                  o        6
                                                                 plan designed         to    stabilize




                                                                        329
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                                                                       RISK INDICATORS


    o                                                                                     0 Self-abusive
        Suicide     threat        attempt

    o                                                                                     0 Sexual            acting    out
        Physical     aggression

    o   Substance       abuse                                                             0    Destroys          property

    o Runaway                                                                             0 Low FSIQ

   o    Failed placements
                                                                                               Fire      Setting


   Other attempted arson


                                                                       RISK ASSESSMENT

                                                                                       0 4 Moderate                                                                o    6
   o    2   Minimal                           0   3    Minor                                                                         5 Severe                               Critical




   COMMENTS
                                                                                                                     harm                                 He was       readmitted
              on the information reviewed Mark presents a severe
   Based                                                                                                 risk   of            to self   and    others.


   to   this facility        after              arrested     and placed      in   juvenile          detention.        Current behavioral            problems      include
                                      being
                                                                            He                       monitored         for   substance        abuse and    gang                  He
   attempted        arson and oppositional                  behavior.             is   closely                                                                    activity.


   is   rendered individual therapy                                   and notes   state   he     is     trying   to   get kicked        out of   school.     Level 5
                                                        weekly

   services are authorized                to    provide      24 hour supervision              in    a   limited      access    setting.




                                                                                                                                                                  of treatment
   If   the   PRS   caseworker            has any questions             or additional         information regarding                  this re-authorization


   services please contact                 the    YFT      office at     817      640-2833            within     10 days.       If   there are     no questions or

   additional       information            this   re-authorization          of   services will           be forwarded          to    PRS   State   Office.




                                                                       REAUTHORIZATION

         Continue        in   current      setting

    o    Placement           in   a   less restrictive       setting

    0    Placement           in   a   more     restrictive setting




         Continue        at   current      LOC        S services

   .     Decrease       to    Level      of    Care

    0    Increase       to    Level of        Care



   Please contact            Youth      for    Tomorrow          at   817   640-2833           if    you have questions.                Thank you.




                                  of services                          October     01     1997          and   the expiration date          is   December      31    1997.
   Re-authorization                                   is effectiv




    Deborah     Lane          Clinical        Healthcare       Consultant




    Approved          Deborah           Lane




                                                                                         330
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                                               YOUTH FOR TOMORROW
                                          REVIEW AND REAUTHORIZATION                                                    SERVICE           FORM
                                                                                                                                                                   O
                    UTILIZATION                                                                                                                           Jr/t


          n   Date Completed         07/01/1997
 ý\   n   1



              To    Laura Flores     CPSS      Tarrant    Co. CPS                       From Tammy                   M..   Johnson    LMSW              Reviewer

01
              Subject


               Mark       A. Saenz                                                                 508092037

               P1
                      -
                                                                                                   Dab   AanLt   d                   Ravicw   Doc


               Azleway Boys Ranch                                                                  03/21/1997                        06/18/1997




                          NEEDS                                       INDICATORS                                                 SERVICES


                                            MILIEU AND BEHAVIORAL                               MANAGEMENT
                           o    1         Normal       routine    home environment                                                        0         1




                           o   2          Minimal      supervision        with guidance                                                   0         2

                          o     3         Structure      and supervised          setting                                                  0         3

                           o    4         24   hr.   awake supervision           as needed                                                0         4

                               5          24   hr.   awake    staff limited access                                                                  5

                           o   6          Constant supervision             maximum          staffing                                      0         6



                                                                           MEDICAL
                          o     1         Routine     medical     and dental services                                                     0         1




                               2          Routine     medical and         dental   services                                                         2

                          o    3          Medical     and    dental services medications                  maintenance                     0         3

                          o    4          Chronic      stable    medical        care medications           monitoring                     0         4

                          o    5          24   hr. on-call     medical      and psychiatric         care                                  0         5

                          o    6          24   hr.   nursing care
                                                                      -
                                                                          expanded treatment plan                                         0         6



                                                                    RECREATION
                          o     1         Parental supervision            for activities     and    leisure      time                     0         1


                          0    2          Structured     activities       and   leisure    time                                           0         2

                          o    3          Supervised      recreation       and    leisure    time                                         0         3

                          0    4          Therapeutic        designed      recreation       and   leisure      time                       0         4

                               5          Individual therapeutic           recreation       plan   -    IDT                                         5

                          o    6          Stabilization      goals with         maximum       staffing                                        0     6



                                                                      EDUCATION
                          o    1          Appropriate educational               services                                                      0     1


                          o    2          Appropriate educational               and   related     services                                    0     2

                          o    3          Formal      liaison   and coordination            of services                                       0     3

                          o    4          Therapeutic        designed adaptive          educational                                           0     4
                                                                                                            program
                               5          Services coordinated            with treatment          plan limited access                               5

                          o    6          Constant supervision            with     maximum         staffing
                                                                                                                                              0     6



                                                                           THERAPY
                          o    1          Routine     home environment                                                                        0     1


                          0    2          Within     milieu    and provided           by TDPRS                                                0     2

                          0    3          Formal behavioral         program and therapy                  PRN                                  0     3

                          o    4          Formalized therapeutic             services                                                         0     4

                               5          Treatment      develop      review          supervise     -    IDT                                        5

                          0    6                                                                                                              0     6
                                          Expanded treatment              plan designed       to stabilize




                                                                            331
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                                                                                  RISK INDICATORS

       o    Suicide      threat                                                                                 Self-abusive
                                        attempt

            Physical         aggression                                                                0        Sexual acting out

       o    Substance         abuse                                                                             Destroys      property

       o Runaway                                                                                       0 Low FSIQ
       o Failed placements                                                                             o        Fire Setting

       Other.



                                                                                 RISK ASSESSMENT

       o 2 Minimal                                     0     3   Minor                          0 4 Moderate                                  5 Severe                             0   6   Critical




      COMMENTS
      Mark       is
                      continuing               to   have     significant        problems       in    several areas of functioning.                   He   exhibits        unpredictable

      outbursts        of aggression mostly towards                             his     peers however has a history of                    also   being aggressive with                   adults.


      He    is   not currently taking                      any medications.              He    has   had        difficulty    in   school as he has        little    to   no respect

      for   authority.            Recently Mark has been demonstrating                                     self-inflicting         behavior    by choking            himself      to   become
cab                      He                     his                                                     he       becomes very red                          He
      alQis                       pulls               shirt      up   around     his    neck   until                                      in color.                 has been      observed

      doing      this   behavior               at least      twice     in the    last   few weeks.              Marks        behavior   presents a severe             risk   of   self   harm

      and therefore           requires              24 hour supervision               with     maximum             staff in    a structured     setting.




      If   the   PRS    caseworker                  has
                                                            any questions or additional information regarding                                 this   re-authorization             of treatment

      services please contact                         the    YFT office at 817 640-2833 within 10 days. If                                    there   are    no questions or
      additional        information                   this   re-authorization           of services         will     be forwarded        to   PRS    State    Office.




                                                                                REAUTHORIZATION

            Continue          in   current            setting

      0     Placement             in   a   less restrictive            setting

      o     Placement             in   a   more        restrictive setting




      40    Continue         at    current           LOC         5 services

      o     Decrease         to    Level            of Care
      o     Increase         to   Level         of Care


      Please contact              Youth for Tomorrow                      at    817      640-2833          if    you have questions.           Thank you.




      Re-authorization                 of services           is effective       July     01    1997 and the expiration dateis September 30 1997.




      lammy M.           J                 n   LMS               Clinical   Heal         Care Consultant




      Approv             Tammy Johnson                        LMSW




                                                                                                 332
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                                                     YOUTH FOR TOMORROW
                  UTILIZATION REVIEW AND REAUTHORIZATION                                                                 SERVICE     FORM

            Date Completed          01/10/1997
       r\


            To   Sandi McGuire        CPSS        Tarrant    Co.     CPS               From          Noel Huddleston         LPC      Reviewer



            Subject
Oý\          cm.   rý                                                                            baoa       i


             Mark A. Saenz                                                                       508092037

             Plimmrrt                                                                            D.ie   Admiued                R   icv Dsb


             Buckner Childrens Village        -   BCC                                            06/05/1996                   01/06/1997




                        NEEDS                                        INDICATORS                                               SERVICES


                                           MILIEU AND BEHAVIORAL                             MANAGEMENT
                        o   1            Normal       routine    home      environment                                                0      1



                        o   2            Minimal supervision             with guidance                                                0      2

                        o   3            Structure    and supervised         setting                                                  0      3
                        o   4            24   hr.   awake    supervision        as needed                                                    4

                            5            24   hr.   awake    staff   limited     access                                               0      5

                        o   6            Constant supervision             maximum         staffing                                    0      6



                                                                          MEDICAL
                            1            Routine     medical     and dental services
                        o   2            Routine     medical     and dental services                                                  0      2

                        o   3            Medical      and dental services medications                    maintenance                  0      3


                        o   4            Chronic      stable    medical      care medications             monitoring                  0      4
                        0   5            24   hr. on-call    medical       and psychiatric        care                                0      5

                        o   6            24   hr.   nursing care     -
                                                                         expanded treatment              plan                         0      6



                                                                     RECREATION
                        o   1            Parental     supervision        for activities    and    leisure         time                0      1


                        o   2            Structured     activities    and    leisure    time                                          0      2

                        o   .            Supervised     recreation        and   leisure   time                                        0      3


                        0   4            Therapeutic        designed      recreation    and    leisure          time                         4

                            5            Individual therapeutic           recreation      plan   -    IDT                             0      5

                        o   6            Stabilization      goals with      maximum          staffing
                                                                                                                                      0      6



                                                                      EDUCATION
                        0   1            Appropriate educational             services                                                 0      1



                        o   2            Appropriate educational             and   related    services                                0      2

                        o   3            Formal      liaison   and coordination         of   services                                 0      3


                        o   4            Therapeutic        designed      adaptive educational             program                           4

                            5            Services coordinated            with treatment       plan limited access                     0      5

                        o   6            Constant supervision            with   maximum          staffing                             0      6



                                                                          THERAPY
                        o   1            Routine     home environment                                                                 0      1


                        o   2            Within milieu and provided                by TDPRS                                           0      2

                        o   3            Formal behavioral           program and therapy                PRN                           0      3


                        o   4            Formalized therapeutic             services                                                         4

                            5            Treatment      develop       review       supervise      -     IDT                           0      5

                        o   6            Expanded treatment           plan designed          to stabilize                             0      6




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                                                                                   RISK INDICATORS

      o    Suicide         threat     attempt                                                          0     Self-abusive

           Physical         aggression
                                                                                                       0     Sexual acting    out

      o    Substance            abuse                                                                       Destroys     property

           Runaway                                                                                     0 Low FSIQ
      o    Failed placements                                                                         0      Fire Setting

      Other


                                                                                   RISK ASSESSMENT


      o 2 Minimal                                     0      3    Minor                         0 4 Moderate                             S Severe                      0   6   Critical




     COMMENTS
     Mark       is   currently           in   juvenile            detention      after   breaking      into      2 vehicles   stealing    a 3rd vehicle        burglarizing a

     business and attempting                           to   burglarize another                destroyed property          gate window van               steering    column      led


                                                                          and hiding from them once stopped.                                         review            Mark also
     police      in   a 85      mph chase               running                                                                 During      this              period

                                                      younger child and he has been physically aggressive with peers. Mark
     admitted         to   touching            the buttocks              of a

     presents a moderate                         of causing harm to himself and others and requires a more restrictive
                                              to severe           risk


     environment             with 24 hour awake staff and increased structure. Placement with a provider who-can adequately

     address         his juvenile             delinquent/antisocial                   behaviors   is   recommended.



     If   the   PRS     caseworker               has       any questions or             additional       information regarding           this   re-authorization      of treatment

     services please contact                         the    YFT         office   at    817    640-2833          within   10 days.   If   there are      no questions or



     Office.-RECOMMENDED
     additional information                       this       re-authorization            of   services will        be forwarded     to   PRS    State




                            PLACEMENT                                                                                         AVAILABLE BED SPACE
     1.   New                         903 874-1577
                     Encounters Corsicana
     2.   VisionQuest Dallas 214 818-0944
     3.   Desert Hills College Station 409 690-3030

     4.   Darden Hill Rch. Sch. Driftwood 512 858-4258

     5.   Pegasus School Lockhart   512 398-7115
     6.   High Frontier Fort Davis 915 364-2241


     The suggested providers are intended                                       as recommendations               and do not constitute      a   referral.     Bed space

     information           is   supplied          to    YFT         by    the providers.        This information does not imply an immediate                         admission     nor

     guarantee         that     the provider                will       accept    the   child.




                                                                                 REAUTHORIZATION

     o     Continue          in    current        setting

     o     Placement            in   a   less restrictive                setting

           Placement            in   a   more        restrictive           setting




     0     Continue          at   current         LOC             services

     0     Decrease          to   Level         of    Care

           Increase        to     Level        of Care             5



     Please contact             Youth          for    Tomorrow              at   817     640-2833          if   you have questions.       Thank you.




     Re-authorization                of services             is    effective       January      06 1997 and          the expiration date        is
                                                                                                                                                     April   30    1997.




                                                                                                  334
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 Page       1    Document                Name     untit.


 KEY
 C     NT       SCREEN       1       -       PRIMARY   ENTER    C      LINE            SCR12346                                        PAGE    01
 G_    XT       NUM
              508092037   NAME SOLIZMARK                               A                      BD   01/27/982             SM R3       CNTY   043
      CASE-NUM TC S S-I-G   W CLI-CERT                                     SSN     XXX-XX-XXXX             SSCN              -   -      -


 Cl 022598770            1       4       6             01/05/96            SSMS   Y     ALIAS              SMIB-ACTION
 C2                                                                     RFUG           00 ALIEN-DT                       SMIB
C3                                                                      INS-SUB-DT                         P OPEN                     CLOSE    SD
C4                                                                      03/18/97                   EH    AO 04/01/97                           A
C5                                                                      LAST-MED         TYPE      02R    10    01/01/96         03/31/97      A
C6                                                                      03/17/97          8        02R    08    03/29/94         12/31/95
                                                                        SSMS-DT           ED       02R    55    10/01/93         02/28/94
                                                                        01/27/97                   HI




                                                                           CAS
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                                                                  o                                        --


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Date    3/24/97          Time                 14605PM
                                                                                 335
                  Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16                                                Page 41 of 301 PageID 8474
Page          1    Document            Name      unti-ted


KEY
      ENT         SCREEN   1       -   PRIMARY      ENTER    C             LINE            SCR12346                                                PAGE      01
        NUM 508092037
     _A.ENT            NAME SOLIZMARR                                      A                         BD   01/27/982                  SM R3        CNTY   043
   CASE-NUN TC S S-I-G   W CLI-CERT                                            SSN     XXX-XX-XXXX                    SSCN
Cl 022598770  1 1 6        01/05/96                                            SSMS    Y    ALIAS                     SMIB-ACTION
C2                                                                             RFUG        00    ALIEN-DT             SMIB
C3                                                                             INS-SUB-DT                 COV TP OPEN                              CLOSE     SD
C4                                                                             01/28/97                   02R 10 01/01/96                                    A
C5                                                                          LAST-MED            TYPE      02R 08 03/29/94                    12/31/95
C6                                                                             01/05/96          1        02R        55    10/01/93          02/28/94
                                                                            SSMS-DT              ED       02R        55    10/01/91          05/31/92
                                                                            01/27/97                      HI
PA CASE SCREEN                 1    - PRIMARY                                                                                                        PAGE        1

CASE 022598770                     ACTIVE CAT       02      TP   10        BP    30     BJN      031-42-C-04                    MC    952-X       CNTY     220
CASE NAME           SOLIZMARK               A                         DATE       FILE      01/01/96                 SEQ    03  PRINTED  01/31/97
                                                                      CERT       DATE 01/05/96                      LAST    FORM 1000-A/B
GN/PAY/RP                                                             GRANT       EFF                                     REVIEW       N.     ACTION       113
MAIL     ADDR       CITY HO             E                             3M0       PRIOR                                     FORM       EFF DT        03/01/97
                    902    E           TH   ST                        END       DATE                                ORIG    END      DT
                    PLANO                           TX    75074       HOLD       CD/DT                              PERIODIC          RV DT       07/05/96
TEMP     ADDR       N                             PILOT     CD            PAW                             GRANT           0000    APP       INC




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          3/17/91          Time         11655PM                                        336
      Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16                                                                  Page 42 of 301 PageID 8475
ýJc                                                                                                                                                       OCT241
                                   YOUTH FOR TOMORROW
                  UTILIZATION REVIEW AND. REAUTHORIZATION                                                                        SERVICE     FORM

          Date Completed         10/21/1996



          To   Sandi McGuire        CPSS      Tarrant      Co. CPS                        From             Noel        Huddleston      LPC       Reviewer



          Subject
           chins   Nvm                                                                                Mdi.id       N


           Mark     A. Saenz                                                                          508092037

           plan                                                                                       We       Admitted                 Rvicw.   Da

           Buckner       Childrens.Home   Dallas     -   BCC                                          06/05/1996                        10/17/1996




                     NEEDS                                          INDICATORS                                                         SERVICES


                                          MILIEU AND BEHAVIORAL                                  MANAGEMENT
                     o      1         Normal       routine     home        environment                                                           0    1



                     o      2         Minimal      supervision           with guidance                                                           0    2

                     o      3         Structure     and                                                                                          0    3
                                                            supervised          setting


                            4         24   hr.   awake     supervision           as needed                                                            4

                     o      5         24   hr.   awake     staff    limited       access                                                         0    5

                     o      6         Constant      supervision            maximum staffing                                                      0    6



                                                                          MEDICAL
                     0      1         Routine      medical     and       dental       services                                                   0    1




                            2         Routine      medical     and       dental       services                                                        2

                     o      3         Medical      and     dental services             medications              maintenance                      0    3

                     o      4         Chronic       stable    medical          care     medications              monitoring                      0    4

                     o      5         24   hr.   on-call    medical        and                         care                                      0    5
                                                                                  psychiatric

                     o      6         24   hr.   nursing     care    -
                                                                         expanded treatment                     plan                             0    6



                                                                    RECREATION
                     o                Parental                           for activities       and      leisure            time                   0
                            1                      supervision                                                                                        1




                     o     2          Structured     activities          and    leisure     time                                                 0    2

                     o      3         Supervised         recreation       and     leisure    time                                                0    3

                            4         Therapeutic        designed         recreation        and       leisure          time                           4

                     o     5          Individual therapeutic               recreation                          IDT                               0    5
                                                                                            plan       -



                     o     6          Stabilization        goals with          maximum        staffing                                           0    6



                                                                     EDUCATION
                     o      1         Appropriate educational                   services                                                         0    1




                     o                                                                                                                           0
                           2          Appropriate educational                   and    related    services                                            2

                     0      3         Formal      liaison    and    coordination            of   services                                        0    3


                           4                              designed adaptive               educational                                                 4
                                      Therapeutic                                                                 program
                     o     5          Services     coordinated           with treatment                                       access             0    5
                                                                                                   plan          limited


                     o     6          Constant      supervision           with    maximum             staffing                                   0    6




                                                                          THERAPY
                     o      1         Routine      home environment                                                                              0    1



                     o     2          Within milieu and            provided           by TDPRS                                                   0    2

                     o      3         Formal behavioral             program           and   therapy            PRN                               0    3


                           4          Formalized therapeutic                   services                                                               4

                     o     5          Treatment                                                                IDT                               0    5
                                                     develop review                   supervise            -



                     o     6                                                                                                                     0    6
                                      Expanded treatment                 plan designed           to    stabilize




                                                                               337
Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16                                                                         Page 43 of 301 PageID 8476


                                                                            RISK INDICATORS


    o      Suicide    threat      attempt
                                                                                            0 Self-abusive

          Physical     aggression                                                           0     Sexual       acting   out

          Substance abuse                                                                   0     Destroys        property

          Runaway                                                                           0     Low FSIQ
    o     Failed placements                                                                 0     Fire      Setting

    Other


                                                                        RISK ASSESSMENT

    o     2 Minimal                            0 3 Minor                                    4   Moderate                      0 5 Severe                                0   6   Critical




    CONMVIENTS
    Maladaptive         behaviors         exhibited        during       this    review   period         include     lighting       matches       physical       aggression

    running         away     sniffing       White-out        and      putting    a tattoo       on    his   hand.     Mark    is   demonstrating          motivation during

    his    on-campus classes              is   doing     well     in   Boy Scouts        and     is
                                                                                                      improving       his social      skills.         However      in   therapy     he

    tends      to   defend   his     biological         family     instead      of addressing          issues in      therapy.      He     has    a   history of   suicidal


    threats/gestures.




    If   the   PRS    caseworker         has any questions                  or additional       information         regarding       this   re-authorization of treatment

    services please contact                 the    YFT    office       at   817    640-2833            within    10 days.      If there     are no       questions      or

    additional information                  this   re-authorization             of services      will       be forwarded      to    PRS     State     Office.



                                                                       REAUTHORIZATION

           Continue     in    current       setting

    0      Placement        in   a   less restrictive        setting

    0     Placement         in   a   more      restrictive    setting




           Continue     at   current        LOC     4    services

    0      Decrease     to   Level      of     Care
    0      Increase    to    Level     of    Care


    Please contact          Youth      for     Tomorrow          at    817      640-2833        if    you have questions.            Thank you.




    Re-authorization             of services       is   effective      November          01      1996 and       the   expiration date            is   January    31     1997.




    Noel       Huddleston        LPC      Clinical       Health        Care Consultant




    Approl
           c

                                 Huddleston         LPC




                                                                                     338
Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16                                                                               Page 44 of 301 PageID 8477
                                                                                                                                                                  JULI5RECD.
                            YOUTH FOR TOMORROW                                                                                                                     AAA
           UTILIZATION REVIEW AND REAUTHORIZATION                                                                                  SERVICE     FORM                lJ


    Date      Completed              07/10/1996                                                                                                                   Oq v
    To     Sandy McGuire                CPSS      Tarrant       Co. CPS                     From            Janis          Lehman      LMSW        Residential     Consultant




    Subject
     Childs   Name                                                                                         Medicaid I



     Mark A. Saenz                                                                                         508092037
                                                                                                           Date      Admitted             Review    Due
     Ptaeement


                                                                                                           06/05/1996                     07/08/1996
     Buckner             Baptist   Basic Care-Dallas




                 NEEDS                                                  INDICATORS                                                       SERVICES


                                             MILIEU AND BEHAVIORAL                                MANAGEMENT
                 o           1             Normal       routine    home environment                                                                0      1


                 o           2             Minimal                           with guidance                                                         0      2
                                                        supervision

                 o           3             Structure     and supervised            setting
                                                                                                                                                   0      3

                                           24         awake                              needed                                                           4
                             4                  hr.             supervision         as


                 o                         24         awake             limited       access                                                       0      5
                             5                  hr.             staff

                 o           6             Constant                           maximum staffing                                                     0      6
                                                        supervision



                                                                              MEDICAL
                             I             Routine     medical     and       dental      services                                                         1


                                                                                                                                                   0      2
                 o           2             Routine     medical     and       dental      services

                 o                         Medical      and dental      services          medications                 maintenance                  0      3
                             3

                 o           4             Chronic      stable    medical          care    medications                  monitoring                 0      4

                                                                                                                                                   0      5
                 o           5             24   hr. on-call     medical        and psychiatric               care

                 o                         24                    care                          treatment              plan
                                                                                                                                                   0      6
                             6                  hr.   nursing            -
                                                                             expanded



                                                                        RECREATION
                 o                         Parental                          for activities       and        leisure            time               0      1
                             1                          supervision
                                                                                                                                                   0      2
                     o       2             Structured     activities         and   leisure     time

                 o                                                                               time                                              0      3
                                           Supervised recreation              and    leisure
                             3

                                                                              recreation        and    leisure             time                           4
                             4             Therapeutic        designed

                     o       5             Individual therapeutic              recreation       plan         -       IDT                           0      5

                                                                                   maximum                                                         0      6
                     o       6             Stabilization      goals with                             staffing




                                                                             EDUCATION
                                                                                                                                                    0
                     o                                        educational          services                                                               1
                             1             Appropriate
                                                                                                                                                    0     2
                     o       2             Appropriate educational
                                                                                   and    related      services


                     o       3             Formal      liaison    and coordination              of    services                                      0     3

                                                                                                                                                          4
                             4             Therapeutic        designed        adaptive educational                       program
                                                                                                                                                    0     5
                     o       5             Services coordinated               with treatment           plan limited access
                                                                                      maximum                                                       0     6
                     o       6             Constant supervision               with                         staffing




                                                                              THERAPY
                                                                                                                                                    0
                     o                                  home environment                                                                                      1
                             1             Routine
                                                                                                                                                    0
                     o       2             Within milieu and            provided          by   TDPRS                                                      2

                                                                                                                      PRN                           0         3
                     0       3              Formal behavioral           program and therapy
                                                                                   services                                                                   4
                             4              Formalized        therapeutic
                                                                                                                     IDT                            0         5
                     o       5             Treatment       develop review supervise                              -


                                                                                                                                                    0         6
                     o       6              Expanded treatment               plan designed            to    stabilize




                                                                                   339
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                                                                                 RISK INDICATORS

      o    Suicide      threat                                                                       0        Self-abusive
                                      attempt
      o    Physical        aggression                                                                0        Sexual    acting   out

      o    Substance        abuse                                                                    0        Destroys    property
      o    Runaway                                                                                   0        Low FSIQ
      o    Failed      placements                                                                    0        Fire Setting


     Other


                                                                                RISK ASSESSMENT

     o     2    None                             0      3    Minimal                               4   Moderate                         0     5 Severe                       0     6   Critical




     COMMENTS
     Mark       was    transferred          to   the Basic Care                 Program      at   Buckners            on 6/5/96     after     successfully      completing

     residential       treatment.            During          his   first   30 days         in this     setting       there have    been        2 reported      incidents     of

     .disruptiv behaviors.                   He    has been          observed         as   being       easily       distracted    and   follows negative            peer   influences.

     Goals include              developing         appropriate             boundaries        with peers and              accepting      responsibility         for   his   behaviors.      He
     is   attending     the       alternative          school and          is   to   be evaluated             for   dyslexia.     He    is   currently      on no medication.


     If   the   PRS    caseworker            has       any questions or              additional        information regarding                  this   re-authorization of treatment

     services       please        contact       the    YFT      office      at   817        640-2833           within     10 days.       If   there are no questions           or

     additional        information              this    re-authorization              of   services       will       be forwarded       to    PRS     State   Office.




                                                                            REAUTHORIZATION

           Continue         in    current       setting

     o      Placement           in   a   less restrictive          setting

     o      Placement           in a     more    restrictive setting




           Continue         at   current        LOC         4 and    integrated        behavior          management          services

     o     Decrease        to     Level     of   Care
     o     Increase        to    Level     of    Care


     Please      contact        Youth      for   Tomorrow             at    817       640-2833           if   you have questions.              Thank you.




     Re-authorization                of services        is   effective          August     01     1996         and    the expiration date            is   October    31    1996.




    Janis       Lehman      LMSW             Residential            Consultant

     Reviewer




          pproved       Janis        Lehman        LMSW




                                                                                              340
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  Texas Department                    of                                                                                                                                                                     ýN           3
                                                                                                                                                                                                                     -1                                            Form 2646
   Protective       and                                Services                                                                                                                                                                                       September          1 1994
                            Regulatory                                                                                   Childs Service                             Plan

                                                                                                                PLACEMENT INFORMATION

  CASE PLAN -PART TWO                                                    v           1                                                                                                                                                                            Page           of



  O          Initial     Placement                                                   Subsequent Placement                                          Q        Discharge                to   Parents                                  Q          Other Discharge

             Complete            I   III    IV   V and        VI                     Complete             Pages     1    and    2                           Complete             I   11   III   V   and Page 3                                Complete       Pages       1   -    3



                          Name                                                                                                                            BJN                                                                  County         No.
rCaseworkers

 SANDRA MC GUIRE                                                                                                                                          03154C02                                                             220


 1.       CHILD
 Case        No.                                                          Childs         Name                                                                                                                   Date      of Birth                           From County

                                                                                                                                                                                                                                                                      220
 508092037                                                                MARK SAENZ                        SOLIZ                                                                                               1-27-82
                                                                                                                                                                                                                                                             No.


 Date     of   Initial    Placement              in    SubCare           Type       of    Initial     Placement                                                                                                 Type      of Conservatorship                or Legal

                                                                                                                                                                                                                Status              01-TMC
 11-28-95                                                                 RTC

 I.       PLACEMENT                        FROM WHICH CHILD WAS REMOVED Subsequent                                                                  placement only

 Residence          Name                                                                                                                                                                                        Facility      No.                   Date    Removed

 BUCKNER BAPTIST RTC                                                                                                                                                                                            255282                              6-5-96

 Ill.     NEW PLACEMENT
 Emergency             Placement                      Date    of   Preplacement            Visit           Type     of   Placement                                         Living         Arrangements                        How    Provided                BLOC Rate

         Q   Yes          No                          6-1-96                                                                                                                17                                                10                             4

 Residence         Name                                                                                                                  Relation          to child                   Telephone No.                                Facility     No.          Date Placed

                                                                                                                                         if        any
 BUCKNER BAPTIST CHILDRENS                                                      HOME                                                                                                  214/319-3406                                 006190                    6-5-96
Residence          Address            Street City State                   ZIP                                                                                                                                   County        No.        Date       Parents       Notified



 5200S.            BUCKNER BLVD.                                     DALLAS              TX              75227                                                                                                  057                      6-10-96


IV.          PLACEMENT                     ISSUES Applicable                   to   all    placements


          Appropriateness.                            Explain      why   the type         of    placement         selected          is    appropriate.


          MARK HAS BEEN LIVING AT BUCKNER CHILDRENS HOME FOR OVER TWO YEARS. HE HAS JUST MOVED
          FROM A RESIDENTIAL TREATMENT DORM TO A BASIC CARE DORM. THE PLACEMENT IS APPROPRIATE
          BECAUSE HE LIKES IT AT BUCKNERS AND HE HAS BEEN WORKING WITH HIS THERAPIST TOWARDS
          BEING ABLE TO MOVE TO THE BASIC CARE DORM.

          Close          proximity.              If    this   placement        is   not    in   the      same   region      as      the            parents       home        explain        why      not.




          THE PLACEMENT                                      IS IN    THE SAME REGION WHERE MARKS MOTHER                                                                                        LIVES.


          Least          restrictive.             If   the    child   was    not placed             in   a foster   family-home                     or the    home         of   a    relative       caregiver        explain   why      not.




          THE BASIC CARE DORM IS THE LEAST RESTRICTIVE ENVIRONMENT AVAILABLE FOR MARK AT THIS TIME.
          THERE ARE NO APPROPRIATE POSSIBLE RELATIVE PLACEMENTS. MARK HAS JUST MOVED FROM RTC.
          A FOSTER FAMILY WILL BE SOUGHT FOR MARK.

          School.           If   this      placement            is   too far   from       the childs school              for the          child to         keep     attending             the   same school           explain       why.


          MARK            WILL CONTINUE                                ATTENDING SCHOOL ON THE BUCKNER CAMPUS.

V.        APPROVAL                    -

                                           crisis-stabilization
                                           An emergency               placement
                                                                and assessment services
                                                                                          must be approved


                                                                                          must be approved
                                                                                                                must
                                                                                                                          within

                                                                                                                         also

                                                                                                                          before
                                                                                                                                          10.


                                                                                                                                    be approved

                                                                                                                                              it
                                                                                                                                                    days


                                                                                                                                                   occurs.
                                                                                                                                                            after

                                                                                                                                                                 by
                                                                                                                                                                      it   occurs.

                                                                                                                                                                        a licensed
                                                                                                                                                                                           A placement
                                                                                                                                                                                                MSW    or
                                                                                                                                                                                                                in   an emergency

                                                                                                                                                                                                            equivalent         within      10
                                                                                                                                                                                                                                               shelter

                                                                                                                                                                                                                                                 days.
                                                                                                                                                                                                                                                            for

                                                                                                                                                                                                                                                            A


                                           nonemergencypllaccement

                                           4A           C1
                                                                                                         -/0 -
                       Signature            W            r                                               Date                                              Signature-LMSW                       or Equivalent                                                 Date

                                                                                                                                                                 emergency                 shelter    only



                       Signature-Supervisor                                                              Date                                      Date    of Oral Approval                                 Required       within      10 days        of   placement         in   an

                                                                                                                                                            if   different                                  emergency          shelter for crisis-stabilization                   or




                                                                                                                         341
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                                                          YOUTH FOR TOMORROW
            UTILIZATION REVIEW AND REAUTHORIZATION                                                                              SERVICE FORM

    Date Completed                   04/30/1996


    To   Sandra       McGuire               CPSS         Tarrant Co. CPS                          From         Deborah        Lane     Residential            Consultant




    Subject                                                          5     -i    ý- y
     Chad   Name                                                                                           Mcdka4

     Mark A. Saenz                                                                                         508092037

     PYam .                                                                                 _
                                                                                                           one Admiwd                      Rcview   D    Le




     Buckner       Trt.       Ctr.   -   Dallas                                                            04/20/1995                      04/24/1996




              NEEDS                                                        INDICATORS                                                     SERVICES


                                                  MILIEU AND BEHAVIORAL                                   MANAGEMENT
              o           1                   Normal routine home environment                                                                       0          1




              o           2                   Minimal supervision               with guidance                                                       0         2

              o           3                   Structure     and    supervised         setting                                                       0          3


                          4                   24   hr.   awake     supervision         as needed                                                              4

              o           5                   24   hr.   awake staff limited access                                                                 0         5


              o           6                   Constant supervision               maximum            staffing                                        0         6



                                                                                MEDICAL
              o           1                   Routine     medical     and      dental       services                                                0          1




                          2                   Routine     medical     and      dental       services                                                          2

              o           3                   Medical      and dental      services             medications       maintenance                       0.        3

              o           4                   Chronic      stable    medical         care medications                 monitoring                    0         4

              o           5                   24   hr.   on-call    medical      and psychiatric               care                                 o         5

              o       6                       24   hr.   nursing care
                                                                           -
                                                                               expanded treatment                plan                               0         6



                                                                          RECREATION
              o           1                   Parental     supervision         for activities        and    leisure      time                       0          1




              o       2                       Structured     activities        and    leisure      time                                             0         2
              o       3                                       recreation        and     leisure      time                                           o          3
                                              Supervised
                      4                      Therapeutic         designed recreation               and    leisure      time                                   4

              o       5                       Individual therapeutic             recreation         plan   -    IDT                                 0         5

              o       6                      Stabilization        goals with         maximum staffing                                               0         6



                                                                            EDUCATION
              o                                                                                                                                     0
                          1
                                             Appropriate educational                  services                                                                 1




              o       2                                                                                                                             0
                                             Appropriate educational                  and       related   services                                            2

              o       3                      Formal       liaison   and coordination                of services                                     0          3

                      4                      Therapeutic         designed adaptive educational                                                                4
                                                                                                                      program
              o       5                      Services coordinated              with treatment             plan limited access                       0          5

              o       6                      Constant      supervision         with     maximum staffing                                            0         6



                                                                                THERAPY
                                                                                                                                   -




              o       1                      Routine      home      environment                                                                     0          1




              o       2                      Within      milieu and       provided          by    TDPRS                                             0          2

              o       3                      Formal behavioral            program and therapy                    PRN                                0 --3
                      4                      Formalized therapeutic                  services                                                                  4

              o       5                      Treatment       develop review                 supervise       -   IDT                                 0          5

              0       6                      Expanded       treatment       plan designed             to stabilize                                  0          6




                                                                                     342
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                                                                                                                                                            1    3
                                                                               RISK INDICATORS                                                  MAY


    o    Suicide     threat                                                                      0 Self-abusive
                                    attempt

    o                                                                                                  Sexual acting out
         Physical         aggression

    o    Substance abuse                                                                        .      Destroys     property

    o    Runaway
                                                                                                 0 Low FSIQ
    o    Failed placements                                                                       0     Fire    Setting


    Other.



                                                                               RISK ASSESSMENT

                                               0             Minimal                            4    Moderate                     0    5 Severe                             0      6   Critical
    o    2 None                                         3



    COMMENTS
    The records           indicate        Mark requires a structured                       environment         with therapeutic         intervention.                Although he has
                                                                                                    he continues          make sexual statements                     to   them and
    decreased        his   sexual acting out behaviors                          with peers                           to


                 close monitoring.                  He                 scheduled   for     individual therapy        but refused        to    meet        on 4-3-96.        Although he
    requires                                                     is



    is   not prescribed                                          medication     he    is   monitored         and notes    indicates     he wants          to    be   on a   diet   even
                                    psychotropic

    though      he   is   not over weight.                       He    attends the    Buckners Academy and                  is
                                                                                                                                 passing      all    of   his classes       with       a


    modified curriculum.                    He     is   authorized             LOC    4    services.




                                                                                                                                                                            of treatment
    If   the   PRS   caseworker             has    any questions or additional information regarding                                   this   re-authorization

    services please contact                  the    YFT office at 817 640-2833 within 10 days. If                                      there        are   no questions or

    additional                               this       re-authorization             of services       will    be forwarded       to   PRS     State       Office.
                     information



                                                                               REAUTHORIZATION

          Continue         in   current       setting

    o     Placement            in   a   less restrictive setting


    o     Placement            in   a   more   restrictive setting




          Continue         at   current      LOC            4 and        integrated       behavior     management         services


    o     Decrease         to   Level      of Care

    o     Increase        to    Level     of Care



    Please contact             Youth for Tomorrow                         at   817    640-2833         if   you have questions.         Thank you.




    Re-authorization                of services             is   effective     May 01 1996             and    the expiration date        is   July        31    1996.




    Deboýll Lane Residential                                     nsu   tans


    Reviewer




    A      roved          Janis     Lehman         LMSW




                                                                                              343
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-

                      am
                                         Tom DEPARma               of PRdTECnvE AND       REwuToRy         Semm


                                                                                                                        BOARD MEMBERS
       INTERIM        EXECUTIVE DIRECTOR
       James     R.   Hine
                                                                                                                         Dickey    LMSW-AP

                                                                                                                           Chamen       Dallas




                                                                                                                           Penny Beaumont

                                                                       February 24 2000                                                   Bryan



                                                                                                                             Jon M.    Bradley

                                                                                                                                        Dallas




                                                                                                                            Catherine     Clark


       Hugh Savage                                                                                                                Mosbacher

                                                                                                                                       Houston
       Attorney          at       Law

       316 Bailey Street Ste.                   101                                                                            Bill   Sheehan

                                                                                                                                       Dumas
       Fort      Worth            Texas 76107

                                                                                                                                  Susan   Stahl




       RE
                                                                                                                                        Dallas

                        IN        THE INTEREST        OF MARK SOLIZ AKA SAENZ

                        CAUSE           NO. 323-56079-J



       Dear Mr. Savage



       Enclosed              is   a copy of the    ORDER OF DISMISSAL              on the above   styled   and numbered cause.



       If   I
                can    be of further assistance             please contact    me   at   817   255-8786.



       Sincerely



        kqjýla                    dxaý.
       Regina Sullivan

       Legal Assistant



       Enclosure



       cc
                        Eula Rutherford           CPS     Specialist

                        Will      Onyebuchi      CPS      Supervisor

                        Foster       Care   Eligibility   Specialist

                        File


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                                                                       BEN AVENUE
                                                                       2700

                                                                  FT WORTH TX 76103

                                                                          817/214-4700
Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16   Page 50 of 301 PageID 8483




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                                                                         CAUSE NO.      56079-J




 IN   THE INTEREST OF                                                                                                              IN   THE JUVENILE COURT




 MARK     SOLIZ AKA SAENZ                                                                                                  OF TARRANT COUNTY                TEXAS




 A CHILD                                                                                                                          323RD JUDICIAL DISTRICT


                                                                        ORDER OF DISMISSAL


             On     this    day came on          to    be   heard the Motion    of    the   Original   Petitioner    to   dismiss   the   above numbered      and



 styled   cause and         it
                                  appears     to the   Court   that   motion should   be granted.



             IT    IS   THEREFORE               ORDERED        that this   Cause as    to   the Child    MARK       SOLIZ AKA SAENZ           be and   is   hereby



 dismissed.




             All   relief   requested         herein and     not expressly   granted    is   denied.




                            ORDERED             on   this             4day       of                                       2000.




                                                                         Judg    residi




 Associate    Judge



 APPROVED AS TO FORM




 CTiffordTronson

 Assistant    Criminal           District   Attorney
 2700 Ben Avenue                 Fort   Worth    Texas      76103
 817      255-8733

 State Bar No.          00790376




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        Case 3:14-cv-04556-K
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                                                  DEPT                                              HUMAN   SV
                                                                                                                 j007




   APPROVED AS TO FORM AND SUBSTANCE




   Hug        .            e

   A ffo y/           ua   rdlan   ad     them   for the   Children

   316    Bailey      Street       Ste.   101

   Fort   Worth. Texas 76107

   817335-7748
   Stab Bar No. 1768840D




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  ORDER TO         DISMISS
  In   the Interest    of      MARK     SOLIZ    AKA SAENZ A          Child   - Cause   No.
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            ý
                                    TEXASDEPARTMJ Nr OF PROT1ECfVEAND REGULATORY SERVICES
                                                                    2700    BEN AVENUE
                                                              FORT WORTH TEXAS                      76103

                                                                         817/255-8700                                BOARD MEMBERS
   EXECUTIVE             DIRECTOR
                                                                                                                                Jon   M.    Bradley
   James    R.   Hine
                                                                                                                            Chairman         Dallas

                                                              September    13 1999                                            Naomi W.         Lede

                                                                                                                                       Huntsville

                                                                                                                              Maurine Dickey

                                                                                                                                             Dallas


   Hugh Savage                                                                                                            Richard     S.   Hoffman
                                                                                                                                      Brownsville
   Attorney at law
                                                                                                               Catherine     Clark

   316        Bailey         St. Ste.     101                                                                                         Mososton
                                                                                                                                            Houston


   Fort      Worth               Texas   76107                                                                             Edward      L.   Wagner
                                                                                                                                Harker      Heights



   RE        PLACEMENT REVIEW ORDER
             IN THE INTEREST OF SOLIZ MARK                                aka   SAENZ
             CAUSE NO.56079-1

   Dear Mr. Savage



   Enclosed             is   a   copy of the Order Pursuant         to   Chapter      263   Texas Family Code              on    the       above

   styled         and numbered cause.



   If   I   can    be of further          assistance    please   contact    me   at   255-8728.



   Sincerely




    Belinda        Black

    Legal



    Enclosure



   CC              Laura Flores           CPS    Specialist    012-2
                                                                                                          Isis
                   Will          Onyebuchi      CPS Supervisor 012-2                               13                t8
                   Foster         Care   Eligibility    128-6
                   File

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J




                                                                                CAUSE NO.                       56079-J

 IN   THE INTEREST          OF                                                                                                                                      IN   THE JUVENILE COURT



 MARK     SOLIZ         AKA SAENZ                                                                                                                       OF TARRANT COUNTY TEXAS



A     CHILD                                                                                                                                                          323RD DISTRICT                    COURT

                                                                            PLACEMENT REVIEW                               ORDER

              On    this 9th.   day of        September                1999        a   placement              review        hearing     was     held    pursuant         to   Subchapter           F   Chapter


263     Texas Family       Code       for    review        of   the    placement            of   the    child.



APPEARANCES

              The TEXAS DEPARTMENT OF PROTECTIVE                                                  AND REGULATORY                           SERVICES            appeared          by    Its   representative


LAURA FLORES              and    by   Its   attorney         NANCY            R.   DEWEES                   and announced             ready.


              Respondent        Mother        DONNA               SOLIZ

                          Q       appeared           in    person and announced                       ready.


                          Q       waived       Issuance         and     service        of   citation         by waiver        duly    filed.




                                                    duly and                                           did     not appear and wholly               made        default.
                          0although                                   properly notified


              Respondent        Father       EDDIE SAENZ

                          Q       appeared           in    person and announced                       ready.


                          0      waived        Issuance         and     service        of   citation         by waiver        duly    filed.




                          jý     although           duly and          properly notified did                    not appear and wholly               made        default.



              HUGH       SGE                appointed by              the   Court       as   Attorney/Guardian                    ad litem

                          7appeared                  and announced             ready.


                          Q      although           duly and          properly notified did                    not appear.


              The Court excused             the     appearance          of the         Child the        subject        of   this suit     pursuant       to   Section         263.302         Texas Family


Code.


FINDINGS

              The Court     finds     that the           childs   current      placement               Is   appropriate        for    meeting      the    childs      needs.



              The Court       finds that       efforts       have been         made          to    ensure        placement of             the   child    In   the    least     restrictive     environment


consistent    with the    best Interest           and     special     needs of         the   child.



              The Court       finds   that     the       services     that are         needed          to    assist   the    child In     making       the    transition       from     substitute      care   to


                                available         in the
Independent        living are                               community.

              The Court       finds   that    no other          plans or services                are   needed         to    meet    the   childs       special   needs or         circumstances.



              The Court       finds   that     the       services     that are         needed          to assist      the   Child In      making the          transition        from    substitute      care   to



Independent        living are   available         in the    community.


              The Court       finds   that    no other          plans or services                are   needed         to    meet    the   childs       special      needs or      circumstances.


ORDERS

              IT   IS   ORDERED        that        all   previous      orders      Issued         by    this   Court        shaft   continuew          shout     modification.



              IT   IS   ORDERED             that     the    Texas       Department               of     Protective          and     Regulatory          Services      Is      continued       as   Permanent


Managing Conservator             until      further       order of      the   Court.




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 DISMISSAL            DATE AND HEARING DATES

                Pursuant      to   Section       263.30611    Texas     Family   Code    the   Court   determines   that   the   next   placement    review


 hearing      shall   be   held   during   the   month of March   2000.




                                   SIGNED        this                   day of                                                      1999.




                                                                                               -74LO-Judge


                                                                                                                                        Associate   Judge




 Placement        Review      Order
 In   the   Interest of    MARK     SOLIZ    AKA SAENZ A Chitd     -   Cause   No.   56079-J

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                                    TExASDEPART              EJIrofPRowim AND Pmuwow                        Smm


                                                                                                                           BOARD MEMBERS
   INTERIM         EXECUTIVE DIRECTOR
   James      R.   Hine
                                                                                                                               Dickey    LMSW-AP

                                                                                                                                Chairman       Dallas




                                                                                                                                Penny Beaumont

                                                                         June 18 1998                                                           Bryan



                                                                                                                                  Jon M. Bradley

                                                                                                                                               Dallas




                                                                                                                                 Catherine         Clark


                                                                                                                                        Mosbacher
   Hugh Savage
                                                                                                                                             Houston

   Attorney           at    Law
                                                                                                                                             Sheehan
   316 Bailey St. Ste. 101                                                                                                          Bin


                                                                                                                                              Dumas
    Fort      Worth Texas            76107

                                                                                                                                        Susan      Stahl


                                                                                                                                               Dallas

   RE                CAUSE NO.            56079-J

   In       the Interest of         MARK SOLIZ             aka   SAENZ


   Dear Mr. Savage



   Enclosed please                 find   a copy of the          ORDER TO CHANGE PAYEE FOR CHILD SUPPORT                            in       the


   above styled and numbered                            cause.




   If   I
            can be of further assistance                   please contact       me   at   817   255-8700   extension   8725.




   Sincerely




            ren    Gordon
                                                                                                                                         _



   CPS         Legal Assistant




   Enclosure



   cc                Eddie Saenz Respondent                      Father 3436 Lulu Fort Worth Texas            76105

                     Laura Flores           CPS     Specialist     MC 012-2
                     Will   Oyebuchi         CPS        Supervisor  MC 012-2
                     Foster       Care    Eligibility     Specialist

                     File




                                                                       2700   BEN AVENUE
                                                                   FT   WORTH      T  76103

                                                                          817             00
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                                                                                CAUSE NO.                56079-J




IN     THE INTEREST              OF                                                                                                                           IN   THE JUVENILE COURT




MARK          SOLIZ       AKA SAENZ                                                                                                               OF TARRANT COUNTY TEXAS



A    CHILD                                                                                                                                                 323RD JUDICIAL                    DISTRICT


                                                      ORDERS           TO CHANGE                PAYEE FOR CHILD SUPPORT


               On        this   day    came     on     to    be    heard     the    application          of     the      TEXAS       DEPARTMENT                    OF PROTECTIVE                         AND

REGULATORY SERVICES                            the   Petitioner        herein   for      Temporary Orders concerning                      the     Child    who      Is   the    subject      of   this   suit.




APPEARANCES

               The       Texas      Department         of    Protective       and     Regulatory         Services         appeared        by     its   representative                        -and    by     its




attorney       of record         MELISSA        R.    PASCHALL


               Respondent             Mother        DONA       SUE SOLIZ            did/did      not    appear.




               Respondent             Father        RAUL EDWARDO SAENZ                           appeared          and agreed        to   the    provisions        in    this   Order        as   evidence



by     his signature.




               HUGH SAVAGE                     appointed          by   the   Court       as   Attorney        ad   litem appeared               on     behalf    of the         Child the        subject    of




this   suit   and   indicated         his   agreement       with   the    provisions      of    this   Order       as    evidenced     by   his signature.




PARTIES            IN AGREEMENT


               The Court          finds     that the   parties     and    attorneys       who appear            herein     agree to       the   provisions         and terms of           this    Order      as




evidenced          by    their signatures.




               The Court            finds    that    the               and                               that      the    following       Orders        are     necessary        for   the    safety       and
                                                            parties          attorneys          agree




welfare       of   the   children      and    that   such    Orders      are in the       best interest of the             children.




CHILD


               The Court          finds     that the       Child the     subject    of   this   action    Is




               NAME                                                                              MARK          SOLIZ       AKA SAENZ
                   SEX                                                                           Male

                   DATE OF BIRTH                                                                 January        27 1982
               PLACE OF BIRTH                                                                    Fort    Worth           Texas

                   RESIDENCE                                                                     Tarrant        County Texas
                   SOCIAL SECURITY                   NUMBER                                      XXX-XX-XXXX




                                                                                                 353
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CHILD SUPPORT



                 IT    IS   ORDERED                that   the   Texas Department            of Protective    and Regulatory Services be named as payee.



                 IT    IS    ORDERED                   that   all
                                                                    payments        of   child    support   shall    be   made payable   to    the   Texas   Department     of




Protective            and Regulatory                   Services      and    shall   be    paid through      the     Tarrant County   Child    Support   Office   Third   Floor




Tarrant County                   Civil    Courts Building            Fort   Worth     Texas       76196-0290.




                                                                            day of                                                   1998.
                        Signed           this




                                                                                                    judge   Presiding




APPROVED AS TO FORM




Melissa       R.      Paschall

Assistant        Criminal District                Attorney

2700 Ben Avenue                          Fort    Worth Texas           76103

817 255-8700                        ext.        8733

State      Bar     No.      0784725


APPROVED AND AGREED                                     TO




Raul       Edwardo          Saenz                ponde        Father




APPROVED AS TO FORM AND SUBSTANCE




Hugh        Savage

Attorney ad             Iitem       for the       Child

316        Bailey      Street       Suite        101

Fort    Worth Texas 76107
817       255-8700 ext. 8733
State      Bar No.               17688499




ORDERS FOR CHILD SUPPORT
In   the    Interest        of    Mark     Soliz    aka   Saenz A      Child   -    Cause   No.   56079-J

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                                                                                   CAUSE NO. 56079-1



IN    THE INTEREST                  OF                                                                                                                             IN THE JUVENILE COURT




MARK          SOLIZ          AKA SAENZ                                                                                                                   OF TARRANT COUNTY TEXAS



A     CHILD                                                                                                                                                      323RD JUDICIAL                DISTRICT




                                                                          MOTION FOR                 CHILD SUPPORT




TO THE HONORABLE                           COURT



                  COMES         NOW         Petitioner          TEXAS          DEPARTMENT                  OF PROTECTIVE AND                                REGULATORY                 SERVICES           and



moves       this      Court   for   an Order      requiring Child              Support payments and                      In   support        thereof     would     show




                  MARK        SOLIZ        AKA SAENZ                   Child     subject     of    this    suit     is    under        the    age   of     eighteen   years       and    subject     to   the




Temporary             Managing        Conservatorship of               Petitioner.




                                                                                                     II.




                  Respondents         herein     are    obligated         to   support       the    Child     under            Section       151.003          Texas Family Code.               The    Child




does not         reside     with    the   Respondents.          Respondents              are able to       pay     child       support.




                 WHEREFORE PREMISES CONSIDERED                                            Petitioner prays that                 this    Court    set a      hearing   on   this    Motion      and    order



the   Respondent             Father       RAUL EDWARD                   SAENZ        to    appear         at the    hearing        to    show cause why they should                     not be ordered



to    pay    child     support       pending     a    final    hearing      In    this    cause.     Petitioner               further    prays      that    upon    hearing       on    this   motion     the




Court       order      Respondents         to   pay    a      reasonable         sum of      the   support          for the        Child       said    to   be   withheld     from       the   disposable




earnings         of   the   Respondents         and    grant     all   other     relief to   which         Petitioner          may be        entitled.




Respectfully           submitted




Kellye      R.    SwMA
Assistant        Criminal      District    Attorney
2700        BenAvenue Fort Worth Texas 76103
817         534-1002 Ext. 361 or 420
State    Bar      No. 00792864




                                                                                                    355
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                                                                              CERTIFICATE            OF SERVICE


                    I   hereby   certify      that a true   and    correct     copy of      the   above Motion       for Child   Support was   sent   by   certified mail to   all



parties        on                                      1996.




                                                                                             Atto     ey   for   Movant




                                                                                NOTICE OF HEARING



                    A   hearing      on   the    Petitioners    Motion        for Child     Support    has    been   set for the        day of



1995           at                         oclock      _.m.        on   the    non-jury      docket   at the    Juvenile   County Court    Fort   Worth      Texas.




                                                                                                       Judge     Presiding




MOTION          FOR CHILD SUPPORT
In   the   Interest      of   Mark    Soliz     aka   Saenz A     Child   -   Cause   No.   56079-J

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                                                                                      CAUSE NO. 56079-



  IN   THE INTEREST               OF                                                                                                                          IN   THE JUVENILE COURT



  MARK        SOLIZ        AKA SAENZ                                                                                                                 OF TARRANT             COUNTY             TEXAS




 A     CHILD                                                                                                                                                 323RD JUDICIAL                DISTRICT


                                                                           ORDERS FOR CHILD SUPPORT

                   On     this
                                 day    came        on    to   be     heard      the    application         of     the      TEXAS       DEPARTMENT                 OF PROTECTIVE AND

 REGULATORY SERVICES                           the       Petitioner    herein         for   Temporary Orders concerning                      the     Child   who    is   the subject     of   this   suit.




 APPEARANCES


                   The Texas Department of                  Protective        and     Regulatory          Services    appeared       by   its                            SANDRA MCGUIRE
                                                                                                                                                representative



 and    by   its   attorney      of record          KELLYE      R.    SWANDA.


                   Respondent       Mother          DONNA            SUE SOLIZ              did/did       not   appear.




                   Respondent       Father      RAUL EDWARD                   SAENZ              did/did    not    appear.



                   HUGH SAVAGE                 appointed by            the    Court         as   Attorney       ad litem       appeared         on    behalf   of    the   Child the       subject      of



 this suit    and    Indicated      his    agreement with            the   provisions        of    this   Order     as    evidenced     by      his signature.




 PARTIES           IN    AGREEMENT


                   The Court      finds    that the       parties    and    attorneys        who appear            herein    agree    to the     provisions      and terms of       this      Order     as



 evidenced         by    their signatures.




                The      Court     finds     that   the     parties    and       attorneys         agree    that    the     following     Orders       are                   for   the                and
                                                                                                                                                             necessary                   safety



 welfare     of    the   children      and   that    such      Orders      are   In   the   best Interest        of   the   children.




 CHILD


                The Court         finds    that the       Child the     subject        of   this   action   Is




                NAME                                                                                MARK        SOLIZ        AKA SAENZ
                SEX                                                                                 Male

                DATE OF BIRTH                                                                       January      27       1982
                PLACE OF BIRTH                                                                      Fort    Worth Texas
                RESIDENCE                                                                                 County Texas
                                                                                                    Tarrant
                SOCIAL SECURITY                     NUMBER                                          XXX-XX-XXXX




                                                                                                    357
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bi-monthly
CHILD           SUPPORT




bi-monthly
                 Respondent              Father        RAUL EDWARD                        SAENZ         Is   ordered    to      pay    child         support       In    the    amount of $60.00


                with      the    first     payment being            due    on       the    1st   day of January          1996          and       a   like    payment           of   $60.00      being    due



                thereafter         until    further    order        of the    court.




                All       payments          of   child    support         shall      be    made        payable     to   the     Texas       Department                  of   Protective    and     Regulatory



Services        and    shall      be      paid   through        the      Tarrant          County       Child    Support Office              ThirdFloor                  Tarrant        County    Civil   Courts



Building        Fort      Worth Texas               76196-0290.


                 Respondent              Father        RAUL         EDWARD                SAENZ         Is   further    ordered        to    pay       to    the        Domestic       Relations    Office      of



Tarrant         County Texas twenty                    four     $24.00               Dollars      annually.      The    first    payment             shall   be    In    the   amount of $24.00 and


hall   be due and              payable      on   the     1st   day of July            1996        and    a    payment of twenty              four      $24.00                Dollars    due on     October      I


annually thereafter.




                FAILURE            TO OBEY A COURT ORDER FOR                                           CHILD SUPPORT                  OR FOR            POSSESSION                  OF OR ACCESS TO


A CHILD           MAY           RESULT           IN    FURTHER               LITIGATION                 TO ENFORCE THE ORDER                                      INCLUDING               CONTEMPT             OF


COURT                 A        FINDING           OF CONTEMPT                        MAY          BE    PUNISHED          BY CONFINEMENT                                 IN     AIL FOR UP TO                   SIX



MONTHS A                   FINE OF UP               TO     $500 FOR EACH VIOLATION                                      AND A MONEY JUDGMENT FOR PAYMENT OF

ATTORNEYS                      FEES      AND COURT                  COSTS.


                FAILURE             OF      A       PARTY           TO    MAKE A                 CHILD         SUPPORT           PAYMENT                     TO THE             PLACE AND               IN    THE


MANNER                REQUIRED                 BY   A COURT                ORDER              MAY        RESULT         IN      THE PARTY                    NOT         RECEIVING           CREDIT           FOR




COURT-ORDERED
MAKING THE PAYMENT.

                FAILURE OF                 A   PARTY TO PAY CHILD SUPPORT                                      DOES      NOT          JUSTIFY           DENYING THAT                      PARTY


                   POSSESSION                    OF OR ACCESS TO                          A   CHILD          REFUSAL BY           A PARTY TO ALLOW                                  POSSESSION           OF OR


ACCESS           TO A           CHILD DOES                NOT         JUSTIFY FAILURE                        TO PAY COURT-ORDERED                                  CHILD            SUPPORT        TO THAT

PARTY.


                EACH PERSON                      WHO           15   A PARTY               TO      THIS        ORDER OR                DECREE            IS    ORDERED                TO NOTIFY               EACH


OTHER PARTY WITHIN                               10 DAYS AFTER THE DATE OF                                     ANY CHANGE                   IN       THE PARTYS CURRENT RESIDENCE


ADDRESS                MAILING                 ADDRESS                HOME                TELEPHONE              NUMBER                NAME                 OF      EMPLOYER.              ADDRESS              OF


EMPLOYMENT                       AND WORK TELEPHONE NUMBER.                                                    THE PARTY               IS    ORDERED                    TO     GIVE       NOTICE         OF AN


INTENDED               CHANCE               IN      ANY OF THE REOU1RED                                INFORMATION TO EACH OTHER PARTY                                                    ON OR          BEFORE



ORDERS           FOR CHILD SUPPORT
In   the   Interest       of   Mark      Soliz   aka   Saenz A        Child     -   Cause        No.   56079-J

           2.
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 THE 60TH DAY BEFORE THE INTENDED CHANGE.                                                IF   THE     PARTY    DOES NOT      KNOW OR COULD NOT                  HAVE


 KNOWN             OF THE CHANGE                    IN   SUFFICIENT TIME            TO     PROVIDE 60-DAY             NOTICE THE PARTY               IS   ORDERED   TO

GIVE NOTICE                 OF THE CHANGE ON OR BEFORE THE                                    FIFTH    DAY AFTER THE         DATE THAT          PARTY KNOWS OF


 THE CHANGE.

                  THE DUTY TO FURNISH THIS                          INFORMATION                 TO EACH OTHER PARTY                 CONTINUES             AS LONG   AS


 ANY PERSON                      BY    VIRTUE        OF THIS        ORDER          OR DECREE             IS   UNDER      AN OBLIGATION TO PAY                   CHILD


 SUPPORT           OR       IS   ENTITLED           TO    POSSESSION            OF OR ACCESS            TO A      CHILD.    FAILURE        BY   A    PARTY TO OBEY


 THE        ORDER       OF THIS               COURT TO         PROVIDE EACH OTHER PARTY                           WITH     THE    CHANGE        IN   THE    REQUIRED


 INFORMATION MAY RESULT                                  IN   FURTHER           LITIGATION       TO ENFORCE THE ORDER INCLUDING                            CONTEMPT


 OR COURT.                  A    FINDING            OF CONTEMPT             MAY      BE PUNISHED              BY CONFINEMENT             IN   JAIL   FOR UP TO      SIX



 MONTHS A               FINE OF UP              TO       $500 00       FOR EACH VIOLATION                     AND A MONEY JUDGMENT                    FOR PAYMENT


 OF ATTORNEYS                     FEES      AND COURT           COSTS.




                       Signed     this                             day     of                                                    1996.




                                                                                              Judge   Presiding




APPROVED AS TO FORM




 Kelye       R.   Swa       a

Assistant         Criminal       District     Attorney

 2700 Ben Avenue                  Fort    Worth Texas          76103

 817         534-1002 ext. 361 or                    420
 State      Bar   No. 00792864




 ORDERS FOR CHILD SUPPORT
 In   the   Interest   of   Mark      Soliz   aka   Saenz A    Child   -   Cause   No.   56079-J

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 APPROVED AS TO FORM AND SUBSTANCE




 Hugh       Savage

 Attorney ad          iitem   for the     Child

 316       Bailey   Avenue
 Fort      Worth Texas 76107
 817         335-7748
 State     Bar No.         17688400




ORDERS          FOR CHILD SUPPORT
In   the   Interest   of   Mark   Soliz   aka   Saenz A   Child   -   Cause   No.   56079-J

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                                                                                                                     SEP    Z

                        ut
                                        TEXAS DEPAR 1vB1TOF PROTECTNEAND                            R   ILATORYSERVICES




   INTERIM          EXECUTIVE DIRECTOR                                                                                             BOARD MEMBERS

   James       R.   Hine
                                                                                                                            Maurine Dickey   LMSW-AP
                                                                                                                                     Chairman     Dallas




                                                                                                                                     Penny Beaumont

                                                                           September     25   1997                                                Bryan



                                                                                                                                       Jon M.    Bradley

                                                                                                                                                  Dallas




                                                                                                                                      Catherine Clark


    Hugh Savage                                                                                                                              Mosbacher

                                                                                                                                                Houston
    Attorney                at   Law                                                            -




    316 Bailey Ave. Ste.                        100                                                                                      Bill   Sheehan

                                                                                                                                                 Dumas
    Fort       Worth              Texas       76107

                                                                                                                                          Susan       Stahl



    RE                  CAUSE
                                                                                                                                                  Dallas
                                       NO. 56079-J

    In       the    Interest of the           MARK SOLIZ            aka    SAENZ


   Dear Mr. Savage



   Enclosed please                     find    a copy of      the   ORDER         MODIFYING MANAGING             CONSERVATORSHIP                 in


   the        above          styled    and numbered cause.



   If    I   can       be of further assistance               please contact        me   at   817    534-1002   extension   251.




   Sincer              ly




   Ka              a   L.    Griggs

   Legal Assistant



   Enclosure



   cc                  Laura Flores             CPS    Specialist         012-2

                       Dick       Nabors CPS           Supervisor          012-2

                       Foster      Care       Eligibility   Specialist

                       File




                                                                           2700   BEN AVENUE
                                                                      FT    WORTH TX          76103
                                                                                          iO2
                                                                              817/51
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                                                                               CAUSE NO.              56079.J




IN    THE INTEREST OF                                                                                                                                   IN   THE JUVENILE COURT
                                                                                                t




MARK SOLIZ AKA SAENZ                                                                                                                         OF TARRANT                 COUNTY          TEXAS




A CHILD                                                                                                                                                323RD JUDICIAL DISTRICT



                                                 ORDER       MODIFYING MANAGING CONSERVATORSHIP



             On    this          23rd           day   of            September                               1997      came        to   be heard    the       Original    Petition      in   A    Suit




Affecting    the   Parent-Child           Relationship       brought by the              TEXAS DEPARTMENT OF PROTECTIVE AND REGULATORY


SERVICES seeking Managing Conservatorship                                    of   the   child   subject      of    this   suit.




Appearances



             Movant            the    TEXAS       DEPARTMENT                   OF PROTECTIVE                       AND         REGULATORY               SERVICES             appeared              by




representative        LAURA FLORES and                      by attorney             NANCY DEWEES.


            Respondent Mother                    DONNA SUE              SOLIZiW/did               not appear.




            Respondent Father RAUL                         EDWARDO SAENZ                    did/dtdftt            appear.
                                                                                                                                                       faýJfýýýs
                                                                                                                                                  Gy

             HUGH SAVAGE                   appointed        by the Court Attorney ad                      litem   for the      Child appeared-iw-per               on and        did   agree        to




the   provisions    of    this   Order as evidenced               by    his signature.




Jurisdiction




            The Court having examined                       the pleadings           and heard the evidence and arguments of counsel                                        finds   that     it    has




continuing    jurisdiction           of this   cause and     of   all   the   parties.      All     persons       entitled     to citation   were properly              cited.




Child




            The Court           finds    that   the Child    who        is    the   subject of        this action         is      MARK     SOLIZ AKA              SAENZ          a male          child




born   on January 271982.



Findings     Pursuant to Chapter 263 of the Texas Family Code



            The Court            after                      the     relevant        factors         for   determining          the best      interest        of   the   Child     pursuant          to
                                          considering



Section   263.307         of   the    Texas Family Code            finds      that




                                                                                                362
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                                  the    service        plan     filed-
                                                                          by the    Texas          -


                                                                                                       department       -of- Protective            and     Regutatary

                                  Services        is    reasonable         accurate       and          in   compliance        with     previous orders            of   this


                                  Court




                    The Court Finds            that the      following     orders       for the         safety   and    welfare        of   the   Child    are in the      best   interest    of the




 Child.




 Orders Pursuant to Chapter 263 of the Texas Family Code



                    IT   IS    ORDERED           that    the_    requirement       that       a    Status Report be               filed     as    required      under    Section     263.303      is




 hereby waived.



                 IT      IS   ORDERED            that this      hearing    shall constitute              a review of the placement                  of the      Child pursuant       to   Chapter



 263       of the    Texas Family Code.



 Findings




                The Court             finds   that     the appointment        of   the parents would not be                       in   the best     interest      of the Child     because the



appointment              would     significantly         impair the Childs         physical            health    or emotional          development



Permanent Managing                       Conservatorship



                IT IS         ORDERED          that the      TEXAS DEPARTMENT OF PROTECTIVE AND REGULATORY SERVICES                                                                          be and




is   hereby appointed                  Permanent         Managing Conservator                     of the       Child   with       care custody            and     control     of the Child     until




further        Order      of   the Court.




                IT IS         ORDERED         that the       Managing Conservator                      shall   have    the   following       rights privileges          duties    and powers



                                 the    rights    to   have     physical    possession             of   the    Child   and   to   establish        the   Childs     legal


                                 domicile



                                 the duty of           care control protection                    moral        and   religious     training        and    reasonable

                                 discipline       of   the   Child



                                 the    duty     to    support      the    Child    including               providing    the      Child     with    clothing        food

                                 shelter medical             care and education



                                 the duty        to    manage the estate           of   the Child except                when a guardian                  of the   estate

                                 has    been appointed




ORDER MODIFYING                       MANAGING CONSERVATOR
In   the    Interest     of    Mark    Soliz AKA Saenz Child - Cause                    No.       56079-J

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                               ...the-righ to.the            services    and.earnings.of.ihe                    Child




                                  the    power       to   consent      to   marriage           to   enlistment             in   the   armed        forces      of the    United

                                  States       and     to    medical     psychiatric           and    surgical         treatment




                                  the    power       to     represent       the   Child    in       legal       action      and       to    make other decisions              of

                                  substantial                                                             the    Child
                                                     legal     significance        concerning



                                  the    power    to      receive     and   give    receipt for            payments             for the     support       of   the   Child   and

                                  to    hold or disburse any funds                 for   the    benefit         of   the    Child and

                                  any     other      rights      privileges         duties          and     powers              existing      between          a     managing
                                  conservator          and    Child    by   virtue   of   law.




 Visitation          and Access



                    IT   IS   ORDERED           that   Respondent Mother                   DONNA SUE SOLIZ                                 shall   have    reasonable        visitation   and access



 to   the Child as agreed                 upon and arranged by                the    Managing Conservator.



                    IT   IS   ORDERED           that      Respondent         Father            RAUL         EDWARDO SAENZ                           shall      have     reasonable     visitation   and




 access        to   the Child as agreed                upon and arranged by                the       Managing Conservator.


Additional               Orders



                IT IS         ORDERED           that   all   relief   requested      and        not   expressly             granted herein           is   hereby denied.




                                SIGNED          this             a                         day        of                                                                       1997.




                                                                                                                                  udge Presiding




ORDER MODIFYING                      MANAGING             CONSERVATOR
In   the   Interest      of   Mark     Soliz   AKA Saenz         Child   - Cause         No.        56079-J

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 APPROVED




 Referee




 APPROVED AS TO FORM




                                        29f     41.1

 Nancy      DeW             Assistant Criminal    District     Attorney

 2700 Ben Avenue               Fort     Worth Texas 76103

 817        534-1003       Ext 361 or 420

 State Bar No.            00790589




APPROVED AS TO FORM AND SUBSTANCE




     44ý                                           j
                                                                 OF         -okl




Hugh        Sage
Attorney         d   litem for    the   Child


316     Bailey   Ave.       Suite   100

Fort    Worth Texas 76107

817      335-7748

State Bar No.          17688400




ORDER MODIFYING                   MANAGING CONSERVATOR
In   the Interest    of    Mark   Soliz   AKA Saenz    Child   - Cause    No.   56079-J

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                              TEXAS DEPARTMENT                                   OF PROTECTWE
      E OF

                                            AND REGULATORY SERVICES




  INTERIM           EXECUTIVE               DIRECTOR                                                             BOARD MEMBERS
                                                                                                                              Susan   Stahl
 Mart Hoffman
                                                                                                                     Chairperson      Dallas

                                                       December            11      1995                               Jean P.     Beaumont

 HUGH      SAVAGE                                                                                                                     Bryan

                                                                                                                     Jon Martin Bradley
 ATTORNEY          AT    LAW
                                                                                                                                      Dallas
 316    BAILEY          AVENUE
                                                                                                                        Maurine Dickey
 SUITE       100
                                                                                                                                      Dallas

 FORT WORTH              TEXAS        76107
                                                                                                         Catherine    Clark   Mosbacher
                                                                                                                                   Houston

 RE          CAUSE       NO.        56079-J                                                                                Bill    Sheehan
                                                                                                                                     Dumas
             IN THE          INTEREST       OF MARK     SOLIZ       AKA SAENZ


 Dear Mr.          Savage


 Enclosed          please       find    a    copy of      the     signed     Agreed     Temporary        Orders in        regards        to
 the    above       styled cause.


 If    I     can        be     of    further         assistance           please      contact.      me   at    817         534-1002
 extension          251.



 Sincerely



      2ebec4
 Rebecca       Vondra

 Legal       Assistant


 Enclosure


 cc          Sandra          McGuire     CPS    Specialist               B19-1

             Gloria Corder              CPS Supervisor                  819-1
             Financial          Services       Specialist
             File




                                              2700   Ben Street   Ft.   Worth Texas   76103-2947


                                                                  8l7      Q.002


                                               AN EQUAL       OPPORTUNPI-Y EMPLOYER
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                                                                                           CAUSE NO. 56079-1


 IN    THE INTEREST                   OF                                                                                                                                   IN       THE JUVENILE COURT


MARK          SOLIZ
                                                                                                                R


AKA                                                                                                                                                               OF TARRANT                 COUNTY             TEXAS
 SAENZ

A     CHILD                                                                                                                                                                    323RD DISTRICT                 COURT


                                                                                  AGREED TEMPORARY ORDERS



                  On     this         7th        day of               December           1995 came                  on   to   be heard           the application          of   the   TEXAS            DEPARTMENT

OF PROTECTIVE AND REGULATORY SERVICES                                                           the    Petitioner             herein       for   Temporary Orders concerning                           the   Child   who


Is   the   subject       of   this    sulc.




APPEARANCES


                  The TEXAS                DEPARTMENT                    OF PROTECTIVE AND REGULATORY SERVICES                                                          appeared           by   Its   representative




HEIDI       SCHMIDT               and by        Its   attorney          of record       KELLYE        R.    SWANDA.


                  Respondent            Mother         DONNA              SUE SOLIZ             did/dW.             of appear.


                                                                         hs
                  Respondent            Father        RAUL EDWARD                     SAENZ          dld/did-net              appear.



                  HUGH SAVAGE                         appointed           by   the    Court    as    Attorney            ad Iltem appeared                   on   behalf       of    the    Child      the   subject    of



this suit    and     Indicated          his 9ier      agreement           with    the    provisions        of    this    Order       as    evidenced         by   his
                                                                                                                                                                        signature.




JURISDICTION


               The Court               after considering                the    pleadings   and arguments                  of   the    parties        finds   that   all    necessary         prerequisites       of law



have       been    satisfied         and    that   this     Court       has    jurisdiction     of    the   parties           and    subject      matter of        this   Cause under            the    provisions      of



Section      105.001             and       262.001          Texas Family Code.



               The Court               finds    that      all    reasonable          efforts   have been             madeto           prevent        or   eliminate the              need    for      removal    of    the




Child      from    the    home.            The Court            finds    that continuation            of   the      Child In        the    home would be            contrary          to the     welfare      of the




Child.       The Court               finds     that    the       TEXAS DEPARTMENT                          OF PROTECTIVE AND                                 REGULATORY                    SERVICES           agrees    to




make       reasonable           efforts to      reunite the             family.




               The       Court         finds    that       the        following      Orders     are    necessary              for    the    safety    and     welfare          of    the    Child      and    that   such



Orders       are    In   the    best Interest          of       the   Child.




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 CONSERVATORSHIP


               IT       IS   ORDERED            that      Petitioner      be and    Petitioner      Is    hereby      appointed        Temporary            Managing        Conservator       of    the




 Child the     subject          of   this   suit




                     NAME                                                                                MARK        SOLIZ

                     SEX                                                                                 Male

                     DATE OF BIRTH                                                                       January      27 1982
                     PLACE OF BIRTH                                                                      Fort   Worth Texas
                     RESIDENCE                                                                           Tarrant County Texas

                   SOCIAL SECURITY                        NUMBER

              IT     IS      ORDERED           that the      Temporary Managing                 Conservator        shall   have     all   the   rights      privileges      dudes and        powers



 of   a   non-parent Temporary Managing                            Conservator      as   provided        In Section     153.371 Texas Family Code.


 VISITATION                  AND ACCESS

              IT     IS      ORDERED           drat   Respondent          Mother         DONNA           SUE SOLIZ          shall     have      reasonable        visitation as     arranged        and


 supervised        by     the    TEXAS       DEPARTMENT                OF PROTECTIVE                AND REGULATOR                         SERVICES.

                                                                                                                 S
              IT   IS     ORDERED              that   Respondent          Father    RAUL-EDb                    -SOUL        shall     have     reasonable        visitation as     arranged        and



 supervised        by     the    TEXAS       DEPARTMENT                OF PROTECTIVE AND REGULATORY                                       SERVICES.



 ADDITIONAL ORDERS


              IT     IS      ORDERED           that       Respondent         Mother        DONNA            SUE       SOLIZ       submit        to    a   psychological        evaluation      to    be



 arranged     by     the     Texas Department of Protective                     and      Regulatory       Services.




              IT   IS     ORDERED              that   Respondent          Mother       DONNA             SUE    SOUZ       make        the   results      of   the     psychological      evaluation




 available    to     the        Texas Department              of   Protective      and    Regulatory        Services       the    attorney        ad      litem   for the      children     and     the



 Court.



              IT     IS      ORDERED                  that    Respondent           Mother         DONNA            SUE      SOLIZ            paNdpate             In    random      urinalysis       as




 recommended by                  the   Texas Department              of   Protective      and Regulatory          Services.




              IT     IS      ORDERED               that    Respondent         Mother         DONNA              SUE    SOLIZ          attend         parenting         dames   at   the   Parenting




 Guidance      Center           as   arranged      by   the   Texas Department of               Protective       and   Regulatory         Services.




                     Signed          this                                    day of                             CI/        1lý                                    1995.




                                                                                                  %idlng

 AGREED       TEMPORARY                     ORDER
 In   the Interest      of   Mark      Soliz   aka    Saenz     A    Child   - Cause      No.   56079-J

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  APPROVED AND AGREED                                TO




  Held Schmidt
 Authorized             Representative

 Texas Department of                   Protective

 and        Regulatory        Services




                                                               /

 Donna          Sue    Soliz


 Respondent             Mother




                                                          L11
      ul    Edward       Sa    nz
                        Father
 Respondent




 APPROVED AS TO FORM




 Kellye         R.   Swan
 Assistant Criminal District                   Attorney

 2700           Ben   Avenue   Worth Texas
                                      Fort                     76103

 817            534-1002 ext. 361 or 420
 State      Bar      No. 00792864




 APPROVED AS TO FORM AND SUBSTANCE




 ýadHwnlid
    Baey                      Suite    100

                     th Texas       76107

 817            335-7748
 State      Bar No.           17688400




 AGREED              TEMPORARY           ORDER
 In   the    Interest    of   Mark     Soliz   aka   Saenz A   Child   - Cause   No.   56079-J

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                                         TEXAS DEPARTMENT OF PROTECTIVE AND REGULATORY SERVICES




          EXECUTIVE         DIRECTOR                                                                                         BOARD MEMBERS
          Janice   M.   Caldwell   Dr.   P.H.


                                                                   NOVEMBER            29   1995                                     Susan Stahl

                                                                                                                                    Chan
 HUGH SAVAGE
                                                                                                                                            Dallas




 ATTORNEY AT LAW                                                                                                                 Penny   Beaumont


 316 BAILEY AVENUE
                                                                                                                                             Bryan

                                                                                                         40V      9    p6M
 SUITE             100                                                                                                            Frank Davila   II



                                                                                                                                     San
                   WORTH TEXAS
                                                                                                                                           Antonio
 FORT                                                    76107
                                                                                                                       Maconda   Brown OConnor


 RE
                                                                                                                                           Houston
                   ATTORNEY AD LITEM APPOINTMENT
                   IN   THE INTEREST                      OF     MARK   SOLIZ      AKA SAENZ
                                                                                                                                    Bill   Sheehan

                                                                                                                                            Dumas
                   CAUSE       NO.. 56079-J



 Dear Mr. Savage



 The above              styled     cause has been set for a               SHOW CAUSE HEARING                      on   DECEMBER
 71995             at   200 p.m.              in   Judge Boyds         Court.



 You have been                appointed by the Court as Attorney ad Litem to represent the Child in this cause.



 Enclosed please               find       a copy of the           ORIGINAL PETITION              and the    EMERGENCY
 PROTECTION                   ORDER                  on the above cause.



 Also        please       note there            is   a   STATUS        REVIEW HEARING                 scheduled   for   FEBRUARY 1
 1995         at    200 p.m.             in   Judge Boyds          Court.



 If   I   can be of any assistance please feel free to contact                              me   at   817   534-1002     extension 251.




                                     c
 Sincerely




 eý                CClo    Van

 Rebecca            Vondra

 Legal Assistant



 Enclosures



 cc            Heidi Schmidt                    CPS       Specialist     819-1

               Gloria Corder                  CPS        Supervisor       819-1

               Financial           Services           Specialist

               File




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                                                                                       CAUSE NO.



  IN THE        INTEREST                  OF                                                                                                                                          IN      THE JUVENILE COURT




  MARK         SOLIZ                                                                                                                                                     OF TARRANT                    COUNTY                 TEXAS




 A CHILD                                                                                                                                                                            323RD JUDICIAL                     DISTRICT


                                                          ORDER FOR PROTECTION OF A CHILD IN AN EMERGENCY
                                                                      AND NOTICE OF HEARING

                   On          this   day     the     Original Petition                and   Request            for   Emergency            Protection         Orders          filed      In   this
                                                                                                                                                                                                      cause     was     presented




 to     the   Court.              Petitioner         the    TEXAS             DEPARTMENT                    OF PROTECTIVE AND REGULATORY                                                  SERVICES             has     established




 its    Interest    In the            Child     MARK              SOLIZ by           the   Ming of an            Original         Petition       In   a Suit Affecting             the Parent-Child             Relationship.




                   The Court              finds      that    it    has jurisdiction          of    this     cause     under        Section       262.001           of   the    Texas Family Code.



                   The Court               further          finds       that    Petitioner            the      TEXAS             DEPARTMENT                  OF PROTECTIVE                       AND          REGULATORY


 SERVICES               has       taken     possession of the                  Child       MARK           SOLIZ.



                   The Court               finds      that        the    parents       or    legal        guardian         of the         Child       were    provided         a    written          notice     of removal               as




-required       under             Section       262.109 of               the    Texas Family Code.



                   The Court              finds      that there          Is   a continuing            danger      to       the    physical      health       or   safety     of the       Child       and    there     Is   not time



 consistent        with           the   physical      health           and    safety    of   the      Child for        a   full   adversary           hearing     prior to      the      granting       of    this   order.




                   The Court              finds      that    all       reasonable       efforts consistent                 with     the    time       and circumstances                  and     In   accordance             with       42


 USC       Section            671a15                 and      672a1                  have been            made        to    prevent or           eliminate         the       need     for     the     removal of            the    Child




 and     to   make           it   possible      to   return        the       Child   to    the     parents       or other person                 entitled to        custody         of    the    Child but           that     It   Is   not



 In    the Childs             best Interest          to    be     In   the    possession         of   the      parents      or other           persons    entitled to custody.




                                          the   Court         finds      that the       following orders are In                     the    best Interest          of   the   Child.
                Therefore



                   IT    IS       ORDERED             that        MARK          SOLIZ        the      Child       the      subject        of   this    lawsuit     be    placed          under       the    care     control            and



 protection         of         the     Petitioner         and      that the         Petitioner           the    TEXAS             DEPARTMENT                 OF PROTECTIVE                          AND REGULATORY

 SERVICES               Is     appointed Temporary Managing                                Conservator of                  the    Child.




                   IT        IS    ORDERED                 that        the    Petitioner           the      TEXAS           DEPARTMENT                    OF PROTECTIVE                          AND          REGULATORY


 SERVICES                                                                     any medical or                               care    that    may be        required for the                Child       pending     the        hearing      in
                        Is     authorized         to consent             to                               surgical




 this   Cause under                   Section     262.201               of    the   Texas Family Code.




                                                                                                                    371
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                                                                                         be                                                                                tectlon         of   the
                IT   I    ORRDERED          that a      full   adversary       hearing         held   to   provide      for        temporary         ca        aandd   p

                                                                                                                                                         ýý                     1995
 Child at                                   m. on       the                                           day of                                                                               In   the




                          2701     Kimbo Road                                                                      of          Court                      of           same
                                                                  Worth Texis and             that the     Clerk        this            Issue   notice         the              to   all   parties
 Juvenile       Court                                      Fort




 entitled    by   virtue    of   Sections    102.009            of    the   Texas   Family    Code.



                IT   IS   FURTHER      ORDERED                 that                      I4wa-                       a licensed        attorney     Is
                                                                                                                                                         appointed         as   Attorney        ad




 Iltem   of the      Child.




                                                                                                                                                                           1995.
                              ORDERED            this                                           day of




                                                                                                      Judge    Presiding




                                                                                                                               p Cy             D




 EMERGENCY                PROTECTION         ORDER
 In   the   Interest of     Mark   Soliz.    A   Child


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                                                                               CAUSE NO.



 IN   THE INTEREST                 OF                                                                                                 gib    2IN      THE-JUVENILE          COURT



MARK SOLIZ                                                                                                                               OF TARRANT            COUNTY TEXAS

          Oka              5.3L                                                                                         Lý




A     CHILD                                                                                                                                     323RD JUDICIAL DISTRICT


                                                              ORIGINAL PETITION IN A SUIT AFFECTING
                                                                 THE PARENT-CHILD RELATIONSHIP


         This      Suit     Affecting       the       Parent-Child           Relationship    Is    brought        by   the     TEXAS         DEPARTMENT            OF PROTECTIVE


AND REGULATORY                          SERVICES an authorized                         agency      located       at   2700 Ben         Avenue         Fort   Worth     Texas     76103


represented          by     TIM      CURRY             Criminal        District      Attorney of Tarrant              County Texas             through       KELLYE    R.   SWANDA

Assistant      Criminal District Attorney.



                                                                                                   1.




         This Court          has exclusive            Jurisdiction      of   this suit   under    the     provisions     of Tide     V   of   the   Texas Family Code.



                                                                                                  II.




         The       following       child   Is   the    subject     of   this    wit


         NAME                                                                                          MARK      SOLIZ

         SEX                                                                                           Male

         DATE OF BIRTH                                                                                 January   27      1982
         PLACE OF BIRTH                                                                                Fort   Worth Texas
         RESIDENCE-                                                                                    TarrantCounty Texas
         SOCIAL SECURITY                        NUMBER                                                 XXX-XX-XXXX




         III-The   mother         of the   child       Is   DONNA            SUE SOLIZ who                date   of    birth   is   October      1 1959        whose    social   security




number        Is   XXX-XX-XXXX                  whose       drivers      license      number      is    unknown         and    whose        address   Is   3116    Bright   Street     Fort



Worth      Texas       76105.


         Process should be served                      at that address.




         The       alleged    biological        father      of   the    child   Is   RAUL EDWARDO                 SAENZ         whose whereabouts            are   unknown.



         Efforts      are    being    made        to locate       him.



         No    service       Is   necessary       at   this   time.




                                                                                                  IV.




         There       are    no     court-ordered                                                               or other court-ordered                                            the   child
                                                            conservatorships           guardlanships                                                relationships   affecting




In   this suit.




                                                                                             373
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                                                                                                                                     V.



                No        property                 Is   owned         or    possessed          by     the        child subject            of   this    suit




                                                                                                                                    VI.




                Pursuant                 to    Chapter           262 of                the    Texas        Family        Code          Petitioner             alleges      that      there        Is   an     Immediate danger                  to       the




 physical            health              or    safety         of the        child       and     there       Is    no time           consistent         with        the    physical         health       or    safety       of   the    child       for   an



 adversary                    hearing.              Petitioner             alleges       the    facts       as     set      forth     In    the       attached           affidavit         Incorporated               herein          by reference



 requires that                     the        child      be afforded              protection              under        the     provisions         of Chapter              262 of          the    Texas Family Code.



                Petitioner                further            alleges       that        reasonable          efforts       have been               made         to   prevent          the    removal            of or        eliminate         the    need



 to    remove                  the       child          from    the        possession          of the parent or person                          entitled       to    custody         of    the     child.




                                                                                                                                    VII.




                Petitioner                alleges            that     termination              of    the     parent-child                 relationship             between          DONNA                SUE SOLIZ and                    the       child




 would              be    In       the        best      Interest          of     the    child    as       provided            by    Section           161.001             of   the    Texas Family code.                          As ground              for




 termination                       Petitioner            alleges that             DONNA               SUE SOLIZ                 has


                                               Knowingly                  placed         or knowingly                   allowed            the        child    to        remain       In     conditions               or

                                               surroundings which                        endanger            the       emotional or              physical          well-being         of    the    child or



                                               Engaged               In    conduct            or knowingly               placed           the     child       with       persons          who      engaged            In

                                               conduct           which endangers                     the     physical          or emotional              well-being            of    the    child or



                                               Executed               before            or    after       the      filing      of    this      lawsuit         an        unrevoked           or        Irrevocable

                                               affidavit         of relinquishment of                       parental           rights.




                                                                                                                                Vill.




               No man may                           be       presumed             to    be     the    biological              father       of the        child           MARK         SOLIZ              in   accordance              with     Section




 151.002 of                        the    Texas Family Code.



               RAUL EDWARD                                   SAENZ             has     been     alleged          to    be     the    biological          father      of    MARK            SOLIZ.



               A     parent-child                       relationship             as    defined        in Sections               101.003101.024                             and       101.025              of    the    Texas          Family        Code


does not                 exist       between                 RAUL EDWARDO SAENZ                                          the    alleged          biological.        father       and       MARK              SOLIZ.          Petitioner         alleges




that       the       establishment of                         the     parent-child             relationship              Is   not    In    the    best    Interest         of   the       child        and    requests          the    court    to    find




that       no       parent-child                    relationship               exists    and    to    so     decree.




               If    the           parent-child                relationship                  between             the    alleged           biological          father        and       the       child         has     been        is     or    will       be



established                    Petitioner                alleges          that    termination             of     the     parent-child             relationship             between           RAUL EDWARDO                              SAENZ          and



the    child                  In    the       best interest                of    the                      provided             by    Section          161.001             of   the    Texas Family Code.                         As grounds              for
                         Is
                                                                                        child        as




termination                        Petitioner            alleges          that    RAUL EDWARDO                              SAENZ has




ORIGINAL                 PETITION             IN   A    SUIT    AFFECTING               THE PARENT-CHILD                      RELATIONSHIP
In   the   Interest           of   Mark       Soliz.     A   Child


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                                          Knowingly                  placed          or     knowingly               allowed          the     child         to     remain           In    conditions          or

                                                                                                                                                                              of
                                         surroundings which                                                      emotion or                                                        the
                                                                                     endanger              the                        physical         well-being                            child or



                                          Engaged              In    conduct              or knowingly              placed          the    child      with        persons           who        engaged       In

                                          conduct which endangers                                the       physical       or emotional            well-being             of    the      child or



                                                                         and    with       knowledge              of    the       pregnancy           abandoned                the       mother       of   the
                                          Voluntarily
                                         child        beginning                at     a    time       during         her      pregnancy              with        the     child          and    continuing

                                         through               the       birth        failed         to     provide        adequate          support              or medical                 care   for    the

                                         mother            during              the     period          of       abandonment                before          the       birth     of       the    child       and

                                         remained apart from                              the    child      or   failed      to    support      the        child since         the       birth.




                                                                                                                              IX.




                 Petitioner          alleges          that          appointment                  of       the    TEXAS             DEPARTMENT                        OF PROTECTIVE                         AND REGULATORY

  SERVICES                  as     Managing Conservator would be                                           In the      best Interest         of      the    child      named above and                     requests        that    Court       to




  make           this   appointment                 as   provided              by     161.207              b      of   the    Texas Family Code.



                 In   the   alternative               should the               parent-child                relationship            not be terminated                   as    requested          above       petitioner           asks    to be



  appointed              Managing Conservator of                                 the      Child as          provided          In    153.371           of    the      Texas Family Code.                     Petitioner       alleges         that




  the        appointment              of      the     TEXAS DEPARTMENT                                          OF PROTECTIVE AND                                REGULATORY                       SERVICES           would        be    In   the




  best       Interest         of   the     child      and                            the    court          to    make     this      appointment             as    provided              by    Section      161.207 of             the   Texas
                                                                requests




  Family Code.


                                                                                                                              X.



              Petitioner            alleges        that        the       forgoing         facts      support        the      appointment              of    the      TEXAS DEPARTMENT OF PROTECTIVE


  AND REGULATORY                                   SERVICES                 as      Temporary Managing                         Conservator of the child                            pending          the    final    disposition         of   this




  suit.       Petitioner           requests           this     appointment                  as   provided by              Section          105.001              of     the    Texas Family Code.



                                                                                                                              Xl.




              Petitioner            represents            to        the court          that      DONNA               SUE SOLIZ should be ordered                                        to   make payments             for   the support



  of the         child      pursuant          to      Sections            105.001               and       154.001          of       the    Texas Family Code.



              Petitioner            represents             to       the     court         that       RAUL EDWARDO                          SAENZ             should           be ordered            to    make       payments           for the




  support             of the       child      pursuant              to    Sections          105.001              and    154.001            of     the      Texas Family Code.



                                                                                                                              XII.




                                                                                                                               ad                                            the    interests       of    the      child   the    subject      of
              Petitioner            requests             the    court          to    appoint          an        attorney             litem      to    represent




  this    suit.




                                                                                                                             XIII.




              PETITIONER                      IS      AWARE                    THAT             IT    IS    THE        POLICY              OF THE                STATE             OF TEXAS                TO PROMOTE                        THE


  AMICABLE                     AND            NONJUDICIAL                              SETTLEMENT                       OF DISPUTES                        INVOLVING                         CHILDREN               AND          FAMILIES.




  ORIGINAL              PETMON           IN   A   SUIT    AFFECTING                  THE PARENT-CHILD                   RELATIONSHIP
  In   the   Interest    of   Mark Soliz          A   Child

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  PETITIONER                   IS    AWARE          OF ALTERNATIVE                   DISPUTE          RESOLUTION           METHODS          INCLUDING                  MEDIATION.


  WHILE               PETITIONER                RECOGNIZES            THAT ALTERNATIVE                   DISPUTE       RESOLUTION               IS   AN        ALTERNATIVE           TO

  AND NOT A                    SUBSTITUTE              FOR      A     TRIAL        AND THAT           THIS CASE        MAY       BE TRIED            IF   IT    IS   NOT SETTLED

  PETITIONER                   REPRESENTS              TO THE COURT                   THAT           PETITIONER        WILL      ATTEMPT              IN       GOOD          FAITH   TO

  RESOLVE CONTESTED                               ISSUES       IN     THIS     CASE hY.ALTERNATIVE                     DISPUTE        RESOLUTION                     WITHOUT         THE


  NECESSITY OF                      COURT INTERVENTION.

                                                                                     PRAYYE$


                Petitioner                 that citation     and     notice   be   Issued to   all   persons   entitled   to   citation   and   notice         under   the   law.
                               prays




                Petitioner     prays       that   the court enter       Its   orders in   accordance      with   the   forgoing    allegations.




                Petitioner                 for general     relief.
                               prays




  Respectfully           submitted



  TIM CURRY                 Criminal        District   Attorney

  Tarrant         County Texas




                                                             GC
 KeMw-r.Cýýý
    e                      n

 Assistant            Criminal District Attorney

 2700 Ben Avenue                         FortWorth Texas 76103
 817             534-1002            Ext.   420 or 361
 State          Bar   No. 00792864




 ORIGINAL             PETITION      IN   A SUIT AFFECTING        THE PARENT-CHILD          RELATIONSHIP
 In   the   Interest    of Mark Soliz      A Child
 Page       4                                                                                  376
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                                                         AFFIDAVIT

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                                                                                                                -
                                                                                                                    3
 STATE    OF TEXAS
 COUNTY       OF    TARRANT
                                                                              TFiG                             ý.3
                                                                                     _
         BEFORE         ME      the     undersigned              authorit$               aNotary                Public          in     and

.fo     said       County State               of    Texas           on    this day personally appeared

 Heidi    M.       Schmidt who                 having           been      by me first duly sworn upon
 oath    deposes          and    says

                                                                               Child                Protective              Services
My      name       is     Heidi        Schmidt.            I        am    a

 Specialist             IV      for         the         Texas        Department                     of     Protective                  and

 Regulatory             Services.                  In     that           capacity               I        was        assigned            an




 SS452-87-2368.
 investigation               regarding         Donna        Soliz         DOB 10/1/59                      SS458-23-9714
 and her       son        Mark      Soliz           AKA Mark             SaenzDOB 1/27/82
                   Mark      had
                          placed   at   Buckners
                                       been        Childrens Home   by
Juvenile  Probation about 21 months ago.      His probation officer is

LeAnna Judd.   He has an extensive    juvenile history and was mostly
unsupervised  by his mother.   Ms. Soliz is an admitted drug addict

 and has       no
          permanent  residence. During the time that Mark was in
Buckners Home his mother called and visited about five times.
Marks probation officer could never reach Ms. Soliz as she had no
                    residence.                 Ms.        Soliz          rarely      made                attempts              to     call
..permanen
Marks         probation            officer          and        failed         to    follow               through           with        her

plan of        service.


Child Protective                 Services           has
                                                     investigated Ms. Soliz several times
 for    not
        supervising                    her     children properly.   Marks older brother
Michael who is 16                      is     in jail          at    this time            on burglary and                           stolen

vehicle        charges.             There          has     always  been concern expressed about
Ms.     Soliz parenting                    skills         in addition to her drug problem.


On   11/25/95                Marks          probation               had       expired                and       his        probation
officer and               staff       at    Buckners                could      not       reach            Ms.           Soliz.  All

                    the      concern        that        Mark     would-backslide                         into   delinquent
                                                                                                                     a
expressed
lifestyle if              sent     back       to    his mother.                He    has        been       doing very well
at Buckners               in    their        program. Although                     Ms.      Soliz          and           her    sister
                                           show up in court                          11/27/95                       judge       Menikos
Kathryn        Paloma            did                           on
                                                   to     Child          Protective                 Services              while        the
gave      temporary             custody
investigation              is    being        completed.




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 I   HAVE    PERSONAL     KNOWLEDGE   OF   THE   ABOVE   AND          I     SWEAR    IT   IS   TRUE   AND
 CORRECT.




                                                            AFFIANT




 STATE      OF   TEXAS
COUNTY       OF TARRANT
SWORN       TO    AND    SUBSCRIBED    BEFORE-     ME      on          the                      day    of
                         19




                                           NOTARY       PUBLIC            STATE      OF TEXAS


                                                                 9- /9-9             tr
                                                   MY        COMMISSION                   EXPIRES


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                                                                CAUSE NO.                                                          TA      R R




                                                                                                                                   95            NOV   23       2       ý3
 STATE OF TEXAS


 COUNTY              OF TARRANT
                                                                                                                                  THul                                  R
                                                                                                                                       DIS--     Fý
          BEFORE           ME    the      undersigned         authority on              this    day      personally    appeared          JULIE     VILLARS-LEVINS             Afflant       who


 having       been    by   me    first    duty   sworn       upon    oath      stated          the   following    and swore        tttat    it   was true


          Peddoner         has     not     compiled          with    Chapter            45         Human      Resources          Code      regarding     the   Interstate     Compact         for




 Placement of Children                   because   a    permanent placement                        for   MARK SOLIZ              has   not yet been      Identified.     However           once   a




 placement       Is   Identified         the   Petitioner     will   comply         with        ICPC       as necessary.




          I   AM      AWARE THAT                 IT    IS   THE POLICY OF THE STATE OF TEXAS TO PROMOTE                                                        THE AMICABLE                 AND

 NONJUDICIAL                SETTLEMENT                      OF DISPUTES                 INVOLVING                CHILDREN              AND        FAMILIES.         I   AM AWARE              OF


ALTERNATIVE                 DISPUTE              RESOLUTION               METHODS                    INCLUDING              MEDIATION.                 WHILE   I    RECOGNIZE THAT


ALTERNATIVE                 DISPUTE              RESOLUTION               IS   AN ALTERNATIVE                          TO AND NOT A                    SUBSTITUTE            FOR   A   TRIAL


AND THAT              THIS CASE                MAY      BE TRIED          IF   IT       IS    NOT SETTLED               I   REPRESENT             TO THE COURT THAT                    I    WILL


ATTEMPT              IN    GOOD           FAITH        TO RESOLVE CONTESTED                                   ISSUES        IN    THIS CASE BY ALTERNATIVE                         DISPUTE


RESOLUTION                 WITHOUT               THE NECESSITY                 OF COURT INTERVENTION.




                                                       0J                           t
                                                                                  A          ant




          Subscribed       and sworn           to before      me     on    this     the                       day of                                   1995.




                                                      6ým g gýLý                                               Texas
                                                                      otary Public                 State




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           Case 3:14-cv-04556-K
                          3193456 Document 24-53 Filed 08/02/16                                                                                                                                       Page 85 of 301 PageID 8518                                                        -
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 Pages 344 through   348 redacted   for   the   following    reasons




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                                                                                      Case           Name                    SolizDonna S
                                                                                                  Case                        17020998

                                                                                 Childs              Name                     Mark A              Soliz                                                  DOB             1127/1982



                                                                                  FOSTER CARE ASSISTANCE REVIEW




   4.   Resources                     -   Does the child have more than $1000 equity                                                           in    property              and resources                     Q Yes 0          No


   5.   Alien Status                      -   If   the child        is   a U.S.       citizen           skip           this    item.

        Is         the childs                 temporary-residence                         status          still        in   effect              ................................................                    QYes QNo

                       If
                             yes when does                   it   expire         ......................................................................................




                                                                                                                                                                 Effective              Date                 INS No.

                                                                            If
                                                                                  yes complete the following

                   If.no           has the           child        been     granted            permanent residency                                       ...........................................                 Q Yes Q           No


   6.   Address                    for    Form 3087 Medicaid                         I.D.      Card          -    if   form 3087                is   to be sent                to    someone             other than        the   childs

        caregiver                     specify         who
         Name


        Medicaid Card Address




   7.   Extended                      Education          -   If    the child         is    under 17 skip                       this        item.

             ili       the    child   finish       high school       or a                                                            Will the        child      finish      high                   Planned   Date   of   Completion

        Jcomplete                  a vocational       or technical                                                                 school         before         turning        20
        training              program         before   turning       19            Yes      QNo                                        0      Yes      Q      No                                   06-01-2000


   Attach          a        copy   of the     most    recent       court   orders to         this     review

    unless         the        court   has      not   issued       any    orders     since the           last      review.

                                                                                                                                            Signature                 -   Childs Worker                                     Date




                                                                                                                  382
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                                                                  Case        Name              SolizDonna S
                                                                          Case                  17020998

                                                                 Childs       Name              Mark A   Soliz                                DOB         1/2711982



                                                             FOSTER CARE ASSISTANCE                               ELIGIBILITY

                                                                                   DETERMINATION



   Medicaid        No.       Childs Worker                                              Mail     Code

   508092037                 Laura   A   Flores                                         0122




 Eligibility       Determination         -    based on



                     Foster      Care Assistance
               -                                                 Application



               x    Foster       Care Assistance                 Review



                                  Review
               _    Special



 Received on              date            01-28-98



 Eligibility       Status                    State-Paid




 Eligibility       Start    Date             1/28/1998

 Eligibility       Review        Date        1/28/1999

 Eligibility       End Date


 Medicaid          Eligibility    Group Regular


 Payment Computation                    for   LOC                  05                            Notifications

                                                                                                  Have you reported the childs health

 Daily    Rate           99.68           x 30                S   2990.40                          Insurance on Form 1039

                                                                                                        Yes                   X   N/A
                                                                                                   _
                                                                                                  Have you        notified   the childs       worker of   this


 Less Childs Monthly Income                                  $   0.00                             eligibility    determination

                                                                                                   X Yes             No       N/A



           MONTHLY PAYMENT                                   $   2990.40




                                                                                          the type of foster-care assistance specified above.
Comments-Explain                   why       this child           is   eligible for



 TMC      continues.                               review formplacement                         on CAPs     is   correct   and accepts         Loc 05.Child has no
                             Contrary         to


 income or child support.                 Bc       is   in   case.      SS    is   on   file.    Domicile did not exist at          initial   certification   for   an 08

 child.        TP10-A




                                                                              Wo        er
                                                                                                                                     I   A    Date
                                         Signature-               igibility




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                                                                           Case     Name              SolizDonna S
                                                                                   Case               17020998

                                                                         Childs     Name              Mark A         Soliz                                 DOB           1/27/1982



                                                                         FOSTER CARE ASSISTANCE REVIEW


           Race                              Sex                              Medicaid     No.               SSN
           White      Hispanic               M                                508092037                      XXX-XX-XXXX

           If   no   SSN       date   applied     for




           Workers         Name                                                           Worker      s   BJN               Mail   Code                    Telephone     No.            Extension

           Laura      A    Flores                                                         03163C03                          0122                           817     590-9508            255

           Workers Address              Street          City     State Zip
           401 W.         SANFORD STE 2040 ARLINGTON                                TX 76011-7087


    1.   Current       Placement
                                                                                                                                                    LOC
                                                                                 t
           Name       of   P            nt                                                                Facility
                                                                                                                     Number                               or Foster   Care    Daily   Rate
                                                                                    1.
           H              oun           enile     Prob.                                                                                             5

                ddress Street          City   State Zip                                                                                             Date Placed    in Facility


           1401      WARREN           DR      MARSHALL             Texas 75672-5893                                                                 11/28/1997



    2.   Deprivation            of Parental             Support      -   Address the conditions that apply now                               to   the   home from which          the child

         was removed.
                                                   Is   either    parent    receiving    disability    benefits       If   yes   describe.

           PARENTS                                Q Yes Q                   No
           LIVING                                  Is   the   primary      wage-earner     unemployed                 If   the parents    are not   married has    the   mans    paternity   been

          TOGETHER                                AFDC-UP                                                             established

                                                  Q Yes                       No                                      Q Yes Q                No

                                                  Check        one
           PARENTS NOT                                    Never Married                   Q      Separation                      Q Divorce
          LIVING       TOGETHER
                                                  Q       Desertion                        Q     Incarceration                   Q Death
          CHILD REMOVED                           Name        of Relative                                                                           Relationship   to Child

          FROM A RELATIVE

                                                                             Date   of Termination

          PARENTAL              RIGHTS TERMINATED


   Comments



   3.    Childs Currently Effective                           Incomes          and Resources


                     Income
                 Income         Type                     Amount                  Verification         Method                     Source


                                                10.00




                  Income         Not Listed Above
                 Income         Type                     Amount                  Verification         Method                     Source




                  Resources
                Resource        Type                     Amount                  Verification         Method                Accessibility

                                                  0.00
                                              1




                  Resources Not Listed Above
                Resource Type                            Amount                  Verification         Method                Accessibility



                                                                                           384
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                                                                                          Case           Name                    SolizDonna S
                                                                                                      Case                       17020998

                                                                                     Childs              Name                    Mark A               Soliz                                                DOB          112711982



                                                                                      FOSTER CARE ASSISTANCE                                                            REVIEW




   4.   Resources                  -   Does the child have more than $1000 equity                                                                  in     property                and resources             Q Yes            No


   5.   Alien Status                   -   If    the child            is   a U.S.         citizen skip                      this    item.

        Is   the         childs            temporary-residence                                 status          still        in   effect             ................................................               QYes QNo

                  If
                        yes when does                          it
                                                                     expire          ......................................................................................




                                                                                                                                                                      Effective           Date              INS No.

                                                                                                                             the following
                                                                                If
                                                                                      yes complete

                  If    no has             the     child            been    granted permanent residency                                                      ...........................................           Q Yes Q           No


   6.   Address for Form 3087 Medicaid                                                    I.D.     Card           -    if   form 3087                is    to    be sent to someone other than the childs

        caregiver                 specify           who
         Name


        Medicaid Card Address




   7.   Extended Education                                 -    If   the child            is    under 17 skip this item.
                  the    child                                              a                                                            Will the          child     finish        high        Planned      Date   of   Completion
             II                    finish        high school           or

        complete              a   vocational         or technical                                                                        school         before        turning       20

        braining         program            before    turning              19 QYes QNo                                                      Q      Yes      Q       No


   Attach     a        copy   of the       most     recent           court orders            to   this     review

    unless        the court        has          not issued           any   orders        since the           last      review.

                                                                                                                                                 Signature
                                                                                                                                                                              -   Childs Worker                            Date




                                                                                                                       385
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                                                                       Case     Name             SolizDonna S
                                                                               Case              17020998

                                                                  Childs        Name             Mark A      Soliz                                  DOB             112711982



                                                                      FOSTER CARE ASSISTANCE REVIEW


          Race                         Sex                                Medicaid    No.            SSN

          Hispanic                     M                                  508092037                  XXX-XX-XXXX

          If   no   SSN     date applied    for.




          Workers          Name                                                      Workers      BJN               Mail   Code                     Telephone      No.             Extension


          Sandra          M quire                                                    03154C02                       8191                            817     590-9508              251

          Workers Address            Street        City     State Zip
          951    W    PIPELINE       ROAD     SUITE         310       HURST TX       76053-4849


   1.   Current       Placement
          Name       of   Placement                                                               Facility   Number                         LOC    or Foster     Care    Daily   Rate

                    House                                                                         200184                                    4
          City

          Address                          State Zip                                                                                        Date   Placed   in
                          Street    City                                                                                                                         Facility


          902    E 16TH      ST     PLANO          Texas 75074-5810                                                                         1/14/1997




   2.   Deprivation          of Parental       Support            -   Address the conditions that apply now to the home from which the child
        was removed.
                                             Is    either    parent     receiving   disability   benefits     If
                                                                                                                   yes   describe.

          PARENTS                            Q       Yes                No
          LIVING                                   the                                unemployed                   the parents    are not   married has     the    mans     paternity   been
                                             Is          primary       wage-earner                            If




          TOGETHER                           AFDC-UP                                                          established

                                                     Yes          Q       No                                         Yes             No


                                             Check        one
          PARENTS NOT                                Never Married                   Q      Separation                     Q Divorce
          LIVING      TOGETHER
                                             Q       Desertion                       Q      Incarceration                  Q Death
         CHILD REMOVED                       Name         of Relative                                                                       Relationship    to Child

         FROM A RELATIVE

                                                                         Date   of Termination

          PARENTAL           RIGHTS TERMINATED


   Comments




   3.   Childs Currently              Effective          Incomes           and Resources


                    Income
                Income Type                         Amount                     Verflcatlon       Method                  Source


                                           10.00




                    Income Not Listed Above
                Income       Tye                    Amount                     Verification      Method                  Source




                    Resources


                                                                                                                                     9
               Resource       T pe                  Amount                     Verficatlon       Method              Accessibill


                                             0.00




                                                                                       386
Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16                                                                                                          Page 92 of 301 PageID 8525
                                                                                      Case         Name                    SolizDonna S
                                                                                                Case                       17020998

                                                                                 Childs            Name                    Mark     A     Soliz                                              DOB           112711982



                                                                                  FOSTER CARE ASSISTANCE                                                 REVIEW


                          Resources Not Listed Above
                     Resource T                pe                  Amount                       Verification               Method                 Accessibility




    4.   Resources                -   Does the child have more than $1000 equity                                                       In   property            and resources                 Q Yes Q No
    5.   Allen Status                 -   If   the    child        is   a U.S. citizen skip                         this    Item.

         Is         the childs            temporary-residence                             status       still        in   effect        ................................................              QYes QNo

                     If
                          yes when does                     it    expire         ......................................................................................




                                                                                                                                                      Effective           Date                 INS No.

                                                                            If
                                                                                  yes complete                       the following


                     If   no   has the child been granted permanent residency                                                                  ...........................................           Q Yes Q No
   6.    Address for Form 3087 Medicaid                                              I.D.    Card         -    if   form 3087          Is    to   be sent to someone other than the childs

         caregiver               speci              who
          Name


         Medicaid              Card Address




   7.    Extended Education                             -    If   the child          is   under 17 skip                    this     Item.

              ill    the child    finish high school                or a                                                      Will the child         finish     high             Planned      Date   of   Completion

         complete              a vocational          or technical                                                            school       before      turning       20
                fining     program        before      turning       19             Yes          No                              Q Yes               No


   Attach           a copy     of the     most       recent       court   orders       to   this   review

    unless          the court     has      not issued             any   orders      since the        last      review.

                                                                                                                                    Signature             -   Childs Worker                                  Date




                                                                                                               387
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                                                               Case     Name          SoIIzDonna S
                                                                       Case           17020998

                                                          Childs        Name          Mark A        Soliz                             DOB         1/27/1982



                                                          FOSTER CARE ASSISTANCE                             ELIGIBILITY

                                                                            DETERMINATION



   Medicaid     No.          Childs Worker                                          Mail   Code

   508092037                 Sandra      Mcguire                                    8191




 Eligibility       Determination          -   based on



                    Foster       Care Assistance
               _                                           Application



               x      Foster       Care Assistance             Review



                                   Review
               _    Special



 Received          on   date                  01130/1997


 Eligibility       Status                     State-Paid




 Eligibility       Start   Date               1/1/1997

 Eligibility       Review Date                1/1/1998

 Eligibility       End Date


 Medicaid          Eligibility     Group Regular


 Payment Computation                    for    LOC                                                      Notifications

                                                                                            Have you         reported the childs health

 Daily   Rate           82.64                   x     $   2479.20                           Insurance on Form            1039
 30                                                                                               Yes                   X      N/A


                                                                                            Have you         notified   the childs    worker of   this


 Less Childs Monthly Income                           $    0                               eligibility    determination

                                                                                            x      Yes             No       N/A



           MONTHLY PAYMENT                            $   2479.20




Comments-Explain                    why       this child       Is   eligible for    the type of foster-care assistance specified                         above.


Child    is    15 years          old.   He does      not   have any income.                Child    was removed from mother who had 0 income.
 Parents did not            live    together.        Court orders        receive with           proper language.            Child   removed from Buckners

after    21 month stay at Juv.                   Child    continues       to   be   eligible      for   TP   10.




           1nard/11o                                                                                                     01/30/1997



                                        Signature-Eligibility           Worker                                                       Date




cc




                                                                                     388
              Case 3:14-cv-04556-K Document 24-53 Filed   08/02/16
                                                     Texas Department                                                                                                                       of
                                                                                                                                                                                                   Page 94 of 301 andPageID
                                                                                                                                                                                                                      Regulatory
                                                                                                                                                                                                                                 8527
                                                                                                                                                                                                                                  Protective                                             Services



                                                                                                                                                   FOSTER CARE ADOPTION AND CONSERVATORSHIP
  6                                                                                                                                                TRACKING SYSTEM FACTS-Turnaround Document
               WORKER        MAIL CODE                                                                      128-6
               SHIRLEY  DOMINY.                                                                                                                    WORKER                       INFORMATION

               BJN          03102C04                                                                                                                  1.    Worker      Name Last                                                                           First



               FT WORTH                                                                                                                                             MCGUIRE                                                                                         SANDRA
                                                                                                                                                                                                                                                                       Code


D
                                                                                                                                                      2.    Emp. No.                   3.   BJN                                                            4. Mail                      S.   Todays          Date


  1
                                                                                                                                                                4       1                         03             5       C        2                         1986
                                                                                                                                                      6.    Worker      Responsibility



                                                                                                                                                                        511



    Initiate
                                                                                                                                                                                                       Responsibility                                      112-CourtesySupervslon


CLIENT INFORMATION                                              PROCESS DATE
                                                                                                                                                                                                                                                                                                              Date
                                                                                                                                            Code                                                                                                                                               Effective

                                                                  08-12- 96                                                      Action                                                                                                                                                 9.
                                                                                                                            8.
                                                                                                                                                                                                                           Terminate

  08.9                                 37                       ACTIVE                                                               1-Tracking                                 2-Update                             3     Tracking                                 4-Close                    0        -
                                                                                                                                                                                                                                                                                                              8M
                                                                                                                                                                                                                                                                                                                  4          6

1.10.Cllent..Name.
                              Las      ......................................................ý.ýýýý                                               ý   ý.ýý.xsýz%..                                                         11.    Social      Security.     No.                          12.     Date    of



                                                                                                                                                                                                                                          452812368                                          .01-27.8

                                                                                                                                                                                                                                                               14   Sex
 13.   Ethnic Group

                                                                                                                  4-American           Indian                             5.Oriental                                 6-Other                                           1-Female                               2-Male
                                           2-Black
               1-Anglo                                                   3-Hispanic

                                                                                                                            a
IS.    CLIENT CHARACTERISTICS-Check                                all   that    apply enter           an     to delete          characteristic



          02-90nd                                                         05-Men         ally   Retarded                           L        08Refugae/Entrant                                            11-Medically             Fragile
                                                                                                                                                                                                                                                               15.a.    Certification           Worker        BJN


                                                                          06-Emotionally              Disturbed
          03-Deaf                                                                                                                           09-Migrant


                                                                                                                                            10-None
          04-Physically           Handicapped                             07-Sibling           Group




              16.                            Name     enter       last    name                                                                                                                   17.    Family ID          Client     No.     must     be      registered          on   SSMS
                    Family     Identifier                                              first


  2                      SOI       I
                                       Z                                        DONN             A                                                                                                508092036




        704-34-Truant
18.    CLIENT TYPE                                                                                                  19.   ELIGIBILITY             STATUS                                                                                                                                                              Recom.
                                                                                                                                                                                                                             Certification/

                                                                                                                                                                               MAO                                                            Date                  20.a.    Denial Date                     20.b.LOC
  X                                                                                                                         01-SSI                                                                                   20.     Eligibility
        31-Abuse/Neglect                                        Non-adjudicated
                                                                                                                                                                        09-Foster          Care
                                                          37-CHINS
        32-Abuse                                                                                                            02 AFDC         Rec.


                                                                                                                                                                                                                                      -
                                                                                                                                                                               State   Paid
                                                                Adjudicated Delinquent-
                                                          38-   Court Ordered                                               03-MAO                                      10-FosterrCere                                        1               7            5
        33-Neglect
                                                      I




                                                                                                                                                                                          FC
                                                                Protective       Placement                                  04- Inc.      Ellg.                                AFDCIMAOISPFC
                                                                                                                                                                                                                                          Billing
                                                          42-Non-AbusejNeglect                                                                                                  pp Pe  n9
                                                                                                                                                                        1114




                                                                                                                                                                                                                                  20.c.   LOC                       21. Review          Date                       22.   Priority

        35-Runaway
                                                                Interstate                                                  OS R     egardt                                    Cat 5 R/E
                                                                                Compact          for

                         CHINS
                                                                                                                                                                                                                                                                    F.112
                                                          43-Placement            of Children.
                                                                                                                                   AFDC
                                                                                                                                                                                                                                      047
               Adj.

                                                                                                                                                                                                                                                                        -                       - 26
        36     Court Ordered
                                                          44Post-AdoPUon                                                    08     Fast     Care                K   ..1EA
                                                                                                                                                                      6-                     T..        X   I


                                                     LEGAL INFORMATION                                                                                                                                                                                                                  27.    ARE/
                                                                                                                                                                            1       26.    PERMANENCY                    GOAL                                                           OTHER EXCHANGE
 23.    STATUS-Initiate/Update                                  Terminate/Close

                                                                                                                                                                                                   Family                                                      TC Save       4
                                                                                                                    Legal Status Date                      25.County
  X
                                                                                                            24.
               Man.      ConservatorshippJ                                   Adoption                                                                                                                                                                                                              1-   NA
                                                                                                                                                                                            01-Preservation                                                 Oisabt......
        Of- Parental         Rights Not Term.                       06-Com              eta

                                                                                                                                                                                                   Family                                                  3Foeti.Gr.irj

                                                                                                                           -
               Man. Conservatorship
                                                                                                                                      -
                                                                             Child

        02- Parental   Rights Term.                                 07-Emancipated                                  1.                       5                      2    0             X    02-Reunification
                                                                                                                                                                                                                                                                                                   2-ARE


                                                                                                                                                                                                   Perm. Placement                                          .FeetC        e...                          ARE       8 Other
                                                                             Child



                                                                                                                                                                        A
               Voluntary
                                                                       O9-Died                                                                                                              03     with Relative                                       08 Cg dmllme                                3    Exchange
        03-Relinquishment
                                                                                                              STATE                   PAID                     FC                                                                                          Otht
                                                                                                                                                                                                   Adoption by                                                       loriy
               Voluntary       Placement                                  PRS Respons.
                                                                                                              OPEN                                                                                                                                                                                 4-No
                                                                       OB-Terminated                                                                                                        04     Non      Relative                                   OB3ermCaie
        04-Agreement

                                                                                                              CLOSE                                     -                                          Trons
                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                      serv...
               Other Legal Basis            for

        05-PRS                                                                                                                                                                              O      to   C   rsglije
                                                                                                                                                                                                                                                       10-Adult       Living

L-L
                         Responsibility




 PLACEMENT                        INFORMATION-Do                             not enter Item                   28 Line except                          on corrections.
                                                                                                      How                                   No.                                 Residence              Name
        28.    Una          29.    Date Placed                   30.     Uv.    Arr.            31.         Prov          32. Facility                                   33.
134.




  3
         01                   Q2-r17-i94                                        21                          13.                       25.5262                                                           UC           N                BAPTIST                          CHILOR
                                                                                                                                                                                                                                                                             ZIP
       Residence           Street      Address                                                                                                    35       City
                                                                                                                                                                                                                                                     36. St.           37.                                  38.    County



          5200                         BUCKNER.                    BLVD.                                                                                   O        L           S                                                                     T                      75227                            057
                                                                                                      How                                   No.                          33.    Residence              Name
        28.    Une          29.    Date Placed                   30. Liv.       Art.            31.         Prov.         32. Facility


  4
                                           27 9                                 21                          10                              55              8                                           UC           N                      A.TI                T      CHI L 0
         0                         l
                                                                                                                                                                                                                                                     36.    St.        37.   ZIP                             38.   County
                                                                                                                                                  35. City
 34.   Residence           Street      Address

                                                                                                                                                                                                                                                       T                     75              7           I057
          52.00                S       DUCKNER                           L      D                                                                           O       L           S
                                   Date Placed                           Uv.    Arr.            31.   How   Prov.         32.               No.                          33.     Residence             Name
        28.         no      29.                                  30.                                                             Facility


  5
          0                        6       05     9                             17                          10                         0      6             9                                           UC           N                    BAPTIST                      CHILDR.
                                                                                                                                                                                                                                                     36.    St.        37.     ZIP                           38.   County
 34.   Residence           Street      Address                                                                                                    35.       City




               200                         UCKN                          L      D                                                                           OALL                S                                                                      TX                    78i777                           057
                                                                                                                                                  MEDICAID               CARD          ADDRESS              If   different         from current            placement
                                                                                                                                                                                                                                                                                                                              MI
                                                                                                                                                      42.   NAME-LAST                                                                                  FIRST


          39.       CORRECT/TRANSFER                                                                                .........
                    TO THIS BJN                                  4fX     F7RS 0            LISE..                     ....                            43.   STASET




D
                                                                                                                                                                                                                                                                               4          46.    ZIP
                                                                                                                                                      44.   CITY
                                                                                                                                                                                                                                                                                 TX
                                                                                                                                            3
Form 2001.8/2-95
                    Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16                                                                                                             Page 95 of 301 PageID 8528

                             OoyyL     r U CLlR73 1 UM L                        ll   10K       A30       1toý1Voý1          ý.rItS   V   Ql     ýhýi   ýJV ýlr        U   bUA aCL\iG                    S S    l1
                                                                                                                                                                                                                    C   _Iltlu
                                                                                                                                                                                                                                  FACTS
                                                                                               30 and


            EM      30-UVING ARRANGEMENT                                        ITEM    31-HOW          PROVIDED                                   ITEM 30-LIVING                 ARRAPGEMc-NT                                    ITEM      31-HOW           PROVIDED


  01   -   Own Home                                                        01   -     Not Applicable                                      17   -   Private    Child    Caring        Institution                             05 -      Free

  02   -   Relatives        Home                                                                                                          19   -   Private    Institution      for     Mentally     Retarded                 06 -      Client       Pays

  03   -   Independent        Living   Arranpemont                                                                                       21    -   Private    Institution      for     Emotionally         -
                                                                                                                                                                                                                             07 -      County        Paid Foster         Care

       -                                                                                                                                                                                                                     08 -
                                                                                                                                                   Disturbed
  31       Unauthorized        Absence                                                                                                                                                                                                 AFDC         Foster    Care

  32   -Other
                                                                                                                                         22    -   Public/Private         Institution      for Physically
                                                                                                                                                                                                                             09 -      MAO      Foster Care

                                                                                                                                                                                                                             10 -
                                                                                                                                                   Handicapped
                                                                                                                                                                                                                                       State Paid Foster Care
                                                                                                                                         23    -                                                  Blind/Deaf
       -                                                                      -                                                                                                                                              13 -
                                                                                                                                                   Public/Private         Institution      for
  33                       Home/Former         Foster     Home             02                                                                                                                                                          Other
                                                                                                                                               -
           Adoptive                                                                   Adoption    Subsidy                                                                                                                                       Pays

                                                                           03 -
                                                                                                                                         27        Maternity     Home
                                                                                      Purchased       Adoption

                                                                           04 -
                                                                                                                                         28    -Halfway        House
                                                                                      Purchased/Subsidized
                                                                                                                                         29 -      Hospital
                                                                                     Adoption

                                                                           05   -     Free
                                                                                                                                         36 - Therapeutic Camp
                                                                                                                                         37 -
                                                                           08   -     Client   Pays
                                                                                                                                                   Psychiatric     a Unit    of      Hospital


                                                                                -                                                        38 -
                                                                           07         County     Paid Foster     Care                                     Hospital
                                                                                                                                                   Psychiatric


                                                                                                                                         39 - Foster Family Home-Primary                                Medical
                                                                           08   -AFDC          Foster Care

                                                                                - MAO                                                              Needs
                                                                           09                  Foster Care
                                                                                                                                         40    -   Foster    Group        Home-Primary              Medical
                                                                           10   -State         Paid   Foster Care
                                                                                                                                                   Needs
                                                                           13   -    Other Pays



 04    -   Adoptive        Home                                            02   - Adoption Subsidy                                        16   -   Public    Child    Caring        Institution                              05 -      Free

 34    -   Adoptive        Home/Relative       Home                        03   - Purchased Adoption                                     16    -   Public    Institution      for   Mentally       Retarded                  08 -      Client   Pays

                                                                           04   - Purchased/Subsidized                                   20    -   Public    Institution      for
                                                                                                                                                                                    Emotionally                              07 -      County        Paid Foster Care

                                                                                                                                                                                                                             13 -
                                                                                     Adoption                                                      Disturbed                                                                           Other    Pays
                                                                           05 -      Free

                                                                           08 -      Client    Pays                                      24 -      Texas     Youth    Council          Facility                              05   -    Free
                                                                           13 -      Other     Pays                                      25 -      Other Juvenile           Detention       Facility                         13   -    Other    Pays

                                                                                                                                         20 -      Jails    and Prisons

 05    -   PRS     Foster    Home

 08    -   Other Foster       Home                                        - Free
                                                                           05                                                            30    -   Nursing     Home                                                          08   -    Client   Pays
 -07   -   PRS     Foster    Group Home                                   -08     Pays
                                                                                     Client                                                                                                                                  13   -    Other    Pays
 0A    -   Other    Foster    Group     Home                           07 - County Paid Foster Care

                                                                       08 - AFDC Foster Care
           Emergency        Shelter Foster       Home
                                                                                                                                         41    -   Residential       Substance           Abuse Treatment                     13   -    Other    Pays
           Emergency         Shelter Foster Group            Home      09 - MAO Foster Care

 11    -   Foster   Home      for   Emotionally       Disturbed        10 - State Paid Foster Care

 12    -   Foster   Group Home          for   Emotionally              12 - CWEF Group Home or

           Disturbed                                                                 Emergency        Shelter

 13 -      Foster   Home      for   Mentally     Retarded                  13   -    Other Pays

 14 -      Foster   Group Home          for   Mentally
           Retarded

 15    -   Emergency        Shelter    Institution




The following Items must be completed                                for   your        document         to   process.            Check other Items also                           to   be sure you have updated                               all
                                                                                                                                                                                                                                                     necessary               Items.



                                                                       Form          2001-A                       -                                                                                       Form      2001-B



       ACTION                                                                                                     COURTESY                                                                                                                                 COURTESY
                                                     PRIMARY        WORKER                                                                                                        PRIMARY         WORKER
        CODE                                                                                                          WORKER                                                                                                                                WORKER



       INITIATE              Allitems must           be completed.         Legal      status     must        Items      1-12 must                     All   client-raiated          Items        that    are not        pre-printed                  Items     5 6 a
   TRACKING                  be 61-05.                                                                       be   completed.                          must     be completed.              Legal         status      must                             and 9     must          be

                                                                                                                                                      be    01-05.                                                                                   completed




                                                                                                             neces-sary
       UPDATE                All    Items   must be       completed.                                         Items          1-12 and                  Items    6 8 9 and               any Items that need                   to   be                  Items    5 8 9
   TRACKING                                                                                                  39 if     a-BA                           added     or updated             must be completed.                                             and 39 If          a   BJN
                                                                                                             transfer          Is    neces                                                                                                            transfer      Is


                                                                                                                       must          be                                                                                                               sary    mt     t       be
                       r

                                                                                                             conipleted.                                                                                                                              completed.



  TERMINATE                  All    Items   must     be   completed. Legal status                must        Do   not         use    this             Items     5 8 9 and               any   Items that            need     to   be    ad-           Do     not use         this

   TRACKING                  be    06-09       and   Iegel  status date must be                              action          code.                    ded     or updated    must be completed. Legal status                                           action    code.

                             updated.                                                                                                                 must     be     06-09 and legal status date must be
                                                                                                                                                      updated.
                                                                                                                        -




        LOSE                 All    Items   must     be   completed.       Legal      status     must         Items         1-12 must                 Items     5 8 9          and any        Items that            need     to   be    ad-           Items    5 8           and 9

       STRATION              be    06-09       and   legal   status date        must    be                    be completed.                           dedor updated                 must      be completed.              Legal     status             must     be

                             updated.                                                                                                                 must be 06-09                 and    legal        status date        must        be             completed.
                                                                                                                                                      updated.




Form 2001A/B-Codas

                                                                                                                                     390
                Case 3:14-cv-04556-K Document 24-53 Filed  08/02/16
                                                       Texas Department                                                                                                                                           of
                                                                                                                                                                                                                             Page 96 of 301 andPageID 8529
                                                                                                                                                                                                                                                    Protective                         Regulatory              Services



                                                                                                                                                                            FOSTER CARE ADOPTION AND CONSERVATORSHIP
F6               WORKER                                                     MAIL                 CODE                              128-6                                    TRACKING SYSTEM FACTS-Turnaround Document
                 SHI RLEY. DOMINY                                                                                                                                           WORKER INFORMATION
                 BJN                                                   03102C04                                                                                                 1.   Worker    Name Last                                                                         First

                 FT-WORTH                                                                                                                                                                MCGUIRE                                                                                       SANDRA
                                                                                                                                                                                2.
                                                                                                                                                                                     Emp. No.                3.   BJN                                                         4. Mail        Code             5.    Todays         Date

                                                                                                                                                                                       6451.                            03154002                                              .1286                          1.
                                                                                                                                                                                                                                                                                                                           Ill
                                                                                                                                                                                6.   Worker    Responsibility


                                                                                                                                                                                               X                             Responsibility
                                                                                                                                                                                                     1-Primary                                                                          2-Courtesy                 Supervision

CLIENT INFORMATION                                                         PROCESS                                  DATE
                                                                                        07-24-96

                                                                                                                                                                                 s
                                                                                                                                                            Action   Code                                                                                                                                                          Date


                                                                                                                                                      Q
 Z.ierurya                                                                                                                                            e.
                                                                                                                                                                                                                                            Terminate
                                                                                                                                                                                                                                                                                                              9. Effective




 .            0809 031                                                     ACTIVE                                                                                 Initiate

                                                                                                                                                                                           Q2-Update                               Q3-Tracking                               E4-Close                                O -2                    96
                                                                                                                                                               s
                                                                                                                                                                                                                              A
                                                                                                                                                               i-Trecktn
     .............................

     O.C   lent      Name.        Las    .................................................................                                  Firs                                                    ....                       MI           11.    Social       Security         No.                          12.    Date     of   Binh

                                                                                                                                                                                                                                                           452872368                                                 01-27-82


 13.    Ethnic Group                                                                                                                                                                                                                                                             14.   Sex



 JJ             1-An         l0               2-Black                                   3-His          anlc                             4-American              Indian                           5-Oriental                            6-Other                                               1-Female                     N2-Male

15.    CLIENT CHARACTERISTICS-Check                                             all     that    apply enter                an          to delete      a    characteristic


           02-Blind                                                                     05-Mentally              Retarded                                             08-Refugee/Entrant                                      11-Medically         Fragile
                                                                                                                                                                                                                                                                                   15.a. Certification              Worker         BJN



                                                                                                                                                                                                                                                                                 L
                                                                                    1




           03-Deaf                                                                      06-Emotionally                 Disturbed                                     09-Migrant

                                                                                                                                                                      10-None
           04-Physically              Handicapped                                       07-Sibling           Group




               16.   Family       Identifier      Name          enter          last     name         first
                                                                                                                                                                                                                       17.
                                                                                                                                                                                                                             Family    ID   Client        No.   must        be   registered             on

211                    SOLI Z                                                                  DONNA                                                                                                                    508092036                                                                            ISMS

18.    CLIENT TYPE                                                                                                                        19.    ELIGIBILITY              STATUS
                                                                                                                                                                                                                                            Certificatiory                                                                                 Recom.

         31-Abuse/Neglect                                             Non-adjudicated                                                                 01-SSI                                        MAO                               20.   Eligibility         Date                   20.a.      Denial Date                    20.b.LOC
                                                                   37-CHINS                                                                                                                   09- Foster      Care
         32-Abuse

                                                                                                                                                                                                                                      E1
                                                                                                                                                           -AFDC-Rec.

         33-Neglect
                                                                      Adjudicated Delinquent-
                                                                   38-Court Ordered                                                                   03-MAO
                                                                                                                                                                                                    State

                                                                                                                                                                                              10-FosterCare
                                                                                                                                                                                                             Paid
                                                                                                                                                                                                                                                      -2               9                                                                  04
         34-Truant                                                        Protective            Placement                                             04-Inc.     Elfg.                             AFDC/MAO/SPFC
                                                                  42-                                                                                                                                                                                     Billing
                                                                          Non-Abuse/Neglect                                                                                                   11-App. Pending
         35-Runaway                                                                                                                                                                                                                               20.c.    LOC                         21.   Review          Date                    22.   Priority

                                                                              Compact for
                                                                          Interstate                                                                        Re                                14-CaL S R/E



                                                                                                                                                                                                                                                   04                                                                               F7
                                                                                                                                                      05-   Regard
                Adj.   CHINS-                                     43-Placement of ChIldrem
         36-Court       Ordered
                                                                  44Post-Adopton                                                                      08-FotCaro                               6-FA /T-XI                                                                                        1      -2                9
                                                               LEGAL                    INFORMATION                                                                                                                                                                                                          27.    ARE/




                                                                                                                                                                                     I
 23.    STATUS-Initlete/Update                                            Terminate/Clone                                                                                                              26.   PERMANENCY                 GOAL                                                                 OTHER EXCHANGE
 1              Man. Conservatorship/                                                    Adoption                                 24.    Legal Status           Date             25.County                              Family                                              4TC Seuy
                                                                                                                                                                                                                                                                                                                      1-   NA
                        Rights Not Tenn.
         01-Parental                                                                                                                                                                                              01-Preservation                                       06-0isabllitieb
                                                                                  06-complete



         02-
                Man. Conservatorship
                Parental Rights Term
                                                                                         Child

                                                                                  07-Emancipated                                          1295                                          22
                                                                                                                                                                                                                        Family

                                                                                                                                                                                                                  02-Reunincatlon                                       Q7    Cipiimllgi           lt                2-ARE

                                                                                                                                                                                                                        Perm. Placement                                     FeetCarewo/                                    ARE      b Other
                Voluntary                                                                Child

                                                                                                                                                                                                                  03
                                                                                                                                       STATE                   PAID                   IFCAJ
         03     RNinqulahment                                                     08-Died                                                                                                                               with Relative                             z     08.Coioii            F   ent
                                                                                                                                                                                                                                                                                                                     3-    Exchange

                                  Placement                                          PRS Respons.                                                                                                                       Adoption      by                                     ler Lonly.
                                                                                                                                       OPEN
                Voluntary
         04-Agreement                                                             09-Terminated                                                                                                                   04-Non-Relative                                       Of   TemCue                                  4-No


            Other Legal Basis                 for                                                                                      CLOSE
         05-PRS Responsibility                                                                                                                                                                                    05    to   cWall                                      10 Adult
                                                                                                                                                                                                                                                                                        LMng


PLACEMENT                         INFORMATION-Do                                         not enter Item                                28 Line except                       on corrections.
        28. Line             29.      Date Placed                          30.      Uv.     Arr.              31.     How       Prov.           32.    Facility      No.                      M.     Residence           Name

 3         01                     02-17-94                                                     21                                 13                           255282                                                   BUCK.NER                          BAPTIST.CHILOR
34.    Residence         Street         Address                                                                                                                           35.    City                                                                                 36.    St.         37.      ZIP                         38.   County


           5200-SBUCKNERBLVD                                                                                                                                                     DALLAS                                                                                TX                        75227                          .05
        28. Line             29.   Date      Placed                        30.      Liv.    An.               31.    How        Prov.           32.    Facility      No.                      33.    Residence           Name
 4         02-           1
                                  1127-95                                                      21                                 10                           255282                                                   SUCKNER                           BAPTIST                            CHILDR
                                       Address                                                                                                                                                                                                                        36.    St.                  ZIP                         38.   County
34.    Residence        Street                                                                                                                                            35.    City                                                                                                    37.



          5200                    S     BUCKNER                                BLVD                                                                                              DALLAS                                                                                TX                        75227                           057
        28.     Line         29.   Date      Placed                        30.      Liv. Arr.                 31.    How        Prov.           32.    Facility
                                                                                                                                                                     No.                      33.    Residence           Name

 5
          03                      06705-96                                                     17                                 10                           006190                                                   BUCKNER                           BAPTIST. CHILDR
34.    Residence        Street         Address                                                                                                                            35.    City                                                                                 36.    St.         37.      ZIP                         38.   County


           5200                   S     OUCKNER.BLVD                                                                                                                             DALLAS                                                                                TX                        75227                           057.

                                                                                                                                                                           MEDICAID           CARD ADDRESS                    if   different      from current placement
                                                                                                                                                                           42.       NAME-LAST                                                                          FIRST                                                                 MI


          39.    CORRECT/TRANSFER
                 TO THIS BJN                                               QO     FORSýUS.E.
                                                                                         ...........................................
                                                                                                                                                                           43.   STREET




F6                                                                                                                                                                               CITY
                                                                                                                                                                           44.                                                                                                                   as.          4e.   ZIP

                                                                                                                                                                                                                                                                                                  TX

Form 2001-B/2-95
                                                                DCN.                     G6206420
                           Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16                                                                                                                              Page 97 of 301 PageID 8530

                                                                                4L    c    ti   F6
                                                                                                      G-ýIýýýqqýýa
                                                                                                      30       a.   nd    13
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                   FMI    br-.IVI\          4ii7ARGEtiEUY                        ITEM       3t-HOW PROVIDED                                                        ITEM     30--LIVING               ARRANCEM                  NT                   ITEM 31-HOWV                PROVIDED


r01       -       Own Home                                                  01       -   Not Applicable                                            17 -            Private       Child    Caring            Institution                        05 -       Free

    02    -       Relatives       Home                                                                                                             19 -            Private       Institution         for    Mentally         Retarded          08 -       Client       Pays

    03    -       independent       Lvine Ariangement                                                                                              21 -            Private       Institution         for    Emotionally                        07 -       County        Paid    Foster Care

    31    -       Unauthorized          Absence                                                                                                                    Disturbed                                                                   08 -       AFDC         Foster Care

    32    -Other                                                                                                                                   22          -   Public/Pnvate           institution             for Physically
                                                                                                                                                                                                                                               09 -       MAO       Foster     Care

                                                                                                                                                                                                                                               10 -
                                                                                                                                                                   Handicapped
                                                                                                                                                                                                                                                          State Paid          Foster Care
                                                                                                                                                               -
          -                                                                          -                                                                                                                                                         13 -
                                                                                                                                                   23              Public/Privat3          Institution           for   Blind/tea4
    33           Adopýive     Homs/Former            Foster    Home         02           Adoption        Subsidy                                                                                                                                          Other Pays

                                                                                     -                                                             27          -   Maternity       Home
                                                                            03           Purchased            Adoption

                                                                            04       -   Purchased/Su
                                                                                                                                                   28          -Halfway           House

                                                                                                                                                               -
                                                                                                                    sidized
                                                                                                                                                   29              Hospital
                                                                                         Adoption

                                                                            05 -iFree                                                              36          -   Therapeutic           Camp
                                                                            08 -         Client
                                                                                                                                                  37           -   Psychilatric         Unit    of   a      Hospital
                                                                                                      Pays

                                                                            07 -         County        Paid     Foster     Care                    38          -   Psychiatric          Hospital


                                                                            08 -         AFDC         Foster Care                                  39          -   Foster       Family     Home-Primary                      Medical

                                                                            09 -
                                                                                                                                                                   Needs
                                                                                         MAO         Foster Care
                                                                                                                                                              -
                                                                            10 -
                                                                                                                                                   40              Foster       Group
                                                                                         State Paid           Foster Care                                                                 Home-Primary                       Medical
                                                                                                                                                                            s
                                                                            13 -         Other        Pays



    04   -       Adoptive    Home                                           02       - Adoption Subsidy                                            16         -    Public       Child    Caring           Institution                          05 -       Free

    34   -       Adoptive    Home/Relative           Home                   03       - Purchased Adoption                                         18          -    Public       Institution      for       Mentally       Retarded             08 -       Client       Pays

                                                                            04       - Purchased/Subsidized                                    20             -    Public       Institution      for       Emotionally                         07 -       County        Paid Foster              Care

                                                                                                                                                                                                                                               13 -
                                                                                         Adoption                                                                  Disturbed                                                                              Other Pays
                                                                            05       - Free
                                                                            OS       -   Client      Pays                                      24             -    Texas        Youth    Council                                               05   -     Free
                                                                                                                                                                                                            Facility

                                                                            13       - Other         Pays                                      25             -    Other Juvenile              Detention                                       13   -     Other
                                                                                                                                                                                                                   Facility                                            Pays

                                                                                                                                               26             -    Jails   and Prisons
    05   -       PRS     Foster   Home

    06   -       Other Foster      Home                                     05 -         Free                                                  30             -    Nursing       Home                                                          08   -     Client
                                                                                                                                                                                                                                                                       Pays
    07   -       PRS     Foster   Group     Home                            08 -         Client
                                                                                                     Pays                                                                                                                                      13   -     Other Pays
    08   -       Other Foster      Group     Home                           07 -         County        Paid    Foster      Care

    0                                                  Home                      -AFDC
                 Emergency
                                                                                                                                                              -                                                                                     -
                                  Shelter Foster                            08                        Foster    Care
                                                                                                                                                   41                                   Substance               Abuse     Treatment            13         Other Pays
                                                                                 - MAO
                                                                                                                                                                   Residential

                  morgency        Shelter Foster Group            Home      09                       Foster    Care

    1.       -
                 Foster   Homo     for
                                          Emotionally Disturbed             10   -       State Paid          Foster Care

    12   -       Foster   Group Home         for   Emotionally              12   -       CWEF Group Home                      or

                 Disturbed                                                                                    Shelter
                                                                                         Emergency

    13   -       roster   Home     for    Mentally    Retarded              13   -       Other Pays

    14   -       Foster   Group Home         for
                                                   Mentally
                 Retarded

    15   -       Emergency        Shelter   Institution




The following items must be completed                                    or your          document              to    process.              Check other Items also                                   to      be sure you have updated                            all    necessary                Items.



                                                                          Form        2001-A                                                                                                                                   Form     2001-B



         ACTION                                                                                                                COURTESY                                                                                                                                       COURTESY
                                                          PRIMARY     WORKER                                                                                                                      PRIMARY               WORKER
          CODE                                                                                                                 WORKER                                                                                                                                          WORKER



         INITIATE                 AN     Itoma    must    be   completed.   Legal        otatus        must              Items       1-12 must                       All    client-related                Itemo      that     are   not pre-printed                     Items      5 6 a
     TRACKING                     be     01-05.                                                                          be completed.                               must        be completed.                  Legal        status    must                             and    9   must          be

                                                                                                                                                                     be     01-05.                                                                                      completed




                                                                                                                         neces-sary
         UPDATE                   All    Items    must    be   completed.                                                Items       1-12 and                        Items        5 8     9      and         any Items that need              to    be                  Items      5 8 9
     TRACKING                                                                                                            39 If a      BJN                            added         or updated                must be completed.                                         and    39 if         a   BJN
                                                                                                                         transfer      Is   neces-                                                                                                                      transfer        Is

                                                                                                                                    must     be                                                                                                                         sary       must be

                                                                                                                         completed.                                                                                                                                     completed.


    TERMINATE                     AN     Itemsmust        be   completed. Legal statue                 must              Do    not use        this                    items       5 8 9 and                  any    Items      that    need    to be ad-                Do     not use           this

     TRACKING                     be     06-09 and        legal  status date must be                                     ectlon      code.                            dedor updated                   must be completed. Legal status                                   action     code.

                                  updated.                                                                                                                            must be 08-09                   and legal status date must be
                                                                                                                                                                      updated.




         LOSE                     All    Items    must    be   completed.   Legal        statue        must              Items       1-12 must                        Items       5 8 9 and                  any Items         that    need    to   be.   ad.           Items      5 8           and 9
F                RATION           be    06-09      and    legal   status date    must       be                           be completed.                                ded       or updated    must be completed. Legal status                                           must       be

                                  updated.                                                                                                                            must be           06-09 and legal statue date must be                                             completed.
                                                                                                                                                                      updated.




Form 2001-A/B-Codes

                                                                                                                                            392
          Case 3:14-cv-04556-K Document 24-53 Filed  08/02/16
                                                 Texas Department                                                                                                                        of
                                                                                                                                                                                               Page 98 of 301 and
                                                                                                                                                                                                               PageID 8531   Protective                        Regulatory               Services



                                                                                                                                                FOSTER CARE ADOPTION AND CONSERVATORSHIP
161                             MAIL. CODE                                                          128-6                                       TRACKING SYSTEM FACTS-Turnaround Document
               WORKER
               SH I RL EY DOMI NY     _                                                                                                         WORKER INFORMATION
               BJN             03102C04                                                                                                            1.   Worker      Name Last                                                                            First


               FTWORTH                                                                                                                                         MCGUIRE                                                                                            SANDRA
                                                                                                                                                   2.   Emp. No.                    3.   BJN                                                             4. Mail        Code            S.    Todays         Date


Fil                                                                                                                                                      0451                                   03 54CO2                                                  .128
                                                                                                                                                   6.   Worker      Responsibility



                                                                                                                                                                          1-Primary Responsibility                                                                2-Courtesy Supervsion




                                     szs
CLIENT              INFORMATION                        PROCESS DATE
                                                         06-12-96                                                     1B.
                                                                                                                            Action       Code
                                                                                                                                                                                                                     Terminate
                                                                                                                                                                                                                                                                                        9. Effective          Date


                    8. 2
                                                                                                                                    Initiate

                                                       ACTIVE.                                                          Qt-Traekin                                 Q2-Update                               Q3-Tracking                                   ý4Close                              06-105-9
 t0.CllentName               tas                                                            z.....            FI t3      ....             ...                                       ........          MI   .....     11.    Social       SecurityY        No.                           12.      Date   of Birth



                                                                                                                            A                                                                                                       45287                         368                            01--27-82


                                                                                                                                                                                                                                                                  Sex

                                                                                                                                                                                                       Q                                                      Q
                                                                                                                                                                                                                                                           14.
 13.   Ethnic       Group


               1-Anglo                2-Black                     3-Hispanic                             4-American                 Indian                           5-Oriental                                    6-Other                                              1-Female                              2-Male


15.    CLIENT CHARACTERISTICS-Check                        all    that   apply enter          an     to delete          a   characteristic




                                                                                                                                                                                         IH-
                                                                                       Retarded                                                                                                                                                            15.a.        Certification         Worker          BJN
         02-Blind                                                 05Mentally                                                             08RefugeeJEntrant                                            11-Medically          Fragile


         03-Deaf                                           x      06-Emotionally            Disturbed


         04-Physically           Handicapped                      07-Sibling          Group
                                                                                                                                H09-Migrant
                                                                                                                                    10None                                                                                                                     .....
                                                                                                                                                                                                                                                                                             MS
Dl
               6.   Family   Identifier   Name     enter   last   name        first                                                                                                           17.   Family     ID    Client        No.   must        be    registered             on


                    .SOUL                                                DONNA                                                                                                                -508092036
18.    CLIENT TYPE                                                                                          19.       ELIGIBILITY            STATUS
                                                                                                                                                                                                                     CertiricatiorV                                                                                           Reoom.

  X     31-Abuse/Neglect                              Non-adjudicated                                                   01-SSI                                            MAO                                  20.   Eligibility         Date                     20.a.   Denial        Date                 20.b.LOC
                                                                                                                                                                   09-Foster         Care


                                                                                                                                                                                                                                                                  F
                                                   37-CHINS
        32-Abuse                                                                                                        02 AFDC          Rec.



        33-Neglect
                                                      Adjudicated Delinquent.
                                                   33-Gout Ordered                                                      03-MAO
                                                                                                                                                                      State Paid

                                                                                                                                                                   10-Foster         Care                     F1                                                              1
                                                                                                                                                                                                                                                                                                                              04

        34-Truant                                      Protective        Placement                                      04-Inc.      Elig.
                                                                                                                                                                      AFDCIMAOISPFC
                                                                                                                                                                                                                                    Billing
                                                   42-Non        AbuaeJNeglect                                                                                     11-App.          PPending
                                                                                                                                without                                                                                    20.c.    LOC                           21.   Review         Date                             22.
        3S Runaway                                                                                                                                                                                                                                                                                                             Priority

                                                       Interstate        Compact        for                             05      Regard                             14 Cat       5.RJE




                                                                                                                                                                                                                                                                                                                    El
                     CHINS-                        43-Placement          of Children.

                                                                                                                                                     161 1                                                                                                                                              J
              Adj.


                                                                                                                                                                          -                  T- CIL                                04                                              -
        36-Court      Ordered
                                                   44-Post-Adoption                                                     08-
                                                                                                                                FaAFDC
                                                                                                                                    t Care                                          A

                                                 LEGAL INFORMATION                                                                                                                                                                                                                     27.    ARE/
 23.                                                   Terminate/Close                                                                                                        26.    PERMANENCY                    GOAL                                                                OTHER           EXCHANGE
       STATUS-initiate/Update

                                                                                                                                                                                               Family                                                    4TCSeverr
  7           Man.
                 Conservatorship/                                  Adoption                        24.     Legal Status             Date             25.County
                                                                                                                                                                                                                                                                                                  1-   NA
        .01-Parenta Rights Not Term.                         06-Com           lets
                                                                                                                                                                                         01-Preservation                                      ..    O9.Ots.........




                                                                                                                                                                                               Family                                                    EgSt Cnid
              Man.                                                 Child                                                                                                                                                                                                   wl.
                      Conservatorshlp/
                                                                                                           .11..26-95
                                                                                                                                                                      I




        02- Parental     Rights Term.                        07-Emancipated                                                                                    2                         02Reunlrication                                            117Coinrirlriiejjt
                                                                                                                                                                                                                                                                                                 2-ARE

                                                                                                                                                                                               Perm Placement                                      strosjCSrertki                                      ARE               Other
              Voluntary                                            Child
                                                                                                                                                                                                                                                                                                                  III




                                                                                                                                                                                                                                                         -CommdM4Si3-E ca
                                                                                                                                                         FC
                                                             08-Died                                                                                                                     03    with    Relative                                     0                   h
                                                                                                                                    PAID
        03-Relinqulahment                                                                                                                                                                                                                                                                                                     e

                                                                                                      STATE
                             Placement                             PRSRespona                                                                                                                  Adoption by                                              Otfier1on1
              Voluntary
        04-Agreement                                         09-TermInated                            OPEN                                                                               oa    Non Relative                                                                                       4.   No


           Other Legal Basis           for                                                            CLOSE
                                                                                                                                                                                         O                                                          10
                                                                                                                                _



        V5--RS Responsibility                                                                                                                                                                   RCyegiYRr.                                               AdultLivikg




PLACEMENT                    INFORMATION-Do                        not enter Item                    28 Line except                                on corrections.
        28.   Une       29.      Data Placed           30.       Uv.   Arr.           31.   How    Prov.          32.    Facility        No.                        33.   Residence                 Name

 3
         0                       2    17.94..                            21                       .1                                .25528                                                             C N                           A.TI                     T           H        L
                                   Address                                                                                                                                                                                                      38. St.             37.    ZIP                          38.             County
34.    Residence       Street                                                                                                                35. City




         520                              C    N                 LY                                                                                  DALLAS                                                                                         T                     75227-                              057


                                                                                                                                                                                                                                                                          H
       28.    Line      29.      Date Placed           30.       Liv. Arr.            31.   How    Prov.          32_ Facility           No.                        33.   Residence                 Name

 4
         0                   11.          7    9                         21                        10                               .2552 2                                                     BUCK                                 A.TI                     T
                                                                                                                                                                                                                                                36. St.             37.    ZIP                              38.         County
34.    Residence       Street      Address                                                                                                   35.     City




         52.00               5            CKN                    LV                                                                                  DALLAS                                                                                         T                         5        27                     015 7

       28.    tine      29.      Date Placed           30.       Uv.   Arr.           31.   How    Prov.          32. Facility           No.                        33.   Residence                 Name
 5
         03                      6059                                    17                       .1                                OQ6190                                                                 CN                        A              I         T.          HL
                                                                                                                                                                                                                                                36_      St.        37.    ZIP                              38.         County
34.    Residence       Street      Address                                                                                                   35.     City



              200                    BUCKNE                      LVD                                                                                 DALLAS                                                                                         T                     752                7              .05
                                                                                                                                             MEDICAID              CARD ADDRESS                       If   different        from current                pla

                                                                                                                                               42.      NAME-LAST                                                                                   FIRST                                                                          MI


               CORRECT/TRANSFER
                                                                                                                      4ý43.
         39.

               TO THIS BJN                                   FQR$QiUSE                                            i                                     STREET




a                                                                                                   71El                                       40.      CITY                                                                                                               45.

                                                                                                                                                                                                                                                                            TX
                                                                                                                                                                                                                                                                                        48.   ZIP




Form 2001-82.95

                                                   DCN_             66164407
                        Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16                                                                                                     Page 99 of 301 PageID 8532
                                                                ADOPYlR1                   1A1J        CODS              iVQTC               SUHup L                1QCýCýc             6         SYSTEM.               FACTS
                                                                                           3
                                                 CA11-RE

                                                                            items                   and       31-CorlrespunQ-3                          i        Cho
              CM      30-LIVING         ARRANGEMENT                          ITEM    31-HOW           PROVIDED                           ITEM      30-LIVING              ARRANGEMENT                                   ITEM       31-HOW             PROVIDED


    01 -     Own Home                                                   01    -   Not    Applicable                             17   -   Private     Child       Caring        Institution                         05 -       Free

    02 -     Relatives       Home                                                                                               19   -    Private    Institution        for Mentally             Retarded          06 -       Client
                                                                                                                                                                                                                                       Pays

                                                                                                                                     -                                                                             07 -
    03 -                                                                                                                       21         Private    Institution                                                              County           Paid   Foster         Care
             Independent       Living   Arrangement                                                                                                                     for.   Emotionally

                                                                                                                                                                                                                   08 -
    31 -     Unauthorized      Absence
                                                                                                                                          Disturbed                                                                           AFDC      Foster         Care

                                                                                                                                     -                                                                             09 -
    32 -     Other
                                                                                                                               22         Public/Private          Institution       for Physically
                                                                                                                                                                                                                              MAO      Foster         Care

                                                                                                                                                                                                                   10 -
                                                                                                                                          Handicapped
                                                                                                                                                                                                                              State Paid          Foster        Care
                                                                                                                                  -
                                                                              - Adoption Subsidy                                                                                                                   13 -
                                                                                                                               23
         -
                                                                                                                                          Public/Private          Institution       for Blirid/Deal
                                                                                                                                                                                                                              Other
    33                   Home/Former           Foster   Home            02                                                                                                                                                             Pays
                                                                                                                               27 - Maternity
             Adoptive
                                                                                                                                                Home
                                                                              - Purchased Adoption
                                                                                                                                                                                             -


                                                                                                                               28 - Halfway House
                                                                        03

                                                                        04    - Purchased/Subsidized
                                                                                                                               29 - Hospital
                                                                                  Adoption
                                                                                                                               38 - Therapeutic
                                                                        05    - Free                                                              Camp
                                                                                                                               37 -
                                                                        06    -       Pays
                                                                                  Client
                                                                                                                                          Psychiatric  a     Unit    of        Hospital


                                                                                                                               38 -
                                                                        07    - County Paid Foster             Care                       Psychiatric        Hospital


                                                                        08    - AFDC Foster Care                               39    -    Foster Family           Home-Primary                   Medical

                                                                                                                                          Needs
                                                                        09    - MAO Foster Care
                                                                                                                               40    -    Foster Group           Home-Primary                    Medical
                                                                        10    -State       Paid   Foster      tare
                                                                                                                                          Needs
                                                                        13    -   Other Pays




    04   - Adoptive      Home                                           02 - Adoption Subsidy                                   18   -    Public    Child     Caring          Institution                          05 -       Free


    34   - Adoptive      Home/Relative          Home                    03 - Purchased Adoption                                 18   -    Public    Institution         for Mentally         Retarded              06 -       Client    Pays

                                                                        04 - PurchasedlSubsidized                              20    -    Public    Institution         for    Emotionally                         07 -       County           Paid Foster Care

                                                                                  Adoption                                                Disturbed                                                                13 -       Other Pays

                                                                        05    -   Free

                                                                        08    -   Client   Pays                                24    -    Texas     Youth        Council       Facility                            05   -     Free         -




                                                                        13    -   Other Pays                                   25    -    Other Juvenile            Detention        Facility                      13   -     Other Pays

                                                                                                                               26    -    Jails   and Prisons

     -
    05       PRS    Foster   Home

  08 -       Other Foster      Home                                     05    -   Free                                         30    -    Nursing     Home                                                         06    -    Client    Pays

 07 -        PRS    Foster    Group     Home                            08    -   Client   Pays                                                                                                                    13    - Other       Pays

  08 -       Other Foster     Group      Home                           07    -   County     Paid    Foster    Care

    09   -   Emergency       Shelter Foster       Home                  08    -   AFDC     Foster Care                               - Residential           Substance           Abuse Treatment                   13    - Other
                                                                                                                                41                                                                                                     Pays
              mergency       Sheller Foster Group             Home      09    -   MAO      Foster Care

             poster   Home     for
                                     Emotionally Disturbed              10    -   State    Paid   Foster Care

    12   -   Foster   droup    Name      for   Emotionally              12    -   CWEFGroup Home                or

             Disturbed                                                            Emergency         Shelter

    13   -   Foster   Home     for   Mentally    Retarded               13    -   Other    Pays

    14   -   Foster   Group Home         for   Mentally
             Retarded

    15   -   Emergency       Shelter    Institution




The following items must be completed                                 for   your    document          to   process.       Check          other.     items also            to     be sure          you have updated                   all
                                                                                                                                                                                                                                               necessary                 items.



                                                                       Form       2001-A                           -                                                                                Form    2001-B




         ACTION                                                                                                    COURTESY                                                                                                                           COURTESY
                                                      PRIMARY        WORKER                                                                                               PRIMARY           WORKER
          CODE                                                                                                      WORKER                                                                                                                             WORKER



         INITIATE             All    Items   must     be completed.         Legal status     must             Items    1-12 must             All    client-related             Items    that       are   not pro-printed                       Items       5 6           a.


     TRACKING                 be    01-05.                                                                    be completed.                  must     be     completed.             Legal.        status    must                               and     9   must          be

                                                                                                                                             be     01-05.                                                                                     completed




                                                                                                              neces-sary
         UPDATE               All    Items   must     be completed.                                           Items    1-12    and           items      5    8      9   and      any Items          that    need   to    be                     Items      5 8 9
                                                                                                                        BJN                  added          or updated           must be completed.                                             and    39 if         a    BJN
     TRACKING                                                                                                 39 If a
                                                                                                              transfer   Is   necea-                                                                                                            transfer        Is


                                                                                                                       must   be                                                                                                                sary.must                be

                                                                                                              completed.                                                                                                                        completed.



     TERMINATE                All    Items   must     be   completed. Legal status           must             Do  not use this               Items      5 8 9           and      any    Items       that    need   to    be ad-                 Do    not    use          this


      TRACKING                be    06-09 And         legal  statue date must be                              action Code.                   ded     or updated               must     be completed.           Legal      statue               action       code.

                              updated.                                                                                                       must      be     06-09 and             legal        status date       must       be

                                                                                                                                             updated.




         CLOSE                All    Items     must   be   completed. Legal status           must             Items    1-12 must             Items      5 8 9             and any Items that need to be ad-                                     Items       5 8          and     9


F            TRATION          be    06-09       and          status date must be                              be completed.                  ded     or updated             must be completed. Legal status                                     must       be
                                                      legal

                              updated.                                                                                                        must     be     06-09 and              legal        status date      must       be                completed.

                                                                                                                                              updated.




Form 2001-A/B-Codes

                                                                                                                              394
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                                                                       Page 100 of 301 and
                                                                                        PageID 8533                                                                                                                                      of                                   Protective                        Regulatory                Services



                                                                                                                                                                                               FOSTER CARE ADOPTION AND CONSERVATORSHIP
       6
                        WORKER                                                         MAIL                    ON                             128-6                                            TRACKING SYSTEM FACTS-Turnaround Document

                        SHIRLEY.. DOMINY.                                                                                                                                                      WORKER INFORMATION
                        8j                                                        03102CO4                                                                                                       1.   Worker          Name Last                                                                          First


                        FTWORTH                                                                                                                                                                             M GU                     E                                                                             SANDRA
                                                                                                                                                                                                 2.   Emp. No.                      3.   BJN                                                             4.   Mail      Code              5.    Todays       Date


                                                                                                                                                                                                           4                                                   54         0                               12              6
                                                                                                                                                                                                 6.   Worker          Responsibility



                                                                                                                                                                                                                            1-PrimaryResponsibility                                                                2-Courtesy                  Supervision

 CLIENT INFORMATION                                                                   PROCESS.                                 DATE
                                                                                                051D96                                                                                Code

                                                                                                                                                                    Q
                                                                                                                                                                    8.      Action                                                                                                                                                        9.    Effective     Date
                                                                                                                                                                                                                                                                      Terminate

                                                                                                                                                                                                                                                              Q3
                                                                                                                                                                                    tnitlata


                                                                                      ACT                 XF                                                                       tTreckln                                 2-Update                                  Tracking                       D4-Close                                    11-2                -9
                 en     Name
          ..................................................................................t.....y...............
                .......                                                                                                                                                                          ..........................................                           11.     Social    Security
                                                                                                                                                                                                                                                                                             ri          No.                              12.    Date   of Birth
 .............................................................................................................................................................................
  ..............................................................................................................................................................................




                 S                                                                                                                                                                                                                                                                    452872368                                                  01          27         8

  13.      Ethnic       Group                                                                                                                                                                                                                                                                             14.      Sex


                     1-Anglo                             2-Black                                                                                    4-American                     Indian                              5-Oriental                                 6-Other                                               1-Female                              2-Male
                                                                                                 3-Hispanic

 15.    CLIENT CHARACTERISTICS-Check                                                       all that       apply enter                 an       to delete            a       characteristic


                 02Bl1nd                                                                                                   Retarded                                                                                                                                                                                                             Worker        BJN
                                                                                                  05-Mentally                                                                         08-Refugee/Entrant                                                 11Medically        Fragile
                                                                                                                                                                                                                                                                                                          15.a.         Certification




                                                                                                                                                                                                                                                                                                          E
                 03-Deaf                                                                          06-Emotionally                  Disturbed                                           09-Migrant



                 04-Physically              Handicapped                                           07-Sibling            Group                                                         10-None                                             I         I




D
                  16.   Family          Identifier          Name           enter        last      name         first                                                                                                                          77.       Family ID     Client      No.   must      be      registered                on
   2
                             SI3L                                                                        DONNA                           .                                                                                                    5n8n92o                             6                                                      ISMS

 18.    CUENT TYPE                                                                                                                                    19.      ELIGIBILITY               STATUS
                                                                                                                                                                                                                                                                      Certification/                                                                                 Recom.

 J         731-Abuse/Neglect
                                                                             37
                                                                                    Non-adjudicated
                                                                                    AWNS
                                                                                                                                                                    01SSI
                                                                                                                                                                                                                 09
                                                                                                                                                                                                                           MAO
                                                                                                                                                                                                                           Foster   Care
                                                                                                                                                                                                                                                                 20. Eligibility        Date                    20.a.         Denial Date                    20.b.LOC

            32-Abuse                                                                                                                                                02-AFDC Rae
                                                                                Adjudicated Delinquent-                                                                                                                    State Paid

            33-Neglect                                                       38-Court Ordered                                                                       03-      MAO                                     1O-Foster      Caro


            34-Truant                                                               Protective            Placement                                                 04-Inc. Elig.                                          AFDCiMAO/SPFC
                                                                             42     Non-Abuse/Neglect                                                                                                                11-App.       PPending                                       Billing
                                                                                                                                                                            Without
            35-Runaway                                                                                                                                                                                                                                                    20.c.    LOC                          21.     Review           Date                  22.
                                                                                                                                                                                                                     14CaL
                                                                                                                                                                                                                                                                                                                                                                      Priority
                                                                                    Interstate           Compact              for                                   05 Regard                                                  5 R/E



                                                                                                                                                                                                                                                                                                                                                              El
                  AdJ.     CHiNS                                             43-Placement                  of Children.
                                                                                                                                                                       AFDC
            36-Court Ordered
                                                                            44-Post-Adoption                                                                        08 Fost. Cue                      IN        11
                                                                                                                                                                                                                      A--F A         IT- X T X                                                                                                  _
                                                                         LEGAL INFORMATION                                                                                                                                                                                                                                               27.    AREJ
 23.       STATUS-lnitlate/Update                                                   Terminate/Close                                                                                                                          26.    PERMANENCY                     GOAL                                                                  OTHER EXCHANGE
                  Man. Conservatorship/                                                                                                                                                                                                       Family                                            z    LTCSevere
                                                                                              Adoption                                       24.    Legal Status Date                             25.County
                                                                                                                                                                                                                                         01 Preservation                                        06                                                     NA
                          Rights Not Term.                                                 06-Complete                                                                                                                                                                                                                                            I.
           01-Parental                                                                                                                                                                                                                                                                               DisabIliITea


              Man. Conservatorship                                                                Child                                                                                                                                       Family                                                 Fost          CatwJ
           02-Parentat Rights Term                                                         07-Emancipated                                                                                                                                02 Reunification                                       O    l    orriii   it   jie    it                 2 ARE
                                                                                                                                                                                                                                              Perm. Placement                                        Fort Carerl4J                                     ARE    b Other
              Voluntary                                                                           Child

           03-Relinquishment                                                               08-Died                                                                                                                                       03-with          Relative                              O    .Com            tment




                                                                                                                                                                                                                                                                          z
                                                                                                                                                                                                                                                                                                                                                  3-Exchange

                  Voluntary            Placement                                              PRS Respons.
                                                                                                                                                   STATE PAID FC                                                                              Adoption           by                                  othNtiý
           04-Agreement                                                                    09-Terminated
                                                                                                                                                   OP. EN    -  -       i                                   -
                                                                                                                                                                                                                                      04- Non-Relative                                      z   0    TeitriC4-                                         No


                                                                                                                                                   CLOSE
              Other Legal Basis                         for                                                                                                                                                                                   Trana Conseiv
           O5-PRS Responsibility                                                                                                                                                                                                      ýSto          Ce egiVer                                   10-Adult           Living




 PLACEMENT                              INFORMATION-Do                                            not enter Item                              28 Line except on corrections.
                  Una                                                                                                           Haw                                                  No.                                                       Name

                                                                                                                                        .1
           28.                    29. Date             Placed                        30.     Liv. Arr.                   31.              Prov.             32. Facility                                             33.    Residence

 3
           .                           02-                                                           .21                                                                      2        li287                                                  BUCKNER                                                               CHT111               nR
34.     Residence              Street Address                                                                                                                                            35. City                                                                                           36.     St.            37.        ZIP                       38.    County




           28.    Une             29.      Date        Placed                        30.     Liv.     An.                31.    How       Prov.             32.     Facility
                                                                                                                                                                                     No.                             33.    Residence          Name
 4
             02                    -   1    It
34.     Residence              Street         Address                                                                                                                                    35. City                                                                                           36.     St.            37.        ZIP                       38.    County




           28.    Une             29.      Date        Placed                        30. Liv.         Arr.              31.    How        Prov.             32.     Facility         No.                             33.    Residence          Name
 5

34.     Residence              Street         Address                                                                                                                                    35.     City                                                                                       36.     SL             37-        ZIP                       38.    County




            39.      COARECT/TRANSFER
                     TO THIS BJN
                                                                                                             _
                                                                                                              .                                                 .
                                                                                                                                                                                         MEDICAID
                                                                                                                                                                                           42.




                                                                                                                                                                                           43.
                                                                                                                                                                                                  NAME-LAST


                                                                                                                                                                                                  STREET
                                                                                                                                                                                                                 CARD ADDRESS                            it   different   from current placement
                                                                                                                                                                                                                                                                                                FIRST                                                                    MI




 6                                                                                                                                                                                         44.    CITY                                                                                                                        45.

                                                                                                                                                                                                                                                                                                                              TX
                                                                                                                                                                                                                                                                                                                                         48.    ZIP




Form 2001-B/2-95                                                                                                                                                                     3
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                        FOS5 E01                CARE             U019-7MM
                                                                 ý                            AN                                                                                                   Sys-rIGVJ              FACTS
                                                                             O1ems 30 and 31-Corresponding.                                                       CCdee

             EM 30-LIVING              ARRANGEMENT                               ITEM   31-HOW         PROVIDED                               ITEM 30-LIVING                ARRANGEIAEWT                                  ITEM   31-HOW cnOVIDED

 01    -   Own Home                                                         01   -    Not Applicable                                 17   -   Private    Child Caring           Institution                       05      -    Free

 02    -   Relatives    Home                                                                                                         19   -   Private    Institution    for      Mentally      Retarded           06      -    Client    Pays

 03    -   Independent        Living   Arrangement                                                                                  .2    -   Private    Institution    for      Emotionally                      07      -    County       Paid Foster Care

 31    -   Unauthorized       Absence
                                                                                                                                              Disturbed                                                           08      -    AFDC         Foster Care

 32    -   Other
                                                                                                                                     22   -   Public/Private       Institution        for Physically
                                                                                                                                                                                                                  09      -    MAO      Foster Care
                                                                                                                                              Handicapped
                                                                                                                                                                                                                  10      -    State Paid Foster            Care
                                                                                                                                        -                                                                                 -
       -                                                                         -                                                   23       Public/Private       Institution        for   Blind/Deaf
                       HomelFormer            Foster      Home              02                                                                                                                                    13           Other Pays
                                                                                                                                     27 - Maternity
 33        Adoptive                                                                  Adoption    Subsidy

                                                                            03   -   Purchased
                                                                                                                                                      Home
                                                                                                                                     28 - Halfway House
                                                                                                     Adoption

                                                                            04   -   Purchased/Subsidized
                                                                                                                                     29 -     Hospital
                                                                                     Adoption
                                                                                                                                     36 - Therapeutic
                                                                           - Free
                                                                            05                                                                          Camp

                                                                        08 _
                                                                                                                                     37 Psychiatric             Unit   of   a    Hospital
                                                                                   Pays
                                                                                     Client


                                                                        07 - County Paid Foster Care                                 38 -     Psychiatric       Hospital

                                                                                                                                     39 -
                                                                        08 - AFDC Foster Care                                                 Foster     Family    Home-Primary                Medical

                                                                                                                                              Needs
                                                                        09 - MAO Foster Care
                                                                                                                                          -
                                                                        10 - State Paid Foster Care
                                                                                                                                     40       Foster Group        Home-Primary                 Medical

                                                                                                                                              Needs
                                                                        13 - Other Pays




 04    -   Adoptive    Home                                             02       -   Adoption    Subsidy                             16   -   Public    Child Caring            Institution                       05      -    Free

 34    -   Adoptive    Home/Relative           Home                     03       -   Purchased       Adoption                        18   -   Public    Institution    for      Mentally      Retarded            08      -    Client    Pays

                                                                        04       -   Purchased/Subsidized                            20   -   Public    Institution    for      Emotionally                       07      -    County       Paid Foster      Care

                                                                                     Adoption                                                 Disturbed                                                           13      -    Other Pays

                                                                        05       -   Free

                                                                        08       -   Client   Pays                                  24 - Texas Youth Council                     Facility                         05      -    Free

                                                                            13   -   Other Pays                                     25 - Other Juvenile Detention                       Facility                  13      -    Other    Pays

                                                                                                                                    28 -      and Prisons
                                                                                                                                              Jails

 05    -   PRS     Foster    Home

 06    -   Other    Foster    Home                                      05       - Free                                             30    -   Nursing     Home                                                    06      -    Client    Pays

.0  -      PRS     Foster Group        Home                             08       -       Pays
                                                                                     Client
                                                                                                                                                                                                                  13      -    Other    Pays
 08 -      Other    Foster Group        Home                            07       - County Paid Foster Care
           Emergency        Shelter Foster       Home                   08       - AFDC Foster Care                                  41   -   Residential       Substance          Abuse Treatment                13      -    Other    Pays
           Emergency        Shelter    Foster    Group      Home        09       - MAO Foster Care
 11   -    Foster   Home      for   Emotionally Disturbed               10       - State Paid Foster Care
 12   -    Foster   Froupl1ome          for   Emotionally.                  12   -   CWErGroup          Home        or

           Disturbed                                                                                 Shelter
                                                                                     Emergency
 13   -    Foster   Home      for   Mentally    Retarded                13       -   Other Pays

 14    -   Foster   Group Home          for   Mentally
           Retarded

 15   -    Emergency        Shelter    Institution




The following Items must be completed                                 for   your      document          to   process.         Check other Items                   also to         be sure          you have updated                   all   necessary           items.



                                                                       Form          2001-A                                                                                                        Form      2001-B



       ACTION                                                                                                       COURTESY                                                                                                                      COURTESY
                                                     PRIMARY         WORKER                                                                                                 PRIMARY           WORKER
        CODE                                                                                                         WORKER                                                                                                                        WORKER



      INITIATE               All   Items must        be   completed.        Legal status        must           Items       1-12 must             All    client-related          Items       that   are not    pre-printed                    Items     S.   6 8
  TRACKING                   be    01-05.                                                                      be    completed                   must be completed.                   Legaletatue          must-                             and   9   must     be

                                                                                                                                                 be 01-05.                                                                                   completed




                                                                                                               neces-sary
       UPDATE                All    Items   must be       completed.                                           Items       1-12 and              Items     5 8 9        and       any    Items that need          to      be                 Items     5 8 9
  TRACKING                                                                                                     39    If   a BJN                  added      or updated            must       be completed.            -                      and 39 if a        BJN
                                                                                                               transfer      Is    neces-                                                                                                    transfer Is

                                                                                                                          must     be                                                                                                        eery must        be

                                                                                                               completed.                                                                                                                    completed.



  TERMINATE                  All    Items   must     be completed. Legal status                 must           Do    not    use.   this          Items     5 8 9 and              any     Items     that   need   to      be   ad-           Do    not use      this


      TRACKING               be    06-09       and   legal status date must be                                 action      code.                 ded or updated must be completed. Legal status.                                             action     code.

                             updated.                                                                                                            must be 06-09 and legal status data must be
                                                                                                                                                 updated.




       CLOSE                 All    Items   must     be completed. Legal status                 must           Items       1-12 must             Items      5 8 9 and             any     Items     that   need   to      be   ad-           Items     5 8      and 9

       ISTRATION             be    06-09       and                date must be                                 be completed.                     ded     or updated             must   be completed. Legal status                            must      be
                                                     legal status

                             updated.                                                                                                            must      be    06-09          and   legal status date must be                              completed.

                                                                                                                                                 updated.




Form 2001-A/B-Codes


                                                                                                                                  396
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                                                 Texas Department

                                                                                  V
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                                                                                                                                                FOSTER CARE ADO
                                                                                                                                                                                      of



                                                                                                                                                                  ION AND CONSERVATORSHIP

                                                                                                                                                TRACKING SYSTEM FACTS-Turnaround Document
                                                                                                                                                                                                                       Protective                         Regulatory                    Services




P6              WORKER                                MAIL CODE                                        128-6
                SHIRLEY   DOMINY.                                                                                                               WORKER INFORMATION
                                                                                                                                                        Worker   Name Last                                                                          First
                BJN           03102004
                                                                                                                                                  1.




                FT.WORTH.                                                                                                                                      CGtl             RE                                                                         SANDRA
                                                                                                                                                  2.    Emp.   No.               3.   BJN                                                           4.    Mail   Code                   5.    Todays           Date


  I
                                                                                                                                                        645U                               Q3154CJDZ                                                 1286                  i




                                                                                                                                                  6.    Worker    Responsibility



                                                                                                                                                                           1-Primary Responsibility                                                         2-Courtesy                       Supervslon


CLIENT INFORMATION                                    PROCESS DATE
                 Nq
                                                                                                                                                                                                                                                                                                                Data
                                                                                                                                          Code                                                                                                                                          9. Effective

                                                        04-19- 96
                                                                                                                               Action


                                                                                                                       Q
                                                                                                                       8.
7     CIi0t1t                                                                                                                                                                                                    Terminate
                                                                                                                                       Initiate

                                                                                                                                      1-Trackln                  Q2-Update                         1713-Tracking                                            4-Close                                  12              A--95
                                                                                                                                                                                                                 11.   Soda       Security
                                                                                                                                                                                                                                                     No.                                12.        Date   of Birth
1.oclient.Name.ttasq


                                                                                                                                                                                                                               52872368.                                                           01-27r82

                                                                                                                                                                                                                                                     14     Sex
 13.    Ethrrc Group

                                                                                                          4-American                  Indian                         5-Oriental                             6.   Other                                           1-Female                                       2-Male
                1-Anglo                 2-Black                   3-Hispanic


15.    CLIENT CHARACTERISTICS-Check                        all    that   apply enter              an    to delete          a   characteristic

                                                                                                                                                                                                                                                         15.a. Certification                       Worker       BJN
          02-Blind                                                 05-Mentally             Retarded                                       O8-Refugee/Entrant                                      11-Medically         Fragile



          03-Deaf                                                  06-Emotionally                Disturbed                                09-Migrant



                                                                                          Group                                           10-None
          04-Physically          Handicapped                       07-Sibling




               16.                        Name    enter    last    name                                                                                                                    17.   Family    ID Client       No.    must         be    registered                on       SMS
                     Family Identifier                                        first


 2                                                                                                                                                                                                                                                                                  i

                       snr       I                                       nnNNA                                                                                                              50809203E
18.    CLIENT TYPE                                                                                             19.   ELIGIBILITY                STATUS                                                                                                                                                                     Recom.
                                                                                                                                                                                                                 Certification/


                                                                                                                           01-SSI                                       MAO                                20.    Eligibility     Date                     20.a.       Denial Date                             20.b.LOC
        31-Abuse/Neglect                              Non-adjudicated




         11-27-36-
                                                                                                                                                                 09-   Foster Care
                                                   37-CHINS
                                                                                                                           02-AFDC        Rec.
         32-Abuse                                                                                                                                                       StatePaid
                                                      Adjudicated Delinquent-
                                                   38-Court Ordered                                                        03-MAO                                10     Foster Caro
         33-Neglect




                                                                                                                                                                                                                                                                                                                     0
                                                      Protective          Placement                                        04-Inc.                                     AFDC/MAOJSPFC
         34-Truant                                                                                                                      Etig.
                                                                                                                                                                                                                               Billing
                                                   42Non          Abuse/Neglect
                                                                                                                                 Without
                                                                                                                                                                 11-App         Pending
                                                                                                                                                                                                                       20.c.   LOC                         21.    Review                Date                         22.    Priority

         35     Runaway                                                                                                                                          14-Cat         5 RJE
                                                      Interstate         Compact            for                            05-   Regard
                       CHINS-                      43-Placement           of Children.
                Adj.                                                                                                             AFDC
                Cou rt Ordered                                                                                                                                                                                                                                                                       961
                                                   44.Post-Adoption                                                        08-FostCan



                                                  LEGAL            INFORMATION                                                                                                                                                                                                          27.        ARE/
                                                                                                                                                                                  PERMANENCY                  GOAL                                                                   OTHER EXCHANGE
 23.                                     ate          Terminate/Close                                                                                                 1     26.
        STATUS-Initlete/U
                                                                                                                                                                                            Family                                                  1.T..CSevere
                                                                                                               Legal Status Date                       25.County
    X           Man. Conservatorshigl                               Adoption                           24.
                                                                                                                                                                                                                                                                                                     1-NA.
                                                                                                                                                                                      01- Preservation                                         060seblU......
        01-ParentalRi            htsNotTerm.                    066-Complete
                                                                                                                                                                                            Family                                                   FostGrew/
                Man. Conservatorship/
                                                                                                                                                                                                                                                                               t
                                                                    Child
                                                                                                                                                                                                                                                                                                     2-ARE
                                                                                                                                                                                      02-Reunification                                         07    Ceminilme
                        Rights Term.
         02-Parental                                            07-Emancipated
                                                                                                                                                                                            Perm. Placement                                         .Foa Care wi/                                         ARE         Other
                                                                    Child



                                                                                                                                                                 A
            Voluntary                                                                                                                                                                                                                          08
                                                                                                                                                                                      03-with      Relative                                          Coiflmili     eh.                               3-Exchange
                                                                08-Died
                                                                                                                                                            FC
         03-Relinquishment
                                                                                                          STATE.PAID                                                                        Adoption       by                                       oue      1   ong
                Voluntary    Placement                             PRS ResponS.                                                                                                                                                                                                                      4-   No
         04 Agreement                                           09-Terminated                             OPEN                                                                        04- Non-Relative



                Other Legal Basis        for
                                                                                                          CLOSE
         05     PRS    Responsibility
                                                                                                                                  _
                                                                                                                                                                                      OS_        tii____                                       10-Adultliving




PLACEMENT                        INFORMATION-Do                      not enter Item                      28 LIne except                           on corrections.

                           29.   Date   Placed            30.    Liv. Arr.                 31.   How   Prov.         32.       Facility
                                                                                                                                          No.                     33.      Residence             Name
         28.    Line


  3



                                                                                                                           ý
                                                                                                                                                                                                                                             36. St.             37.       ZIP                              38.      County
                                                                                                                                                35. City
 34.    Residence         Street     Address


                                                                                                                                                        D                                                                                      T1                  75727.
                                           _KNFo                         _    -




                                                                                                 How   Prov.         32.                  No.                        33.   Residence             Name
         28.    Line       29.   Date Placed              30. Liv. Arr.                    31.                                 Facility


  4
          02
                                                                                                                                                                                                                                             36.    St.          37.       ZIP                                 38.   County
                                                                                                                                                35. City
 34.    Residence         Street     Address


                                                                                                                                                        DALLAS                                                                                                         7z
                                                                                                                                                                                                                                         1




                                                            -___
                                                                                                                                            i




                                                                                      -
                                                                                             -




                                                                                                 How                                      No.                        33.   Residence             Name
                                 Date Placed                                                           Prov.         32. Facility
         28.    Line       29.                            30. Liv.       Arr.              31.


  5
                                                                                                                                                                                                                                             36. St.             37.       ZIP                                 38.   County
                                                                                                                                                35. City
 34.    Residence         Street Address




                                                                                                                                                MEDICAID CARD                   ADDRESS             If   different      from current                placement
                                                                                                                                                                                                                                                                                                                                M
                                                                                                                                                 42. NAMELAST
                                                                                                                                                                                                                                                FIRST


                     CORRECT/TRANSFER                                                                    ........
                                                                                                                      _ 4t
          39.                                                     ......................

                     TO THIS BJN                          A0FOf           S       0 USE                                                           as.   STREET


                                                                                                                                                                                                                                                                                             48.   ZIP


F6                                                                                                                                                                                                                                                                         TX
                                                                                                                                                  K. CITY
                                                                                                                                                                                                                                                                       1




                                                                                                                                           397
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                                                                      fmala
                    rý          r.c Q0ý   r q u     SCFiVAT0RSMr T.Ra       SYSTLMJ Up1ACTh                          ý


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                                                 3    ýoG-ýý

                                                                                                                             3-Co rvespa                                           C1o
                                    L   1.                                                   I




                                                                                       QOtisms
                                                                                                                   and                                               td    ng


            EM 30-UVING              ARFANGEMENT                                           ITEM     31-HOW          PROVIDED                                 ITEM 30-LIVING              ARIIAI\GE           CNS.                           ITEM    31-HCW            PROVIDED


    -     Own Home                                                                01       -     Not Applicable                                   17     -   Private      Child    Caring      Institution                             05 -       Free
 01

 02 -     Relatives    Home                                                                                                                       19     -   Private      Institution    for    Mentally      Retarded                 08 -       Client       Pays

                                                                                                                                                         -                                                                             07 -
 03 -                                                                                                                                             21         Private      Institution    for                                                      County        Paid Foster        Care
                                                                                                                                                                                                Emotionally
          Independent       Living/          rrangement
                                                                                                                                                                                                                                       08 -
 31 -
                                                                                                                                                             Disturbed                                                                            AFDC         Foster Care
          Unauthorized       Absence
                                                                                                                                                         -                                                                             09 -       MAO
      -                                                                                                                                           22         PubliclPnvate         Institution       for Physically                                        Foster Care
 32       Other
                                                                                                                                                                                                                                       10 -
                                                                                                                                                             Handicapped                                                                          State Paid Foster           Care
                                                                                                                                                     -                                                                                 13 -
                                                                                           - Adoption Subsidy                                     23         Public/                                 for l3lindlDeaf

      -                                                                                                                                                                            in3titution                                                    Other        Pays
                                                              Home
                                                                                                                                                  27 -
 33       Adoptive    Home/Former                    Foster                       02                                                                                      ty
                                                                                                                                                                               Home
                                                                                           - Purchased Adoption                                              Maternity                     _
                                                                                  03                                                                                                                  r.


                                                                                                                                                                           House
                                                                                           - Purchased/Subsidized                                 28         Halfway

                                                                                                                                                     -
                                                                                  04
                                                                                                                                                  29         Hospital
                                                                                                 Adoption

                                                                                  05       -     Free
                                                                                                                                                  36 -       Therapeutic          Camp
                                                                                                                                                  37 -                                  of a
                                                                .                                                                                            Psychiatric        Unit            Hospital
                                                                     t            06             Client   Pays
                                                                                                                                                  38 -
                                             r



                                                                                  07       -     County     Paid Foster Care                                 Psychiatric        Hospital


                                                                                                                                                  39 -
                                                                                           -                                                                                        Home-Primary
                                                                                                                                                             Foster                                           Medical
                                                                                                                                                                        Family
                                                                                  08             AFDC      Foster Care
                                                                                                                                                             Needs
                                                                                           -     MAO      Foster   Care
                                                                                                                                                         -
                                                                                  09
                                                                                                                                                  40         Foster                Home-Primary               Medical
                                                                                           -                                                                            Group
                                                                                      10         State Paid      Foster Care
                                                                                                                                                             Needs
                                                                                      13   -     Other Pays




 04 -                 Home                                                        02       -     Adoption    Subsidy                               18-       Public     Child     Caring       In .titutio                             05 -       Free
          Adoptive

 34 -                 Home/Relative                  Home                         03       -     Purchased       Adoption                          18-       Public     Institution      for   Mentally      Retarded                  08 -       Client       Pays
          Adoptive
                                                                                                                                                  20 -                                                                                 07 -
                                                                                  04       -     Purchased/Subsidized                                        Public     Institution      for   Emotionally                                        County        Paid Foster        Care

                                                                                                 Adoption                                                    Disturbed                                                                 13 -       Other Pays

                                                                                  05       -     Free

                                                                                  08 -Client Pays                                                 24 -       Texas     Youth       Council Facility.                                   05    -Free
                                                                                      13   -     Other Pays                                       25 -       Other     Juvenile        Detention      Facility                         13    -    Other        Pays

                                                                                                                                                  28 -       Jails    and Prisons

 05 -     PRS     Foster   Home

 08 -     Other Foster      Home                                                  05 - Free                                                       30     -   Nursing       Home                                                        06    -    Client       Pays

 0-       PRS     Foster   Group        Home                                      06 -       PaysClient                                                                                                                                13    -    Other Pays

 08 -     Other Foster Group             Home                                     07 - County Paid Foster Care

 09 -                                                                             08 - AFDC Foster Care
          Emergency        Shelter      Foster          Home                                                                                       41    -    Residential         Substance        Abuse Treatment                     13    -    Other Pays

           emergency       Shelter      Foster Group                Home          09 - MAO Foster Care

          roster    Home     for                          Disturbed               10 - State Paid Foster Care
                                   Emotionally

 12   -   Foster   GFbup-Home                for     Emotionally                  12 - CWEF Group                    Horfle    or


          Disturbed                                                                              Emergency         Shelter

 13   -   Foster    Home     for   Mentally            Retarded                       13   -     Other Pays

 14   -   Foster   Group Home                for     Mentally
          Retarded

 IS   -   Emergency        Shelter      Institution


                                                                                                                                                     t




The following Items must be completed                                           for                document          to   process.          Check other Items also                          to    be sure you have updated                               all
                                                                                                                                                                                                                                                                necessary              Items.
                                                                                      your


                                                                                 Form            2001-A                                                                                                            Form            2001-B




      ACTION                                                                                                                     COURTESY                                                                                                                             COURTESY
                                                          PRIMARY              WORKER                                                                                                      PRIMARY           WORKER
                                                                                                                                  WORKER                                                                                                                               WORKER
       CODE



      INITIATE              All    Items         must     be completed.               Legal status          must          Items       1-12 must                 All    client-related          items       that   are        not    pre-printed                  Items    5   6     8
                                                                                                                                                                                                                                                           -
  TRACKING                  be                                                                                            be     completid.                     must be completed.                   Legal        status       must           -                 _dnd 9    must         be
                                  91.l-g5.                               t..
                                                                                                                                                                be     01-05.                                                                                    completed




                                                                                                                                                                               5 8 9              any Items that need                  to    be                  Items    5 8 9
      UPDATE                All    Items           must
                                                          be completed.                                                     Items     1-12        and           Items                    and

  TRACKING                                                                                                                39   If     a BJN                     added          orupdated          must  6d completed.                                            and 39 if         a   BJN
                                                                                                                                                                                                                                                                 transfer     Is    neces.
                                                                                                                            transfer       Is   neces-
                                                                                                                                                                                                                                                                          must         be
                                                                                                                            sary must           be                                                                                                               vary
                                                                                                                                                                                                                                                                 complefed.
                                                                                                                            confAte                                                                                     -f




  TERMINATE                 All   Items must              be completed. Legal status                         must           Do      not   use     this           Items         5 8 9 and           any Items        that       need     to be      ad-           Do   not     use      this


                                                                                                                                                                 dad or updated         must be completed. Legal status-                                         action     code
   TRACKING                 be    08-09 and               legal status
                                                                       date must be                                         action        code.
                                                                                                                                                                 must be          06-09 and legal statue date must be
                            updated.
                                                                                                                                                                 updated.




      CLOSE                 All items must                be completed. Legal status                         must            Items        1-12 must              Items         5 8 9      any home that need to be ad-
                                                                                                                                                                                          and                                                                    Items      5 8        and 9

          ITRATION          be 06-09 and                        status data must be                                          be completed.                       dad or updated         must be completed. Legal status                                          must be
                                                          legal
                                                                                                                                                                 must be          06-09 and legal statue date must be                                            completed.
                            updated.
                                                                                                                                                                 updated.




Form 2001-A/B-Codes


                                                                                                                                                398
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                                                       08/02/16
                                                           Department
                                                                      Page 104 of 301 andPageID 8537                                                                                            of                                      Protective                                                   Services
                                                                                                                                                                                                                                                                            Regulatory



                                                                                                                                                     FOSTER CARE ADOPTION AND CONSERVATORSHIP
      6
                       WORKER                                   MAIL               CODE                      128-6                                   TRACKING SYSTEM FACTS-Turnaround Document

                       SHIRLEY                   DOMINY                                                                                              WORKER                     INFORMATION
                       BJN                            03102C04                                                                                           1.   Worker       Name Last                                                                                First


                       FT-WORTH                                                                                                                                    MCGUIRE                                                                                                  SANDRA

 Q
                                                                                                                                                     2.       Emp. No.                    3.   BJN                                                                 4. Mail           Code            S.    Todays            Date


                                                                                                                                                               645.1                                   03154C02                                                         1286
                                                                                                                                                     6.       Worker       Responsibility



                                                                                                                                                                           X1   1-Primary                  Responsibility                                                    2-Courtesy Supervslon

 CLIENT INFORMATION                                             PROCESS DATE
                                                                  04-09-96                                                                    Code

                                                                                                                               Q
                                                                                                                               B.   Action                                                                                                                                                          9.     Effective          Date
                                                                                                                                                                                                                                Terminate



                                                                    .
                                                                                                                                          Initiate

                        80               %   a                  ACTIVE                                                                 1-Tracking                               2 -Update                                  3-Tracking                                        4-Close                           j   -27-95
      0                 Name     Gas     .....                                ........                                                                                                                                          11.    Social          un           No.                              12.      Date   BM of




                                                                                   ....
                    t                                                                                                                                                                                                                               Security




                                   Sat- 21               ......                                                                                                                                                                                 452872368                                                     01-27-82

           Ethnic Group                                                                                                                                                                                                                                                      Sex

                                                                                                                                                                   Q                                              Q
  13.                                                                                                                                                                                                                                                               14.




                   1Anglo                    2-Black                      3-Hispanic                              4-American            Indian                              5.Orlental                                    6-Other                                                  1-Female                        132-Male

 15.      CLIENT CHARACTERISTICS-Check                           all   that   apply enter              an     to delete        a    characteristic


                02-Blind                                                  05-Mentally       Retarded                                          08-Refugee/Entrant                                             11-Medically Fragile                                       15.a.       Certification          Worker             BJN

                03-Deaf                                                   06-Emotionally          Disturbed                                   09-Migrant



                04-Physically        Handicapped                                           Group                                              10-None
                                                                       107Sibting



                 16.    Family     Identifier    Name   enter   fast      name     first                                                                                                             17.    Family        ID    Client        No.   must      be    registered                 on   SSMS

                            SOLIZ.                                            DONNA                                                                                                                    50809z03b
18.       CLIENT TYPE                                                                                              19.    ELIGIBILITY              STATUS
                                                                                                                                                                                                                                Certilicatiord                                                                                       Recorn.

           31-Abuse/Neglect                                   Non-adjudicated                                                  01-SSI                                         MAO                                         20.   Eligibility         Date                    20.a.        Denial Date                      20.b.LOC
                                                         37-CHWS                                                                                                       09     Foster



                                                                                                                                                                                                                      F1
           32-Abuse                                                                                                            02-AFDC        Rec.



           33-Neglect                                   38.
                                                              AdJudiated  Delinquent-

                                                              Court Ordered                                                    03-MAO
                                                                                                                                                                              State

                                                                                                                                                                       10-Foster
                                                                                                                                                                                          Paid

                                                                                                                                                                                          Care                                                                                                                                 Fol
           34-Truant                                          Protective      Placement                                        04-Inc. Elig.                                  AFDC/MAO/SPFC
                                                                                                                                                                                                                                              Billing
                                                        42-Mon-Abuse/Negiact                                                                                           11-App. pending
                                                                                                                                    Without
           35-Runaway                                                                                                                                                                                                                 20.c.    LOC                          21. Review              Date                       22.   Priority

                                                              Interstate      Compact        for                                                                       .14    Cat. 5      RIE
                                                                                                                               OS-Regard
                   Ad. CHINS                            43.   Placement       of Children.

           36      Court Orderod
                                                        44-Post-Adoption                                                       08-Foist   Care
                                                                                                                                                               X       1        -         A      T-                   X
                                                                                                                                                                                                                                      F0                                                 1   A- 2
                                                        LEGAL INFORMATION                                                                                                                                                                                                                           27.    ARE/
 23.      STATUS-Inittate/Update                              Terminate/Close                                                                                                       26.   PERMANENCY GOAL                                                                                           OTHER EXCHANGE
                   Man.                                                Adoption                             24.   Legal    Status       Date             25.County                                    Family                                                       LTCSevers                        X


                                                                                                                                                         II
                   Conservatorship                                                                                                                                                                                                                                                                             1-NA
                       Rights Not Term.
           01-Parental                                                                                                                                                                         01-Preservation
                                                                    06-Complete                                                                                                                                                                             OGi7isagltitle


                   Man. Conservatorship/                                  Child                                                                                                                       Family                                                Fost             C      tew/_

           02-     Parental Rights Term.                            07.   Emancipated                              11-28-                                          2                           02.    Reunification                                        O7Commftgpt                                         2-ARE




                                                                                                                                                               FC
                                                                                                                                                                                                      Perm. Placement                                              PostCareWO                                       ARE
              Voluntary                                                   Child                                                                                                                                                                                                                                                 Other

                                                                    08-Died
           03-Relinquishment                                                                                                                                                                                                                                          ....
                                                                                                                                                                                               03- with Relative                                            08-     ommitmentz                                 3
                                                                                                                  STATE                 PAID                                                                                                                                                                        Exchange

                 Voluntary       Placement                             PRS Respons                                                                                                                    Adoption by                                                  ttjfiT          cijg
           04-Agreement                                             09-Terminated                                 OPEN                                    -            -                       04- Non-Relative                                                             .Care.....
                                                                                                                                                                                                                                                                                                               4-   No


                                                                                                                  CLOSE
F1            Other Legal Basis              for                                                                                                                                                           ans.con.....
           05-PRS Responsibility                                                                                                                                                                           Caregiver                                        10-Adult             Uving



PLACEMENT                          INFORMATION-Do                         not enter item                     28 Line except                          on corrections.
          28.      Line      29. Date Placed                  30.   Uv.     Arr.           31.   How    Prov.            32.
                                                                                                                               Facility
                                                                                                                                             No.                        33.     Residence              Name
 3
               0                     2           7    94                      21                        .1                              25528                                                          B          C       NER                 BAP             I         T                H          DR
34.       Residence         Street     Address                                                                                                 35.       City                                                                                           36.       St.            37.     ZIP                            38.    County


               5        0        5       8       C    NE               LY                                                                                 DALLAS                                                                                           TX                1
                                                                                                                                                                                                                                                                                         7      2         7                  Q57
          28.    U ne        29. Date Placed                  30. Liv.      An.            31.   How    Prov.            32. Facility        No.                        33.     Residence              Name

14             0                     1           7    95                      21                            10                          2558                                                           B          C       NER                   AP          I           T                H      LDR
34.       Residence         Street Address                                                                                                     35.       City                                                                                           36. St.                  37.     ZIP                            38.    County


                        0                B      C     NE               LV                                                                                 DALLAS                                                                                            T                            752              7.
                                                                                                                                                                                                                                                                                                                    1

                                                                                                                                                                                                                                                                                                                             057
          28.    Line        29.    Date     Placed           30.   Uv.     Arr.           31.   How    Prov.            32. Facility        No.                        33.     Residence              Name
 5

34.       Residence         Street Address                                                                                                     35. City                                                                                                 36.       SL             37.     ZIP                            M.     County




                                                                                                                                                   MEDICAID CARD ADDRESS                                     if   different           from current                placement
                                                                                                                                                   42. NAME-UST                                                                                             FIRST                                                                       MI

            39.     CORRECT/TRANSFER
                    TO THIS BJN                               40.   FORS O USE                   ...               _            41z                43.   STREET




F6         1
                                                                                                                                                   44.   CITY                                                                                                                            45.

                                                                                                                                                                                                                                                                                         TX
                                                                                                                                                                                                                                                                                                    46.    ZIP




Form 2001-B/2.95
                                                                                                                                             395
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                            CS                                 WC11 L VICKI                  AK J                                 A                         HL                      MG                SU Sb                        AC




                                                                                                                                                                                                                                                  oýJý
                       IT                 J.   ýWlfLrg                                                   cý.l.Ucnsn V                    J   liilV6i                                                                La GUU                  U



                                                                            QGIems 30 and 3Q--Ccrvespou                                                     drm       Codua

          TENT     30-LIVING         ARRANGEMENT                                ITEM   31-HOW PROVIDED                                           ITEM 30-LIVING              ARRANGEMENT                                      ITEM      31-HOW            PROVIDED


 01 -     Own Home                                                         01   -   Not Applicable                                 17    -       Private    Child    Caring        Institution                          05    -    Free

 02 -     Relatives    Home                                                                                                        19    -       Private    Institution      for   Mentally      Retarded               08    -    Client       Pays

 03 -     Independent       Living    Arrangement                                                                                  21    -       Private    Institution      for   Emotionally                          07    -    County        Paid Foster           Care

 31 -                                                                                                                                                                                                                         -    AFDC Foster
                                                                                                                                                 Disturbed                                                              08                                 Care
          Unauthorized       Absence
                                                                                                                                         -
 32 -     Other
                                                                                                                                   22            Public/Private       Institution       for Physically
                                                                                                                                                                                                                        09    -    MAO Foster             Care

                                                                                                                                                 Handicapped                                                             10   -    State Paid            Foster Care
                                                                                                                                      -
      -                                                                                                                                                                                                                       -
                                                                                                                                   23                                                          Blind/Deaf
                                                                                -
                                                                                                                                                 Public/Private       Institution       for
 33                   Home/Former            Foster     Home               02                                                                                                                                            13        Other        Pays
                                                                                                                                      -
          Adoptive                                                                  Adoption     Subsidy
                                                                                                                                                               Home
                                                                                -                                                  27            Maternity                                       -.

                                                                           03       Purchased       Adoption
                                                                                                                                   28 -                       House
                                                                           04   -   Purchased/Subsidized
                                                                                                                                                 Halfway

                                                                                                                                   29 -
                                                                                                                                                                                                             -



                                                                                                                                                 Hospital
                                                                                    Adoption
                                                                                                                                   36 -
                                                                           05   -   Free                                                         Therapeutic        Camp
                                                                                                                                   37 -
                                                                           06-
                                                                                                                                                                   Unit    of.a    Hospital
                                                                                    Client                                                       Psychiatric
                                                                                             Pays
                                                                                                                                   38 -
                                                                           07   -   County     Paid Foster      Care                             Psychiatric       Hospital


                                                                                                                                   39 -
                                                                           08   -   AFDC      Foster    Care                                     Foster     Family    Home-Primary                Medical

                                                                                                                                                 Needs
                                                                           09   - MAO        Foster    Care
                                                                                                                                         -
                                                                                -                                                  40            Foster     Group     Home-Primary               Medical
                                                                           10       State Paid      Foster Care
                                                                                                                                                 Needs
                                                                           13   -   Other    Pays



 04   -   Adoptive    Home                                                 02 -     Adoption    Subsidy                            16 -          Public    Child     Caring       Institution                           05    -    Free

 34   -   Adoptive    Home/Relative            Home                        03 -     Purchased       Adoption                       18 -          Public     Institution     for    Mentally      Retarded               06    -    Client        Pays

                                                                           04 -     Purchased/Subsidized                           20 -          Public     Institution     for    Emotionally                          07    -    County        Paid     Foster       Care

                                                                                    Adoption                                                     Disturbed                                                               13   -    Other Pays

                                                                           05   -   Free

                                                                           p6   -   Client   Pays                                  24 -          Texas     Youth     Council       Facility                             05    -    Free

                                                                           13   -   Other Pays                                     25 -          Other Juvenile           Detention        Facility                      13   -    Other Pays

                                                                                                                                   28 -          Jails    and Prisons

 05 -     PRS     Foster    Home

 08 -     Other    Foster   Home                                       05       -   Free                                           30    -       Nursing     Home                                                       08    -    Client        Pays

 07 -     PRS     Foster   Group     Home                              08       -   Client   Pays                                                                                                                        13   -    Other Pays

 08 -     Other Foster Group          Home                             07       -   County     Paid    Foster   Care

    -     Emergency        Shelter Foster       Home                   08       -AFDC Foster           Care
                                                                                                                                   41        -   Residential       Substance         Abuse       Treatment               13   -    Other Pays
          Emergency        Shelter Foster       Group       Home       09       - MAO Foster           Care

          Foster    Home     for   Emotionally Disturbed                   10   -State       Paid Foster      Care

 12   -   Foster   Group Home          for   Emotionally                   12   -   CWEF   Group Home or
          Disturbed                                                                            Shelter
                                                                                    Emergency

 13 -     Foster    Home     for   Mentally    Retarded                    13   -   Other    Pays

 14 -     Foster   Group Home          for   Mentally
          Retarded

 15   -   Emergency        Shelter    Institution




The following Items must be completed                                for   your      document           to    process.       Check other items also                           to     be sure you have updated                              all    necessary                Items.



                                                                      Form          2001-A                                                                                                              Form       2001-B




      ACTION                                                                                                        COURTESY                                                                                                                             COURTESY
                                                    PRIMARY        WORKER                                                                                                    PRIMARY            WORKER
       CODE                                                                                                          WORKER                                                                                                                               WORKER



      INITIATE              All   items   must      be completed.          Legal     status    must           Items     1-12      must              All    client-related          Items      that     are   not    pre-printed                    Items     5 6 8
  TRACKING                  be    01-05.                                                                       be completed.                        must      be completed.             Legal         status     must                              and 9     must          be

                                                                                                                                                    as    01-05.                                                                                   completed




                                                                                                               neces-sary
      UPDATE                All   Items   must      be completed.                                              Items      1-12    and               Items     5 8 9         and      any    Items       that     need    to   be                   Items     5 8 9
  TRACKING                                                                                                     39 if a     BJN                      added      or updated            must       be completed.                                      and 39      if      a   BJN
                                                                                                               transfer    Is   neces-                                                                                                              transfer      Is


                                                                                                                        must      be                                                                                                                nary     must          be

                                                                                                                                                                                                                                                    completed.
                                                                                                               completed.


  TERMINATE                 All   Items   must      be completed.          Legal     status    must            Do   not   use     this              Items     5 8 9         and      any Items that need to be ad-                                  Do    not use          this


   TRACKING                 be    06-09    and      legal   status   date must be                              action     code.                     ded     or updated            must  be completed. Legal statue-                                 action    code.

                            updated.                                                                                                                must      be    06-09 and           legal         status date       must       be

                                                                                                                                                    updated.




      CLOSE                 All   Items must        be completed.          Legal     status    must            Items      1-12     must             Items      5 8 9        and      any      Itoma     that     need    to be       ad.            Items    5 8           and 9

      STRATTON              be    06-09 and         legal   status date         must be                        be   completed.                      ded     or updated            must     be completed. Legal status                               must     be

                                                                                                                                                    must      be    06--W         and                 date must be
                            updated.                                                                                                                                                     legal status                                               completed.

                                                                                                                                                    updated.




Form 2001.A/8-Codes

                                                                                                                             400
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                                                Texas Department
                                                                 Page 106 of 301 and
                                                                                  PageID 8539                                                                                          of                                  Protective                      Regulatory                   Services



                                                                                                                                                  FOSTER CARE ADOPTION AND CONSERVATORSHIP

6               WORKER                                        MAIL               CODE                     128-6                                   TRACKING SYSTEM FACTS-Turnaround Document

                SHIRLY.DDMINY                                                                                                                     WORKER INFORMATION
                                                                                                                                                                    Name Last
                BJN          03102C04                                                                                                                 1.   Worker                                                                                   First


                FT .WORT                                                                                                                                          HCCUIRE                                                                                   SANDRA
                                                                                                                                                                                       BJN                                                                 Mail   Code                    Todays            Date



a
                                                                                                                                                           Emp. No.
                                                                                                                                                   2.                             3.                                                                4.                              S.



  1                                                                                                                                                            6451                               3          54C0                                           2       6
                                                                                                                                                   6.      Worker     Responsibility



                                                                                                                                                                              1-Primary Responsibility                                                       2-Courtesy                   Supervision


CLIENT INFORMATION                                            PROCESS DATE
                                                                                                                                                                                                                                                                                                             Date
                                                                                                                                            Code                                                                                                                                    9. Effective




                                                                                                                                                                    E
                                                                03-22-96                                                    8 Action
                                                                                                                                                                                                                     Terminate
                                                                                                                                        Initiate


                                                              ACTIVE                                                                                                                                                                                         4-Close                            JUL27-9
                                                                                                                                 .
                                                                                                                                      1-Traekin                               2Update                            3-Tracking


 1.OChename
     ....lN......                  t                                                                                 Fits             ...................-.M                                                         11.   Social     Security        No.                               12.     Date   of Birth




                                                                                                                                                                                                                                    45 2 87 2 366                                                           2 7ý8
                                   ................


                                                                                                                                                                                                                                                                                                  1

  ........                                     ...........        ..............................
                                                                                                                                                                                                                                                      14.Sex


                                                                                                                                                                                                       Q
 13.   Ethnic       Group


                                           2-Black                                                                 4-American          Indian                           5-Oriental                               6-Other                                  01-Female                                          2-Male
               1-Anglo                                                 3-Hispanic


15.    CLIENT CHARACTERISTICS-Check                              all   that    apply enter an                 to   delete    a    characteristic

                                                                                                                                                                                                                                                          15.a.   Certification                 Worker       BJN
                                                                                              Retarded                                      08-Refugee/Entrant



                                                                                                                                                                                                                                                      F
          02-Blind                                                      05-Mentally                                                                                                                   11-Medically         Fragile



                                                                        06-Emotionally              Disturbed
          03-Deal                                                                                                                           09-Migrant


                                                                                                                                            10-Nona
          04-Physically           Handicapped                           07-Sibling           Group



                                                                                                                                                                                                                                                                                        SMS

D
                                                                        name                                                                                                                17.   Family ID          Client    No.    must       be   registered            on
              16.   Family    Identifier       Name   enter     last                 first


 Z                                                                                                                                                                                                                                                                                  S
                      ctnt         r                                          infNNA                                                                                                          508092.046
18.    CLIENT TYPE                                                                                                  19.   ELIGIBILITY         STATUS                                                                                                                                                                      Recom.
                                                                                                                                                                                                                     Certification/


                                                                                                                             01-SSI                                       MAO                                  20.    Eligibility     Date                  20.a.       Denial Date                         20.b.LOC
        31-Abuse/Negleot                                   Non-adjudicated
                                                                                                                                                                    09- Foster       Care
                                                        37-CHINS
                                                                                                                             02-AFDC        Rec.
        32-Abuse                                                                                                                                                          State   Paid
                                                              Adjudicated Delinquent-

        33-Neglect                                      38-   Court Ordered                                                  03-MAO                                 10-Foster        Care                              11-21-9                                                                                               4
                                                              Protective       Placement                                     04-Inc.                                      AFDC/MAOJSPFC
        34-Truent                                                                                                                       Eiig.
                                                                                                                                                                                                                                   Billing
                                                        42-Non-Abuse/Neglect                                                                                        11-App. Pending
                                                                                                                                   Without                                                                                 20.c.   LOC                      21.    Review           Date                            22.    Priority

        35-Runaway
                                                              Interstate                                                     OS    Regard                           14Ca15           NE
               Adj.   CHINS-                            43- Place      ment1hildren.
        36-Court       Ordered
                                                        44-Post-Adoption                                            F108-          Foot Care                                                                 X

                                                      LEGAL INFORMATION                                                                                                                                                                                                             27.       ARE/
                                                                                                                                                                                     PERMANENCY                   GOAL                                                              OTHER EXCHANGE
 23.    STATUS-Inltlate/Update                                T.rminats/Close                                                                                            1     26.




                                                                                                                                                                                                                                             O
                                                                                                                                                                                             Family                                             4T.C$evets
               Man. ConservatorshlW                                      Adoption                                           Status Date                25.County
                                                                                                          24.      Legal
                                                                                                                                                                                       01-Preservation                                                Qi   abilitieli                            1-   NA
        01-Parental    Rights NotTerm.                            06-complete
                                                                                                                                                                                             Family                                                Fot         Crew/
               Man. Conservatorship
        02-Parental    Rights Tenn.
                                                                         Child

                                                                  07-Emancipated
                                                                                                          Fij..429-ý                                                                   02-Reunification                                         07Co       inmltuigit
                                                                                                                                                                                                                                                                                                 2 ARE

                                                                                                                                                                                             Perm. Placement                                         FodtCa         ewq                               ARE     III    Other
               Voluntary                                                 Child
                                                                                                                                                                                       03-with         Relative                                 08-Commit                                        3 Exchange
                                                                                                                                                               FC t
                                                                  08-Died
        03-Relinquishment
                                                                                                               STATE                   PAID                                                  Adoption          by                                   Other
                                                                     PRS Respona                                                                                                                                                                                  orig

                                                                                                                                                           -        -
               Voluntary      Placement
                                                                                                               OPEN
                                                                                                                                                                                                                                                                                                 4-    No
                                                                                                                                                                                       04-   Non       Relative
        04                                                        09-Terminated                                                                                                                                                         ...............
               Agreement

               Other Legal Basis             for                                                               CLOSE                                                -                     tTiara            .COiisei


        05-PRS        Responsibility
                                                                                                                                                                                       lStoC                egiyec                              10-Adult Living




PLACEMENT                         INFORMATION-Do                         not enter Item                       28 Line except                          on corrections.
                                                                                                    How                   32.               No.                               Residence           Name
        28.    Una          29.   Date     Placed              30.     Uv.    Arr.            31.         Prov.                  Facility                               33.



                                                                                                                                                                                                                                                                        H               0
 3
          01.                      2           7      94                       21                         .1                           215282                                                     S     C                                       I
                                                                                                                                                                                                                                             36. St.
                                                                                                                                                                                                                                                           T.
                                                                                                                                                                                                                                                                  37.   ZIP                                38.      County
                        Street Address                                                                                                          35.
34.    Residence                                                                                                                                       City



                                                                         V                                                                                 DALLAS.                                                                              T                       75227.                                      57                J

          520                          BUCKKER
        28.    Una          29.   Data Placed                  30.     Uv.    Arr.            31.   How   Prov.           32. Facility      No.                         33.   Residence           Name

 4
          02                       1           79                              21                          10                         .21528                                                            C            E                  P        I ST.                  H
                                                                                                                                                                                                                                                                        ZIP
                                                                                                                                                                                                                                                                                        0
                                                                                                                                                                                                                                                                                                           38.
                                                                                                                                                                                                                                             36.    St.           37.                                               County
34.    Residence        Street         Address                                                                                                  35.        City




          520                          S C                             LV                                                                                  DALLAS                                                                               T                                   2                                      7
                                                                                                    How                                     No.                         33.   Residence           Name
        28.    line         29.   Date Placed                  30.     Uv.    Arr.            31.         Prov.           32.    Facility


 5

                                                                                                                                                                                                                                             36. St.              37.   ZiP                                 38.     County
34.    Residence        Street         Address                                                                                                    35. City




                                                                                                                                                  MEDICAID CARD                   ADDRESS              It   different       from current            placement

                                                                                                                                                   42. NAME-UST                                                                                  FIRST                                                                         MI



          39.       CORRECT/TRANSFER
                    TO THIS BJN                                         QRSO.....                         %                ...
                                                                                                                                                   43.     STREET




                                                                                                                                 L1                                                                                                                                     45                      ZIP
                                                                                                                                                                                                                                                                                         148.




                                                                                                                                                   44 CITY
                                                                                                                                                                                                                                                                            1   A

                                                                                                                                            4     1    T
Form 2001-B/2.95
                    Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16                                                                                                            Page 107 of 301 PageID 8540
                            OS                  CARE QCýOTDO                                1   i8        COMStýRVA710ASH4P                                          5ýý3ACCGC                         SY5ýC       i6J     ýýACCTS
                                                                          ýhemss 30 and                           3-Cc rvesportc                              ng.     Codea

             M     30-LIVIXGARRANGEMENT                                       ITEM    31-HOW            PROVIDED                                 ITEM 30-LIVING                  ARRANGF.rMENT                             ITEM      31-HOW PROVIDED

  01 -     Own Home                                                      01   -    Not    Applicable                                   17    -   Private    Child     Caring          Institution                     05   -    Free

  02 -     Relatives       Home                                                                                                        19    -   Private    Institution      for      Mentally      Retarded          08   -    Client    Pays

  03 -     Independent       Living.   Arrangement                                                                                     21    -   Private    Institution      for      Emotionally                     07   -    County        Paid Foster             Care

  31 -     Unauthorized      Absence                                                                                                             Disturbed                                                            08   -    AFDC         Foster    Care

  32 -     Other                                                                                                                       22    -   Public/Private        Institution        for    Physically           09   -    MAO      Foster Care
                                                                                                                                                 Handicapped                                                          10   -    State    Paid Foster             Care
                                                                                                                                             -
                                                                              -                                                                                                                                            -
                                                                                                                                                                                                 Blind/beef
       -                                                                                                                               23        Public/Private        Institution         for
 33        Adoptive    Home/Former            Foster   Home              02        Adoption      Subsidy                                                                                                              13        Other Pays
                                                                                                                                                               Home
                                                                              -                                                        27 -Maternity
                                                                         03        Purchased         Adoption
                                                                                                                                          -
                                                                              -                                                        28        Halfway      House
                                                                         04        Purchased/Subsidized
                                                                                                                                       29 -      Hospital
                                                                                   Adoption
                                                                                                                                       36 -
                                                                         05   -    Free                                                          Therapeutic         Camp

                                                                         06   -    Client    Pays
                                                                                                                                       37    -   Psychiatric        Unit    of   a    Hospital


                                                                         07   -    County       Paid    Foster     Care                38-       Psychiatric        Hospital


                                                                         08   -    AFDC      Foster      Care                          39    -   Foster     Family     Home-Primary                  Medical

                                                                                                                                                 Needs
                                                                         09 -      MAO      Foster      Care
                                                                                                                                             -
                                                                         10 -
                                                                                                                                       40        Foster     Group     Home-Primary                  Medical
                                                                                   State    Paid Foster          Care
                                                                                                                                                 Needs
                                                                         13 -      Other    Pays



 04    -   Adoptive    Home                                              02   -    Adoption      Subsidy                               18    -   Public     Child    Caring          Institution                      05 -      Free

 34    -   Adoptive    Home/Relative           Home                      03   -    Purchased         Adoption                          18    -   Public     Institution      for     Mentally       Retarded          08 -      Client       Pays

                                                                         04   -    Purchased/SubsidIzed                                20    -   Public     Institution      for
                                                                                                                                                                                     Emotionally                      07 -      County        Paid Foster             Care

                                                                                                                                                                                                                      13 -
                                                                                                                                                 Disturbed
                                                                                   Adoption                                                                                                                                     Other Pays

                                                                         05   - Free
                                                                         06   -    Client   Pays                                       24 -      Texas     Youth     Council          Facility                        05   -    Free

                                                                         13   - Other       Pays                                       25 -      Other Juvenile            Detention       Facility                   13   -    Other Pays

                                                                                                                                       26 -      Jails    and Prisons

 05 -      PRS    Foster    Home
 06 -      Other Foster      Home                                        05 - Free                                                     30    -   Nursing     Home                                                     08   -    Client       Pays
 07 -      PRS    Foster    Group      Home                              06 -       Pays
                                                                                   Client                                                                                                                             13   -    Other Pays

 08    -   Other Foster     Group      Home                              07 - County Paid Foster Care
                                                 Home                    08 - AFDC Foster Care
           -mergency
                                                                                                                                             -
                           Shelter Foster
                                                                                                                                       41        Residential        Substance           Abuse Treatment               13   -Other
                                                                         09 - MAO Foster Care
                                                                                                                                                                                                                                          Pays
           mergency        Shelter     Foster   Group     Home
 11    -   Foster   Home     for   Emotionally        Disturbed          10 - State Paid Foster Care

 12    -   Foster   Group    Home       for   Emotionally                12 - CWEF Group Home                      or

           Disturbed                                                              Emergency            Shelter

 13    -   Foster   Home     for   Mentally     Retarded                 13   -   Other     Pays

 14    -   Foster Group      Home       for   Mentally
           Retarded

 15    -   Emergency       Shelter     Institution




The following Items must be completed                              for   your       document             to    process.          Check other Items                    also to          be sure you have updated                        all
                                                                                                                                                                                                                                              necessary                  items.



                                                                     Form         2001-A                                                                                                                Form   2001-B




       ACTION                                                                                                         COURTESY                                                                                                                      COURTESY
                                                     PRIMARY      WORKER                                                                                                         PRIMARY           WORKER
        CODE                                                                                                           WORKER                                                                                                                        WORKER



       INITIATE             All   Items must         be completed.       Legal status           must             Items    1-12 must                 All    client-related            Items      that   are   not pro-printed                  Items       5 6 8
   TRACKING                 be    01-05.                                                                         be completed.                      must      be completed.               Legal      status    must                           and     9   must           be

                                                                                                                                                    be     01-05.                                                                             completed




       UPDATE               All    Items   must      be completed.                                               Items    1-12 and                  Items     6 8 9          and       any Items that need            to   be                  Items       5 8 9
   TRACKING                                                                                                      39 If    a    BJN                  added      or updated              must be completed.                                      and    39    if       a   BJN
                                                                                                                 transfer      Is   neces-                                                                                                     transfer         Is    neces.

                                                                                                                 sary must            be                                                                                                       eery must                 be

                                                                                                                 completed.                                                                                                                    completed.



  TERMINATE                 All    Items must        be completed. Legal  status                must             Do   not use         this          Items      5 8 9 and               any      Items that     need   to   be ad-              Do     not       use      this


   TRACKING                 be     06-09 and         legal statue dote must be.                                  action       code.                 ded     or updated    must be completed. Legal status                                      action       code.

                            updated.                                                                                                                must be         06-09 and legal status date must be
                                                                                                                                                    updated.




        LOSE                All    Items must be completed. Legal statue must                                    Items    1-12 must                 Items      5 8 9         and any Items that need to be ad-                                 Items       S.    8       and 9

           TRATION          be     06-09 and  legal status
                                                           date must be                                          be completed.                      ded     or updated         must be completed. Legal status                                 must       be

                            updated.                                                                                                                must      be     06-09 and             legal     statue date      must      be             completed.

                                                                                                                                                    updated.




Form 2001-A/B-Codes

                                                                                                                                    402
               Case 3:14-cv-04556-K Document 24-53 Filed  08/02/16
                                                       Texas Department                                                                                                                        ofPage 108 of 301 andPageID 8541Protective                    Regulatory                 Services



                                                                                                                                                           FOSTER CARE ADOPTION AND CONSERVATORSHIP
 6                   WORKER                                         MAIL                   CODE                  128-6                                     TRACKING SYSTEM FACTS-Turnaround Document

                     SHIRLEY  DOHI NY                                                                                                                      WORKER INFORMATION
                     BJN           03102C04                                                                                                                 1.   Worker   Name Last                                                                    First


                     FT WORTH                                                                                                                                           MCGUIRE                                                                                 SANDRA
                                                                                                                                                            2.    Emp. No.                3.   BJN                                                     4.    Mail     Code             5.    Todays        Data


                                                                                                                                                                   6451                              03154C02                                               1286
                                                                                                                                                            6.   Worker   Responsibility



                                                                                                                                                                                   1-Primary Responsibility                                            171      2-Courtesy                  Supervision


CLIENT INFORMATION                                                  PROCESS DATE
                                                                      01-02-96                                                            Action    Code                                                                                                                               9.    Effective      Date


                                                                                                                                 Q
                                                                                                                                 8.
                                                                                                                                                                                                                         Terminate

               5O80                  Q                              ACTIVE
                                                                                                                                                Initiate
                                                                                                                                                                        02-Update                                                                                                              1      -2              -9
                                            7                                                                                                                                                                       3    Tracking                               4-Close


                                                                              .ýz
                                                                                                                                              1-Trackin

           ...         .....                                                                                                                                                                                                   Sod        S
                                                                                                                                                                                                                                       al Security        No.                          12.    Date o
                                                                                                                                                                                                                                                                                                   of       BiM

                                                                                                                                                                                                                                             301-27-82
                                                                                                                                                                                                                                               ri
 10
                                                    ..................................................
                                                                                                                                                                                                                                       45287268




6-18.
                                                                                                                                                                                                                                                                Sex


                                                                                                                                                                                                                                                            Q
                                                                                                                                                                                                                                                          14.
 13.    Ethnic        Group


                 1-Anglo                    2-Black                          3-Hispanic                     El         4-American              Indian                        5-Oriental                             6.Other                                           1-Female                             2-Male



15.    CLIENT CHARACTERISTICS-Check                                    all   that    apply enter           an     to    delete       a   characteristic


                                                                                                    Retarded                                        08-Refugee/Entrant                                   11-Medically        Fragile
                                                                                                                                                                                                                                                            15.a.     Certification           Worker       BJN
               02-Blind                                                       05-Mentally




                                                -p/
                                                      _kj
                                                                              06-Emot                    Disturbed
               03-Deal                                                                        onally                                                09-Migrant



                                                                                                   Group                                            10-None
               04-Physically         Handicapped                              07-Sibling




                16.                             Name      enter      last     name                                                                                                               17.    Family      ID   Client   No.    must        be    registered             on    SMS
                      Family     Identifier                                                Iirst


F2                        SOLIZ                                                      DONNA                                                                                                           508092036
       CLIENT TYPE                                                                                                       19.    ELIGIBILITY           STATUS                                                                                                                                                          Recom.
                                                                                                                                                                                                                         CertificatiorN


                                                                  Non-adjudicated                                                01-SSI                                        MAO                               20.     Eligibility    Date                    20.a.     Denial Date                      20.b.LOC
          3t-Abuse/Neglect



                                                                                                                                                                                                        _F                                                                                                      El
                                                                                                                                                                          0g-Foster Caro


                                                                                                                                                                                                                                                                F
                                                              37-CHINS
          32-Abuse                                                                                                               02-AFDC            Rec.

                                                                                                                                                                                                                                  -2           -9
                                                                    udicated                                                                                                   State      Paid
                                                              38-Court Ordered
                                                                                              linquent-
                                                                                                                                                                                                                           1
                                                                                                                                     03-MAO                               10-Faster        Care
          33-Neglect                                      1




                                                                  Protective         Placement                                       04- Inc.Elig.                             AFDC/MAOJSPFC
          34-Truant                                                                                                                                                                                                                        g
                                                                                                                                                                                                                                     Billing
                                                                                                                                                                          1111-App.    Pending
                                                                                                                                           Without                                                                          20.c.      LOC                      21.   Review           Date                     22.    Priority
          3S.    Runaway                                                                                                                                                  14


                                                                                                                                                                                                                             Fq
                                                                                                                                                                               Cat.    5 RIE
                                                                  Interstate        Compeel          for                             05 Regard
                                                              43-Placement

                                                                                                                                                                                                                                                                          1- 2 1 - 9
             Ad. CHINS-                                                               of Children.
                                                                                                                                           AFDC
          3$-Court Ordered
                                                              44-Post-Adoption                                                       08- Foss.      Care           X      16- E A /T- X                         X                                                                                                         1


                                                         LEGAL INFORMATION                                                                                                                                                                                                             27.    ARE/

123. STATUS-lnitietelupdate                                                                                                                                                         26.   PERMANENCY                    GOAL                                                           OTHER EXCHANGE



                 GýQisabAitlefix11-Man.
                                                                  Terminate/Close

                                                                                                                                                                                                     Family                                          .LT        .Sejtcr
                                                                                                                                                                                                                                                                              i

                 Man. Conservatorshl                                           Adoption                         24.     Legal    Status Date                     25.County
                                                                                                                                                                                               01-Preservation
          01-Parental          Rights Not Term.                           06-Complete

                                                                                                                                                                                                     Family                                               FodtCai         wj.

                                                                                                                                 -2 -9
                        Conservatorship                                        Child

          02-Parental      Rights Term.                                   07-Emancipated                                 1 1                                            22                     02    Reunification                               D7Commigiejil                                  2-ARE

                                                                                                                                                                                                     Perm. Placement                                      FeatCaiewgj.                               ARE.        Other
                 Voluntary                                                     Child


                                                                                                                    STATE PAID FC
                                                                          08-Died                                                                                                              03-with    Relative                               0        Cainmltlhent                          3-Exchange
          o3-Relinquishment

                                                                             PRS Respons.                                                                                                            Adoption    by                              QtFlier              tiy
                 Voluntary       Placement
                                                                                                                    OPEN      -  -                                                                                                               09-TeiiqCare
                                                                                                                                                                                                                                                                                                4-   No
                                                                          09-Terminated                                                                                                        04-Non-Relative
          04-Agreement

                                                                                                                    CLOSE
          05 PRS
                 Other Legal Basis
                        Responsibility
                                              for
                                                              L                                                                                                                                lJS   to Cý.r   gryRt                                 10-Adult    Uring




PLACEMENT                        INFORMATION-Do                                not enter Item                     28 Line except on corrections.
                 Une           29.   Date   Placed                  30.      Uv.   Arr.            31.   How    Prov.          32.       Facility
                                                                                                                                                    No.                      33.   Residence           Name
       1128.




 3             01                02-1-94                                             21                          13                            255282                                                  BUCKNER                      BAPTIST                           CHILDR
                                                                                                                                                      35. City                                                                                 36.     St.          37.   ZIP                          38.      County
 34.    Residence          Street     Address


               5200              S       BUCKNER                        BLVD                                                                                     DALLAS                                                                          TX                       75227                             057
                                                                                                         How                                        No.                            Residence           Name
         28.     Une           29.   Date   Placed                  30.      Uv.    Arr.           31.          Prov.          32.       Facility                            33.


 4             02                ll-27-95                                            21                          10                            255282                                                  BUCKNER                      BAPTIST                           CHILDR
                                                                                                                                                      35.                                                                                      36. St.              37.   ZIP                             38.   County
 34.    Residence          Street     Address                                                                                                                    City



               5200              S       BUCKNER                        BLVD                                                                                     DALLAS                                                                              TX                   75227                             057
         28.     Une           29.   Date Placed                    30. Liv.        Arr.           31.   How    Prov.          32.       Facility   No.                      33.   Residence           Name

 5
                                                                                                                                                                                                                                               36. St.              37.   ZIP                             38.   County
34.     Residence          Street     Address                                                                                                             35. City




                                                                                                                                                          MEDICAID        CARD ADDRESS                    If   different       from current           placement
                                                                                                                                                                                                                                                                                                                           MI
                                                                                                                                                           42.   NAME-LAST                                                                           FIRST


               39.    CORRECT/TRANSFER                                                                   ...............
                      TO THIS 8JN                                                                                                                          43.   STREET




R                                                                                                                                                                                                                                                                         4             46.   ZIP
                                                                                                                                                           44.   CITY
                                                                                                                                                                                                                                                                              1/ý



                                                                                                                                                    405
Form 2001-B/2-95
                                                              DCN                  H6002410
                 Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16                                                                                                        Page 109 of 301 PageID 8542
                            US      ti   J      CAM             Anop          tr   86L AMD CONSCinbATORSHOP TRAC                                                                     SL11O          SYSTEM FACTS
                                                                              C2ems 30 and 31-Corresponding                                                         Codes

           IEM 30-LIVING              ARRANGEMENT                             ITEM   31-HOW            PROVIDED                                ITEM 30-LIVING                  ARRANGEMENT                              ITEM      31-HOW PROVIDED

 01   -   Own Home                                                       01   -    Not   Applicable                                  17    -   Private    Child     Caring        Institution                      05   -    Free

 02   -   Relatives    Home                                                                                                          19    -   Private    Institution       for     Mentally     Retarded          08   -    Client       Pays

 03   -   Independent        Living   Arrangement                                                                                    21    -   Private    Institution       for
                                                                                                                                                                                    Emotionally                    07   -    County        Paid Foster          Care

 31   -   Unauthorized       Absence
                                                                                                                                               Disturbed                                                           08   -    AFDC         Foster Care

 32   -   Other
                                                                                                                                     22    -   Public/Private        Institution        for    Ptysicaly           09   -    MAO      Foster Care
                                                                                                                                               Handicapped
                                                                                                                                                                                                                   10   -    State Paid Foster             Care
                                                                                                                                           -
 33   -               Home/Former              Foster    Home            02   - Adoption Subsidy                                     23        Public/Private          Blind/Deaf
                                                                                                                                                                     Institution        for
                                                                                                                                                                                                                   13   -    Other
                                                                                                                                           -
          Adoptive                                                                                                                                                                                                                        Pays
                                                                                                                                                        Home
                                                                              - Purchased Adoption                                   27        Maternity
                                                                         03
                                                                                                                                           - Halfway House
                                                                              - Purchased/Subsidized                                 28
                                                                         04

                                                                                   Adoption
                                                                                                                                     29    -   Hospital


                                                                         05 - Free                                                   36    - Therapeutic Camp
                                                                         08 -      Client
                                                                                                                                     37    -   Psychiatric    a   Unit    of        Hospital
                                                                                    Pays

                                                                         07 - County Paid Foster                Care                 38    -   Psychiatric        Hospital


                                                                         08 - AFDC Foster Care                                       39    - Foster Family Home-Primary Medical
                                                                                                                                               Needs
                                                                         09 - MAO Foster Care
                                                                                                                                     40    -   Foster Group         Home-Primary                 Medical
                                                                         10   -State        Paid     Foster    Care
                                                                                                                                               Needs
                                                                         13   -    Other Pays



 04   -   Adoptive    Home                                               02   -    Adoption     Subsidy                              16    -   Public     Child    Caring        Institution                       05 -      Free

 34   -   Adoptive    Home/Relative             Home                     03   -    Purchased         Adoption                        18    -   Public     Institution      for   Mentally       Retarded           06 -      Client       Pays

                                                                       04     -    Purchased/Subsidized                              20    -   Public     Institution      for   Emotionally                       07 -      County        Paid Foster          Care

                                                                                                                                                                                                                   13 -
                                                                                                                                               Disturbed
                                                                                   Adoption                                                                                                                                  Other Pays

                                                                       05-Free
                                                                       08     -    Client   Pays                                     24    -   Texas     Youth     Council          Facility                       05   -    Free

                                                                         13   -    Other Pays                                        25    -   Other Juvenile            Detention       Facility                  13   -    Other Pays

                                                                                                                                     26    -   Jails    and Prisons

 05   -   PRS     Foster    Home

 06   -   Other    Foster    Home                                      05     - Free                                                 30    -   Nursing     Home                                                    08   -    Client       Pays
 07   -   PRS     Foster   Group Home                                  08     -    Client   Pays                                                                                                                   13   -    Other Pays

 08   -   Other    Foster   Group        Home                          07     -    County     Paid    Foster    Care

                                                                              - AFDC
                                                  Home
                                                                                                                                           -                                                                            -
                                                                       08                              Care
          Emergency        Shelter Foster                                                    Foster
                                                                                                                                     41        Residential        Substance           Abuse     Treatment          13        Other Pays
          Emergency        Shelter Foster Group             Home       09     - MAO         Foster    Care

 11   -   Foster   Home      for   Emotionally       Disturbed         10     -State        Paid   Foster      Care

 12   -   Foster   Group Home            for   Emotionally             12     -    CWEF      Group     Home      or

          Disturbed                                                                Emergency         Shelter

 13   -   Foster   Home      for   Mentally      Retarded              13     -    Other Pays

 14   -   Foster   Group Home            for   Mentally
          Retarded

 15   -   Emergency        Shelter    Institution




The following Items must be completed                              for   your       document            to    process.         Check other Items also                          to    be sure you have updated                       all
                                                                                                                                                                                                                                           necessary                Items.



                                                                    Form           2001-A                                                                                                            Form 2001.8



      ACTION                                                                                                        COURTESY                                                                                                                     COURTESY
                                                    PRIMARY      WORKER                                                                                                        PRIMARY         WORKER
       CODE                                                                                                          WORKER                                                                                                                       WORKER



      INITIATE              All    Items   must     be completed.        Legal status         must             Items    1-12 must                 All    client-related          Items     that     are not pro-printed                    Items      5 6       S.

  TRACKING                  ba    01-05.                                                                       be completed.                      must be completed.                    Legal     statue    must                           and    9    must         be

                                                                                                                                                  be    01-05.                                                                             completed




                                                                                                               neces-sary
      UPDATE                All    Items   must     be    completed.                                           Items      1-12 and                Items     5 8 9          and any Items that need                 to   be                 Items       6   a.       9
  TRACKING                                                                                                     39 It    a    BJN                  added      or updated        must be completed.                                          and    39 if         a   BJN
                                                                                                               transfer      is   neces-                                                                                                   transfer        Is

                                                                                                                        must be                                                                                                            eery must                be

                                                                                                               completed.                                                                                                                  completed.



  TERMINATE                 All    items   must     be    completed. Legal status             must             Do   not     use     this          Items     5 B 9 and                any Items       that   need   to be ad.                Do   not    use         this


                                                            status date must be                                                                                                  must be completed. Legal status                            action
  TRACKING                  be    06-09 and         legal
                                                                                                               action       code.                 ded or updated                                                                                       code.

                            updated.                                                                                                              must be 06-09                  and legal status date must be
                                                                                                                                                  updated.




       CLOSE                All   Items must        be    completed.     Legal      status    must             Items      1-12       must         Items     5 8      9     and any Items that need to be ad-                                Items      5 8          and 9

      3STRATION             be    06-09 and         legal   status date       must    be                       be completed.                      ded     or updated         must be completed. Legal status                                must      be

                            updated.                                                                                                              must be         06-09 and             legal     statue data      must      be             completed.

                                                                                                                                                  updated.




Form 2001-A/8-Codes

                                                                                                                               404
                                                                                                                                                                 Texas Department                     of      Huma                 rvices
FC                      Case 3:14-cv-04556-K Document 24-53 Filed
                                                            FOSTER08/02/16 Page 110
                                                                     CARE AD
                                                                                    of 301
                                                                                JN AND     PageID 8543
                                                                                        CONSERVATORSHIP
  55                                                        TRACKING SYSTEM ACTS
                                                                         /



                                                                                                                                                             WORKER INFORMATION
                              Yll                        Y                                                                                                       1.    Worker        Name Last                                                            First




                                                                                                                                                                 2.    Emp      No.         3.BJN                                                         4 Mai         Coe             Todays                 Date



                                                                                                                                                                                                                                                                       R                        /
                                                                                                                                                                 6.    Worker        Responsibility


                                                                                                                                                                                                                                                          112-Courtesy




 3-Terminate-s.
                                                                                                                                                                                       1   -Primary Responsibility                                                                      Supervision
                                                               Temporary                        No.
 CLIENT INFORMATION

                                                              TO 0787031                                                                  Act            Code                                                                                                                      9.       Effective            Date


          a
                                                                                                                                    8.




    a                                                                                                                                                mtlate
                                                                                                                                                    Tracking                           2   Update                             Tracking                           4      Close                              1-71



 10 ClientName                      ILest.                                                                               First                                                                                Ml             11.   Social   Security            No.                    2.       Date      of     Birth




                                                                                                                                                                                                                                                               14. Sex



      Q
 13.       Ethnic           Group                                                                                                          -
                                                                                                                                                                                                  -




                                     El        2-Black                           3Hispanic                        04-American                        Indian                  5-Orients1                            El   6-Other                                11      1-Female                                2-Male
               1   -Anglo

 15.   CLIENT                CHARACTER              ISTICS      -   Check                 all    that   apply      enter       an         to delete a characteristic

                                                                                                                                                                                                                                                               15.a.                                 Worker            BJN
       02          -   Blind                                                     05   -

                                                                                           Mentally         Retarded                                   08    -    Refugee/Entrant                                                                                       Certification


           03 -Deaf                                                      106-              Emotionally Disturbed                          09-Migrant
           04          Physically         Handicapped                            07   -    Sibling      Group        -
                                                                                                                                                       10    -
                                                                                                                                                                       one


                                                                                                                                                                                                                                                                                                     SSMS

D
                16.      Family Identifier              Name enter                   last       name     first.                                                                                       17.      Family ID           Client   No.      must        be registered              on

           J
                                                 117
           LIENT             TYPE                                                                                            19.    ELIGIBILITY                       STATUS                                                                                                                         20.b.       Recom.
 18.                                                                                                                                                                                                                  20.     Certification/
                                                                                                                                                                                09-MAO                                                                          .20.a      Denial Date                           LOC
           31 .Abuse/Neglec                                  37Non-adjudicated                                                       01        SSI                                                                            Eligibility          Date

                                                                    CHINS                                                                                                              S




                                                                                                                                                                                                                                                                                                                              1111
           32 -Abuse                                                                                                                 02        -AFDC     Rýclp

                                                             38                                                                                                                 10    -St ate Paid                                                                                                               1111/x/11

                                                                                                                                                                                                                      L J L.                          J
                                                                    Adj.             Delinquent.
           33      -   Neglect                                      Court Ordered                                                    03        -   MAO                                 Foster Care                                             I
                                                                                                                                                                                                                                                                            1               I




           34      -Truant                               -
                                                             42     Protective                   Placement                           04        -Inc.   Elig.                    11-AFDC/MAO/
                                                                                                                                                                                                                                                                                                                 22.
                                                                                                                                                                                      FC    Application                      20.c.   Billing
                                                                    Non-Abuse/Neglect
                                                                                                                                     05        -Without                                                                               LOC                        21.     Review         Date                      Priority
           35 -Runaway.                                                                                                                                                               Pending
                                                             43-Interstate                                    for
                                                                                                compact                                            Regard



                                                                                                                         L
           36- Adj CHINS -                                      Placement of Children                                                          -AFDC                            14-Cat. 5        R/E
                                                                                                                                     08
               Court Ordered
                                                                                                                                          Foster Care
                                                             44-Post             Adoption                                                                                                                                                                                                                         --ý-F

                                                         LEGAL INFORMATION                                                                                                                                                                                                         ARE/
                                                                                                                                                                                                                                                                                 27.

23.                                                                                                                                                                                              PERMANENCY                        PLAN                                          OTH R EXCHANGE
            ATUS-Initiate/Update                                Terminate/Close                                                                                                            26.

                                                                                                                                                                                                 01           Return Home/                           06        Eman-
                                                                       06 Adoption                                                                                       County
                                                                                                                                                                                                          -                                                -

           01 -Mon.            Conservatorship/                                  -                                 24.   Legal           Status        Date       25.                                                                                                                               1-NA
                                                                                                                                                                                                                                                               cipatio
               Parental           Rts.   Not     Term.                   Consummated                                                                                                                  -
                                                                                                                                                                                                              Dismiss Conserv.



                                                                                                                  lua 9 19A                                                                                   A4eeren                                07-Other
           02 -Man.
                       Parental
                               Conservatorship/
                                     Rts.      Term.
                                                                     07-Child
                                                                         Emancipated                                                                                                         V        2                                                                                             2-ARE


                                                                                                                                                                                                 03           Permanent                              08    -Pending                             3-ARE                  Other
           03- Voluntary                                               08- Child Died
                                                                                                                                                                                                          -



               Relinquishment                                                                                                                                                                                 Foster Care                                                                             Exchange
                                                                                                                                                                                                 04       -Transfer          Cons.
           04- Voluntary Placement                                   09          -DHS                                                                                                                                                                                                                              -



                                                                                                 Resp.                                                                                                                                                                                              4-No
                                                                                                                                                                                                              to   Other
               Agreement                                                              Terminated
                                                                                                                         -                                                                       05       -   Permanent
           05 -Other              Legal Basis      for
                                                                                                                                                                                                              Custodial Care
                       DHS     Responsibility



PLACEMENT                           INFORMATION                      -       Do       not enter Item 28                        Line                except          on        corrections.

           28. Line           29.   Date       Placed                  .Liv Arr.                            ow      Prov.      32. Facility No.                                 33          sidence

  3
                                                                                                                    b                                                                                         me                       12

                                  St eat       Address                                                                                                   35.       City          1                        .4                                        36.St.       37.    ZIP                                            ounty
  34. Resident




                       Ln                ate    laced                        Liv.         Arr.      31.How          Prov.      32.       Facility No.                            33.   Residence              Name
                                                                130.




  11.                                                                                                                                                       35.                                                                                      36.St.      37.     ZIP                               38.    County
           Residence              Street       Address                                                                                                                City
                                                               130.




           2           Lin    2          ate   Placed                        Liv.Arr.               31.How          Prov.          32.    Facility No.                          33. Residence                 Name



                                                                                                                                                            35.        City                                                                          36.St        37.    ZIP                               38.     Count
            Residence              Street      Address




                                                                                                                                                                 MEDICAID CARD ADDRESS                                  if    different     from          current       placement

                                                                                                                                                             142.  NAME-OAST                                                                              FIRST                                                          MI

           39.         CORRECTTRANSFER
                       TO THIS           BJN.                   RVIIA

                                                                             _




       1
                                                                                                                                                                                                                                                                                       46.          ZIP
                                                                                                                                                                 44.    CIT1r                                                                                              45.

                                                                                                                                                                                                                                                                           TX

 Form 2001-A/10-90                                                                                                                                          405
                              FOSTER CARE ADOP-                                                N AND          CONSERVATORSHIP                                                  TRACY  a SYSTEM                                           FACTS
                      Case 3:14-cv-04556-K Document  24-53 Filed 08/02/16
                                              ns 30 and 31-Corresponding
                                                                                                                                                                                 Page
                                                                                                                                                                                Co    111 of 301                                          PageID 8544

                ITEM 30-LIVING              ARRANGEMENT                            ITEM     31-HOW           PROVIDED                                    ITEM 30-LIVING                    ARRANGEMENT                                  ITEM       31-HOW              PROVIDED


  n        --   Own      Home                                                01     -    Not    Applicable                                    17    -    Private    Child       Caring          Institution                        05    -    Free


                Relatives     Home                                                                                                            19    -    Private    Institution           for Mentally         Retarded            06    -    Client    Pays

                                                                                                                                              21    --   Private    Institution           for    Emotionally                       07    -    County Paid              Foster          Care
                Independent        Living   Arrangement

      31   -    Unaulhorized        Absence
                                                                                                                                                         Disturbed                                                                 08    -    AFDC      Foster         Care


           -                                                                                                                                  22    -    Public/Private            Institution        for Physically               09    - MAO         Foster          Care
      32        Other


                                                                   ---
                                                                                                                                                         Handicapped                                                               10    -Slate        Paid Foster                Care
                                                                                                                                                    -                                                       Blind.Deat
                                                                                                                                                                                                                                         -
                                                                                -                                                             23                                   Institution        for
           -
                                                                                                                                                         Public/Private
                                                                                                                                                                                                                                   13         Other Pays
  33                         Home/Former           Foster      Home          02          Adoption     Subsidy
                                                                                                                                                    -
                Adoptive
                                                                                                                                                                         Home
                                                                             03 -
                                                                                                                                              27         Maternity
                                                                                         Purchased        Adoption
                                                                                                                                                    -                House
                                                                             04 -
                                                                                                                                              28         Halfway
                                                                                         Purchased/Subsidized
                                                                                                                                              29    --   Hospital
                                                                                         Adoption

                                                                             05 -        Free
                                                                                                                                              36    -    Therapeutic           Camp                                                                         -




                                                                             06 -        Client    Pays
                                                                                                                                              37    -    Psychiatric          Unit    of a      Hospital



                                                                             07     -    County     Paid Foster         Care                  38    -    Psychiatric          Hospital



                                                                             08    -.AFDC          Foster    Care
                                                                                                                                              39    -    Foster Family             Home-Primary                Medical


                                                                                   -                                                                     Needs
                                                                             09          MAO      Foster    Care
                                                                                                                                              40         Foster Group                                          Medical
                                                                                                                                                                                   Home-Primary
                                                                                    -
                                                                                                                                                    --
                                                                             10          State    Paid Foster         Care
                                                                                                                                                         Needs
                                                                             13    -     Other    Pays




 04        -    Adoptive     Home                                            02    -     Adoption     Subsidy                                 16    -    Public    Child       Caring           Institution                        05    -    Free


 34        -    Adoptive     Home/Relative          Home                     03    -     Purchased        Adoption                            18    -    Public    Institution            for   Mentally       Retarded            06    -    Client    Pays

                                                                             04     -    Purchased/Subsidized                                 20    -    Public    Institution            for   Emotionally                        07    -    County            Paid   Foster          Care

                                                                                         Adoption                                                        Disturbed                                                                 13    -    Other Pays

                                                                             05    -     Free

                                                                             06    -     Client   Pays                                        24    -    Texas     Youth        Council          Facility                          05    -    Free

                                                                             13    -     Other    Pays                                        25    -    Other     Juvenile.         Detention         Facility                    13    -    Other Pays

                                                                                                                                              26    -    Jails   and Prisons

 05        -    DHS      Foster   Home

 06        -    Other    Foster    Home                                      05    -     Free                                                 30    -    Nursing     Home                                                          06    -    Client    Pays

 07        -    DHS      Foster Group       Home                             06    -     Client   Pays                                                                                                                              13   -    Other     Pays

 08        -    Other    Foster    Group     Home                            07    -     County     Paid    Foster      Care

 09        -    Emergency         Shelter   Foster    Home                   08    - AFDC Foster Care
 10        -    Emergency         Shelter Foster      Group       Home       09    - MAO Foster Care
  I   I    -    Foster    Home     for   Emotionally Disturbed               10    -     State    Paid Foster         Care

            -   Foster    Group     Home     for    Emotionally              12    -     CWEF      Group     Home          or

                Disturbed                                                                                  Shelter
                                                                                         Emergency

  13       -    Foster    Home     for   Mentally     Retarded               13 -- Other          Pays

 14        -    Foster    Group     Home     for    Mentally
                Retarded

 15        -    Emergency         Shelter   Institution




The following items must be completed                                      for   your     document           to       process.          Check other items                       also to           be sure you have                 updated            all       necessary                  items.




                                                                            Form         2001-A                                                                                                                      Form    2001-8




           ACTION                                                                                                           COURTESY                                                                                                                                 COURTESY
                                                          PRIMARY        WORKER                                                                                                            PRIMARY             WORKER                                                COUOURKER
            CODE                                                                                                             WORKER



           INITIATE               All    items   must     be   completed.        Legal    status    must              Items      1-12         must          All    client-related               items       that    are   not pre-printed                       Items    5 6 8
                                                                                                                                                            must be completed.                                     status   must                                and 9    must              be
       TRACKING                   be     01-05.                                                                       be    completed.                                                                Legal
                                                                                                                                                            be     01-05.                                                                                       completed




                                                                                 -

                                                                                                                      neces-sary
           UPDATE                        items   must     be   completed.                                             Items        1-12 and                 Items        5.   8 9         and any           items    that   need   to    be                     Items    5.       8.       9




                                                                                                                       ý
                                  All

                                                                                                                                    BJN                     added        or updated               must        be completed.                                     and    39              a   BJN
       TRACKING                                                                                                       39    it   a                                                                                                                                           if

                                                                                                                      transfer        is   neces-                                                                                                               transfer          is


                                                                                                                                 must        be                                                                                                                 sary must                  be

                                                                                                                      completed.                                                                                                                                completed.



                                                 must                                               must              Do                                    Items        5                and any           items           need   to    be    ad-              Do     not    use          this
      TERMINATE                   All    items            be   completed.        Legal    status                             not     use     this                             8.     9.                              that


       TRACKING                   be     06-09     and    legal   status   date    must be                            action         code.                  ded     or    updated               must     be completed.           Legal    status                action       code.

                                                                                                                                                            must be            06-09            and                status date     must      be




                                  com-updated.
                                                                                                                                                                                                       legal
                                  updated.
                                                                                                                                                            updated.


                                                                                                                                                    -
           CLOSE                  All    items   must be       completed.        Legal    status    must              Items        1-12 must                Items        5 8 9            and      any      items    that   need    to   be    ad-               Items       5 8           and    9

                                                                                                                                                                                                                                                                 must
                                                                                                                  I




 REGISTRATION                     be     06-09     and    legal   status   date    must be                            be    completed.                      ded     or updated                  must     be completed.           Legal       status                      be

                                                                                                                                                            must be            06-09            and    legal       status date     must       be        .        plated.

                                                                                                                                                            updated.




Form 2001-A/B-Codes/12-90




                                                                                                                                      406
                                                                                                                                                                               Texas Department                        of    Hulfla                vices
 Fc
                           Case 3:14-cv-04556-K Document 24-53 Filed 08/02/16 Page .J
                                                                FOSTER CARE AD
                                                                                   112AND
                                                                                      of 301 PageID 8545
                                                                                          CONSERVATORS
                                                                                                       -ý



D
                                                                                                                                                                                                                                                                                                                                      I.P



                                                                                                                                                                           TRACKING                             SYSTEMACTS
                                          onlr                                                                                                                             WORKER INFORMATION
                                                                                                                                                     _




        SK
                                                                                                                                                                               1.    Worker          Name Last                                                        First

                                                                                                                                                                                                                        cCý                                                                                J
                                                                                                                                                                                                                                                                                                                   -



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                                                                                                                                                                               2.    Emp.       No.            3.-BJN                                                 4    Mail         Code                     Todays           Date

 r 1
                                                                                                                                                                                                                                                        91
                                                                                                                                                                                                                                                                                        ý                                 161ý r
                                                                                                                                                                                            I        1

                                                                                                                                                                                     Worker

                                                                                                                                                                                                                                                                      0
                                                                                                                                                                                6.                    Responsibility


                                                                                                                                                                                                Ell        -   Primary       Responsibility                                     2   -
                                                                                                                                                                                                                                                                                        Courtesy Supervision
                                                                    Temporary                              No.
 CLIENT INFORMATION


                                                            0Tracking
                                                                                                                                                                         Code                                                                                                                          9
                                                                                                0 7 8 70 31
                                                                                                                                                    Action                                                                                                                                                       Effective            Date
                                                                                O
                                                                                                                                                                                                0
 7.                                                                                                                                            B.

                                                                                                                                                               Initiate                                                                3-Terminate
                                                                                                                                                                                                                               El
                                                                    1


                                                                                                                                                                                                         2-Update                           Tracking                  ý4-Close
 10     ClientNarineILast                                                                                                              First                                                                                                   Social      Security        No.                             2.     Date      of Birth




                                                                                                                                                                                                                                                                                Sex
                                Group                                                                                                                                                                                                                                     14.



                                                                                                                                                                                                                                                                          0
  13.    Ethnic


              1       -Anglo              02-Black                                3         -
                                                                                                Hispanic                    1-1    4   -American                Indian                     115-Oriental                        11      6-Other                                          1   -   Female                          2 -Male


 15.    CLIENT                   CHARACTERISTICS                        -   Check                    all   that   apply       enter       an    to            delete a characteristic

                                                                                  05                                                                                08                           Entrant                                                                  15.a.         Certification                     Worker            BJN
         02           -   Blind                                11                                -    Mentally        Retarded                                             -   Refuges/


         03               Deaf                                                    06             -    Emotionally Disturbed                                         09         Migrant

         04           -Physically            Handicapped                          07             -
                                                                                                      Sibling     Group                                             10 -None                                                                                                                                               C 10


D
              16.           Family Identifier               Name enter                          last       name     first                                                                                           17.       Family-ID        Client      No.    must      be registered                        on       SSMS

                                                                                                 1n
        CLIENT TYPE                                                                                                                    19.    ELIGIBILITY                        STATUS
 18.
                                                                                                                                                                                                                                     20.    Certification                                                                 20.b.       Recom
                                                              37                                                                               01-SSI                                           09-MAO                                      Eligibility      Date           20.a. Denial                     Date                     LOC
         31 -Abuse/Neglect                                          -Non-adjudicated
                                                                        CHINS                                                                                                                            Foster    Care                                                                          -




         32       -       Abuse                                                                                                                02 -AFDC                  RKip
                                                              38-Adj.                       Delinquent-                                                                                         10       -State Paid
         33       -
                          Neglect                                           Court Ordered                                                      03    -MAO                                                Foster Care                                                J
                                                                                                                                                                                                11-AFDC/MAO/                                                                                                                            -

         34       -Truant                                     42- Protective                               Placement-                          04        -   Inc.       Elig.
                                                                                                                                                                                                                                                                                                                                      22.
                                                                            Non-Abuse/Neglect                                                                                                            FC    Application                 20-c.   Billing

         35-Runaway                                                                                                                            05-Without                                                Pending                                    LOC                     21.             Review          Date                      Priority.

                                                              43-1merstate                              Compact         for                                  Regard
         36       -Adj.          CHINS-                                                                                                                                                         14-Cat.        5 R/E
                                                                    Placement                                                                  05-AFDC
                                                                                                                                                                                                                                                                                                                                        O
                                                                                                           of Children
                          Court Ordered
                                                              44-Post                                                                               Foster Care
                                                                                    Adoption




             Eman-Parental
                                                              LEGAL INFORMATION




                   L
                                                                                                                                                                                                                                                                                                       ARE/
                                                                                                                                                                                                                                                                                                     27.

23.     TATUS-Initiate/Update                                       Terminate/Close                                                                                                                        26.    PERMANENCY                  PLAN                                                   OTH . EXCHANGE
                  -Man.                                                      06    Adoption                                                                                             County                    01        Return    Home/                      06   -
         01                       Conservatorship/                                                                           24.                Status Date                     25.
                                                                                                                                                                                                                                                                                                                          NA
                                                                                    -
                                                                                                                                       Legal
                                                                                                                                                                                                                        -




                                                                                                                                                                                                                                                                                                                  1
                                     Rts.    Not Term.                            Consummated                                                                                                                               Dismiss Conserv.                              cipatio


         02       -       Man. Conservatorship/                             07      -       Child                                                                                                                   2   -
                                                                                                                                                                                                                            Astopaieo                            07   -   Other                                   2-ARE
                          Parental Rts- Term-                                               Emancipated

         03-Voluntary                                                        08-Child                       Died                                                                                                  03- Permanent                                  08-Pending                                       3-ARE                 Other

            Relinquishment                                                                                                                                                                                                  Foster    Care                                                                                Exchange

         04                                                                                 DHS                                                                                                                   04        Tran           Cons.
                          Voluntary Placement                                09
                                                                                                                                                                                                                        -            er
                                                                                        -                   Rasp.
                                                                                                                                                                                                                                                                                                                  4-No
                  -

                                                                                                                                                                                                                            to Other
                          Agreement                                                         Terminated
                                                                                                                                                                                                                  05        Permanent
         05. Other
                                                                                                                                                                                                                        -
                                                  Basis for
                                                              F1
                                     Legal
                                                                                                                                                                                                                            Custodial Care
                          DHS     Responsibility



PLACEMENT                              INFORMATION                          -   Do               not enter Item                    28 Line except on                                       corrections.

         2            Line       2    .Dat         Placed                       Liv                   rr               ow      rov.      32.    Facility                 No.                    33.            idence          me
  3

 34     Resident                     St
                                            e     Address                                                                                                                 5.         ity
                                                                                                                                                                                                                                                                 36.St.     37.         ZIP                                       -
                                                                                                                                                                                                                                                                                                                                        ounty




         28.          iLine      29.        ate     laced                       Liv.             Arr          31.How          Prov.       32.       Facility No.                                33. Residence               Name
                                                                    130.




 4

         Residence                   Street                                                                                                                              35.                                                                                     36.St.     37.         ZIP                                 38.        County
                                                  Address                                                                                                                        City
                                                                                                                                                                    I




                          Lin    2          ate    Placed          30.          Liv.Arr                       31.How          Prov           32. Facility                No.                    33.      Residence          Name
  5                                                                                                                                                                                                                                                                                                                   -




         Residence                   Street        Address                                                                                                               35.     City                                                                            36.St      37 ZIP                                             38.     Coun




                                                                                                                                                                          MEDICAID CARD ADDRESS                                            different       from    current




                                                                                                 ýI
                                                                                                                                                                                                                                      if                                                placement

                                                                                                                                                                                      NAME--LAST                                                                    FIRST


                                            BJNQu
                                                                                                                                                                                                                                                                                                                                             MI

                                                                                eca
                                                                                                                                                                               42.

         39-              CORRECT/TRANSFER                                                                   eýaaý                 ý.eýzaiýa
                          TO THIS                                                                                           aklý             zA                            43.       STREET


D                                                                                                                                                                          44.       CIYy                                                                                                   4S.

                                                                                                                                                                                                                                                                                                T X
                                                                                                                                                                                                                                                                                                           46.    ZIP




Form 2001-A/10-90
                                                                                                                                                                          407
                        FOSTER                                    ADOP                         AND CONSERVATORSHIP                                                      TRACK            SYSTEM
                          CARE                                                                                                                                                    Page 113 of 301 FACTS
                                                                                         V
              Case 3:14-cv-04556-K Document  24-53 Filed 08/02/16                                                                                                                                 PageID 8546
                                      Ins 30 and                                                                 31-Corresponding Co


           ITEM 30-LIVING              ARRANGEMENT                               ITEM   31-HOW PROVIDED                                              ITEM 30-LIVING                 ARRANGEMENT                                   ITEM      31-HOW          PROVIDED


        - Own Home                                                          01   -    Not Applicable                                        17   -   Private    Child       Caring        Institution                        05   -    Free

           Relatives    Home                                                                                                                19   -   Private    Institution         for    Mentally        Retarded          06   -    Client   Pays

  v -      Independent        Living   Arrangement                                                                                          21   -   Private    Institution         for   Emotionally                        07   -    County       Paid   Foster          Care

  31 -     Unauthorized           Absence
                                                                                                                                                     Disturbed                                                               08   - AFDC Foster Care
  32 -     Other                                                                                                                        22       -   Public/Private          Institution      for     Physically             09   - MAO Foster Care
                                                                                                                                                     Handicapped                                                             10   - State Paid Foster Care
                                                                                                                                               -
                                                                               -                                                                                                                                                  -
                                                                                                                                                                                                      Blind/Deaf
       -                                                                                                                                23           Public/Private          Institution      for
  33                   Home/Former             Foster    Home               02                                                                                                                                               13        Other    Pays
                                                                                                                                            27 -
           Adoptive                                                                   Adoption       Subsidy
                                                                                                                                                                   Home
                                                                            03 -
                                                                                                                                                     Maternity
                                                                                      Purchased       Adoption

                                                                            04 -
                                                                                                                                        28       -Halfway        House
                                                                                      Purchased/Subsidized
                                                                                                                                            29   -   Hospital
                                                                                     Adoption

                                                                            05 -      Free                                              36       -   Therapeutic        Camp

                                                                            06 -     Client
                                                                                                                                        37       -   Psychiatric       Unit    of   a     Hospital
                                                                                               Pays

                                                                            07 -     County      Paid Foster        Care                38       -   Psychiatric       Hospital


                                                                            08   -   AFDC      Foster   Care                            39       -   Foster Family           Home-Primary                  Medical


                                                                                 -                                                                   Needs
                                                                            09        MAO     Foster Care
                                                                                                                                        40       -   Foster Group           Home-Primary                   Medical
                                                                            10   -State       Paid Foster       Care
                                                                                                                                                     Needs
                                                                            13   -   Other    Pays



 04    -   Adoptive    Home                                                 02   -   Adoption     Subsidy                                  -16       Public    Child    Caring          Institution                         05    -    Free

 34    -   Adoptive    Home/Relative           Home                      03      -   Purchased        Adoption                          18 -         Public    Institution        for     Mentally      Retarded            06    -    Client   Pays

                                                                            04   -   Purchased/Subsidized                               20 -         Public    Institution        for     Emotionally                       07    -    County       Paid   Foster          Care

                                                                                     Adoption                                                        Disturbed                                                               13   -    Other    Pays

                                                                         05      -   Free

                                                                         06      -   Client   Pays                                      24       -   Texas     Youth        Council        Facility                          05   -    Free

                                                                            13   -   Other    Pays                                      25       -   Other     Juvenile       Detention          Facility                    13   -    Other    Pays

                                                                                                                                        26       -   Jails    and Prisons

 05    -   OHS     Foster    Home

 06    -   Other    Foster    Home                                       05      -   Free                                               30       -   Nursing     Home                                                        06   -    Client   Pays

 07    -   DHS     Foster    Group     Home                              06      -   Client   Pays                                                                                                                           13   -    Other    Pays

 08    -   Other    Foster    Group     Home                             07      -   County     Paid Foster      Care

 09    -   Emergency        Shelter    Foster    Home                    08      -   AFDC      Foster   Care

 10    -   Emergency        Shelter    Foster    Group       Home        09      -   MAO      Foster Care

  . -      Foster   Home      for   Emotionally       Disturbed             10   -   State    Paid    Foster Care

    -      Foster Group       Home      for   Emotionally                12      -   CWEF      Group     Home        or

           Disturbed                                                                 Emergency        Shelter

 13    -   Foster   Home      for   Mentally     Retarded                   13   -   Other    Pays

 14    -   Foster Group       Home      for   Mentally
           Retarded

 15    -   Emergency        Shelter    Institution




The following          items must be completed                        for    your     document           to    process.           Check other items also                             to    be sure you have                 updated           all   necessary                  items.



                                                                       Form          2001-A                                                                                                                  Form     2001-B




       ACTION                                                                                                         COURTESY                                                                                                                           COURTESY
                                                     PRIMARY        WORKER                                                                                                          PRIMARY            WORKER
        CODE                                                                                                           WORKER                                                                                                                             WORKER



       INITIATE              All    items   must     be completed.          Legal     status     must           Items       1-12 must                   All                               items     that    are   not pre-printed                   Items        5 6 8
                                                                                                                                                      Fclient-related
  TRACKING                   be    01-05.                                                                      be     completed.                       must be completed.                     Legal        status    must                           and    9     must          be

                                                                                                                                                        be    01-05.                                                                                completed




                                                                                                                neces-sary
       UPDATE                All   items    must be      completed.                                             Items       1-12 and                    Items     5.   8.    9 and         any      items     that   need   to be                   Items        5.   B.       9
  TRACKING                                                                                                      39    if   a    BJN                     added      or updated              must       be    completed.                              and     39 if          a   BJN
                                                                                                                transfer         is   neces.                                                                                                        transfer          is


                                                                                                                           must        be                                                                                                           sary must                  be

                                                                                                                completed.                                                                                                                          completed.


  TERMINATE                  All   items    must be      completed.         Legal     status     must           Do    not      use     this             Items     5 8        9.   and      any      items     that   need   to    be    ad-         Do     not    use          this


  TRACKING                   be    06-09      and    legal   status   date       must   be                      action         code.                    ded or updated                  must     be completed.          Legal status                action       code.

                                                                                                                                                        must be 06-09                   and                status    date   must       be




                             com-updated.
                             updated.                                                                                                                                                         legal

                                                                                                                                                        updated.




       CLOSE                 All   items    must be      completed.         Legal     status     must           Items       1-12 must                   Items     5 8 9 and                any      items     that   need    to   be    ad-         Items        5 8           and 9

REGISTRATION                 be    06-09      and    legal   status   date       must   be                      be completed.                           ded or updated                  must     be completed.          Legal      status           must       be

                                                                                                                                                        must be        06-09            and    legal       status    date   must be                 pleted.

                                                                                                                                                        updated.




Form    2001-A/B-Codes/12-90




                                                                                                                                408
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Texas Department                        of                                                    FOSTER CARE ASSISTANCE APPLICATION                                                                                         Form 2200-A



                                                                                                                                                                                        W
Protective          and                              Services                                                                                                                                                       November             1994
                               Regulatory
                                                                                                                                                                                                 20    05
                                                                                                                                                                                       k0V
                                                                                                                                                                                                                          Page           of   3
     ZAPPLICATION                                             REAPPLICATION
                                                                                                                                                                                                                                     1




 Childs            Name                                                                               Sex            Client   No.                                           SSN if none enter               date applied       for


     MARK A 8AtNZ                                SO                                                   M              508092037                                              XXX-XX-XXXX

 Race

                    White                         Black                Hispanic               Asian           American        Indian           Other
 Mothers                Full   Name                           maiden     name                                        Mothers      Address        Street           City State          ZIP
                                             including

 DONNA SUE                              SOLIZ                                                                        3116       BRIGHT           ST         FT     WORTH                76105

                  Fathers                Name                                                                        Legal    Fathers Address                Street        City       State    ZIP
 Legal                            Full


 RAUL EDUARDO SAENZ                                                                                                  UNKNOWN
                         Fathers                 Name                                                                Biological      Fathers Address                Street        City       State    ZIP
 Biological                              Full


 SAME AS ABOVE
 Full    Name            of Stepparent               with     whom     child   was    living                         Stepparents        Address            Street      City      State       ZIP




1.      Responsibility                           for     Placement and Care


                   Does the              child    live    with a minor parent       who is in TDPRSs managing conservatorship ..............                                                            QYes               ZNo
                   If
                         yes       attach        a   copy      of the     most recent court order documenting the minor parents conservatorship                                                             status.




2.    Childs Placement-Identify the childs placement.

                                                                                                                                                Care                      No.                   LOC    or Foster    Care                 Rate
             Name         of      Placement                                                                                          Foster                 Facility                                                           Daily


             BUCKNER CHILDRENS                                         HOME DALLAS                                                                                                              $

             Address                                                                                                                 Date Placed                                                Date   Removed          from
                                                                 ZIP                                                                                        in                                                                 Facility
                                Street        City State.                                                                                                        Facility


             5200            S.    BUCKNER                    DALLAS TX                75227                                         11/27/95



        If    the        child      was         in   a hospital when                TDPRS was                appointed          managing conservator                              supply the following                   information


                                                                                                                                                  Admission            Date                                      Date
             Name         of Hospital                                                  Address        Street    City    State Zip                                                               Discharge




3.    Address                      for       Form 3087 Medicaid                        I.D.        Card-if Form 3087                  is   to    be sent to someone other than                                      the childs

      caregiver                        specify         who

             Name                                                                                                  Mailing    Address          Street        City    State Zip

             SUSAN SMITH                             CASE AIDE                                                       951 W. PIPELINE                         HURST TEXAS                         76053


4.    Childs Age and Citizenship or Allen Status

                                                                                                                                                                                                        Evaluative       Conclusion
             Date       of     Birth    mo./day/yr.                    Method     of Verification

                                                                        Birth     Certificate                     Hospital          Certificate                  Baptismal            Certificate            see below
             1/27/82
                                                                                                                                                                 or Cert.       No.
             Name                                    Church                                                                                               File
                          of Hospital           or               if   verified   by   birth   or hospital     certificate



                                                                                                                                                                                             State
             City                                                                                                      County

             FORT WORTH                                                                                                TARRANT                                                               TEXAS
             U.S.       Citizen                          If   not U.S.    citizen     what    is   alien    status

             Yes                    No
                   Temporary                 INS No.                     Permanent       INS No.                     Parentage       unknown          -    found     in                D      Other Attach        documentation

                                                                                                                              U.S.    under age           five

                                                                   when was                                  sent to   INS Attach          a   copy   of the                                  Date
             If   the    child     is    undocumented                             a   certified     letter                                                         receipt



                                                                                                                                       above methods                 describe          the    basis   on which you have           made an
Evaluative          Conclusion-If                the childs       age    or status     cannot be       verified
                                                                                                                  by    one   of the


estimate           and have             your supervisor          sign    below.

Mark has been                           at the       Buckners            Home         for     about 21 months                 bein         placed          thereby juvenile probation.                             They have             his


birth certificate.
                                                                                                                                                                                                            II


                                                                                                                                       Evaluative                Conclusion                                 Date
                                                                          Signature-Supervisor                    Approving




                                                                                                                        409
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 Texas Department                      of                                                           FOSTER CARE ASSISTANCE APPLICATION                                                                                                                                  Form 2200-A
 Protective             and    Regulatory              Services                                                                                                                                                                                                    November          1994




                                                                                                                                                                                                                                                                        Page 2        of   3

 5.   Domicile and Deprivation                                          of   Parental               Support
           A.         Was      the   child        living with         one or both parents or                      relative          during the
                      month       the       court proceedings                 were       initiated         .......................................................................................                                                      Dyes                  No
                      Newborns are considered                            to   be    living with         the mother.                                                                    If
                                                                                                                                                                                            yes complete the appropriate                                             item below.


                      Living     With        Both Parents

                  Was       either        parent       incapacitated                     If
                                                                                              yes check          the    appropriate             box        to specify                  how you               verified           it.




                  QYes                      No                                           Q      SSI        Q     RSDI             Q       Form 3032                    -    Attach            a   copy          if
                                                                                                                                                                                                                     you check              this    box

                  Is    the primary wage-earner                           unemployed                receiving            AFDC-UP                  -
                                                                                                                                                      Type Program 61 63                                               or 64...........                     Yes         p     No


                  Living         With       One        Legal Parent
                 Which         Parent                                    What      is   the    reason      for   other parents                 absence

                 Q       Mother              Q     Father                Never           Married                 Q      Separation                        Divorce                               Q        Desertion                           Incarceration                    Death


                  Living       With         Relative

                  Name         of Relative                                                            Relationship            to the Child




                 Address Street                    City    State Zip


           B.    If    the child     was         not   living    with   a parent        or a    relative   during        the     month          court proceedings                               were          initiated               was    the    child   living   with   a parent       or


                 a     relative    at     any    time during          the six   months          before     proceedings               were        initiated                 .............................................................                              Yes             No
                 If    Yes Name              of Parent          or Relative                           Relationship            to Child                                                                         Dates           Child        lived with      This     Person
                                                                                                                                                                                                              from                                    to


6.    Income Assistance from the Texas Department                                                                         of     Human                  Services


                                                                                              Month and Year
       When were                  the court proceedings                  initiated                                        Did the child receive                              income             assistance                   during that

       that           resulted    in    the childs         removal                                                        month            ....................................................................                                            Yes              QNo
           11/27195


       If   yes complete                    the following

       Income            Assistance              Case     Name                                                                                    Type           of Assistance                        Check              all    that apply.

       DONNA SUE                            SOLIZ                                                                                                 AFDC                                      Food Stamps                         Q MAO              Medical       Assistance        Only

       Name             of Parent         or Qualified          Relative                                                                          Relationship                       to Child


       ABOVE                                                                                                                                      Father                                    Mother                   Other
       Address Street                       City   State        Zip

       3116 BRIGHT                           ST FORT                WORTH TX                        76105


       Note              The childs Income Assistance                                   worker        must be          notified           of    the childs removal.

       Income            Assistance              Workers         Name                                                                                             Phone               No.                                                  Date    Notified




7.    Income and Resources

      A.        Complete           this      section        to    establish        the familys             financial           need.            If    there           is      a stepparent                           living in             the    home        include       the

                                                                                                  anyone who has no income enter $0.00. Do
                                                           and resources.                     For                                                                                                                                enter       N/A            leave     blank.
                stepparents income                                                                                                                                                                                    not                             or

                 NUMBER              IN                    GROSS MONTHLY                        INCOME             SOURCE OF INCOME                                                                                                   FAMILY         MEMBERS TO WHOM
                       FAMILY                                                                                                                                                                                                               INCOME          IS   ATTRIBUTED

                                                                                                                                                                                                                                                                                  Mother
                                                                              $0.00
                                                                                                                                                                                                                                                                                   Father


                                                                                                                                                                                                                                                                            Stepparent


                                                                                                                                                                                                                                                                                  Siblings


                                                                                                                                                                                                                                Other specify




                                                                                                                                 410
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Texas Department                 of                                                       FOSTER CARE ASSISTANCE APPLR. ATION                                                                                      Form 2200-A

Protective       and       Regulatory           Services                                                                                                                                                        November           1994




                                                                                                                                                                                                                   Page 3          of   3



     B.    At the time of removal                               were any day-care costs being paid If yes complete the box below.....                                                                          QYes           No


      Monthly          Amount                                                                                                    Number       of Children                        Paid      By




     C.    Childs monthly income                                -   Check      all   sources of income that apply and enter the amounts actually received each

            month



      p     SSI        $                                    I    DRSDI        $                               Child   Support   $$125.00                         Q    Childs       Earnings                $




      p     Other specify                                                                                                                                        Q    No income            -   $0.00



      Name        of   Payee          for   the Childs      Income                                                                               Relationship            to Child


      RAUL EDUARDO SAENZ                                                                                                                         BIOLOGICAL FATHER


     Specify           how you determined                           the familys           and the     child    incomes

     ASKED MOTHER
     D.    Does            the   child          have more than $1000 equity                          in   property      and resources                     ..............................               QYes               No

      If
           yes    describe            savings account               trust   fund   etc.

                                                                                                                                                                        QAccessible                            QNot    Accessible


      Second       Resource
                                                                                                                                                                        QAccessible                            QNot    Accessible


      Method       of Verification




8.   Health Insurance                           -   is   the child covered                 by any health              Insurance other than Medicaid                                        .........           QYes      No
                                       a copy of the insurance card and complete                                       this   item.    Note          If   the     child       is   covered                 by more than one
      If
           yes     include

                                                                                                     other policies       on an attachment.
      policy enter the                      corresponding                   information      for




      Company              Name                                                             Policy    No.                                                 Group      No.




                                                                                                                                                                                               State                   Zip
      Address                                                                                                                         City




                 Holder                                                                     Employee         Name                             Beginning           Date                          Ending          Date
      Policy




9.   Si    nature            -   The childs worker must sign and date the form.

                                                                                                                                         Print   or       Type Workers              Name                               Mail   Code

                                                                                                            11/27/95
                                                                                                                                             HEIDI        M SCHMIDT                                                    819-1


                                                                                                              Date                       BJN                                Telephone             No.
                  Signature                 -   Childs Worker
                                                                                                                                         031 54 C04                          590-9508                  X   255




                                                                                                               411
     Texas
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               Dept       of Protective
                                                                                                                                                                  Page 117 of 301 PageID 8550                                              Forth   2200-C


                                                                                             ASSISTANCE                                                                                                                                                  1994
                                                          FOSTER-Ck.c                                                        - ELIGIBILITY                   DETL..tMINATION
     and Regulatory          Services                                                                                                                                                                                                November




    When           to    Complete-The                foster-care        eligibility
                                                                                        worker      completes           this      form    after receiving          Form 2200-A             or     2200-B from the childs worker.


                         Name                                                                                     No.                                       ds    Worker                                                            Mal Code
                                                                                                                                                                                           c
          Wilds   Full                                                                                   Client
                                                                                                                                                                                                  QA
                                                                                                                                                                                                                                            9-
                                                                                                                                                                                                           -_
                                                                                                                    p9.-v3 -7


    Eligibility           Determination              - based on                    Form 2200-A                    El Form 2200-B                             received          on date                 I




                                                          This   child        Q    IS   ELIGIBLE                  Q     IS    NOT        ELIGIBLE            for foster-care            assistance.




    If   the      child    is eligible       for foster-care            assistance           check     one     of the        four    boxes      below       to    specify        the    type      of   assistance.      Note         If
                                                                                                                                                                                                                                           you check
    State-Paid            Assistance            check       one    of   the   additional         boxes provided              to specify       the   childs Medicaid                eligibility.




           Q              TLE N-E ASSISTANCE                       ............................................................                                                  Effective        Date




                    STATE-PAD ASSISTANCE                                 ...............................                                 .....................                   Effective        Date


                    Type        of         dicaid    Eligibility
                                                                    - Check one.


                                          Regular    A             Q     Medically      Needy      B                    State-Paid        C           Q      SSI     D

           Q        MEDICAL ASSISTANCE                             ONLY       MAO           ...............................................                                      Effective        Date




           Q        COUNTY-PAID                  ASSISTANCE                .......................................................                                               Effective        Date




 Payment Computation                            for    LOC                                       Notifications



          Daily    Rate                          x   30                                             Have you       sent      Form 1702        or    1703    to the child       support     unit.......          Q     Yes     Q       No                 N



          Less Childs Monthly              Income                                                   Have you       reported         the childs health insurance                 on Form        1039 ...         Q     Yes                                NA



I
                         MONTHLY PAYMENT                                                            Have you       notified        the childs      worker    of   this
                                                                                                                                                                         eligibility
                                                                                                                                                                                       determination            Q     Yes




 Comments-Explain why                               this child     is   eligible      for   the type    of foster-care             assistance        specified           above.




                  1._.ý/C.Zý3ýL.            .                           ...                        r   ..c11ý-.
                                                                                                                             ..                                            . ...........                        ..     -..          -     ............




                                                                                        y......ýýr                      ...k..............................................                                                      ..............
               Ile

                        ýý...                                 ...                           c-                                                                                ............                      ...          . ..          ...                .




                                     ..                   rnA...-..o ....................................................................................................




         DA_   ý__                   -




............................................................................................................................................




Computational                   Worksheet on Back
                                                                                                                                                      @-h   ture-Eligibili        Worker                                                  Date

                                                                                                                             1
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                                                                                                                                     Form 2200-C

                                                                                                                                           Page 2
Worksheet
                                                                                   -

                      Optional


Recognizable Needs Test


            .1ecognizabi        Needs      See Income            Assistance       Chart            $

                    Gross Earned Income
  2.        Total                                    of   Certified   Group            $


  3.        Total   WRE     Standard      Deduction                                    -

  4.
        Adjusted        Earned Income           Una 2 minus           Line    3        _

  5.a.       $30    Disregard                                                          -

       b.    Subtotal     Une   4 minus Una           5.a.                             _


       c.    1/3 of   Una   5.b.                                                       -

       d. Subtotal        Una   5.b.     minus Une5.c.



  6.    Total Child/Incap.           Care   Costs                                      -

  7.    Subtotal       Una    5.d.   minus Una 6.



  8.    Total       Unearned Income



  9.    AGross Income
        Adjusted                             Line     7.   Plus   U ne   8.                    -

 10.    Unmet Need           Una     1   minus      Line   9

        GRANT AMOUNT Round Down                             to   $


Applied             Income of Stepparent Complete only if a
noncertified            stepparent with Income lives In the home.


  1.    Stepparents          Gross       Earnings




  2.    Standard        Work-Related           Expenses        Deduction




  3.    Net    Earned Income             Una    1   minus    Line 2-.




  4.    Other       Income    of Stepparent




  5.    Total Adjusted          Income Line 3             plus Line   4

  6.    Payments          to Dep.    Outside        Home


                                                                                               -
  7.    Alimony       and   Child    Support        Payments



  8.    Remaining Income Subtotal



  9.    100% Needs           of Stepparent          and    Noncert.      Dep.




10.     Remaining         Needs/Applied             Income     Une    8 minus      Una     9




                                                                                                       413
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              through   109   redacted   for the   following   reasons
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                                                                                           Saenz....rk

                                                                                Case       17020998



                                                        INTAKE REPORT
                                                  CHILD PROTECTIVE SERVICES


                                                                   SUMMARY

                          Intake        16393873                                      Date Reported      11/22/1995

           Primary Allegation           Refuse Parental Resp                          Time Reported      1159 PM


      Worker     Safety    Issues N                                           UE   Notification   Date
             Sensitive Issues           N                                           UE   Jurisdiction

                        Suspected
                Manufacturing
     of   Methamphetamines
             Special    Handling


     Priority   Determination           1                                       Reason   for   Closure

                                                                             Worker    Taking   Intake

     Determination Factors




                                                                                                          0-Ext.
    Was  there an open case                                                  Was   the Intake formally
    on the family in the CPS                                                               screened
    INV FBSS FSU or FRE
          stage on the date the
             Intake    was taken
                  Screened         by




                                                                       415
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                                                                                          Saenz..-rk

                                                                               Case        17020998



                                                            INTAKE      REPORT
                                             CHILD PROTECTIVE SERVICES




                                                 PRINCIPAL INFORMATION


  Mark A   Soliz                                                Oldest Victim                              Alleged Victim



                     Age                                   SSN                        Language     English

  Approx N           DOB    1/27/1982                      DOD                         Ethnicity   White   Hispanic
                     Sex    Male                      Reason                             Marital Childnot applicable

                   In-Law N


  Addresses

              Residence      5200 S     BUCKNER BLVD                            Attn
                                                                               Notes
                             DALLAS      TX 75227-2006
                             DALLAS




  Phones



 Aliases   Mark    Saenz   Soliz




  Notes




  Donna S   Soliz                                                 Parent                              Alleged Perpetrator



                     Age    38                             SSN                       Language      English

  Approx N           DOB    10/1/1959                      DOD                        Ethnicity White      Hispanic
                     Sex    Female                    Reason                             Marital Single      never   MA
                   In-Law N


  Addresses

              Residence      2829   PROSPECT AVE                                Attn

                                                                               Notes
                             FORT WORTH              TX 76106-5731
                             TARRANT



  Phones



 Aliases



  Notes




                                                                    416
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                                                                                      Saenz_..rk

                                                                           Case       17020998




                                                          INTAKE    REPORT
                                              CHILD PROTECTIVE SERVICES



  Raul Saenz                                                    Parent                                No Role



                       Age                               SSN                     Language
  Approx N             DOB   2/19/1961                   DOD                      Ethnicity White   Hispanic

                       Sex   Male                   Reason                          Marital Unknown

                  In-Law N


  Addresses
                Residence     3464   LULU     ST                             Attn
                                                                           Notes
                              FORT WORTH           TX 76106-4619
                              TARRANT



  Phones



  Aliases



  Notes




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                                                                          Case    17020998




                                                  INTAKE      REPORT
                                     CHILD PROTECTIVE SERVICES




                                             ALLEGATION             DETAIL


                   Victim                             Allegations                            Alleged Perpetrators

               SolizMark    A                     Refuse Parental Resp                           SolizDonna   S

               SolizMark    A                        Neglectful   Supv.                          SolizDonna   S




                                                  CALL NARRATIVE



 WORKER SAFETY ISSUES

 SENSITIVE ISSUES


 SUSPECTED MANUFACTURING             OF METHAMPHETAMINES




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                                                                                   Case   Name   Saenzndrk
                                                                                      Case       17020998




                                                                     INTAKE REPORT
                                                         CHILD PROTECTIVE SERVICES




                                                       DECISIONS/RECOMMENDATIONS


                   Recorded      Call                                                                         11/22/1995
                                            00000X00                                                          1159 PM


                                              -   Ext.




                         Approved



                                              -   Ext.




     Stage Change/Closed                                                                                      9/1/1996
                                                                                                              0957 PM


                                        -Ext.

                   Initial   Priority   1                                                  Current Priority   1




  Priority   Changes



  Reason     for   Closure




                                                                             420
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                                                                                     tSýKyý




                                                                                               f.




                                                                                              ýr.




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                                                                        BIT




                                                               EO.
                                                                                                                                                                        SCANNED
  Case 3:14-cv-04556-K
                   report Document
                           s_.c to you 24-53
                             If    this         Filed
                                       by facsimile and 08/02/16
                                                   is                Page 127
                                                         you are unable     anyof
                                                                                of301
                                                                                   the PageID 8560                              to


                                                                                   pages       please    call


                                                                                             -Ext.


                        TEXAS DEPARTMENT OF FAMILY AND PROTECTIVE SERVICES


    NOTIFICATION TO                                 LAW ENFORCEMENT AGENCY OF ABUSE/NEGLECT
                                                                                     REPORT

 SECTION 261.105 T.F.C. Requires                                 that    Childrens Protective               Services      notify     the       appropriate        law enforcement

            of                           of                             received        by the      Department          other    than                       received    from      such
 agency           all
                        reports               abuse/neglect                                                                                      reports

 agencies.       This   letter      confirms that         CPS      has       notified    you of the report of          child   abuse/neglect               specified    below.




                        TO                                                                    DATE       10/11/2010



                  FROM             Denton                                                PHONE 940                387-8544       Ext.




                                                                        CONFIDENTIAL


                           CASE NAME                    SaenzMark                                                      DATE OF REPORT                       11/22/1995

                        CASE NUMBER                     17020998                                                       TIME OF          REPORT              1159 PM


                        HOUSEHOLD ADDRESS                                                                       INVOLVING ALLEGATION                            TYPES
                                                                                                                          Refuse       Parental          Resp

                                                                                                                               Neglectful          Supv.




 ACTION TAKEN BY                    CPS

 ACTION      REQUESTED                     Please       notify   CPS         staff at   the     above    listed   CPS     office     of    all    actions    planned or taken       in


 this   case so     that   we can             coordinate      our respective                 investigations      and   services.          If
                                                                                                                                               you determine        that   this   case
 should    be     reported          to    another       law      enforcement            agency          please    forward       this      notification       to   the   appropriate

 agency.



          SECTION          261.201             T.F.C.         The       name         of the  complainant  i.e. reporter                              or    informant        is


          confidential.            Consequently               identifying           information about the complainant                               is   not included      in


          his    report.      If    this      information         is    needed          to    conduct     the criminal          investigation               the assigned
                                                                                                                                                               about  the
          Child     Protective                Services       worker           or   supervisor           may      orally   share           information

          complainants               identity     with the assigned investigating                            officer.




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                                                        INTAKE    REPORT
                                            CHILD PROTECTIVE SERVICES


                                                            SUMMARY

                        Intake     16393873                                    Date Reported      11/22/1995

           Primary Allegation      Refuse Parental Resp                        Time Reported      1159 PM


     Worker     Safety Issues      N                                   UE   Notification   Date   10/11/2010

            Sensitive Issues       N                                        UE   Jurisdiction

                       Suspected
               Manufacturing
    of    Methamphetamines
            Special    Handling


    Priority   Determination       1                                    Reason    for   Closure
                                                                      Worker    Taking   Intake

    Determination Factors




                                                                                                   0-Ext.




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                                                            INTAKE REPORT
                                              CHILD PROTECTIVE SERVICES




                                                  PRINCIPAL INFORMATION


  Mark A    Soliz                                                Oldest Victim                           Alleged Victim



                       Age                                  SSN                    Language      English

  Approx N             DOB   1/27/1982                      DOD                      Ethnicity   White   Hispanic
                       Sex   Male                      Reason                           Marital Childnot applicable

                    In-Law N



  Addresses
                Residence     5200   S BUCKNER BLVD                              Attn

                                                                              Notes
                              DALLAS TX        75227-2006
                              DALLAS




  Phones



 Aliases Mark       Saenz Soliz



 Notes




  Donna S     Soliz                                                Parent                           Alleged Perpetrator



                       Age   38                             SSN                    Language      English

  Approx N             DOB   10/1/1959                      DOD                      Ethnicity White Hispanic
                       Sex   Female                    Reason                           Marital Single never   MA
                    In-Law N


  Addresses

                Residence     2829   PROSPECT AVE                                Attn

                                                                              Notes
                              FORT WORTH              TX 76106-5731
                              TARRANT



  Phones



 Aliases



  Notes




                                                                    423
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                                                            INTAKE    REPORT
                                              CHILD PROTECTIVE SERVICES


  Raul Saenz                                                       Parent                                No Role



                       Age                                 SSN                    Language
  Approx N             DOB   2/19/1961                     DOD                      Ethnicity   WhiteHispanic
                       Sex   Male                      Reason                         Marital   Unknown
                   In-Law N


  Addresses
                Residence     3464   LULU ST                                   Attn

                                                                             Notes
                              FORT WORTH              TX 76106-4619
                              TARRANT



  Phones



  Aliases



  Notes




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                                   INTAKE REPORT
                             CHILD PROTECTIVE SERVICES




                              COLLATERAL             INFORMATION




                                                   425
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                                                                     Case     Name      Saenz   irk

                                                                             Case       17020998




                                                      INTAKE REPORT
                                         CHILD PROTECTIVE SERVICES




                                                 ALLEGATION               DETAIL
                   Victim                                 Allegations                           Alleged Perpetrators

                Soliz   Mark   A                      Refuse   Parental   Resp                        SolizDonna   S

                SolizMark      A                        Neglectful   Supv.                            SolizDonna   S




                                                     CALL NARRATIVE



 WORKER SAFETY ISSUES

  SUSPECTED MANUFACTURING               OF METHAMPHETAMINES



                                                           COVER
                                                FCSFILECAPSFCS.PCL
                                                       NOTE 17020998
                                                      NOTE SaenzMark
                                                     TO_NAME       16393873

                                                      TO_FAXNUM               -




                                                               426
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                                      Case Name             SolizDonna             S

                                         Case               17020998
                                              Stage         INV

                        SERVICES      AND     REFERRALS          CHECKLIST             REPORT

Date of First Referral
No Services/Referrals




                                  Services/Referrals                   Provided




                                            Family Response

      At least one person in the family agreed to                                 seek       or    accept
      one or more of the resources or services.

      No one in the family agreed                to     seek     or    accept          any    of    these
      resources or services.

      Other       explain.

      Not     Applicable.




                                                      Comments




                                                          427
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                                     Case Name             SolizDonna            S

                                        Case               17020998
                                             Stage         FPR

                        SERVICES     AND     REFERRALS          CHECKLIST            REPORT

Date of First Referral
No Services/Referrals




                                 Services/Referrals                   Provided




                                                     Comments




                            Parental         Child Safety             Placements




                                                         428
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                                    Case Name             SolizDonna              S

                                       Case                17020998
                                             Stage         FSU


                        SERVICES    AND      REFERRALS          CHECKLIST             REPORT


Date of First Referral
No Services/Referrals




                              Services/Referrals                      Provided




                                                 Comments




                                                         429
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                                                                                           Soliz

                                                                            Case           17020998




                                        CPS INVESTIGATION SUMMARY


 Intake   Received                                         11/22/1995

                                                           11/22/1995
 Intake   Progressed to Investigation
                    Initiated                              11/22/1995
 Investigation

 Investigation      Tasks Completed                        12/6/1995

                                                           12/6/1995
 Investigation      Approved


 Overall Disposition                                       Reason      to   Believe

 Risk Finding

 Recommended           Action                              Removal/Subcare

 Safety   Plan Completed                                   No

 EA   Eligibility                                          Yes



                                                           Afton   Rutherford
 Supervisor

 Primary Worker                                            Heidi   M   Schmidt



 Office                                                    951   W     PIPELINE       RD   SUIT


                                                           HURST TX          76053-4834
                                                           TARRANT




                                                ALLEGATION              DETAIL


              Victim                    Allegations                    Alleged Perpetrator         s     Disposition

          SolizMark     A                 Supv.
                                 Neglectful            CPS                   SolizDonna       S        Reason   to   Believe


          SolizMark     A        Refuse Parental Resp                        SolizDonna       S        Reason   to   Believe




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                                               Name       ina S                         Soliz

                                                                             Case       17020998




                                                 PRINCIPAL INFORMATION


  Mark A   Soliz                                Oldest Victim                                Designated          Victim



                      Age   28                             SSN                     Language        English

  Approx N            DOB   1/27/1982                      DOD                      Ethnicity      White    Hispanic
                      Sex   Male                      Reason                          Marital Childnot applicable



  Address

  Other                      401    W   SANFORD ST                         Attn

                                                                           Notes
                             ARLINGTON         TX 76011-7087
                             TARRANT



  Phones
  Fac Residence              214    319-3406     Ext.                      Notes




  Notes




  Donna S     Soliz                            Parent                                       Designated          Perpetrator



                      Age   51                             SSN                     Language        English

  Approx N            DOB   10/1/1959                      DOD                      Ethnicity      White   Hispanic
                      Sex   Female                    Reason                          Marital Single            never    MA

  Address

  Residence                  1225   DENVER AVE                             Attn

                                                                           Notes     This   is   actually the     home     of   Sharon
                             FORT WORTH              TX 76106-9009                   Rangel      where Donna        is   now     living.

                             TARRANT



  Phone
  Residence                  817    626-2499 Ext.                          Notes     This   is   actually the     phone         of   Sharon

                                                                                     Rangel       where    is   Donna     is   now    living.




  Notes




  Raul Saenz                                  Parent                                        No Role



                      Age   49                             SSN                     Language
 Approx N             DOB   2/19/1961                      DOD                      Ethnicity      White   Hispanic
                      Sex   Male                      Reason                          Marital Unknown



 Address




                                                                    431
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                                                                    Case   Name      Soliz.. nna S

                                                                         Case        17020998




  Residence            3464     LULU ST                                Attn
                                                                        Notes
                       FORT WORTH                 TX 76106-4619
                       TARRANT



  Phone
                              Ext.                                     Notes




  Notes




                                                                432
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                                                            Case NameSolizDonna              S

                                                               Case 17020998

                                          HISTORY           OF   INVESTIGATION




Investigation            Completion      Date         12/06/1995

Victim                  Mark A Soliz                                     AP              Donna   S   Soliz
Allegation              Refuse Parental Resp
Disposition             Reason to Believe                                Severity

Victim                  Mark   A Soliz                                   AP              Donna   S   Soliz
Allegation              Neglectful Supv.           CPS
Disposition             Reason to Believe                                Severity.

Overall Disposition               Reason to Believe
Risk Finding                      Risk Indicated




                                                                 434
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                                               Case Name SolizL
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                                                                                       Case      17020998



                                                               FAMILY        ASSESSMENT

              Worker          Laura      Flores                      Date Completed       11/20/1996




          This form identifies the underlying                   causes    of   the risk factors identified   in   the   Risk Assessment.




  1.    THE ABUSE OR NEGLECT ITSELF


            Motivation



            Characteristics




            Strengths and Resources




 II.     CHILD FACTORS




 III.    PARENTS AND CARETAKERS


                    ADULT               Donna S      Soliz

 Relationship to Child                  Other



            Behavioral Issues

                        Codependent         behavior

                        Drug or alcohol         abuse

                        Low   self-esteem




            History

                      Abused or neglected              as a    child


                        Criminal    involvement

                        Lack of education         or training

                        Unable     to   form positive        relationships

                      Victim of     spouse abuse



            Parenting Issues

                        Inappropriate       expectations

                        Insensitive to childs         needs

                      Lack    of   attachment



            Strengths and Resources




 IV.     FAMILY   FUNCTIONING


            Family Circumstances




                                                                               435
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                                                                                Case      17020998



                                                         FAMILY ASSESSMENT


                       Housing problems

                       Inadequate income

                       Recently moved

                       Single parent or caretaker




           Family Functioning

                       Absence of household           routines

                       Crisis   lifestyle


                       Interpersonally      distant

                       Role and boundary problems



           Strengths and Resources




                                                                       436
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                                                                                          Case     Name        SolizG           ia   S
                                                                                                  Case         17020998



                                                 FAMILY PLAN EVALUATION


  Date   Completed                                   Month/Year             of   Next

                     11/22/1996                      Evaluation            or   Review           5/20/1997



 Task Evaluation Description            Parenting           classes

 Comments                               Kiki    has been              attending            her parenting classes.             She lacks    two classes. Services
                                        are    going       to    continue again with                 VOA       to   make-up these classes and begin
                                        more intense one-on-one work with her mentor. Therapy has been                                                       arranged   for


                                        Kiki    and she has been attending some sessions. She needs                                             to    attend    more

                                        consistently             to   monitor             progress   better.


 Goal Evaluation         Description    Use support service
 Comments                               Kiki has been attending her parenting classes. She lacks two classes. Services

                                        are going to continue again with VOA to make-up these classes and begin

                                        more intense one-on-one work with her mentor. Therapy has been                                                       arranged   for

                                        Kiki    and she has been attending some sessions. She needs to attend more

                                        consistently             to   monitor             progress   better.




 Task Evaluation Description            Obtain evaluation
 Comments                               Kiki    obtained          her evaluation                 and has gone          for   her psychiatric     assessment and
                                        needs        to   follow through with the                    recommendations                 and referrals     for   other

                                        services.

 Goal Evaluation Description            Get treatment                 for   depression
 Comments                               Kiki    continues             to    seem depressed. She                     cries during conversations            about her

                                        ability to        parent       and being overwhelmed.                        She     reports not sleeping        well   and not

                                        having energy                 to    do anything.


 Task Evaluation Description            Locate/maintain                    proper         housing
 Comments                               Kiki    is   on the waiting                list    for   Section   8 Housing. She has not obtained other

                                        housing           for   her children.              She has     not   found a stable means of                 financially

                                        providing          for   her children.
 Goal Evaluation Description            Maintain safety

 Comments                               Kiki    has not found safe housing                           for   her children       and herself


 Task Evaluation Description            Additional          treatment

 Comments                               Ms. Soliz did not follow through                             and complete treatment               for   her   problem with
                                        drugs and alcohol.
 Goal Evaluation        Description     Be     drug/alcohol                free

 Comments                               Ms. Soliz has made      little
                                                                       progress on her service plan. She was admitted twice
                                        to   an in-patient drug treatment program but did not complete the program
                                        either time.




 Type of Family Plan Review             Six    Month




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                                                                                      Case     Name    So.._Jonna     S

                                                                                               Case    17020998

                                                                                     Childs    Name    Mark A Soliz       DOB   1/27/1982




                                                         CHILDS SERVICE PLAN
                                                                   Initial    Plan



                          Initial    Service     Plan    /    Intake   Study     /   Initial    Assessment Report


  OVERVIEW


  A.           General

  Religion          ubmitted for Approval Date of Next Revie


  Catholic

  Worker       Who     Completed
  Form
  Sandra       L.   Mcguire


  B.           Long-Range         Goal For Permanency

  Permanency Goal
  Family Reunification
  Projected Date for Achieving             Permanency                        Estimated Length         of   Stay in Substitute Care
  If   there   is   a discrepancy     between the estimated length of stay                in   substitute    care and the projected date
  of   permanency         explain


  C.           Concurrent     I   Alternative   Goal For Permanency




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                                                                                    Case       17020998

                                                                            Childs      Name   Mark   A   Soliz       DOB   1/27/1982




                                                      CHILDS SERVICE PLAN
                                                                Initial   Plan


  INTAKE HISTORY


  A.       Initial   Social History


 Child


 Family


  B.       Initial   Genetic   History




                                                                    439
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                                                                                                         Childs     Name          Mark   A    Soliz           DOB      1/27/1982



                                                                           CHILDS SERVICE PLAN
                                                                                          Initial    Plan


 RESULTS OF                 INITIAL            ASSESSMENTS                 I    PROGRESS SINCE REMOVAL


 Caregiver observations                            about      childs personality                 behavior    special interests             and      talents



 Basic needs
 All   children    in   placement have                  basic needs.                They require food       shelter   and clothing            routine      medical and dental

 care safe stimulating and nurturing home environments                                                and friendships           and recreational          activities   appropriate

 to their   ages.       FPS expects each                      childs      caregiver      to    meet the childs basic needs without specifically                        identifying

 those needs           in   the      case plan.


 Specific        needs
 Social     and Emotional                 Needs


 Educational           Needs


 Developmental              Needs


 Medical and Dental Needs


 Special       Physical          Needs


 Placement Needs

 Type     of   Placement


 Appropriateness                 and Safety of Placement


 Objectives       of    placement
 The    objectives          of   this     placement are             to   protect the child          from abuse and neglect              and   to    provide    the child with

 care that       meets the childs needs                       for   permanency            safety     and well being. Additional objectives are


 Visitation      Summary

 Culture Heritage



 Permanency Needs
 Progress / Efforts Made Toward Permanency


 ASFA     requirement                if
                                          applicable



 Summary
 Extent     of   Compliance               if   a    review


 Appropriateness                of   Services


 Continuing       Nessessity               for     Placement


 Emergency Conditions


               FPS has determined                     that     one of the following emergency                  conditions         continues        to exist   for this   case and
               therefore          services          continue     to be necessary




                  1.        A   child     is   at   risk of    abuse or neglect                as determined   by   FPS
                  2.        A   child     has been         removed from his/her home and placed                            in   FPS care       or

                  3.        A   child formerly           in   FPS        care   is   at-risk   of being returned      to   FPS     care.




                                                                                                 440
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                                                         Childs     Name    Mark   A   Soliz   DOB   1/27/1982




                                    CHILDS SERVICE PLAN
                                            Initial   Plan




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                                                                                                  Case    Name     Sc  Donna S

                                                                                                       Case          17020998

                                                                                              Childs      Name       Mark        A   Soliz          DOB       1/27/1982




                                                                  CHILDS SERVICE PLAN
                                                                                Initial    Plan



 PLANS

 Plans    to    Address Permanency


 Services       to   Meet Childs Needs


 Need

  ask                                                                                                    PSFC/Care       fiver   Service




  ime Frame                                                                                            ITime     Frame

 Method       of Evaluation




 Provision of        Safe     and Proper Care          in   Placement


 Plans    for    Future Visitation



 Plans    for   Preserving       Childs Cultural Heritage



 Supervision



 Behavior Management Discipline
The  childs discipline must suit the childs age circumstances    and developmental needs. Methods of discipline

     include                                  reasonable limits modeling appropriate behavior offering choices
 may          establishing routines   setting

 giving explanations.            repeating   instructions taking                time-out      enforcing     or permitting            logical   or natural

                         and reinforcing desired behavior. Physical punishment                              is   not permitted. Additional                  strategies     for
 consequences
 managing         the childs      behavior are specified below.



 Support Services to the Caregivers
                                                                                                       them meet the childs                  needs and             ensure
 Identify the support services to be provided                        to   the   caregiver    to help                                                          to


                                          and proper care. Include                 the                                  worker                      the            and         the
                                                                                          planned frequency        of                 visits   to         child           to
 that   the    child   receives    safe

 caregivers          home.


 Travel

The                                                         normal                   examples church             school      events.         Any            that   last   more
        child    may    travel   to participate    in                 activities                                                                    trips


than    72 hours must be approved                 in   advance by the childs worker. Trips outside the state must be approved                                              in


            by the childs worker and
 advance                                                    the            Additional                      regarding        the childs         travel     are specified
                                                       by         court.                   stipulations

 below.




                                                                                     442
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                                                                                                        Case        17020998

                                                                                           Childs           Name    Mark     A   Soliz          DOB   1/27/1982




                                                             CHILDS SERVICE PLAN
                                                                           Initial   Plan



 INVITED PARTIES                    AND PARTICIPATION          INFORMATION


 NAME RELATIONSHIP                  TO CASE DATE OF NOTIFICATION            TYPE OF NOTIFICATION               DATE COPY GIVEN               DATE OF PARTICIPATION



 EXPLANATION                 IF   NO PARTICIPATION           BY CHILD          MOTHER FATHER OR CAREGIVER




                                                                    Date        Signature-Child       Optional                                                 Date
 Signature-Worker




                                                                    Date        Signature-Level       One    Child-Placing   Staff                             Date
 Signature-Supervisor
                                                                                            for             placement    only
                                                                                Required          initial




                             Director                               Date
 Signature-Program
 required   for   initial   placement   only


                                                                                                                                                              has
        a copy of the following updated items to the plan shared with the caregiver unless                                               this   information
 Attach

 already been provided or obtained by the caregiver



          medical log
          education           log

          medical/developmental   history and

          the record of immunizations




                                                                                443
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                                                                                                   Case        17020998

                                                                                            Childs      Name   Mark A Soliz            DOB   1/27/1982




                                                                CHILDS SERVICE PLAN
                                                                        Facility      Review


                                                                  Service        Plan Review


 OVERVIEW

 A.               General

             of Last Plan         his    Plan Submitted for Approval Date of Next Review
 IDate

                                 111/20/1996                                        5/20/1997
 111/20/1996

 Worker           Who     Completed Form
 Sandra           L.   Mcguire



 B.               Current Placement

 Residence              NamelLiving       Arran      emen             a of Facili




 C.               Long-Range           Goal For Permanency

 Permanency Goal
      PPLA        Foster   Family       DFPS   Conservatorship
                                                                                    Estimated Length                            Substitute Care
 Projected Date for Achieving                     Permanency                                                   of   Stay   in


 11/30/1997                                                                         lone   more year

 If       there   is   a discrepancy between            the estimated length of stay               in   substitute    care and the projected date

      f   permanency         explain



 D.               Concurrent       /   Alternative     Goal for Permanency




                                 PROGRESS         IN   ADDRESSING            NEEDS          SERVICES SINCE LAST PLAN

                                                                        Attach   Facility   Plan




                                                                                 444
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                                                                                                                  Case    Name       So.     onna
                                                                                                                         Case        17020998

                                                                                                                Childs    Name       Mark    A     Soliz          DOB          1/27/1982




                                                                           CHILDS SERVICE PLAN
                                                                                    Facility             Review


      Placement          Needs
      Type     of    Placement


 Appropriateness                      and Safety of Placement

  Explain            why   the type of            placement      chosen continues                 to   be appropriate.       Address any issues such as need                           for


  placement with siblings which continue to be unmet.


 This          placement is appropriate because       meets Marks needs by providing counseling drug education academic
                                                                      it




 education          and recreational activities in a therapeutic setting. Staff are also trained to handle Marks aggressive
 and oppositional                  behaviors.




 Objectives of placement
 The objectives of this placement are to protect the child from abuse and neglect and to provide the                                                                          child   with

 care that meets the childs needs for permanency     safety and well being. Additional objectives are



  Visitation           Summary

 Culture             Heritage


 Permanency                 Needs
 Progress/           Made Toward Permanency
                        Efforts

 Describe 1 the progress made towards achieving the permanency                                                          planning   goal during the              last   plan    period        2
 the actions to be taken with the childs family to achieve the goal                                                 3   obstacles     and actions          to    be taken to
 overcome              them        4     attempts to locate          absent parents                    identify   possible   relative      placements or               find   possible

 guardian.



 It    had been hoped that Mark could be reunited with                                       his       mother but Ms.        Soliz   has made             progress on her
                                                                                                                                                      little


 service         plan.    She was admitted twice to an                          in-patient        drug treatment          program      but did not     complete either
 program.              She continues to live an unstable                        lifestyle     with       no permanent place           to   live.    She recently admitted she
 is    still
               drinking      alcohol          and continues to be involved                   in   a relationship        with a   man who           physically      abuses her.           She
 seldom calls to check                       on Mark and has not visited him                       for    many months.

 Marks          father      pays the state             child    support but       is   not   willing       to   have   a relationship with his son.                He has        not   seen
 Mark          for   many        years.


 There are no appropriate                           relatives   who can care           for   Mark.




 ASFA           requirement             if
                                             applicable



 Summary
 Extent         of    Compliance             if   a review


 Appropriateness                  of   Services
 Describe             extent     to   which       services      planned    for    or previously             provided     to the child actually             meet the childs needs.


 The  services documented in this plan are appropriate to meet Marks needs.      His physical educational and

 medical needs are met daily by his caregivers.     Marks social emotional and educational needs are met through
 interaction with his caregivers and by participation in school. He also receives individual and group therapy

 weekly.




 ContinuingNessessity                         for   Placement

 Explain         why       the   child       continues     to require      placement.




                                                                                                  445
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                                                                                                   Case     Name       Sc       onna S
                                                                                                        Case           17020998

                                                                                                  Childs    Name       Mark     A   Soliz             DOB    1/27/1982



                                                                  CHILDS SERVICE PLAN
                                                                          Facility      Review



 Mark     continues    to   require      placement          because      his   mother    is   a   drug addict who       is   unable       to   care   for   him and     his

 father   has refused       to    accept      responsibility      for    his   care.   There are no appropriate relatives who                         can care    for   Mark.




 Emergency Conditions


            FPS has determined                 that      one of the following emergency               conditions       continues      to    exist     for this   case and
            therefore services               continue to      be necessary



               1.     A   child    is   at   risk   of   abuse or neglect          as determined       by   FPS
               2.     A   child    has been          removed from his/her home and                   placed      in   FPS care       or

               3.     A   child    formerly         in   FPS care   is   at-risk   of being returned        to   FPS    care.




                                                                                    446
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                                                                                                Case    Name      Sc       Donna          S
                                                                                                       Case        17020998

                                                                                            Childs      Name      Mark A Soliz                     DOB     1/27/1982




                                                                  CHILDS SERVICE PLAN
                                                                           Facility     Review


 PLANS

Plans     to    Address Permanency


Services        to   Meet     Childs Needs


 Need
                                                                                                       PSFC/Care       iver Service
 Task




  me    Frame                                                                                          Time Frame

 Method       of Evaluation




 Provision of         Safe and Proper Care               in   Placement


Plans     for    Future Visitation



Plans for Preserving                Childs Cultural Heritage



Supervision



Behavior Management Discipline
The childs discipline must suit the childs age circumstances   and developmental needs. Methods of discipline

    include                                 reasonable limits modeling appropriate behavior offering choices
may          establishing routines  setting

giving explanations.                repeating     instructions taking         time-out      enforcing or permitting              logical      or natural

                            and                    desired       behavior.    Physical    punishment      is   not permitted. Additional                 strategies    for
consequences                        reinforcing

managing          the childs behavior             are specified        below.




Support Services to the Caregivers
                                                                                                       them meet the childs needs and to ensure
Identify the support services to be provided
                                                                      to   the caregiver   to   help

                                                                                        planned frequency of worker
                                              and proper care.          Include   the                                             visits      to   the   child   and to the
that    the    child      receives     safe

caregivers           home.

 Identify      the support          services to    be provided to the caregiver to help them meet the childs needs. Include the
                                  of   worker         to the child and to the foster home or group-care facility.
planned frequency                               visits



                                                                                                        Caseworker                        Mark monthly and
                                                           phone consultation as needed.
                                                                                                                                                                       will
The caseworker               will   be available     for                                                                  will    visit


participate          in   staffings    regarding    Marks     treatment and progress.




Travel

The child may  travel to participate in normal activities examples church  school events.  Any trips that last more
                                                                                                 be approved in
than 72 hours must be approved in advance by the childs worker. Trips outside the state must
                                                                                  the childs        are specified
         by the childs worker and by the court. Additional stipulations regarding
                                                                                             travel
advance
 below.




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                                                                          CHILDS SERVICE PLAN
                                                                                  Facility       Review


 INVITED           PARTIES               AND        PARTICIPATION            INFORMATION


        NAME                     RELATIONSHIP          TO               DATE OF                       TYPE OF                    DATE COPY                  DATE OF
                                           CASE                     NOTIFICATION                 NOTIFICATION                      GIVEN                 PARTICIPATION

 Phil                       Marks       therapist

 Brinkmeyer



 EXPLANATION                       IF    NO    PARTICIPATION              BY CHILD         MOTHER FATHER OR CAREGIVER

 The plan was                 briefly     discussed        with   Ms.   Soliz   on the phone 11-13-96. She agreed to meet with me the next day

 to   discuss         it   further        but did not      show    up. Mr.      Saenz has made   clear to the agency that he does not wish to be
                                                                                                       it




 involved        in        any   way       except     to   pay child support       for   Mark.




 Signature-Worker                                                                Date      Signature-Child     Optional                                               Date




 Signature-Supervisor                                                            Date      Signature-Level     One    Child-Placing   Staff                           Date

                                                                                           Required    for initial   placement   only




                                                                                 Date
 Signature-Program                Director

 required       for initial      placement     only



                 copy of the following updated items to the plan shared with the caregiver
 Attach     a                                                                                                                           unless   this   information   has

 already        been provided or obtained by the caregiver



           medical log
          education                log

          medical/developmental    history and
          the record of immunizations




                                                                                           448
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                                                                                        Childs      Name   Mark A Soliz           DOB     1/27/1982




                                                             CHILDS SERVICE PLAN
                                                                    Facility      Review


                                                               Service      Plan Review


  OVERVIEW


  A.           General

          of Last Plan           his   Plan Submitted for Approval Date of Next Revie
 IDate


 144/1/1997                    14/1/1997                                        10/1/1997

  Worker       Who       Completed Form
  Laura Flores



  B.           Current Placement

  Residence             Name   Livin    Arran      emen        a   of Facilit



  C.           Long-Range            Goal For Permanency

  Permanency Goal
      PPLA     Foster     Family       DFPS   Conservatorship

 Projected Date for Achieving                   Permanency                      Estimated Length          of   Stay   in   Substitute   Care
 3/1/1998                                                                    lone      more year
 If    there   is   a   discrepancy between           the estimated length of stay             in   substitute   care and the projected date
 of    permanency           explain
 none



 D.            Concurrent        I   Alternative     Goal for Permanency




                               PROGRESS         IN   ADDRESSING         NEEDS           SERVICES SINCE LAST PLAN

                                                                   Attach   Facility    Plan




                                                                            449
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                                                                                                                              Case         17020998

                                                                                                                    Childs    Name         Mark    A   Soliz         DOB      1/27/1982




                                                                                    CHILDS SERVICE PLAN
                                                                                            Facility          Review


      Placement Needs

      Type    of   Placement


  Appropriateness                   and Safety of Placement

  Explain          why     the type of              placement           chosen continues               to   be appropriate. Address any issues such                     as need      for


  placement with siblings which continue                                       to   be unmet.


 This        placement             is    appropriate           because         it   meets Marks             needs by providing counseling                drug education          academic
 education               and recreational                  activities     in   a therapeutic          setting.      Staff are also trained to           handle Marks aggressive
 and oppositional                   behaviors.




 Objectives              of   placement
 The         objectives  of this placement are to protect the child from abuse and neglect   and to provide the                                                            child    with

 care        that   meets the childs needs for permanency     safety and well being. Additional objectives are



  Visitation         Summary


 Culture Heritage



 Permanency Needs
 Progress/ Efforts Made Toward Permanency
 Describe 1 the progress made towards achieving                   the permanency planning goal during the last plan period                                                                 2
 the actions             to be taken with the childs family to achieve the goal                                         3
                                                                                     obstacles and actions to be taken to

 overcome                them       4
                                  attempts to locate absent parents    identify possible relative placements or find possible

 guardian


 It    had been hoped that Mark                               could     be reunited with             his    mother but Ms. Soliz has made              little
                                                                                                                                                              progress on her
 service          plan.       As    stated          in   the previous plan               Ms.   Soliz       was   admitted     twice   to   an in-patient drug treatment

 program            but did not     complete either program. She continues to live an unstable lifestyle with no permanent
 place       to    live.      Ms. Soliz has admitted to previous caseworker that she is still drinking alcohol and continues to be
 involved           in   a relationship                 with a   man who            physically       abuses her.        Ms.    Soliz   has neither           called or visited     Mark
 since       Christmas of 1996 despite his being                                    in   close proximity.



 Marks         father         is   not   willing         to   have a relationship              with   his    son.    He has    not    seen Mark        for
                                                                                                                                                              many   years.



 There are no appropriate                                relatives    who can care             for   Mark.




 ASFA         requirement                 if   applicable



 Summary
 Extent of          Compliance                 if   a    review


 Appropriateness                    of   Services
 Describe           extent         to    which        services        planned        for   or previously         provided     to   the child      actually     meet the childs needs.


 The services documented                                 in this   plan    are appropriate             to    meet Marks needs.             His    physical educational           and
 medical needs are met daily by his caregivers.     Marks social emotional and educational needs are met through
 interaction with his caregivers and by participation in school. He also receives individual and group therapy.



 Continuing              Nessessity             for      Placement

 Explain          why      the     child       continues         to   require       placement.




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                                                                                            Childs   Name   Mark        A   Soliz           DOB    1/27/1982




                                                             CHILDS SERVICE PLAN
                                                                     Facility     Review


  Mark     continues    to   require    placement      because his mother          is   a   drug addict who     is   unable     to   care   for   him   and   his

  father   has refused       to    accept   responsibility    for   his care.    There are no appropriate            relatives       who can care       for   Mark.




  Emergency Conditions


             FPS has determined             that    one of the following emergency conditions continues                        to   exist   for this   case and
             therefore services continue              to   be necessary



                1.     A   child    is at risk of abuse or
                                                           neglect as determined by FPS
                2.     A   child    has been removed from his/her home and placed in FPS care or
                3.     A   child    formerly   in   FPS care   is   at-risk   of being returned      to   FPS   care.




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                                                                                                         Childs   Name         Mark    A     Soliz          DOB       1/27/1982




                                                                        CHILDS SERVICE PLAN
                                                                                  Facility        Review


 PLANS

 Plans to        Address Permanency


 Services         to   Meet Childs Needs


  Need

   ask                                                                                                          IPSFC/Caregiver        Service




   me     Frame                                                                                                   ime Frame

 Method     of Evaluation




 Provision        of    Safe and Proper Care                 in   Placement


 Plans for Future           Visitation




 Plans for Preserving                Childs Cultural Heritage


 Supervision



 Behavior Management               Discipline
 The     childs discipline       must suit the childs age circumstances  and developmental needs. Methods of discipline

 may include            establishing routines setting reasonable limits modeling appropriate behavior offering choices

 giving explanations.               repeating      instructions taking              time-out         enforcing      or permitting            logical or natural

 consequences             and       reinforcing desired             behavior.       Physical       punishment       is   not   permitted. Additional                strategies     for


 managing the childs behavior are specified below.


 Support         Services      to   the    Caregivers
                                               to be provided                                                   them meet the childs                 needs and
 Identify the support               services                               to   the caregiver       to   help                                                         to   ensure
 that the    child      receives         safe   and proper care. Include                   the   planned frequency         of   worker        visits   to   the child      and    to   the

 caregivers            home.

 Identify    the support            services to      be provided           to   the caregiver       to   help   them meet the childs                 needs.    Include      the

 planned frequency              of   worker      visits   to      the   child   and to the foster home or group-care                     facility.




 The caseworker             will    be available        for    phone consultation as needed.                      Caseworker          will   visit   Mark     monthly and          will


 participate       in   staffings        regarding    Marks       treatment and progress.




 Travel

 The     child   may     travel     to    participate     in      normal      activities    examples church              school   events.            Any    trips   that   last   more
 than    72 hours must be approved                      in   advance          by the childs worker. Trips outside the state must be approved                                       in


 advance         by the childs worker             and by the court.               Additional      stipulations     regarding      the childs travel are specified

 below.




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                                                                       CHILDS SERVICE PLAN
                                                                              Facility     Review


  INVITED             PARTIES AND PARTICIPATION                             INFORMATION


          NAME                  RELATIONSHIP         TO              DATE OF                     TYPE OF                        DATE COPY                         DATE OF
                                      CASE                       NOTIFICATION                  NOTIFICATION                       GIVEN                     PARTICIPATION

  Billy                  Program         Director         13/21/1997                  frerbal                             14/21/1997                13/21/1997

  Roberson



 EXPLANATION                       IF    NO PARTICIPATION              BY CHILD MOTHER                   FATHER OR CAREGIVER

 The plan was                   briefly   discussed with Ms. Soliz on the phone 03-18-97. Mr. Saenz has made                                         it   clear   to   the   agency
 that     he does not wish                   to   be involved   in   any   way   except   to   pay   child     support     for   Mark.




  Signature-Worker                                                           Date     Signature-Child        Optional                                                         Date




 Signature-Supervisor                                                        Date     Signature-Level        One     Child-Placing     Staff                                  Date

                                                                                      Required       for initial    placement    only




 Signature-Program.               Director                                   Date

 required       for   initial    placement only



 Attach     a    copy of the following updated items to the plan shared with the caregiver                                              unless     this   information        has

 already        been provided or obtained by the caregiver



            medical log
            education              log

            medical/developmental                      history   and
            the       record of           immunizations




                                                                                     453
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                                                             CHILDS SERVICE PLAN
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                                                              Service       Plan Review


 OVERVIEW


 A.            General

          of   Last Plan       his    Plan Submitted for Approval Date of Next Review
 IDate


 110/10/1997                 110/10/1997                                    14/10/1998

 Worker        Who       Completed Form
 Laura Flores



 B.            Current Placement

 Residence              NamelLiving    Arran      emen         a   of Facilit



 C.            Long-Range           Goal For Permanency

 Permanency Goal
      PPLA     Foster      Family     DFPS   Conservatorship
                                                                                                                          Substitute Care
 Projected Date for Achieving                  Permanency                       Estimated Length         of   Stay   in


 9/1/1998                                                                       lone   more year

 If   there    is   a   discrepancy     between the estimated length of stay                   in   substitute   care and the projected date
 of   permanency            explain
 none



 D.            Concurrent       /   Alternative     Goal for Permanency




                              PROGRESS         IN   ADDRESSING           NEEDS          SERVICES SINCE LAST PLAN

                                                                   Attach   Facility    Plan




                                                                            454
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                                                                           CHILDS SERVICE PLAN
                                                                                      Facility        Review


 Placement        Needs
 Type     of   Placement



 Appropriateness                and Safety of Placement
               why             placement chosen continues to be appropriate. Address any issues such                                                                     as need        for
 Explain             the type of

 placement       with siblings which continue to be unmet.


 Thisplacement             is   appropriate            because        it   meets Marks            needs by providing counseling                        drug education academic
 education and             recreational              activities     in     a therapeutic        setting.     Staff are     also trained           to   handle Marks aggressive

 and oppositional           behaviors.               Staff    can     provide         structure      and support and         assist      in   job      training    programs and

 eventually      prepare Mark                  for   independent            living.




 Objectives      of   placement
 The objectives      of this placement are to protect the child from abuse and neglect   and to provide the                                                                    child   with

 care that      meets the childs needs for permanency     safety and well being. Additional objectives are



 Visitation     Summary


 Culture Heritage



 Permanency           Needs
 Progress/ Efforts Made Toward Permanency
 Describe 1 the progress made towards achieving the permanency                                                       planning    goal during the                 last   plan     period       2
 the actions to be taken with the childs family to achieve the goal                                              3 obstacles        and actions             to    be taken        to

 overcome        them           4    attempts to locate absent parents                            identify    possible relative          placements or                  find   possible

 guardian.



 It   had been hoped             that       Mark could be reunited with his mother however                                   this will    not      be the case since               Ms. Soliz

 made no progress on her                         service      plan.      On 09-23-97 TDPRS was awarded                          PMC       of Mark.          Ms.     Donna         Soliz did

 not attend      the hearing              and Mr. Raul Saenz clearly                      stated that      he cannot        and does not wish               to    have         a relationship

                                                                         Azleway Boys Ranch
 with   Mark.     Mark                   continue                                                                    the   terms of      his                      end     in    June of 1998
                            will                       to   stay at                                          until                             probation

 at   which time preparing Mark                       for   independent             living    would be appropriate           and necessary.


 There are no appropriate                        relatives     who can care             for   Mark.




 ASFA     requirement               if   applicable



 Summary
 Extent    of   Compliance                if   a review


 Appropriateness            of      Services
 Describe extent           to    which services planned                       for   or previously        provided     to   the child      actually         meet the childs needs.


 The services         documented                 in this     plan are appropriate               to   meet Marks        needs.      His physical             educational                and

 medical needs are met daily by his caregivers.                                       Marks      social      emotional      and educational                needs are met through

 interaction     with      his      caregivers         and by participation              in    school.     Mark also receives individual therapy sessions and

 group therapy.




 Continuing      Nessessity                for   Placement

 Explain       why   the   child         continues          to require       placement.


 Mark    continues         to    require         placement          because on 09-23-97                 TDPRS was           appointed          PMC. Mark                also continues        to




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                                                                                   Childs     Name      Mark A Soliz          DOB    1/27/1982




                                                            CHILDS SERVICE PLAN
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 display   inappropriate        behaviors   such    as physical aggression          poor   staff   relations   poor peer relations tobacco

 use excessive use         of profanity      and   theft.




 Emergency Conditions


            FPS has determined         that      one of the following emergency            conditions   continues   to   exist for this   case and

            therefore services continue             to be necessary




               1.   A   child   isat risk of abuse or neglect as determined by FPS
               2.   A   child   has been removed from his/her home and placed in FPS care or
               3.   A   child   formerly    in   FPS   care   is at-risk   of being returned to     FPS   care.




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  PLANS

 Plans        to   Address Permanency


 Services           to    Meet Childs Needs


  Need    Social         and    Emotional      Needs

  Task                                                                                                                            PSFC/Caregiver              Service

  Other-Meets         with     Probation    Officer     David    Reed          to   satisfy   terms    of probation               Other-Meets          with Probation         Officer   David    Reed   to


                                                                                                                                   atisfy   terms      of probation




 Time Frame                                                                                                                        ime Frame

  Monthly                                                                                                                         Until    June   of   1998

  Method      of    Evaluation

  Face   to   Face       Visits   andTele        hone   calls   with      PO and       staff   at   Azleway



 Provision          of    Safe and Proper Care                       in    Placement


 Plans for Future                 Visitation




 Plans for Preserving Childs Cultural Heritage


 Supervision



 Behavior           Management                 Discipline
 The     childs discipline                must     suit      the childs              age circumstances                     and developmental                  needs. Methods of discipline

 may include               establishing            routines setting                   reasonable             limits    modeling appropriate                   behavior          offering        choices
 giving explanations.                    repeating           instructions              taking       time-out           enforcing or permitting                    logical     or natural

 consequences                   and reinforcing desired behavior. Physical punishment                                                 is    not permitted. Additional                      strategies        for


 managing            the       childs     behavior are specified below.


 Support Services                  to    the     Caregivers
                                                     to be provided                                                               them meet the childs needs and to ensure
 Identify the support services                                                          to    the caregiver           to help

 that the          child receives safe              and proper care. Include                               the   planned frequency of worker                        visits    to   the child      and    to   the

 caregivers home.
 Identify the support services                          to    be provided to the caregiver                            to   help   them meet the childs needs. Include the

 planned frequency                   of   worker        visits       to    the child          and     to   the foster       home    or group-care                 facility.




 The caseworker                   will   be available           for       phone consultation as needed.                            Caseworker             will     visit   Mark quarterly or on an

 as needed basis and                      will
                                         participate   staffings regardingin                                      Marks
                                                                                          and progress. Azleway also has     treatment

 been providing                 caseworker with daily and weekly behavior and education logs on Mark for my review and in put.




 Travel

 The     child      may        travel to       participate       in       normal         activities         examples          church        school       events.           Any     trips   that   last   more
 than    72 hours must be approved                              in    advance by the childs worker. Trips outside the state must be approved                                                                 in


 advance           by    the childs         worker and               by    the court. Additional                   stipulations      regarding           the childs travel are specified

 below.




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                                                           Donna

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                                                              CHILDS SERVICE PLAN
                                                                     Facility        Review


  INVITED PARTIES                AND PARTICIPATION                 INFORMATION


  NAME RELATIONSHIP              TO CASE DATE OF NOTIFICATION               TYPE OF NOTIFICATION                DATE COPY GIVEN DATE OF PARTICIPATION


  EXPLANATION               IF   NO PARTICIPATION             BY CHILD           MOTHER FATHER OR CAREGIVER

 On 09-23-97 CPS was granted PMC                       of Mark.     MO     did   not attend the             hearing   and Mr. Saenz has made               it   clear   to

 the   agency that he does not wish              to   be involved     in   any    way    except        to    pay   child    support    for   Mark.




  Signature-Worker                                                  Date         Signature-Child      Optional                                                     Date




 Signature-Supervisor                                               Date         Signature-Level      One     Child-Placing   Staff                                Date

                                                                                 Required   for   initial
                                                                                                             placement     only




 Signature-Program         Director                                 Date

 required   for initial   placement   only



 Attach    a copy of the following updated items to the plan shared with the caregiver                                            unless   this   information    has

 already    been provided or obtained by the caregiver



           medical log
           education log

           medical/developmental             history    and
          the record        of   immunizations




                                                                                 458
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                                                                                   Childs      Name    Mark   A   Soliz   DOB   1/27/1982




                                                          CHILDS SERVICE PLAN
                                                              Facility      Review


                                                           Service      Plan Review


 OVERVIEW


 A.            General

 Date     of   Last Plan     his   Plan Submitted for Approval Date of Next Review


                           11/22/1998                                    7/22/1998
 p1/22/1998

 Worker        Who     Completed Form
 Laura    Flores



 B.            Current Placement

 Residence           NamelLiving    Arrange      mena         of Facilit




 C.            Long-Range        Goal For Permanency

 Permanency Goal
      PPLA     Foster   Family     DFPS   Conservatorship

 Projected          Date for Achieving     Permanency                      Estimated Length           of   Stay in Substitute Care

 9/1/1998                                                                lone   more year
 If   there    is   a discrepancy between         the estimated length of stay            in   substitute     care and the projected date

 of   permanency         explain
 none



 D.            Concurrent    /   Alternative     Goal for Permanency




                           PROGRESS         IN   ADDRESSING        NEEDS           SERVICES SINCE LAST PLAN

                                                              Attach    Facility   Plan




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                                                                                                                      Childs      Name     Mark A Soliz                DOB        1/27/1982




                                                                                   CHILDS SERVICE PLAN
                                                                                                Facility        Review


  Placement         Needs

      Type of Placement


 Appropriateness                  and Safety of Placement

 Explain     why         the type of          placement chosen continues                                 to   be appropriate. Address any issues such as need                             for


 placement          with     siblings         which continue to be unmet.


 This     placement          is
                                  appropriate              because            it    meets Marks needs by providing counseling                               drug education academic
 education          and      recreational                activities      in        a therapeutic         setting.        Staff are also trained to          handle Marks aggressive
 and oppositional behaviors.                             Staff   can      provide structure                    and support and assist            in   job   training   programs and
 eventually       prepare Mark                     for   independent               living.




 Objectives         of   placement
 The            of this placement are to protect the child from abuse and neglect
         objectives                                                                  and to provide the                                                                          child   with

 care that meets the childs needs for permanency     safety  and well being. Additional objectives are



 Visitation     Summary


 Culture Heritage



 Permanency              Needs

 Progress/ Efforts Made Toward Permanency
 Describe       1   the      progress              made towards                achieving           the    permanency            planning goal during the           last   plan     period       2
 the    actions     to    be taken            with the childs family                       to   achieve       the   goal    3   obstacles    and actions to be taken                to

 overcome         them        4      attempts            to   locate     absent parents                       identify   possible     relative   placements or            find   possible

 guardian.



 It   had been hoped               that       Mark       could    be reunited with       his mother however this will                             not   be the case since Ms. Suliz
 made no progress on                     her service             plan.        On 09-23-97 TDPRS was awarded PMC                                   of Mark.       Ms. Donna          Soliz did

 not attend the hearing                   and Mr. Raul Saenz clearly stated                                    that   he cannot       and does not wish          to    have a relationship
 with Mark. Mark was placed at Desert Hills of Texas RTC on 12-05-97 after being discharged from Azleway                                                                                        in

 October of 1997 and Choices in November of 1997. Mark will remain at Desert Hills and preparing Mark for

 independent             living    apears to be appropriate                           and necessary.


 There are no appropriate                          relatives     who can care                    for   Mark.




 ASFA      requirement              if   applicable



 Summary
 Extent    of   Compliance               if    a    review


 Appropriateness              of   Services
 Describe extent            to    which        services          planned             for    or previously           provided     to   the child actually        meet the childs           needs.


 The services documented                            in this    plan are appropriate                      to   meet Marks needs.             His physical         educational             and
 medical needs are met daily by his caregivers.                                                 Marks     social      emotional  and educational needs are met through
 interaction      with      his    caregivers             and by participation                     in   school.       Mark also receives individual therapy sessions and

 group therapy.




 Continuing       Nessessity              for      Placement

 Explain    why      the     child       continues            to require            placement.




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                                                            CHILDS SERVICE PLAN
                                                                     Facility        Review


  Mark continues     to   require   placement       because on 09-23-97                TDPRS was          appointed     PMC.      Mark also continues       to


  display inappropriate        behaviors    such    as physical aggression poor                  staff   relations    poor peer relations tobacco
  use excessive use        of profanity     and    theft.




  Emergency Conditions


          FPS has determined           that     one of the following emergency                   conditions continues        to   exist   for this   case and
          therefore services         continue      to   be necessary



             1.    A   child   isat risk of abuse or neglect as determined by FPS
             2.    A   child   has been removed from his/her home and placed in FPS care or
             3.    A   child formerly      in   FPS     care     is at-risk   of   being returned    to   FPS   care.




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                                                                                                                  Childs    Name         Mark        A     Soliz             DOB     1/27/1982




                                                                                CHILDS SERVICE PLAN
                                                                                        Facility        Review


  PLANS

  Plans to Address Permanency


 Services        to     Meet Childs Needs


  Need      hera        eutic   Needs/Family          Needs

  Task                                                                                                                    PSFC/Caregiver             Service

  Mark   Soliz   will    participate    in   family   and   sibling    visits    when   appropriate.                        PS/Laura         A.   Flores   will
                                                                                                                                                                   arrange   family/sibling

                                                                                                                          visitation.




  rime Frame                                                                                                             Rime Frame

  Unspecified                                                                                                               hen     appropriate       and    avai

  Method    of   Evaluation



  Need      hera        eutic   Needs/Family          Needs

  Task                                                                                                                    PSFC/Caregiver             Service

  Mark   Soliz   will    participate    in   family   and   sibling    visits.                                             PS/Laura          A.   Flores   will    provide   transportation    for the

                                                                                                                          amily    visits.




   ime Frame                                                                                                             Time      Frame

 Unspecified                                                                                                             When       necessary/applicable

 Method     of   Evaluation



 Provision of            Safe and Proper Care                     in   Placement


 Plans for Future Visitation


 Plans for Preserving Childs Cultural Heritage


 Supervision



 Behavior        Management Discipline
 The     childs discipline             must      suit      the childs           age circumstances                 and developmental                  needs.         Methods of discipline

 may include              establishing          routines          setting        reasonable         limits   modeling appropriate                    behavior           offering     choices

 giving    explanations.               repeating           instructions taking             time-out           enforcing       or permitting               logical     or natural

 consequences                   and reinforcing desired behavior.                          Physical      punishment           is   not permitted.                 Additional     strategies         for


 managing the childs behavior are specified below.


 Support  Services to the Caregivers

 Identify     support services to be provided to the caregiver to help them meet the childs needs and to ensure
            the

 that the child receives safe and proper care. Include the planned frequency of worker visits to the child and to the

 caregivers             home.

 Identify the           support services              to    be provided to the caregiver                     to   help   them meet the childs                       needs. Include            the

 planned frequency             of worker               visits   to     the   child      and   to   the foster      home     or     group-care          facility.




 The caseworker                 will   be available           for     phone consultation               as needed.         Caseworker               will    visit    Mark quarterly or on an

 as needed basis and                   will    participate           in   staffings      regarding      Marks       treatment and progress. Azleway also has
 been     providing         caseworker            with      weekly           and monthly behavior                 and education logs on Mark for my review and                                       in


 put.




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                                                             CHILDS SERVICE PLAN
                                                                       Facility     Review


  Travel

 The    child   may   travel to   participate    in   normal      activities   examples     church    school   events.       Any   trips   that   last   more
 than   72 hours must be approved               in   advance      by   the childs worker.    Trips outside the state         must be approved            in


 advance        by the childs worker and by the              court.    Additional   stipulations   regarding the childs       travel   are   specified

 below.




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  INVITED        PARTIES AND PARTICIPATION                          INFORMATION


  NAME RELATIONSHIP               TO CASE DATE OF NOTIFICATION               TYPE OF NOTIFICATION               DATE COPY GIVEN DATE OF PARTICIPATION


  EXPLANATION                IF   NO PARTICIPATION             BY CHILD MOTHER                     FATHER OR CAREGIVER

  On 09-23-97 CPS was granted PMC                       of Mark.     MO     did   not attend the hearing             and Mr. Saenz has                 made   it   clear   to

  the   agency that he does not wish              to   be involved     in   any    way    except to pay           child    support       for   Mark.




  Signature-Worker                                                   Date         Signature-Child      Optional                                                       Date




  Signature-Supervisor                                               Date         Signature-Level      One    Child-Placing      Staff                                Date

                                                                                  Required   for   initial   placement    only




  Signature-Program        Director                                  Date

  required   for initial
                           placement only



 Attach    a copy of the following updated items to the plan shared with the caregiver                                           unless    this   information       has

 already    been provided or obtained by the caregiver



           medical log
           education log

           medical/developmental            history      and
           the record of          immunizations




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                                                   Facility Review with PAL Asmt



                                                            Service       Plan Review


 OVERVIEW

 A.           General
         of Last Plan       his    Plan Submitted for Approval Date                  of   Next Review
 IDate


 122/9/1998                  9/1998                                       18/9/1998

 Worker       Who    Completed Form
 Laura Flores



 B.           Current Placement

 Residence          Name   Livin     Arran     emen             a of Faciliyl



 C.           Long-Range         Goal For Permanency

 Permanency Goal
      PPLA    Independent        Living

                                                                            Estimated Length             of               Substitute Care
 Projected Date for Achieving                Permanency                                                       Stay   in


 1/27/2000                                                                 Itwo   years
 If   there   is   a discrepancy      between the estimated length of stay                   in   substitute    care and the projected date

 of   permanency        explain
 none



 D.           Concurrent     /   Alternative      Goal for Permanency




                           PROGRESS          IN   ADDRESSING           NEEDS          SERVICES SINCE LAST PLAN

                                                                 Attach   Facility    Plan




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                                                                  CHILDS SERVICE PLAN
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      Preparation    for   Independent           Living       Needs
      PAL Needs
      Mark Soliz has recently turned                   16 years of age and has been                          referred      to   CPS PAL          Program.




  Post-Discharge Objectives
  Mark Soliz case will be referred                      to    IPS     to     possibly locate         an aging out guardian.




  Placement         Needs
      Type of Placement


 Appropriateness              and Safety of Placement

  Explain    why     the type of            placement chosen continues                        to   be appropriate. Address any issues such as need                                      for


  placement       with siblings             which continue to be unmet.


 This     placement        is   appropriate       because             it    meets Marks            needs by providing counseling                         drug education academic
 education        and      recreational         activities       in        a therapeutic      setting.        Staff are also trained                to   handle Marks aggressive
 and oppositional             behaviors.         Staff   can        provide         structure       and support and assist                 in   job training       programs and
 prepare Mark         for       independent         living.




 Objectives  of placement

 The objectives of this placement are to protect the child from abuse and neglect and to provide the                                                                           child   with

 care that meets the childs needs for permanency     safety and well being. Additional objectives are



  Visitation     Summary


 Culture Heritage



 Permanency Needs
 Progress / Efforts Made Toward Permanency
 Describe 1 the progress made towards achieving the permanency                                                       planning goal           during the          last   plan     period       2
 the actions to be taken with the childs family to achieve the goal                                              3   obstacles         and actions          to    be taken        to

 overcome         them        4    attempts to locate absent parents                               identify    possible         relative   placements            or     find   possible

 guardian.



 It    had been     hoped        that    Mark could be reunited with                        his    mother however this will not be the case since Ms. Soliz
 made no progress on her                     service     plan.        On 09-23-97 TDPRS                 was awarded PMC of Mark. Ms. Donna Soliz did
 not attend the hearing                 and Mr. Raul Saenz clearly stated that he cannot and does not wish to have a relationship
 with Mark.         Mark    was placed        at Desert Hills of Texas RTC on  12-05-97 after being discharged from Azleway in
 October of 1997 and Choices                      in   November               of 1997.       Mark     will    remain at Desert             Hills    and     preparing          Mark    for


 independent         living      appears to be appropriate                         and necessary.


 There are no appropriate                    relatives       who can          care    for   Mark     and meet his needs adequately.




 ASFA      requirement            if   applicable



 Summary
 Extent     of   Compliance            if   a review


 Appropriateness            of    Services
 Describe extent           to   which services planned                       for   or previously       provided       to    the    child actually           meet      the childs       needs.




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                                                                CHILDS SERVICE PLAN
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 The    services      documented           in this      plan are appropriate          to   meet Marks needs.       His    physical         educational       and
 medical needs are met daily by his caregivers. Marks social emotional and educational needs are met through
 interaction with his caregivers and by participation in school. Mark also receives individual therapy sessions and

 group therapy.            In   preparation       for   Mark    aging out of        care an independent      living    program      will   be implemented          to


 prepare Mark         for       adulthood.




 Continuing      Nessessity          for   Placement

 Explain   why       the   child    continues      to require     placement.


 Mark continues            to   require    placement          because on 09-23-97            TDPRS was       appointed PMC.            Ms. Soliz has had no
 contact with     this      worker       since   prior   to   the hearing.      Mr.    Saenz does not want any involvement with Mark                         except
 for   paying   child      support.        Mark also continues            to   display inappropriate    behaviors        such     as physical aggression

 poor   staff relations poor peer relations tobacco   use excessive use of profanity and                                        theft.     Mark has recently
 turned    16 years of age and will need to participate in an independent living program.




 Emergency Conditions


            FPS has determined                   that   one of the following emergency             conditions    continues        to     exist   for this   case and
           therefore services                continue     to be necessary




                1.      A   child   isat risk of abuse or neglect as determined by FPS
                2.      A   child   has been removed from his/her home and placed in FPS care or
                3.      A   child formerly         in   FPS    care    is at-risk   of being returned   to   FPS      care.




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 PLANS

 Plans to          Address Permanency


 Services          to      Meet Childs Needs


 Need        hera         eutic   Needs/Family-Needs
 Task                                                                                                              PSFC/Care                  fiver   Service

 Mark     Soliz    will    participate      in   family    and     sibling   visits    when   appropriate.             PS/Laura          A.    Flores        will   arrange family/sibling

                                                                                                                   visitation.




   me     Frame                                                                                                        rime    Frame

 Unspecified                                                                                                           when    appropriate            and       avai

 Method      of Evaluation




 Need        -Therapeutic
                                  Needs/Family            Needs

 Task                                                                                                              PSFC/Caregiver                     Service

 Mark     Soliz    will    participate     in    family    and   sibling     visits.                                   PS/Laura          A.    Flores        will   provide      transportation    for the

                                                                                                                    amily      visits.




   ime Frame                                                                                                           rime    Frame

 Unspecified                                                                                                       When        necessary/applicable

 Method      of Evaluation




 Need     Social          and   Emotional        Needs
 Task                                                                                                              PSFC/Caregiver                     Service

 Mark     Soliz    will    be   provided     structure.                                                            Desert       Hills    of     Texas        will   provide      Mark   Soliz with

                                                                                                                   structured        environment/routine                    to   meet Marks       needs.




  ime Frame                                                                                                            rime    Frame

  2-98 to    01-00                                                                                                 102-98      to   01-00

 Method      of    Evaluation

  ele     hone     contact        and   visits   with     Mark and      caregivers




 Need     ISocial         and   Emotional        Needs

 Task                                                                                                              PSFC/Caregiver                     Service

 Mark   Soliz     will     be   able to   talk     about   birth    family.                                        Desert       Hills    of     Texas        will   allow   Mark    Soliz to   talk   about
                                                                                                                   his/her family without                     criticizing     the.family.




 rime     Frame                                                                                                        rime    Frame

 12-98 to    01-00                                                                                                 102-98      to -01-00

 Method      of    Evaluation

  ele   hone       contacts       and     visits   with    Mark and      staff   at    Desert   Hills




 Need      Educational            Needs

 Task                                                                                                              PSFC/Care              iver        Service

 Desert    Hills    of    Texas    will
                                          keep     CPS     informed        of   Mark    Solizprogress or needs.    Desert       Hillsof       Texas          will   provide    CPS worker      with

                                                                                                                        pies    of reports            i.e.    school     medical        etc.




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  Time Frame                                                                                                           Time Frame

  Unti graduation            or a   uiva                                                                               Until     graduation         or equiv

  Method        of Evaluation

 -Telephone         contacts        with    facility




  Need      Educational           Needs

  Task                                                                                                                 PSFC/Care            aver Service

  Mark     Soliz    will   participate       in    vocational          counseling.                                     Desert      Hills   of     Texas    will    encourage            Mark Soliz to          talk


                                                                                                                       with vocational            counselor.




  rime Frame                                                                                                               rime   Frame

  12-98    to   01-00                                                                                                  102-98     to   01-00

  Method        of Evaluation

   ele    hone      contact       with    staff    at    Desert       Hills




 Need       Educational           Needs

   ask                                                                                                                 PSFC/Care            fiver    Service

   aregiver       and Mark          Soliz   will    attend       conferences         and   ARD   meetings.                  PS/Laura       Flores     and    Desert            Hills   Staff   will   attend

                                                                                                                       parent/teacher             conferences           to     monitor     Marks        progress
                                                                                                                       in   school.




   ime Frame                                                                                                               rime   Frame

  2-98 to -01-00                                                                                                       102-98     to   01-00

 Method         of Evaluation

  ele     hone     calls     to   Desert     Hills      staff   and Mark and          attend   ARD   Meetings




 Need       Educational           Needs

 Task                                                                                                                  PSFC/Caregiver                Service

 Mark     Soliz    will    attend    school regularly.                                                                 Desert      Hills   will    monitor        Marks         school     attendance          and
                                                                                                                       will   provide      transportation          if   needed.




 Time Frame                                                                                                                rime   Frame

 Until    graduation        or a    uiv                                                                                Until     Graduation         or a    uiv

 Method         of Evaluation

 Discussion        with     Mark and         Desert        Hills      Staff




 Need       Medical/Dental           Needs

 Task                                                                                                                  PSFC/Caregiver                Service

 Mark     Soliz    will    be scheduled            for   follow       up   medical   appointments     including             PS   /Desert    Hills    of   Texas         will    schedule       appointments.

 medication        reviews.




  rime Frame                                                                                                               rime   Frame

  12-98    to   01-00                                                                                                  102-98     to   01-00

 Method         of Evaluation

 Discussion        with     Mark     Desert         Hills       and    medical   staff




 Need      ISocial        and   Emotional          Needs

 Task                                                                                                                  PSFC/Care            fiver    Service

 Mark     Soliz    will    participate      in    therapy.                                                             Desert      Hills   of     Texas    will    suggest         acceptable          behaviors




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                                                                             CHILDS SERVICE PLAN
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                                                                                                                       to   Mark     Soliz       to   substitute        for    unacceptable        behaviors.




  Time Frame                                                                                                           Time Frame

   2-98 to     01-00                                                                                                    2-98 to 01 -00

  Method      of Evaluation

  Discussion        with    Mark    Desert      Hills    Staff    and   Therapist




  Need    ISocial         and   Emotional      Needs

  Task                                                                                                                 PSFC/Care             fiver      Service

  Mark   Soliz     will    participate   in   group     therapy        sessions   to help reduce     acting out         PS/Desert            Hills      of   Texas      will   arrange      for   group
  behavior.                                                                                                            therapy       sessions.




   ime Frame                                                                                                            ime Frame

   2-98 to    01-00                                                                                                   102-98    to 01-00

  Method      of Evaluation

  Discussion        with    Mark    Desert      Hills   Staff    and    Therapist




  Need        ocial       and   Emotional      Needs

   ask                                                                                                                 PSFC/Caregiver                   Service

 Mark    Soliz     will    learn to accept the          logical    consequences        of inappropriate   behavior.    Desert      Hills    of    Texas       will     provide       feedback     regarding

                                                                                                                       consequences               of    Marks          behavior.




   ime Frame                                                                                                          Rime Frame
  2-98 to     01-00                                                                                                   102-98    to    01-00

 Method       of   Evaluation

 Discussion        with Desert       Hills    Staff   and Mark



 Need     ITherapeutic/Recreational                   Needs

 Task                                                                                                                  PSFC/Care             fiver      Service

 Mark    Soliz     will   participate    in   recreational        activities   such    as watching   television         PS/Desert            Hills      staff   will    provide      games movies         etc.


 board    games computer games                     etc    when     appropriate.                                        or recreational                activities     when      appropriate.




  ime    Frame                                                                                                          ime Frame

  12-98 to    01-00                                                                                                   102-98    to    01-00

 Method       of Evaluation

 Discussion        with    Mark and      Desert       Hills   Staff




 Need     PAL Needs
 Task                                                                                                                  PSFC/Caregiver                   Service

 Mark    Soliz     will   participate    in   educational/vocational            training.                              Worker        will   discuss          progress         with   Mark    Soliz.




  ime    Frame                                                                                                          ime Frame

  2-98   to   01-00                                                                                                   102-98    to    01-00

 Method       of Evaluation

 Discussion        with    Mark and      Desert       Hills   Staff




 Provision          of    Safe and Proper Care                        in   Placement




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  Plans   for   Future     Visitation




  Plans for Preserving Childs Cultural Heritage


  Supervision



  Behavior      Management Discipline
 The    childs discipline         must     suit   the childs      age circumstances             and developmental         needs. Methods                 of   discipline

  may include       establishing          routines setting          reasonable    limits    modeling appropriate behavior                     offering        choices
 giving   explanations.         repeating         instructions taking        time-out       enforcing     or permitting         logical      or natural

 consequences         and reinforcing             desired       behavior.    Physical     punishment      is   not permitted. Additional                strategies      for


  managing      the childs        behavior are specified below.


 Support     Services to the             Caregivers
 Identify   the support services to             be provided to the caregiver               to   help   them meet the childs needs and to ensure

 that the   child   receives       safe     and proper care.            Include the   planned frequency of worker                 visits     to   the   child   and   to   the

 caregivers      home.

 Identify   the support services to               be provided        to   the caregiver    to   help   them meet the childs needs. Include                       the

 planned frequency           of   worker     visits   to the      child   and to the foster home or group-care                  facility.




 The caseworker          will   be available        for   phone consultation          as needed.        Caseworker       will    visit      Mark quarterly or on an
 as needed basis and              will   participate      in   staffings   regarding    Marks     treatment and progress. Desert Hills of Texas
 also   has been     providing           caseworker       with    weekly     and monthly        behavior and education logs on Mark for my

 review and      in put.




 Travel

 The child may travel to participate in normal activities examples church school events. Any trips that last more
 than 72 hours must be approved in advance by the childs worker. Trips outside the state must be approved in
 advance by the childs worker and by the court. Additional stipulations regarding the childs travel are specified
 below.




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                                                                                                        Childs           Name   Mark      A   Soliz          DOB    1/27/1982




                                                                 CHILDS SERVICE PLAN
                                                               Facility Review with PAL Asmt



 INVITED PARTIES                     AND PARTICIPATION                     INFORMATION


                                                                      DATE OF                           TYPE OF                      DATE COPY                     DATE OF
        NAME               RELATIONSHIP            TO
                                                                                                NOTIFICATION                           GIVEN                 PARTICIPATION
                                 CASE                           NOTIFICATION
                                                                                                                                /9/1998                1/27/1998
 SolizMark     A    Self                                   1/27/1998                      Verbal

                                                                                          Written                               /9/1998                1/27/1998
 Amy                Facility    Casemanager                1/27/1998

 Bloustine

                                                                                          Written                               /9/1998
                                                           910/1998
  olizDonna            they




 EXPLANATION                  IF   NO PARTICIPATION                     BY CHILD MOTHER                        FATHER OR CAREGIVER


 On 09-23-97 TDPRS was granted                              PMC           Ms. Soliz did not attend the hearing and has had no contact
                                                                       of Mark.
                                                                                                                                                                                   with


 this   worker since                   to   the hearing.        Mr. Saenz has made    clear to the agency that he does not wish to be
                                                                                                   it
                               prior

 involved      in   any    way       except        to   pay child support         for   Mark.




                                                                                                                                                                             Date.
                                                                               Date       Signature-Child          Optional
 Signature-Worker




                                                                               Date       Signature-Level          One    Child-Placing   Staff                              Date
 Signature-Supervisor
                                                                                          Required       for   initial   placement    only




                            Director                                           Date
 Signature-Program
 required    for initial   placement        only


                                                                                                                                                             information     has
        a copy of the following updated items to the plan shared with the caregiver                                                          unless   this
 Attach

 already been provided or obtained by
                                       the caregiver




          medical log

          education            log

          medical/developmental   history and

          the record of immunizations




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                                                                                         Childs      Name   Mark A Soliz      DOB   1/27/1982




                                                               CHILDS SERVICE PLAN
                                                        Facility       Review with PAL Asmt


                                                                    Service   Plan Review


  OVERVIEW


  A.           General
          of   Last Plan         his   Plan Submitted for Approval Date                  of Next Review
 IDate


 17/6/1998                     17/6/1998                                          1/6/1999

  Worker       Who       Completed Form
  Laura Flores



  B.           Current Placement

  Residence             Name   Livin     Arran     emen             a of Facili



  C.           Long-Range            Goal For Permanency

  Permanency Goal
       PPLA    Independent           Living

  Projected Date for Achieving                   Permanency                       Estimated Length        of   Stay in Substitute Care
  1/27/2000                                                                       11/2 years

  If   there   is   a   discrepancy        between     the estimated length of stay             in   substitute   care and the projected date
  of   permanency           explain
  none



  D.           Concurrent        /   Alternative      Goal for Permanency




                               PROGRESS          IN   ADDRESSING           NEEDS         SERVICES SINCE LAST PLAN

                                                                     Attach   Facility   Plan




                                                                              473
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                                                                                    CHILDS SERVICE PLAN
                                                                          Facility          Review with PAL Asmt


      Preparation         for   Independent               Living        Needs
      PAL Needs
  An independent        living program has been implemented for Mark. Mark has taken the Life Skills Assessment.
      Mark    needs improvement in Money Management/Consumer      Awareness Transportation and Job Seeking Skills.


  Mark has had one home                           visit      this   year.       Future      home     visit   will   be a necessity         to   transition         Mark     to    age out of
  care.




  Post-       Discharge          Objectives
  Mark       Soliz       case     will    be referred              to   IPS    to   possibly locate          an aging out guardian.                  Mark    will   more than            like   return

  home and           reside       with     his     Aunt Sharon Rangle. Mark                          has expressed an interest                  in   continuing          his     education

  possibly          attending        technical            school for          computer programming.




  Placement             Needs
  Type       of Placement


 Appropriateness                  and Safety of Placement

 Explain        why       the type of         placement chosen continues to be appropriate. Address any issues such                                                               as need           for


 placement              with siblings         which continue to be unmet.


 Mark has been enrolled                           in   the    PAL Program through Texas A                             M   University.       The       facility     has been able               to   meet
 Marks         basic         needs but there                 issome question as to how well                         the therapeutic        aspect of the program is going.
 The      facility      was     investigated              due to Mark being assaulted by a staff member                                    who has since been terminated
 from employment.                      Mark       has made minimal progress      in the Desert Hills Program and has once                                                   again        been

 placed on medications.


 Mark        will   more        than     likely    be aging out of our care and will need an aging out guardian. Home visits with family is

 necessary           to      re-establish          a relationship between Mark and his family.   have experienced resistance from Desert
                                                                                                                              I




 Hills       regarding         home       visit    and even             off   campus        visits   with myself.         Pending a psychological evaluation another
 facility     would better meet Marks therapeutic                                      need.




 Objectives             of   placement
 The      objectives     of this placement are to protect the child from abuse and neglect   and to provide the                                                                        child    with

 care that          meets the childs needs for permanency     safety and well being. Additional objectives are



 Visitation          Summary

 Culture        Heritage



 Permanency                  Needs
 Progress           / Efforts      Made Toward Permanency
 Describe           1    the    progress made towards achieving the permanency                                             planning goal during the                      last    plan    period           2
 the     actions        to   be taken       with the              childs family        to   achieve     the    goal    3    obstacles       and        actions      to    be taken        to

 overcome            them        4     attempts to locate absent parents                               identify      possible       relative     placements or                  find    possible

 guardian.



 It   had been hoped                that    Mark could be reunited with his mother however                                           this will       not   be the case since Ms. Soliz
 made no progress on her                           service          plan. On 09-23-97 TDPRS was awarded PMC of Mark. Ms. Donna                                                            Soliz did

 not attend          the   hearing and Mr.                        Raul Saenz clearly stated that he cannot and does not wish to have a                                                   relationship

 with     Mark.         Mark was placed at Desert                             Hills   of   Texas     RTC     on     12-05-97       after   being      discharged           from Azleway                   in

 October of 1997                 and Choices                 in    November           of 1997.       Independent          living   appears       to    be appropriate              and

 necessary.




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                                                                           CHILDS SERVICE PLAN
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  Mark    has begun           to    prepare         for   independent           living     at   Desert    Hills




 There are no relatives who are                           willing     to care       for   Mark.




 ASFA      requirement              if   applicable



 Summary
 Extent of       Compliance              if   a   review


 Appropriateness              of    Services

 Describe extent              to   which services planned                     for   or previously        provided to the child         actually   meet the childs needs.


 The     services       documented                in this      plan   are appropriate             to   meet Marks    needs.      His   physical    educational        and
  medical needs are met daily by his caregivers.    Marks social emotional and educational needs are met through
 interaction with his caregivers and by participation in school. Mark is currently on medication to meet his

 therapuetic       needs.           An independent                living   program has been                implemented      to   prepare Mark       for   adulthood.




 Continuing        Nessessity             for     Placement

 Explain    why        the    child      continues         to require      placement.


 Mark continues              to    require        placement           because on 09-23-97             TDPRS was appointed PMC. Ms. Soliz has had no
 contact with          this   worker          since   prior to        the hearing.         Mr.    Saenz does not want any involvement with Mark except
 for   paying child support.                      Mark also continues               to display inappropriate           behaviors       such as physical aggression

 poor    staff      poor peer relations tobacco use and excessive use of profanity.
                 relations                                                                                                                 Mark has turned 16 years
 of
    age and has begun to participate in an independent living program at Desert Hills                                                      RTC    through     Texas    A    M.




 Emergency Conditions


             FPS has determined                       that     one of the following emergency                     conditions     continues   to   exist   for this   case and
            therefore              services        continue      to be necessary




                  1.     A    child      isat risk of abuse or neglect as determined by FPS
                  2.     A    child      has been removed from his/her home and placed in FPS care or
                  3.     A    child formerly              in   FPS     care    is at-risk       of being returned     to   FPS    care.




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  PLANS

  Plans to Address Permanency


 Services           to     Meet        Childs Needs


  Need         hers       eutic    Needs/Family               Needs

  Task                                                                                                                  PSFC/Caregiver               Service

  Mark    Soliz    will    participate         in    family    and   sibling    visits    when     appropriate.            PS/Laura         A.   Flores     will
                                                                                                                                                                    arrange        family/sibling
                                                                                                                           isitation.




  Time Frame                                                                                                               me     Frame

  Unspecified                                                                                                               hen   appropriate         and      avai

  Method       of Evaluation




  Need         hers       eutic   Needs/Family                Needs

   ask                                                                                                                 PSFC/Care             fiver   Service

 Mark     Soliz    will    participate         in    family    and   sibling    visits.                                    PS/Laura         A.   Flores     will    provide        transportation     for   the

                                                                                                                       family     visits.




 Time Frame                                                                                                             rime      Frame

 Unspecified                                                                                                               hen    necessary/applicable

 Method        of Evaluation




 Need      Social         and   Emotional             Needs

 Task                                                                                                                  PSFC/Care             fiver   Service

 Mark     Soliz    will    be   provided            structure.                                                         Desert      Hills    of   Texas       will   provide        Mark   Soliz with

                                                                                                                           tructured     environment/routine                  to   meet Marks        needs.




  rime Frame                                                                                                           Rime Frame
  12-98   to   01-00                                                                                                   102-98     to    01-00

 Method        of Evaluation

  ele     hone     contact        and     visits      with    Mark and      caregivers




 Need          ocial      and   Emotional             Needs

  ask                                                                                                                  PSFC/Caregiver                Service

 Mark     Soliz   will    be    able    to    talk    about    birth   family.                                         Desert      Hills    of   Texas      will    allow   Mark       Soliz to   talk   about
                                                                                                                       his/her family            without     criticizing      the family.




  ime Frame                                                                                                             rime      Frame

  12-98 to     01-00                                                                                                   102-98     to -01-00

 Method        of Evaluation

  ele     hone     contacts       and        visits    with   Mark and       staff   at   Desert    Hills




 Need      Educational            Needs

 Task                                                                                                                  PSFC/Care             fiver   Service

 Desert    Hills    of    Texas    will      keep      CPS     informed        of   Mark   Solizprogress or needs.     Desert      Hillsof       Texas      will    provide    CPS worker           with

                                                                                                                            pies of reports          i.e.    school medical               etc.




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   rime    Frame                                                                                                         Time       Frame

  Unti graduation              or a    uiva                                                                              Until     graduation      or equiv

  Method        of Evaluation

   elephone           contacts        with    facility




  Need      Educational               Needs

   ask                                                                                                                    PSFC/Care           fiver   Service

  Mark     Soliz      will   participate        in    vocational      counseling.                                        Desert      Hills   of   Texas      will
                                                                                                                                                                     encourage             Mark     Soliz    to talk

                                                                                                                         with vocational          counselor.




  Time Frame                                                                                                                  ime Frame

   2-98 to      01-00                                                                                                    102-98     to 01-00

  Method        of Evaluation


  Telephone           contact       with     staff    at Desert      Hills




  Need      Educational             Needs

 Task                                                                                                                    PSFC/Caregiver               Service


 Caregiver           and Mark         Soliz    will    attend    conferences        and   ARD   meetings.                     PS/Laura       Flores    and     Desert             Hills   Staff   will   attend

                                                                                                                         parent/teacher           conferences               to    monitor     Marks        progress

                                                                                                                         in   school.




   ime Frame                                                                                                              ime Frame

  12-98 to -01-00                                                                                                        102-98     to   01-00

 Method         of Evaluation

  ele     hone       calls     to   Desert     Hills     staff   and Mark and        attend   ARD   Meetings




 Need       Educational             Needs

  ask                                                                                                                    PSFC/Caregiver               Service

 Mark     Soliz      will    attend    school regularly.                                                                 Desert      Hills will    monitor          Marks          school attendance              and

                                                                                                                         will                                               needed.
                                                                                                                                provide      transportation           if




 Time Frame                                                                                                               ime Frame

 Until    graduation           or a    uiv                                                                               Until     Graduation         or a   uiv


 Method         of    Evaluation

 Discussion          with     Mark and         Desert        Hills   Staff




 Need       Medical/Dental              Needs

 Task                                                                                                                    PSFC/Careglver               Service

 Mark     Soliz      will    be   scheduled           for   follow   up   medical   appointments     including                PS   /Desert    Hills    of   Texas          will    schedule       appointments.

 medication          reviews.




  rime Frame                                                                                                              ime Frame

  12-98    to   01-00                                                                                                    102-98     to   01-00

 Method         of Evaluation

 Discussion          with     Mark      Desert         Hills   and    medical   staff




 Need      ISocial          and   Emotional           Needs

 Task                                                                                                                    PSFC/Care            fiver   Service

 Mark     Soliz      will    participate       in    therapy.                                                            Desert      Hills   of   Texas      will    suggest          acceptable          behaviors




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                                                                                                                        to   Mark       Soliz    to   substitute       for    unacceptable         behaviors.




  Time Frame                                                                                                            Time Frame

   12-98 to 01-00                                                                                                          12-98   to   01-00

  Method      of Evaluation

  Discussion      with    Mark        Desert    Hills    Staff    and   Therapist




  Need     ISocial      and   Emotional        Needs

   ask                                                                                                                  PSFC/Care               fiver   Service

  Mark   Soliz   will    participate     in
                                              group     therapy        sessions   to   help reduce     acting   out        PS/Desert         Hills      of   Texas     will
                                                                                                                                                                               arrange      for
                                                                                                                                                                                                  group
  behavior.                                                                                                             therapy sessions.




   ime Frame                                                                                                               me      Frame

   2-98 to    01-00                                                                                                     102-98     to 01-00

  Method      of Evaluation

  Discussion      with    Mark        Desert    Hills   Staff     and   Therapist




  Need    Social        and   Emotional        Needs

   ask                                                                                                                  PSFC/Caregiver                  Service

  Mark   Soliz   will    learn   to   accept    the     logical    consequences         of inappropriate    behavior.   Desert      Hills   of    Texas       will    provide        feedback     regarding
                                                                                                                                                   of   Marks
                                                                                                                        consequences                                  behavior.




  rime   Frame                                                                                                             ime Frame

  12-98 to    01-00                                                                                                     102-98     to   01-00

  Method     of Evaluation

  Discussion     with Desert          Hills   Staff   and Mark



 Need        hera       eutic/Recreational            Needs

   ask                                                                                                                  PSFC/Care            fiver      Service

 Mark    Soliz   will   participate      in   recreational        activities   such as      watching   television          PS/Desert         Hills staff       will    provide       games movies         etc.


 board   games computer games                      etc    when     appropriate.                                          or recreational           activities         when     appropriate.




   ime Frame                                                                                                             lime      Frame

  2-98 to    01-00                                                                                                      102-98     to   01-00
 Method      of Evaluation

 Discussion      with     Mark and       Desert       Hills   Staff




 Need     PAL Needs
  ask                                                                                                                   PSFC/Caregiver                  Service

 Mark    Soliz   will   participate      in   educational/vocational            training.                               Worker      will    discuss          progress         with   Mark   Soliz.




  lime Frame                                                                                                             rime      Frame

  2-98 to    01-00                                                                                                      102-98     to   01-00

 Method      of Evaluation

 Discussion      with    Mark and        Desert       Hills   Staff




          PAL Needs
 INeed




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  Task                                                                                                                            PSFC/Caregiver            Service

  Mark    will    participate     in   money management                classes    or   training.
                                                                                                                                   PS     will   discuss progress      with Mark.




  Time Frame                                                                                                                     Mme       Frame

   7-98    to    01-00                                                                                                             7-98 to 01-00

  Method         of Evaluation

  Discuss        with   Mark and           PAL


  Need      PAL Needs
   ask                                                                                                                           PSFC/Caregiver             Service

  Mark    will    learn    to   use   the public transportation              system    and   enroll   in   drivers                 PS     will   discuss    progress   with    Mark.

   ducation        when     appropriate




   ime Frame                                                                                                                       ime Frame

   7-98   to     01-00                                                                                                           107-98    to    01-00

 Method          of Evaluation

  Discuss with          Mark and       PAL        Coordinator




 Need       PAL Needs
 Task                                                                                                                            PSFC/Caregiver             Service

 Mark Soliz         will   participate       in   classes      or training    to prepare     for   the job   market.               PS     will   discuss    progress   with    Mark    Soliz.




  rime    Frame                                                                                                                    ime Frame

  7-98    to     01-00                                                                                                           107-98    to    01-00

 Method          of Evaluation

 Discuss         with   Mark and       PAL       Coordinator




 Provision          of     Safe and Proper Care                       in   Placement


 Plans for Future Visitation


 Plans      for     Preserving              Childs Cultural Heritage


 Supervision



 Behavior           Management                    Discipline
 The     childs discipline                   must       suit   the   childs      age circumstances                        and developmental                 needs. Methods               of discipline

 may include                establishing             routines setting             reasonable               limits     modeling appropriate                  behavior          offering     choices

 giving explanations.                       repeating          instructions taking                 time-out           enforcing      or permitting            logical     or natural

 consequences                    and reinforcing                desired        behavior.       Physical          punishment          is    not     permitted. Additional                strategies     for


 managing               the childs          behavior are specified                    below.



 Support Services                     to   the     Caregivers
 Identify the            support services              to be provided                 to   the caregiver             to   help   them meet            the   childs     needs and           to   ensure
 that the        child      receives             safe   and proper care. Include                      the     planned frequency                  of   worker    visits    to   the child        and   to   the

 caregivers             home.

 Identify the            support services                 to    be provided           to the caregiver               to   help   them meet the childs needs. Include                             the

 planned frequency                     of    worker       visits     to    the child       and to the foster               home    or group-care              facility.




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  The caseworker         will   be available       for    phone consultation         as needed.    Caseworker        will   visit   Mark    quarterly or         on an
  as needed basis and            will   participate      in   staffings   regarding    Marks   treatment     and progress.           Desert       Hills   of   Texas

  also   has been      providing        caseworker with weekly              and monthly behavior and education logs on Mark                         for   my
  review    and    in put.




  Travel

  The    child   may   travel   to   participate    in    normal      activities   examples    church     school   events.          Any   trips   that    last   more
  than   72 hours must be approved                 in   advance       by the childs worker. Trips outside the state must be approved                             in

  advance        by the childs worker        and by the court.            Additional   stipulations   regarding the childs           travel   are specified

  below.




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  INVITED          PARTIES AND PARTICIPATION                                     INFORMATION


        NAME                                            TO
  Roger



                               RELATIONSHIP                                   DATE OF                      TYPE OF                      DATE COPY                        DATE OF
                                     CASE                              NOTIFICATION                   NOTIFICATION                         GIVEN                   PARTICIPATION

   olizMark       A          elf                                   /16/1998                      Verbal                              /6/1998                  /16/1998

                         Case manager                              /16/1998                      Verbal                              /6/1998                  /16/1998

    hitaker

   ames Woods                linical     Director              16/16/1998                        Verbal                              /6/1998                  /16/1998




  EXPLANATION                       IF   NO PARTICIPATION                      BY CHILD MOTHER                    FATHER OR CAREGIVER

 On 09-23-97 TDPRS was granted PMC                                        of Mark.      Ms. Soliz did not attend                  the hearing      and has had no contact              with

 this   worker since                 prior    to    the hearing.      Mr.     Saenz has made          it   clear    to      the   agency   that    he does not wish         to   be
 involved        in   any      way         except      to   pay child support           for   Mark.




  Signature-Worker                                                                 Date         Signature-Child       Optional                                                     Date




  Signature-Supervisor                                                             Date         Signature-Level       One     Child-Placing    Staff                               Date

                                                                                                Required    for   initial   placement   only




 Signature-Program                 Director                                        Date
 required      for initial    placement        only



 Attach    a    copy of the following updated items to the plan shared with the caregiver unless                                                           this   information    has

 already       been provided or obtained by the caregiver



           medical log
           education                log

           medical/developmental                            history    and
           the     record of              immunizations




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  OVERVIEW


  A.           General

          of   Last Plan        his    Plan Submitted for Approval Date                  of   Next Review
 IDate

                               111/6/1998
 111/6/1998                                                                       5/6/1999

  Worker       Who       Completed Form
  Laura Flores



  B.           Current Placement

  Residence             Name   Livin     Arran     emen            a of Facilit



  C.           Long-Range            Goal For Permanency

  Permanency Goal
       PPLA    Independent           Living

  Projected         Date for Achieving           Permanency                       Estimated Length            of   Stay   in   Substitute Care
  1/27/2000                                                                       11
                                                                                       1/years
  If   there   is   a   discrepancy      between the estimated             length      of   stay   in   substitute    care and the projected date
  of   permanency           explain
  none



  D.           Concurrent        /   Alternative      Goal for Permanency




                               PROGRESS          IN   ADDRESSING          NEEDS             SERVICES        SINCE LAST PLAN

                                                                    Attach   Facility       Plan




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      Preparation        for   Independent              Living   Needs
      PAL Needs
      An independent    living program has been implemented for Mark. Mark has taken the Life Skills Assessment.

      Mark    needs improvement in Money Management/Consumer Awareness        Transportation  and Job Seeking Skills.


      Mark    has had frequent telephone contacts with his mother and other family members. Mark has begun to have
      home    visit with his mother and other family members. Future home visit will be a necessity to transition Mark to

  age out of care.




  Post-       Discharge         Objectives

      Mark    Soliz      case   will     be referred to IPS             to   possibly     locate    an aging out guardian. Mark will more than like return
  home and           reside       with    his   Aunt Sharon Rangle and                     his    mother.Mark has expressed an interest in continuing his

  education           possibly         attending        technical       school   for     computer programming.




  Placement           Needs
      Type of Placement


 Appropriateness                and Safety of Placement

  Explain          why    placement chosen continues
                         the type of                                                         to   be appropriate.         Address any issues such                    as need        for


  placement with siblings which continue to be unmet.


 This placement is the least restrictive  meets Marks basic needs as well as his therapeutic. Mark is making
                                                                       it




 progress in aspects i.e. home and school and is involved in extracurricular activities. At this group foster home
 Mark is able to participate in a PAL Program and re-establish family relationships. Mark has begun to have visit
 with        his   mother and brother and other family members.                                    Mark appears to be making progress                          in   the

 Group         Home       and     his level        of   care   will   more    than      likely   drop.




 Objectives of placement
 The objectives of this placement are to protect the child from abuse and neglect and to provide the                                                                       child   with

 care that meets the childs needs for permanency     safety and well being. Additional objectives are



 Visitation         Summary


 Culture Heritage



 Permanency               Needs
 Progress / Efforts Made Toward Permanency
 Describe 1 the progress made towards achieving the permanency planning goal during the last plan period                                                                                  2
 the actions to be taken with the childs family to achieve the goal 3 obstacles and actions to be taken to

 overcome           them        4      attempts to locate              absent parents             identify     possible   relative       placements        or       find   possible

 guardian.



 It    had been hoped that Mark could be reunited with                                     his    mother however           this   was       not a   possibility        until   recently

 because.          Ms.    Soliz      made no progress on her                   service      plan     and on 09-23-97           TDPRS was            awarded          PMC       of Mark.

 However            Ms. Soliz has been sober                     for    nearly a     year    after   being admitted           into   a   drug rehabilitation           facility.     Ms.
 Soliz currently           resides        at   a   half-way      house and         is   searching        for   employment.           Mark    and his mother have                   begun
 visitations.        There      is   a   possibility       of returning        Mark      home however             it   would be prudent           to    have    Mark complete an

 independent             living    program as well as graduate                       from high school.




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                                                                                                    Childs      Name                Mark   A   Soliz          DOB     1/27/1982




                                                                     CHILDS SERVICE PLAN
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 ASFA     requirement            if   applicable



 Summary
 Extent of      Compliance            if   a   review


 Appropriateness            of   Services
 Describe extent               which services planned                    for   or previously       provided     to   the child actually                meet the childs needs.
                          to




 The    services      documented               in this   plan     are appropriate         to   meet Marks       needs.               His physical       educational         and

                                                                                 Marks                                    and educational needs are met through
 medical needs are met daily by his caregivers.                                            social    emotional

                                                                                                    Mark                              on medication             meet his
 interaction     with his caregivers               and by participation             in   school.           is
                                                                                                                currently                                  to


 therapuetic      needs.         An independent               living    program has been            implemented                to   prepare Mark        for    adulthood.




                 Nessessity            for     Placement
 Continuing

 Explain   why     the child continues                 to require       placement.


 Mark continues         to   require placement because on 09-23-97
                                                                       TDPRS was appointed PMC. Ms. Soliz has had no
 contact   with    this     worker since prior to the hearing. Mr. Saenz does not want any involvement with Mark except

 for   paying   child   support.     Mark also continues to display inappropriate behaviors and still requires some
 individual     and group counseling to address those behaviors.                                     Mark also needs                  to   complete an independent                living


 program.




 Emergency Conditions


            FPS has determined                    that      one of the following emergency                 conditions               continues     to   exist    for this   case and

           therefore services                   continue to        be necessary



                 1.     A   child     is   at   risk   of   abuse or neglect             as determined      by   FPS
                 2.     A   child     has been removed from his/her home and placed                                       in   FPS care         or

                 3.     A   child     formerly         in   FPS   care    is   at-risk   of being returned           to   FPS        care.




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 PLANS

 Plans to Address Permanency


 Services        to     Meet       Childs            Needs


 Need     Therapeutic            Needs/Family               Needs
                                                                                                                    PSFC/Caregiver                    Service
  ask

 Mark   Soliz    will   participate          in    family   and    sibling    visits    when   appropriate.              PS/Laura         A. Floresand            foster    parents     will   arrange

                                                                                                                        amily/sibling          visitation.




 Time Frame                                                                                                             lime    Frame

                                                                                                                          hen    appropriate             and    avai.
 Unspecified

 Method     of Evaluation




 Need     Therapeutic            Needs/Family               Needs
                                                                                                                    PSFC/Caregiver                    Service
 Task
                                                            and                                                          PS/Laura         A.    Flores      and    foster      parent   will   provide
 Mark   Soliz    will   participate          in    family          sibling    visits.

                                                                                                                    transportation              for   the family visits.




 Time Frame                                                                                                              ime Frame

                                                                                                                          hen    necessary/applicable
 Unspecified

 Method     of Evaluation




 Need       ocial       and     Emotional           Needs
                                                                                                                        PSFC/Care              iver   Service
 Task
                                                                                                                        Foster                   will                   Mark     Soliz with a structured
 Mark   Soliz    will   be    provided            structure.                                                                     parents                  provide
                                                                                                                         nvironment/routine                to   meet Marks          needs.




 Time Frame                                                                                                             rime     Frame

                                                                                                                        11-98    to 01-00.
 11-98 to   01-00

 Method     of   Evaluation

 Telephone       contact        and    visits       with    Mark and        caregivers




 Need     ISocial       and     Emotional           Needs

                                                                                                                        PSFC/Caregiver                  Service
 Task
                                                                                                                        Foster                            allow    Mark     Soliz    to talk   about     his/her
 Mark   Soliz    will    be     able   to    talk    about     birth   family.                                                    parents         will


                                                                                                                                 without                          the family.
                                                                                                                        amily                   criticizing




 Time Frame                                                                                                             rime Frame

            01-00                                                                                                       11-98 to    -0100
 11-98 to

 Method     of Evaluation

 Telephone       contacts         and       visits   with    Mark



 Need     Educational            Needs

                                                                                                                        PSFC/Caregiver                   Service
 Task
                                                                                                                                                                        CPS worker         with copies      of
                                 keep CPS                               Mark
                                                     informed      of                                                   Foster    Parents         will    provide
 Foster   Parents        will                                                    Solizprogress or needs.

                                                                                                                        reports    i.e.    school          medical        etc.




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  Time Frame                                                                                                             ime Frame

  Unti   graduation         or a    uiva                                                                            Until     graduation        or a    uiv

  Method       of Evaluation


  Telephone        contacts with           facility




  Need     Educational             Needs

   ask                                                                                                              PSFC/Care           aver         Service

  Mark    Soliz    will   participate       in     vocational      counseling.                                      Foster Parents            will
                                                                                                                                                      encourage          Mark     Soliz to    talk   with

                                                                                                                        ocational     counselor.




 Time Frame                                                                                                              ime Frame

  11-98 to     01-00                                                                                                11-98      to   01-00

 Method        of Evaluation

                                 with foster parents
 Telephone         contact




 Need      Educational           Needs

   ask                                                                                                              PSFC/Caregiver               Service


   aregiver       and Mark         Soliz    will    attend       conferences      and   ARD   meetings.                  PS/Laura      Flores        and    Foster    Parents       will   attend

                                                                                                                    parent/teacher            conferences         to monitor         Marks     progress

                                                                                                                    in   school.




   ime Frame                                                                                                            ime Frame

 11-98 to -01-00                                                                                                    11-98 to        01-00

 Method        of Evaluation

   ele   hone     calls     to   Desert     Hills        staff   and Mark and      attend   ARD Meetings


 Need      Educational           Needs

 Task                                                                                                               PSFC/Caregiver               Service

 Mark    Soliz    will    attend    school         regularly.                                                       Foster         Parents    will    monitor    Marks          school     attendance

                                                                                                                    and     will    provide    transportation            if   needed.




 Time Frame                                                                                                         Time Frame

 Until   graduation        or a     uiv                                                                             Until     Graduation        or a       uiv

 Method        of Evaluation

 Discussion       with     Mark and         Foster         Parents




 Need      Medical/Dental            Needs

 Task                                                                                                               PSFC/Care           aver     Service

 Mark    Soliz    will    be scheduled             for   follow    up   medical    appointments    including             PS   and/or    Foster        Parents     will        schedule     appointments.

 medication       reviews.




 Time Frame                                                                                                         Fime      Frame

 11-98    to   01-00                                                                                                11-98      to   01-00

 Method        of Evaluation

 Discussion       with     Mark      Foster        Parents and           medical    staff




 Need     jSocial        and   Emotional           Needs

 Task                                                                                                               PSFC/Care           fiver    Service

 Mark    Soliz    will    participate      in    therapy.                                                           Foster         parents    and     therapist      will      suggest     acceptable




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                                                                                                                       behaviors        to    Mark       Soliz   to   substitute      for   unacceptable

                                                                                                                       behaviors.




  Time     Frame                                                                                                       Time Frame

  11-98    to 01-00                                                                                                    11-98 to      01-00

  Method        of    Evaluation

  Discussion          with    Mark     Foster    parents and        Therapist




  Need     ISocial          and   Emotional      Needs

  Task                                                                                                                 PSFC/Care              fiver     Service

  Mark    Soliz      will    participate   in   group   therapy     sessions     to   help reduce acting    out         PS    and/or         foster     parents       will
                                                                                                                                                                              arrange      for
                                                                                                                                                                                                 group
  behavior.                                                                                                            therapy       sessions.




  Time Frame                                                                                                           lime     Frame

  11-98 to      01-00                                                                                                  11-98    to   01-00

  Method        of   Evaluation

  Discussion         with     Mark     Foster    Parents    and     Therapist




  Need     JSocial          and   Emotional     Needs

  Task                                                                                                                 PSFCICare              fiver     Service

  Mark    Soliz      will    learn   to accept the      logical   consequences         of inappropriate    behavior.   Foster    parents         will    provide      feedback        regarding

                                                                                                                       consequences              of     Marks     behavior.




 Time Frame                                                                                                            rime     Frame

  11-98    to   01-00                                                                                                  11-98 to      01-00

  Method        of   Evaluation

  Discussion         with     Foster   Parents     and Mark



  Need     Therapeutic/Recreational                  Needs

 Task                                                                                                                  PSFC/Caregiver                   Service

  Mark    Soliz      will    participate   in   recreational      activities   when   appropriate.                      PS    and/     or foster         parents       provide       games movies
                                                                                                                        ports   etc.    for     recreational          activities     when        appropriate.




 Time Frame                                                                                                            rime     Frame

  11-98 to      01-00                                                                                                  11-98 to      01-00

 Method         of   Evaluation

 Discussion          with     Mark and     Foster    Parents




 Need      PAL Needs
 Task                                                                                                                  PSFC/Caregiver                   Service

 Mark     Soliz      will   participate    in   educational/vocational          training.                              Worker    will    discuss            progress         with   Mark    Soliz.




 Time Frame                                                                                                            lime     Frame

 11-98    to    01-00                                                                                                  11-98    to   01-00

 Method         of   Evaluation

 Discussion          with     Mark and     Foster    Parents




           PAL Needs
 INeed




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  Task                                                                                                                              PSFC/Caregiver            Service

  Mark    will    participate         in   money management             classes    or   training.                                   CPS     will   discuss    progress   with    Mark.




 Time Frame                                                                                                                          lime    Frame

  11-98    to    01-00                                                                                                              11-98 to 01-00

  Method         of Evaluation

  Discuss        with     Mark and         PAL


  Need      PAL Needs

   ask                                                                                                                              PSFC/Caregiver            Service

 Mark     will    learn        to   use   the public transportation          system and     enroll       in   drivers                 PS    will   discuss    progress   with    Mark.

   ducation        when         appropriate.




 Time Frame                                                                                                                          rime   Frame

 11-98     to    01-00                                                                                                              11-98 to 01-00

 Method          of Evaluation

 Discuss         with     Mark and         PAL    Coordinator




 Need       PAL Needs
 Task                                                                                                                               PSFC/Care         fiver   Service

 Mark     Soliz         will   participate      in   classes   or training    to prepare    for the job         market.             CPS     will   discuss    progress   with    Mark    Soliz.




 Time Frame                                                                                                                         Rime Frame
 11-98 to        01-00                                                                                                              11-98 to 01-00

 Method          of Evaluation

 Discuss         with    Mark and          PAL   Coordinator




 Provision of                  Safe and Proper Care                    in   Placement


 Plans for Future Visitation


 Plans      for     Preserving                  Childs Cultural Heritage


 Supervision



 Behavior           Management Discipline
 The     childs discipline                      must     suit   the childs        age circumstances                          and developmental                needs. Methods of discipline

 may include                    establishing           routines        setting     reasonable                 limits    modeling appropriate                  behavior          offering     choices

 giving explanations.                        repeating          instructions taking             time-out                 enforcing or permitting                logical     or natural

 consequences                        and reinforcing desired behavior.                         Physical             punishment         is    not permitted.          Additional           strategies     for


 managing               the childs              behavior        are specified           below.



 Support Services to the Caregivers

 Identify        the support services to                        be provided          to   the caregiver                 to   help   them meet the childs needs and                           to   ensure
 that the child receives                         safe    and proper care. Include the planned frequency of worker                                                 visits    to   the     child    and   to   the

 caregivers               home.

 Identify        the support                services to         be provided         to    the caregiver                 to help     them meet the childs needs. Include                            the

 planned frequency                         of   worker     visits    to     the   child   and       to    the foster          home    or    group-care          facility.




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  The caseworker       will   be available for phone consultation as needed.               Caseworker        will   visit   Mark   monthly or on an
  as needed basis and         will   participate   in   staffings   regarding   Marks   treatment    and progress.




 Travel

 The child may travel to participate in normal activities examples church school events. Any trips that last more
 than 72 hours must be approved in advance     by the childs worker. Trips outside the state must be approved in
 advance   by the childs worker and by the court. Additional stipulations regarding the childs travel are specified
 below.




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 INVITED PARTIES AND PARTICIPATION                                                  INFORMATION


        NAME                     RELATIONSHIP             TO                 DATE OF                      TYPE OF                       DATE COPY                        DATE OF
                                       CASE                             NOTIFICATION                 NOTIFICATION                         GIVEN                    PARTICIPATION

                           Foster Parent                            /10/1998                    Verbal                             11/4/1998                  /10/1998




  SolizMark      A             elf                                  /10/1998                    Verbal                             11/4/1998                  /10/1998

  Dr.   Farmer                 hers       ist                   19/10/1998                       erbal                             11/4/1998                  /10/1998




 EXPLANATION                         IF     NO PARTICIPATION                   BY CHILD MOTHER                   FATHER OR CAREGIVER

 On 09-23-97 TDPRS was granted PMC                                          of Mark.    Ms. Soliz did not attend                 the hearing       and has had no contact              with

 this   worker since                  prior      to   the hearing.     Mr.     Saenz has made        it   clear    to      the   agency that he does not wish               to   be
 involved       in
                       any       way            except to pay       child   support    for   Mark.




 Signature-Worker                                                                    Date      Signature-Child       Optional                                                      Date




 Signature-Supervisor                                                                Date      Signature-Level       One     Child-Placing     Staff                               Date

                                                                                               Required    for   initial
                                                                                                                            placement   only




 Signature-Program               Director                                            Date

 required      for   initial    placement         only



 Attach    a    copy of the following updated items to the plan shared with the caregiver                                                      unless      this   information    has

 already       been provided or obtained by the caregiver



           medical log
           education log

           medical/developmental                           history      and
           the record of                    immunizations




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                                                                 Service    Plan Review


 OVERVIEW

  A.           General

          of Last Plan       his    Plan Submitted for Approval Date of Next Review
 IDate


 122/23/1999                 /23/1999                                          18/23/1999

  Worker       Who     Completed Form
  Laura Flores



  B.           Current Placement

  Residence          Name   Livin     Arran     emen             a of Facili



  C.           Long-Range         Goal For Permanency

  Permanency Goal
       PPLA    Independent        Living

  Projected Date for Achieving                Permanency                        Estimated Length            of   Stay in Substitute Care
  1/27/2000                                                                     1
                                                                                    year
  If   there   is   a discrepancy between           the estimated length of stay                  in   substitute   care and the projected   date
 of    permanency        explain
 none



 D.            Concurrent     /   Alternative      Goal for Permanency




                            PROGRESS          IN   ADDRESSING           NEEDS              SERVICES SINCE LAST PLAN

                                                                   Attach   Facility       Plan




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      Preparation            for   Independent                    Living      Needs
      PAL Needs
      An independent living program has been implemented for Mark. Mark has taken the Life Skills Assessment.
      Mark needs improvement in Money Management/Consumer      Awareness Transportation and Job Seeking Skills.
      Mark has completed                        Personal/Interpersonal                         Skills   Housing/Transportation               Health        Planning            for   the    Future and
      Money Management                          in         PAL


      Mark has had telephone                                contacts       with     family     members.          Mark      has had home        visit     with family          members.                Future

      home    visit     will      be a necessity                   to   transition        Mark    to    age     out of care.




  Post-       Discharge                Objectives

      Mark    Soliz      case           will    be referred              to   IPS    to   possibly      locate    an aging out guardian.                 Mark     will   more        than       like   return

  home and              reside with              his        Aunt Sharon Rangle. Mark has expressed an                                 interest      in   continuing           his    education

  possibly         attending               technical              school      for   computer       programming.




  Placement             Needs
      Type of Placement


 Appropriateness                        and     Safety of              Placement

  Explain         why        the type of                   placement chosen continues to be appropriate.                              Address any issues such as need                                  for


  placement             with       siblings which continue to be unmet.



 This        placement             is    the least restrictive                      it   meets Marks          basic   needs as well as          his      therapeutic.           Mark       is    making
 progress          in    aspects              home and school and is involved in extracurricular activities. At this group
                                               i.e.                                                                                                                                         foster       home
 Mark        is   able       to    participate in a PAL Program and re-establish family relationships.   Mark has begun                                                                     to   have        visit

 with his         mother and brother and other family members.                                                  Mark appears        to    be making progress                   in    the

 Group        Home           and his            level        of care       will     more than      likely     drop.




 Objectives             of   placement
 The     objectives               of    this    placement                are to protect the             child   from abuse and neglect                 and   to    provide           the   child       with

 care that         meets the childs needs                                for   permanency               safety    and well being.        Additional        objectives           are


 Visitation        Summary

 Culture          Heritage



 Permanency                  Needs
 Progress /Efforts Made Toward Permanency
 Describe          1     the     progress made towards achieving the permanency                                                  planning     goal during the                 last   plan       period        2
 the actions            to     be taken with the childs family to achieve the goal                                           3   obstacles      and actions              to    be taken          to

 overcome             them             4    attempts              to    locate      absent parents              identify   possible      relative   placements or                   find   possible

 guardian.



 It   had been hoped that Mark could be reunited with his mother however this was not a possibility                                                                                    until      recently
 because     Ms. Soliz made no progress on her service plan and on 09-23-97 TDPRS was awarded                                                                                         PMC        of    Mark.
 Ms.     Soliz     had been                sober
                                       a year after being admitted into a drug rehabilitation facility and
                                                            for   nearly                                   residing at a

 half-way house.   Ms. Soliz recently failed a drug test and has a warrant out for her arrest. Mark and his mother
 have sporatic telephone contact   but visitation has ceased. There is a slim possibility of returning Mark home/

 Aunts        home however                            it   would be prudent to have                     Mark     complete      an independent             living     program as well as
 graduate from high school.




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 ASFA     requirement          if   applicable



 Summary
 Extent of    Compliance            if   a    review


 Appropriateness          of   Services
 Describe extent             which services planned                    for   or previously                    to   the   child actually            meet the childs needs.
                        to                                                                         provided



 The services documented                      in this            are appropriate          to   meet Marks      needs.      His physical             educational        and
                                                          plan

 medical needs are met daily by his caregivers.     Marks social emotional and educational needs are met through
                                                                                      medication to meet his
 interaction with his caregivers and by participation in school. Mark is currently on

 therapuetic needs. An independent living program
                                                       has been  implemented  to  prepare Mark for adulthood.




 Continuing    Nessessity            for      Placement

 Explain   why      the child continues              to    require     placement.


 Mark   continues       to   require         placement           because on 09-23-97              TDPRS was         appointed         PMC. Ms.         Soliz   has had no

 contact with    this     worker since            prior to       the hearing.       Mr.    Saenz does not want any involvement with Mark except

for   paying child support.                  Mark also continues              to   display inappropriate           behaviors        and   still    requires    some
 individual   and group counseling                    to   address those behaviors.                  Mark also needs           to   complete an independent                  living


 program.




 Emergency Conditions


           FPS has determined                    that      one of the following emergency                conditions       continues           to   exist   for this   case   and

           therefore services                  continue to        be necessary



               1.     A   child     is   at    abuse or neglect as determined by FPS
                                              risk   of

               2.     A   child     has been removed  from his/her home and placed in FPS care                                            or

               3.     A   child     formerly         in    FPS care     is   at-risk.of        being returned      to   FPS   care.




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 PLANS

 Plans         to   Address Permanency


 Services           to     Meet       Childs Needs


 Need          hera        eutic    Needs/Family            Needs

  ask                                                                                                             PSFC/Caregiver                       Service

 Mark     Soliz     will    participate       in   family   and    sibling    visits   when   appropriate.             PS/Laura            A.    Floresand foster             parents       will   arrange
                                                                                                                                                visitation.
                                                                                                                      amily/sibling




 Time Frame                                                                                                            ime Frame

 Unspecified                                                                                                      When         appropriate               and      avai


 Method         of Evaluation




                      Rime
 Need          hera        eutic    Needs/Family            Needs

 Task                                                                                                             PSFC/Caregiver                       Service

 Mark     Soliz     will    participate       in   family   and   sibling    visits.                                   PS/Laura            A. Flores         and     foster parent         will    provide

                                                                                                                      ransportation              for   the    family     visits.




 Time Frame                                                                                                                  Frame

 Unspecified                                                                                                           hen     necessary/applicable

 Method        of Evaluation




 Need          ocial       and     Emotional       Needs

 Task                                                                                                             PSFC/Caregiver                       Service

 Mark     Soliz     will    be     provided    structure.                                                         Foster       parents            will    provide        Mark      Soliz with      a structured

                                                                                                                  environment/routine                        to   meet Marks          needs.




 Time Frame                                                                                                           rime Frame

  2-99    to    01-00                                                                                             102-99       to   01-00

 Method        of Evaluation


 Telephone          contact        and   visits     with   Mark and       caregivers




 Need      ISocial         and     Emotional       Needs

  ask                                                                                                             PSFC/Caregiver                         Service

 Mark     Soliz     will    be able to      talk    about    birth   family.                                      Foster       parents            will    allow     Mark     Soliz    to   talk    about   his/her

                                                                                                                      amily without              criticizing       the    family.




 Time Frame                                                                                                            ime Frame

 02-99    to   01-00                                                                                              102-99       to   -01-00

 Method        of Evaluation

 Telephone          contacts         and   visits   with    Mark



 Need      Educational              Needs

 Task                                                                                                                 PSFC/Caregiver                     Service

 Foster    Parents          will   keep    CPS      informed      of   Mark    Solizprogress or needs.                Foster    Parents           will    provide        CPS worker         with     copies   of

                                                                                                                      reports       i.e.   school          medical         etc.




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                                                                                                            Childs    Name             Mark A Soliz                             DOB       1/2711982




                                                                           CHILDS SERVICE PLAN
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 Time Frame                                                                                                      Time          Frame

                                                                                                                 Until         graduation       or equiv
 Unti graduation          or a    uiva

 Method     of Evaluation

  ele    hone    contacts        with    facility




 Need      Educational          Needs
                                                                                                                     PSFC/Care              fiver    Service
 Task
                                                                                                                     Foster         Parents    will
                                                                                                                                                      encourage          Mark      Soliz     to   talk   with
 Mark    Soliz   will   participate       in     vocational     counseling.
                                                                                                                      ocational        counselor.




 Time Frame                                                                                                           ime Frame

                                                                                                                                to 01 -00
 02-99    to 01-00                                                                                               102-99

 Method     of Evaluation

                 contact        with foster
 Telephone                                          parents




 Need      Educational          Needs

 Task                                                                                                                PSFC/Care              fiver    Service


 Caregiver       and Mark        Soliz    will      attend   conferences       and   ARD   meetings.                      PS/Laura      Flores        and   Foster       Parents      will   attend

                                                                                                                     parent/teacher            conferences          to     monitor    Marks        progress

                                                                                                                     in   school.




                                                                                                                          ime Frame
 rime Frame
                                                                                                                                to 01-00
  2-99 to -01-00                                                                                                 102-99

 Method     of Evaluation

  ele    hone    calls    to   Desert      Hills staff       and Mark and       attend   ARD   Meetings




 Need      Educational          Needs
                                                                                                                     PSFC/Caregiver                  Service
  ask
                                                                                                                     Foster         Parents    will    monitor    Marks           school     attendance
 Mark    Soliz   will   attend     school regularly.
                                                                                                                     and     will    provide    transportation             if   needed.




 Time Frame                                                                                                           lime      Frame

                                                                                                                     Until     Graduation           or a    uiv
 Until   graduation       or a    uiv


 Method     of Evaluation

 Discussion      with     Mark and         Foster       Parents




 Need      Medical/Dental           Needs
                                                                                                                                                      Service
 Task                                                                                                                PSFC/Caregiver

 Mark    Soliz   will   be     scheduled         for   follow        medical    appointments    including                 PS   and/or       Foster     Parents      will        schedule     appointments.
                                                                up

 medication       reviews.




 Time Frame                                                                                                               ime Frame

  2-99 to   01-00                                                                                                    102-99     to    01-00

 Method     of Evaluation

 Discussion      with     Mark     Foster         Parents and         medical    staff




INeed     ISocial       and    Emotional         Needs
                                                                                                                     PSFC/Care               fiver    Service
 Task
                          --
                              id
                                                                                                                     Foster         parents     and     therapist     will       suggest     acceptable
 Mark    Soliz   will    participate      in     therapy.




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                                                                         Facility Review with PAL Asmt



                                                                                                                      behaviors             to   Mark      Soliz   to   substitute      for   unacceptable

                                                                                                                      behaviors.




 Time     Frame                                                                                                       Time Frame

   2-99 to 01-00                                                                                                       2-99 to        01-00

 Method      of Evaluation

 Discussion      with     Mark        Foster    parents and         Therapist




 Need     Isocial       and   Emotional        Needs

   ask                                                                                                                PSFC/Caregiver                     Service


 Mark    Soliz                                                      sessions     to help reduce      acting out         PS     and/or            foster parents         will   arrange       for
                                                                                                                                                                                                   group
                 will    participate     in
                                               group    therapy

                                                                                                                      therapy        sessions.
 behavior.




 Time    Frame                                                                                                         ime Frame

   2-99 to 01-00                                                                                                      102-99    to    01-00

 Method      of Evaluation

 Discussion      with     Mark        Foster    Parents     and    Therapist




 Need     ISocial       and   Emotional        Needs

   ask                                                                                                                PSFC/Caregiver                     Service


 Mark    Soliz           learn                   the                                  of inappropriate    behavior.   Foster                        will    provide     feedback        regarding
                 will            to   accept            logical   consequences                                                   parents

                                                                                                                      consequences                  of     Marks     behavior.




 Time    Frame                                                                                                         ime Frame

  2-99 to    01-00                                                                                                    102-99    to    01-00

 Method      of Evaluation

 Discussion      with Foster          Parents     and Mark



 Need     ITherapeutic/Recreational                 Needs

   ask                                                                                                                PSFC/Caregiver                       Service


 Mark    Soliz   will    participate     in    recreational       activities   when   appropriate.                      PS     and/     or foster            parents     provide       games movies
                                                                                                                      sports    etc.        for    recreational         activities     when        appropriate.




   ime Frame                                                                                                           rime     Frame

  2-99 to    01-00                                                                                                    102-99    to    01-00

 Method      of Evaluation

 Discussion      with     Mark and       Foster        Parents




 Need     PAL Needs
  ask                                                                                                                  PSFC/Caregiver                      Service


 Mark    Soliz   will                          educational/vocational                                                  Worker        will    discuss         progress          with   Mark    Soliz.
                         participate     in                                     training.




 Time Frame                                                                                                            rime     Frame

  2-99 to    01-00                                                                                                    102-99    to    01-00

 Method      of Evaluation

 Discussion      with     Mark and       Foster        Parents




          PAL Needs
 INeed




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 Task                                                                                                                         PSFC/Care            fiver    Service

  Mark   will    learn    to   use   the   public transportation          system and    enroll     in   drivers                 PS     will   discuss      progress        with Mark.

 education        when     appropriate.




 Time     Frame                                                                                                                 ime Frame

  2-99 to       01-00                                                                                                         102-99    to    01-00

 Method         of Evaluation

 Discuss        with   Mark and       PAL        Coordinator




 Need      PAL Needs
 Task                                                                                                                         PSFC/Caregiver                Service

 Mark Soliz        will   participate       in    classes   or training    to prepare   for   the job     market.               PS     will   discuss      progress        with   Mark   Soliz.




 Time    Frame                                                                                                                  ime Frame

 02-99    to    01-00                                                                                                         02-99     to    01-00

 Method         of Evaluation

 Discuss        with   Mark and       PAL        Coordinator




 Provision         of     Safe and Proper Care                     in   Placement


 Plans for Future Visitation


 Plans for Preserving                      Childs Cultural Heritage


 Supervision



 Behavior Management Discipline
 The childs discipline must suit the childs age circumstances    and developmental needs. Methods of discipline

 may include  establishing routines   setting reasonable limits modeling appropriate behavior offering choices

 giving    explanations.                   repeating        instructions         taking       time-out             enforcing      or permitting                   logical    or natural

 consequences                   and reinforcing desired behavior. Physical punishment                                             is    not permitted. Additional                         strategies     for


 managing              the childs          behavior are specified below.


 Support         Services            to    the     Caregivers
                the support               services to     be provided            to   the caregiver               to   help   them meet the childs needs and                                 to   ensure
 Identify

 that the        child     receives          safe      and proper care.             Include the            planned frequency                  of   worker          visits    to    the   child    and   to   the


 caregivers             home.
                                                               be provided            the caregiver                           them meet the childs needs. Include                                  the
 Identify the support                     services to                            to                               to   help

 planned frequency                    of    worker       visits   to    the   child     and   to    the foster         home     or     group-care              facility.




 The caseworker                            be available                                                    as needed.          Caseworker                                  Mark monthly or on an
                                                                       phone consultation
                                 will                           for                                                                                        will    visit


 as needed basis and                        will    participate       in   staffings     regarding           Marks       treatment            and     progress.




 Travel

 The child may travel to participate in normal activities examples church school events. Any trips that last more

 than 72 hours must be approved in advance     by the childs worker. Trips outside the state must be approved in
 advance by the childs worker and by the court. Additional stipulations regarding the childs travel are specified
 below.




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 INVITED          PARTIES AND PARTICIPATION                                       INFORMATION


        NAME                     RELATIONSHIP              TO              DATE OF                      TYPE OF                    DATE COPY                       DATE OF
                                       CASE                              NOTIFICATION               NOTIFICATION                        GIVEN                PARTICIPATION

                                        Parent                   1/19/1999                     Verbal                         2/19/1999                1/19/1999
                              Foster

 Juan   Lajara                Counselor                          11/19/1999                    Verbal                          /19/1999                1/19/1999

  ames Farmer                 Therapist                          11/19/1999                    Verbal                          /19/1999                1/19/1999


 SolizMark      A             Self                               1/19/1999                     Verbal                          /19/1999                1/19/1999


 OnyebuchiWill                PRS     Staff                        18/1999                     Verbal                          /18/1999                 /18/1999

 N



 EXPLANATION                     IF    NO PARTICIPATION                      BY CHILD MOTHER                 FATHER OR CAREGIVER

 On 09-23-97 TDPRS was granted PMC                                       of Mark.     Ms. Soliz did not attend the hearing and has had no contact with
 this   worker since                 prior    to   the hearing.     Mr.    Saenz has made          clear to the agency that he does not wish to be
                                                                                                   it




 involved    in       any      way       except       to   pay   child   support     for   Mark.




 Signature-Worker                                                                  Date      Signature-Child     Optional                                                    Date




 Signature-Supervisor                                                              Date      Signature-Level     One    Child-Placing     Staff                              Date

                                                                                             Required    for initial   placement   only




 Signature-Program              Director                                           Date

 required   for     initial   placement        only



 Attach a copy of the following updated items to the plan shared with the caregiver                                                       unless     this   information   has

 already been provided or obtained by the caregiver



          medical log
          education log

          medical/developmental  history and

          therecord of immunizations




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                                                          CHILDS         SERVICE PLAN
                                                                       Review


                                                               Service    Plan Review


  OVERVIEW


  A.           General

          of Last Plan       his   Plan Submitted for Approval Date                 of Next Review
 JDate


 18/9/1999                 18/9/1999                                         12/9/2000

  Worker       Who     Completed Form
  Laura    Flores



  B.           Current Placement

  Residence          NamelLiving     Arran     emen            a of Facili




  C.           Long-Range        Goal For Permanency

  Permanency Goal
       PPLA    Independent       Living

  Projected Date for Achieving               Permanency                       Estimated Length          of   Stay in Substitute Care
  1/27/2000                                                                   6months

  If   there   is   a discrepancy      between the estimated length               of   stay   in   substitute    care and the projected date
  of   permanency         explain
  none



  D.           Concurrent    /   Alternative      Goal for Permanency




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                                                                                CHILDS SERVICE PLAN
                                                                                                    Review


  PROGRESS                    IN    ADDRESSING                    NEEDS              PROVIDING SERVICES SINCE LAST PLAN


  Caregiver observations                              about childs personality behavior                                   special             interests     and   talents



  Basic needs
 All    children         in   placement              have    basic      needs. They require food shelter and clothing                                        routine medical        and dental

 care safe stimulating and nurturing                                      home environments                    and friendships                  and recreational      activities    appropriate

 to    their   ages.          FPS expects each                    childs caregiver             to   meet the childs basic                       needs without     specifically     identifying
 those needs               in      the    case plan.


 Specific           needs
 Social        and Emotional Needs
 Mark     had      significant progress since his last service plan. Mark completed his PAL Program.
                     made                                                                            Mark was

 preparing     age out of care when he was arrested in July of 1999 for
                     to                                                                                     Mark
 is
    currently being detained in the Johnson County Law Enforcement Center in Cleaburne Texas pending      a court

 date.   Mark basic needs are being met. Mark is 17 years old and is being tried as an adult.




 Educational              Needs
 Mark     educational                needs have             been suspended due                                   in               Mark        had made
                                                                                                    to   being         jail.                                 significant   progress since his
 last   service          plan.           Mark completed             his   PAL Program.                   Mark was preparing to age out of care when                            he was
 arrested           in   July of         1999      for                                                             Mark is currently being detained                           in   the   Johnson

 County Law Enforcement Center                                    in   Cleaburne Texas pending a court date.                                          Mark basic needs are being met.
 Mark     is    17 years old and                     is   being   tried    as an      adult.




 Developmental                     Needs
 Mark     developmental                        needs have         been     suspended due                  to   being    in     jail.    Mark had made significant progress since
 his    last     plan. Mark completed his PAL Program.
               service                                 Mark was preparing to age out of care when he was
 arrested in July of 1999 for                                 Mark is currently being detained in the Johnson

 County Law Enforcement Center in Cleaburne Texas pending a court date.   Mark basic needs are being met.
 Mark     is    17 years old and                     is   being   tried   as an       adult.




 Medical        and Dental Needs
 Mark     medical and dental needs continue                                     to   be met despite Mark being                           in   jail.
                                                                                                                                                       Mark was arrested     in    July of    1999
 for                                                                              being detained in the Johnson County Law
                                                                                Mark    is   currently
 Enforcement               Center          in     Cleaburne Texas pending a court date. Mark basic needs are being met. Mark                                                             is   17

 years    old       and       is   being          tried   as an   adult.        Mark   is    receiving his medication                         and other medical needs          via   the on-site

 medical        clinic        at   the    jail.




 Special       Physical             Needs
 Marks         physical            needs are being met despite Mark being in jail. Mark was arrested in July of 1999 for
                                                       Mark is currently being detained in the Johnson County Law Enforcement
 Center        in   Cleaburne Texas pending a court date.                                       Mark basic needs are being met such                                  as clothing and 3
 meals a day.                 Mark        is   17 years old and            is
                                                                                being       tried   as an       adult.




 Placement               Needs
 Type of Placement




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                                                                                  CHILDS SERVICE PLAN
                                                                                                     Review



  Appropriateness                 and Safety of Placement

   Explain    why         the type of           placement             chosen continues to be appropriate. Address any issues such                                           as need         for

  placement          with siblings              which continue            to be unmet.




  This     placement is currently the least                               restrictive       available.        Mark    recently   was   arrested       for

                   and is being detained                                       the   Johnson County Law Enforcement                     Center                                     Texas.
                                                                          at                                                                          in   Cleaburne




  Objectives of placement
  The objectives of this placement                               are to protect             the child      from abuse and neglect              and    to                  the              with
                                                                                                                                                           provide                 child

  care     that   meets the childs needs                         for      permanency            safety       and well being.      Additional                         are
                                                                                                                                                    objectives


  Visitation       Summary

  Culture Heritage



  Permanency              Needs
  Progress/ Efforts Made Toward Permanency
  Describe 1 the progress made towards achieving the permanency                                                           planning     goal    during the          last   plan      period        2
  the actions to be taken with the childs family to achieve the
                                                                goal                                                    3 obstacles      and actions          to    be taken         to
  overcome         them          4    attempts to locate absent parents                                    identify   possible   relative   placements or             find         possible
  guardian.



  Significant       progress has been made by Mark is achieving the permanency plan until recently. Mark had
  completed        the  CPS PAL Program. It had been hoped that Mark would age out of care and attend a vocational
  school     however             this is        currently        not a         possibility.     Mark was recently arrested for
             and     is    being          detained        at    the   Johnson County Law Enforcement                Center pending a court                            date.         The    plan
  should     resume should Mark be released however                                                  remains a indecipherable            at    this   time.    Mark                         with
                                                                                                                                                                           reuniting
                                                                                                it




  his   mother      is    not a possibility               on 09-23-97                TDPRS was             awarded     PMC   of Mark.         Ms. Soliz had been                    sober   for

 nearly a     year        after   being          admitted
                                       a drug rehabilitation facility and. residing at a half-way house.
                                                                  into

 Subsequently Ms. Soliz failed a drug test and currently has a warrant out for her arrest. Mark and his mother
 have sporadic telephone contact but visitation has ceased. Should Mark be released from the Johnson
                                                                                                         County
 Law Enforcement Center there is a possibility for Mark to reside with his Aunt Sharon Rangel.



 ASFA       requirement              if
                                          applicable



 Summary
 Extent of        Compliance               if   a   review


 Appropriateness             of      Services
 Describe extent             to   which services planned                             for   or previously       provided to the child          actually      meet the childs needs.


 The    services         documented                 in   this   plan are appropriate                  to   meet Marks       needs due         to   Mark               in             His basic
                                                                                                                                                            being          jail.

 needs are met daily by his caregivers.




 Continuing        Nessessity              for      Placement

 Explain     why     the child            continues            to require         placement.


 Mark     continues         to    require           placement             because on 09-23-97                 TDPRS was          appointed         PMC. Ms.        Soliz      has had no
 contact     with    this    worker since prior                           the hearing.          Mr.    Saenz does not want any involvement with Mark
                                                                     to                                                                                                                except




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 for                                     Mark also continues          to   display criminal   and   anti   social    behaviors        and    still   requires
       paying   child   support.

 some     individual    and group counseling              to   address those behaviors.          Mark      also   needs   to    complete a           GED
 program.




 Emergency Conditions


            FPS has determined              that    one of the following emergency            conditions continues             to   exist   for this   case and

            therefore services continue               to be necessary




                1.      A   child   isat risk of abuse or neglect as determined by FPS
                2.      A   child   has been removed from his/her home and placed in FPS care or
                3.      A   child   formerly   in   FPS   care   is   at-risk   of being returned    to    FPS    care.




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 PLANS

 Plans      to      Address Permanency


 Services           to     Meet Childs Needs


 Need     Medical/Dental                  Needs

  ask                                                                                                                     PSFC/Caregiver                Service

 Mark   Soliz       will    be   scheduled        for   follow   up   medical   appointments     including                Staff     at     Johnson      county   LEC    will   schedule

 medication         reviews.                                                                                              appointments.




  ime Frame                                                                                                               rime       Frame

  7-99 to Unspecified                                                                                                     107-99       to   Unspecified

 Method        of Evaluation

 Discussion         with     staff   at   Johnson County            law   enforcement   center   LEC


 Need          ocial       and   Emotional        Needs

  ask                                                                                                                     PSFC/Care               iver Service


 Mark                                                                                                                     Johnson                       LEC          reinforce      Marks
                                                                consequences of          anti-social/criminal                               County            will
        Soliz       will    learn to accept        the    logical

 behavior            being detained           at the      Johnson County LEC.                                                                      of the relationship         between      his/her
               by                                                                                                         understanding
                                                                                                                          behavior          and   the   consequences           which   follow.




 Time Frame                                                                                                               rime       Frame

  7-99 to Unspecified                                                                                                     107-99       to Unspecified

 Method        of Evaluation

 Discussion         with     Mark



 Need     PAL Needs
 Task                                                                                                                     PSFC/Caregiver                Service

 Mark   will   learn        his/her legal     rights     and consequences          of breaking    the law.                  PS      will    discuss     progress     with Mark.




 Time Frame                                                                                                               rime       Frame

                                                                                                                                       to   Unspecified
  17-99 to Unspecified                                                                                                    107-99

 Method        of   Evaluation

 Discussion         with     Mark



 Provision          of      Safe and Proper Care                       in   Placement


 Plans    for       Future Visitation



 Plans for Preserving Childs Cultural Heritage


 Supervision
 Mark    is    being supervised                         24 hours a day 7 day a week                   due    to   being   in   jail.
                                                                                                                                            Mark     was      arrested         in   July of      1999   for


                                                                    Mark is currently                 being detained       Johnson County Law Enforcement
                                                                                                                               in    the

 Center        in   Cleaburne Texas pending a court date.                                      Mark    basic needs are being met. Mark is 17 years old and is

 being    tried        as an         adult.




 Behavior           Management Discipline



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                                                                          CHILDS SERVICE PLAN
                                                                                          Review


                                                                                                             and developmental            needs. Methods of discipline
 The childs discipline must                      suit   the childs        age circumstances
 may include           establishing          routines setting              reasonable          limits   modeling appropriate behavior                       offering         choices

 giving explanations.               repeating           instructions        taking      time-out         enforcing or permitting                logical    or natural

                 and reinforcing desired behavior. Physical punishment                                                 is    not permitted. Additional                 strategies          for
 consequences
 managing the childs behavior are specified below.
 Marks discipline and consequences has been increased due to being                                                    in    jail.
                                                                                                                                     Mark was arrested                in   July of    1999

 for                                                                      Mark    is   currently   being detained             in    theJohnson County Law

 Enforcement             Center     in    Cleaburne Texas pending a court date.                                Mark basic           needs are being met. Mark                    is   17

          old      and   is              tried   as an      adult.
 years                        being




 Support        Services       to   the   Caregivers
 Identify     the support           services  to be provided                to    the caregiver         to   help   them meet the childs needs and                          to   ensure

                                                                                                 planned frequency of worker                                                     and
                                                                                                                                                                the                    to   the
 that the      child receives            safe    and proper care.               Include the                                                       visits   to          child


 caregivers         home.
              the support           services      to    be provided         to    the caregiver         to   help   them meet the childs needs. Include the
 Identify

 planned frequency              of   worker        visits    to    the child      and    to   the foster      home    or group-care         facility.




 Mark    is   currently       being detained              at the    Johnson County Law Enforcement Center                                 for


                                                       Marks       basic needs are being met. Caseworker will                             visit    Mark monthly or on an as
              pending a court date.
 needed basis.




 Travel
                                                                                                        that last more
 The       may travel to participate in normal activities examples church school events. Any trips
        child

 than 72 hours must be approved in advance      by the childs worker. Trips outside the state must be approved in
                                                                                     the childs travel are specified
 advance  by the childs worker and by the court. Additional stipulations regarding
 below.

 Marks        Travel            have been suspended due to being in jail.
                         privileges                                       Mark was arrested in July of 1999 for
                                            Mark is currently being detained in the Johnson County Law Enforcement
                                                                                                            old and is
 Center       in   Cleaburne Texas pending a court date. Mark basic needs are being met. Mark is 17 years
 being    tried     as an     adult.




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                                                                                                          Childs          Name    Mark A Soliz              DOB     1/27/1982




                                                                         CHILDS SERVICE PLAN
                                                                                         Review


 INVITED          PARTIES AND PARTICIPATION                                    INFORMATION


        NAME                   RELATIONSHIP              TO               DATE OF                         TYPE OF                    DATE     COPY                 DATE OF
                                     CASE                               NOTIFICATION                 NOTIFICATION                          GIVEN             PARTICIPATION

  SolizMark       A          Self                                 /13/1999                       Verbal                                                7/13/1999

  RutherfordEula             PRS    Staff                       17/13/1999                       Verbal                                                1/13/1999

  E

  FloresLaura         A      PRS    Staff                         /13/1999                       Verbal                                                 /13/1999




 EXPLANATION                   IF   NO PARTICIPATION                      BY CHILD MOTHER                       FATHER OR CAREGIVER

 On 09-23-97 TDPRS was granted PMC                                      of Mark.   Ms. Soliz did not attend the hearing and has had no contact with
 this   worker since            prior       to   the hearing. Mr.         Saenz has made       clear to the agency that he does not wish to be
                                                                                                    it




 involved        in   any    way      except        to   pay    child   support    for   Mark.




 Signature-Worker                                                               Date       Signature-Child          Optional                                                 Date




 Signature-Supervisor                                                           Date       Signature-Level          One    Child-Placing    Staff                            Date

                                                                                           Required       for   initial   placement only




 Signature-Program            Director                                          Date

 required      for initial   placement       only



 Attach    a    copy of the following updated items to the plan shared                                     with the         caregiver       unless   this   information   has

 already       been provided or obtained by the caregiver



          medical log
          education log

          medical/developmental                          history    and
          the record of              immunizations




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                                                             CHILDS SERVICE PLAN
                                                                          Review


                                                              Service       Plan Review


 OVERVIEW

 A.           General

          of Last Plan        his     Plan Submitted for Approval Date                of   Next Review
 IDate


 111/2/1999                 111    /2/1999                                      5/2/2000

 Worker       Who       Completed Form
 Laura Flores



 B.           Current Placement

 Residence             NamelLiving      Arran    emen             a of Facili



 C.           Long-Range           Goal For Permanency

 Permanency Goal
      PPLA    Independent          Living

                   Date for Achieving                                           Estimated Length                           Substitute Care
 Projected                                      Permanency                                                of   Stay   in


 1/27/2000                                                                      3   months

 If   there   is   a   discrepancy       between the estimated length of stay                 in   substitute    care and the projected date

 of   permanency           explain
 none



 D.           Concurrent       /   Alternative    Goal for Permanency




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                                                                   CHILDS SERVICE PLAN
                                                                                 Review


 PROGRESS                IN    ADDRESSING           NEEDS           PROVIDING SERVICES SINCE LAST PLAN


 Caregiver observations                       about childs personality            behavior          special interests               and       talents



 Basic       needs
                                                                                     routine medical and dental
 All          placement have basic needs. They require food shelter and clothing
       children     in


 care safe stimulating and nurturing home environments
                                                          and friendships  and recreational activities appropriate

 to their     FPS
              ages.expects each childs caregiver to meet the childs  basic needs without specifically identifying

 those needs          in      the   case plan.


 Specific       needs
 Social      and Emotional Needs
 Mark had made significant progress on his past service plans. Mark completed                                                    his   PAL Program.          Mark was

                              when he was arrested in July of 1999 for                                                                                                Mark
 preparing to age out of care
                                over a month. Upon          Mark release he refused to return                                     Mark                     on an
 was    detained         for                                                                                       to    care.           is    currently

 unauthorized            absence.




 Educational         Needs
 Mark    educational               needs have been suspended due to being in                    jail      and on runaway status. Mark had made
                                                             Mark completed                                PAL Program. Mark was preparing to age out
           progress on his past service plans.                                                      his
 significant
                                                                                                                                         Upon                      from
 of care when he was arrested in July of 1999                           for                                                                        his release             jail



 Mark refused            to    return to care.




 Developmental                Needs
 Mark                                been suspended due to being
                                      needs have                                                    in           and on run away status. Mark had made
         developmental                                                                                   jail


                                                   Mark completed                                          PAL Program.      Mark was preparing to age out
 significant progress on his past service plans.
                                                                                                    his

                                                                                                                                         Upon                      Mark
 of care  when  he was arrested  in July of 1999 for                                                                                               his release

 refused      to   return      to   care.




 Medical and Dental Needs
 Marks medical and                   dental    needs continue to be met despite Mark being                             in jail   however       have     recently

 suspended          due       to    Mark being on run away status.              Mark    was    arrested           in   July of   1999    for


                              Upon    his release    Mark refused        to   return   to   care.      Currently         Marks medical and              dental   needs are

 not being met.




 Special      Physical         Needs
 Due   Marks age more than likely his
        to                                                   physical     needs are being met despite Mark                          being      on run away status.

 Mark was arrested in July of 1999 for                                                                                     Upon Marks          release from jail he

 refused      to   return      to   care.




 Placement         Needs
 Type    of   Placement



 Appropriateness               and Safety of Placement
                                                                                       be appropriate.             Address any issues such as need
                                     placement chosen continues
                                                                                                                                                                     for
 Explain      why    the type of                                                  to


                   with siblings            which continue    to   be unmet.
 placement


 Mark    is   currently         on an       unauthorized    leave/run     away.




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 Objectives               of   placement
                                                placement are to protect the child from abuse and neglect and to provide
                                                                                                                           the                                                               with
 The     objectives              of   this
                                                                                                                                                                                     child


 care that meets the childs                          needs for permanency    safety and well being. Additional objectives are



 Visitation          Summary

 Culture        Heritage



 Permanency                    Needs

 Progress            /Efforts          Made Toward Permanency
 Describe            1     the progress      made towards achieving                                  the   permanency              planning   goal   during the        last   plan     period       2
 the actions              to    be taken              with the     childs family            to   achieve        the   goal     3   obstacles   and actions        to    be taken        to


 overcome             them            4     attempts          to   locate       absent parents              identify      possible relative      placements            or     find   possible

 guardian.



                                            has        been       made by Mark
                                                            the permanency plan until recently.
                                                                                            is  Mark had
 Significant              progress                                                               achieving

 completed                the    CPS PAL           hoped that Mark would age out of care and attend a vocational
                                                           Program.       It   had been

 school however this is currently not a possibility. Mark was arrested for

 and detained at the Johnson County Law Enforcement Center. Upon his release Mark refused to return to care.
 Mark is          on an unauthorized absence/run away. Mark reuniting with his mother is not a possibility on
                currently
 09-23-97            TDPRS was                       awarded       PMC         of Mark.          Ms. Soliz had been                sober for nearly a year         after      being     admitted

         a                                                         and                           a                    house.   Subsequently      Ms. Soliz    a drug test and
                                                                                                                                                                   failed
 into         drug rehabilitation                      facility            residing         at       half-way

 was     arrested.              Ms. Soliz was released from                          jail    last    month and contact               between Mark and his mother is unknown.




 ASFA         requirement                  if   applicable



 Summary
 Extent        of    Compliance                  if    a   review


 Appropriateness                      of   Services
                                       which services planned                                                                       to the child                  meet the childs needs.
 Describe            extent       to                                                 for     or previously            provided                       actually



 The     services              documented                  in this   plan are appropriate                  to   meet Marks           needs due       to   Mark being on run away

 status.        It   is    unknown              if    Marks       basic    needs are met               daily.




 Continuing               Nessessity                 for   Placement

 Explain        why        the    child         continues          to require       placement.


 Mark continues                  to    require             placement           because on 09-23-97                    TDPRS        was appointed          PMC. Ms.      Soliz        had been       in



 jail   some time due to violating her probation and drug use. Ms. Soliz continues to live an unstable lifestyle.
        for

 Mr. Saenz does not want any involvement with Mark except for paying child support.       Mark also continues to

 display criminal and anti social
                                  behaviors and  still requires some individual and group counseling to address

 those behaviors.                      Mark            also   needs to complete                  a   GED        program.




 Emergency Conditions


                 FPS has determined                           that   one of the following emergency                            conditions      continues     to   exist     for this     case and

                 therefore services                         continue       to    be necessary




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               1.   A   child   isat risk of abuse or neglect as determined by FPS
              2.    A   child   has been removed from his/her home and placed in FPS care                           or

              3.    A   child   formerly   in   FPS   care   is   at-risk   of being returned   to   FPS   care.




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                                                                                   CHILDS SERVICE PLAN
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 PLANS

 Plans to Address Permanency


 Services         to      Meet Childs Needs


 Need      ISocial       and      Emotional         Needs

  ask                                                                                                                        PSFC/Caregiver                 Service


 Mark     Soliz   will    learn to accept            the    logical    consequences        of anti-social/criminal           Mark       will   need   to   understanding           of the relationship

 behavior                                                                                                                    between           his/her     behavior   and        the   consequences        which

                                                                                                                              ollow.




  ime Frame                                                                                                                     ime Frame

  7-99 to Unspecified                                                                                                        107-99      to    Unspecified


 Method      of    Evaluation

  ttem     ted    visits    and        discussion      with    Mark



 Need      Educational             Needs

  ask                                                                                                                        PSFC/Caregiver                 Service

                                                                                                                             Other-Discussion               with   Mark                  him   understand       the
 Other-    Mark     will    need        to    understand      the     consequences       of not completing     his                                                          to   hellp

  ducation        or a    GED          Program                                                                               consequences             for     not completin        his   education




 Time Frame                                                                                                                     me      Frame

                                                                                                                              10-99      to    unspecified
 10-99 to unspecified

 Method      of    Evaluation

 Attempted        visit    with        Mark



 Provision         of     Safe and              Proper Care             in   Placement


 Plans for Future Visitation


 Plans for Preserving Childs Cultural Heritage


 Supervision
 Mark currently                   is   on an unauthorized                    absence.         The    supervision        being      provided           to    Mark      is   unknown.             Upon       his

 release      from         jail
                                       for   unauthorized              use of a motor vehicle Mark                    refused      to   return to care.




 Behavior          Management                       Discipline
                                                                                                                      and developmental                                    Methods of discipline
 The    childs discipline                      must        suit    the childs       age circumstances                                                       needs.

                                                                                     reasonable                      modeling appropriate                     behavior           offering       choices
 may include               establishing                routines setting                                 limits

 giving explanations.                         repeating            instructions taking            time-out           enforcing or permitting                    logical      or natural

                                   and reinforcing desired behavior.                                          punishment                 not permitted.               Additional          strategies        for
 consequences                                                                                    Physical                          is


 managing           the        childs          behavior            are specified      below.

 Marks                 and consequences                                      have   been eliminated due                to   Mark    being           on an unauthorized                    absence. Upon
             discipline
 Marks       release from jail for an                                                                                        Mark       refused          to   return to care.




 Support          Services              to    the   Caregivers
                                                                    be provided                                              them meet the childs needs and                                     to   ensure
 Identify the                                services                                 to                         to   help
                          support                             to                            the caregiver
                                                                                                                                               of   worker                         the    child      and   to    the
 that the child receives                        safe       and proper care. Include                  the   planned frequency                                       visits    to




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  caregivers      home.

  Identify the     support services           to    be provided          to   the caregiver        to   help        them meet the childs needs. Include                        the

  planned frequency            of   worker    visits     to   the   child     and   to    the foster     home         or group-care       facility.




  Mark   is   currently      on an unauthorized               absence.         Mark       is   more than        likely   living   from   relative     to   relative      and/or      with

 friends.       Monthly attempts         to   known       relatives           home   will      be made         in   an attempt to bring Mark               back   into    care.      A
 run    away/escapee           report   has been made               to   Fort   Worth Police Department.




 Travel

 The      may travel to participate in normal activities examples church school events. Any trips that last more
        child

 than72 hours must be approved in advance     by the childs worker. Trips outside the state must be approved in
 advance by the childs worker and by the court. Additional stipulations regarding the childs travel are specified
 below.

 Marks        Travel   privileges      have been suspended due                       to    being   in   jail   and being on an authorized absence.                             Mark

 was    arrested       in   July of   1999    for                                                                     Upon Marks         release      he refused          to   return

 to   care.




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 INVITED         PARTIES AND PARTICIPATION                                INFORMATION


                                                                                                TYPE OF                    DATE COPY                    DATE OF
         NAME                  RELATIONSHIP        TO                DATE OF
                                                                                            NOTIFICATION                     GIVEN                 PARTICIPATION
                                     CASE                        NOTIFICATION
                                                                                                                                               10/20/1999
 OnyebuchiWill         N    PRS     Staff                    10/20/1999                Verbal                         10/20/1999

                                                                                                                      10/20/1999               10/20/1999
 FloresLaura       A        PRS     Staff                    10/20/1999                Verbal

                                                                                                                      10/20/1999               10/20/1999
 RutherfordEula             PRS     Staff                    10/20/1999                Verbal

 E



 EXPLANATION                   IF   NO PARTICIPATION                 BY CHILD        MOTHER          FATHER OR CAREGIVER


 On 09-23-97 TDPRS was granted PMC. Ms. Soliz has had no involvement with Mark or                                                         myself   due to being         in


       Mr. Saenz has made clear that he does not wish to be involved in any way except
                                              it
                                                                                                                                          to   pay child support        for
 jail.


 Mark.    Mark       is     currently       on an unauthorized            absence.




                                                                            Date     Signature-Child     Optional                                                  Date
 Signature-Worker




                                                                            Date     Signature-Level     One    Child-Placing     Staff                            Date
 Signature-Supervisor
                                                                                     Required    for initial   placement   only




                              Director                                      Date
 Signature-Program
 required     for initial    placement      only



                                                 the plan shared with the caregiver                                               unless   this    information    has
 Attach   copy of the following updated items to
          a

 already been provided or obtained by the caregiver



          medical log
          education log

          medical/developmental   history and

          the record of immunizations




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                                                                                          Common                      Application                     for         Placement              of     Children               in


                                                                                                                                       Residential                        Care




                                                                                                                          LEVEL              OF CARE ASSESSMENT
                                                                                                                                      A.        Screening             Profile



                                                                                                                                                                  Date    of                                             Age                               Social Security          Number
                      Name                                                                                                                                                     Birth
  Childs
                                                                                                                                                                  1/27/1982                                               15
  Mark            A        Soliz



                                                                                                                                                                                Place of                                         country                     Childs      Agency          ID   Number
  Sex                                                               Ethnicity                                                  Primary           Language                                      Birth      city       state

                                                                                                                                                                                                                                                             20338197
  Male                                                              Hispanic



                                                                                       Preference                                                         Childs Current                Location         or    Placement
  Height                                 Weight                     Religious

   0   ft    0        in                 0                                                                                                                See       current       placement               log


  Country              of Citizenship



  1.     Briefly            describe your impressions                                of the        child         including           present           problems

                                                                                                                                                              however          Mark          also     very attention             seeking.             Mark       craves     attention         positive
             Mark            is   very personable                   and    capable         of getting        along well with other                                                      is


                                                                                                                                                                  Mark can       be                                school      and    at    bed       time.        Mark    at times       can      be
             or       negative            and      if   acting      out negatively            gets a attention                 he     will      act   out.                              disruptive           in


                                                                                       Mark                              and                                                   Mark has begun                to    make measurable                      improvement            with his
             defiant              and     physically        aggressive.                         is   impulsive                      test     limits.          Recently

                                                                                                                                                      his actions              and                  remorse.          Mark had begun                    to      differentiate      his    criminal
             anti-social             behaviors.             Mark has begun                    to accept           accountability                for                                  display

                                                                                                                                                                               Mark                       has                                         on           own     merits    and      not
             activities             and       his anti-social              behaviors          as     abnormal           in    a therapeutic               setting.                      at times                   difficulty     standing                   his


                                                                                has begun                                                                         Mark had       gained the           trust       of his foster       parents           and been           allowed       more
                                             peers however                                       to develop              leadership             skills.
             following              his

             liberties.                  Mark    also needs                to    address        his familys             lack    of involvement                     and    nurturing       in   a therapeutic            setting       as        well.




            Briefly          describe             the    childs strengths


                                                                                                                                                                                                                   and was                                                           Mark
                                                                                                                                     He has demonstrated                                     social                                                   leadership         skills.                enjoys
             Mark           displays          a mild      mannered               and      sensitive         demeanor.                                                           good                     skills                   learning

                                                                                                                                                                                               he                           to   keep                 a superficial         level.       Mark      is   able
             participating                   in   recreational         activities         and    will   participate             in   therapeutic                  session      although               will   attempt                       it    at


                                  attachments             to adults         and                      Mark had begun                   to   mature             and become             more      responsible.             Mark had earned                      the   trust    of his foster
             to       form                                                           peers.

             parents.



         Special             Needs Problems and Behaviors
                                                     No                                                                                                                        Yes                        No                                     Number runaways
             Is       child   considered  Yes                                                                    Is    child   considered                 a
                                                                                                                                                                                                                                                 from home                                0
             a                      to    self                                                                   danger        to    others
                  danger
                                                                                                                                                                  fires                                                                                 Yes                         No
             Number                runaways             from                                                     Any     history       of setting


             placement                                                                    6

             Special              Program            Needs
                                                                                                                                                       Yes                                   Other                       Yes                          SpecifyGED              if
                                                                                                                                                                                                                                                                                   possible
             Maternity                             Yes                               Preparation            for       Adult    Living
                                                                                                                                                                                                                                                      Drivers Education




  3.     Juvenile Justice                         History
                                                                                                                                                                                                                                            Yes            No       Unknown
            Does           the child         have       a history          of involvement             with the juvenile                justice         system
                                                                                                                                                                                     Number                                       0                           Current      Offense
             If                   Number           of referrals                 10                    Number            of                                    3                                     of

                                                                                                                                                                                                                                                              Unauthorized              use   of    motor
             Yes                  to juvenile                                                         adjudications                                                               adjudications

                                                                                                                                     acts                                         for   CINS offenses                                                         vehicle      and evading             arrest
                                  authorities                                                         for   delinquent



  4.     Placement                  History

            Has        the child          been          placed      away        from      home before                   Do     not include            stopover

                                        such                                    shelters detention                     TYC      Reception              Center
            placements                             as    emergency
                                                                                                                                                                                                                                             Yes           No      Unknown
            informal              placements             with relatives              or   returns           to   home
                                                                                                                                                                                     See                              LOC        of current/most                 recent
             If
                  yes             Number          of previous                             See      current               Number            of    failed                                        current

                                                                                                                                                                                                                      out-of-home                                                   4
                                                                                                                                             placements                              placement                                                  placement
                                                                                          placement                      adoption

             out-of-home                                                                                                                                                             log
                                             placements                                   log

             Date           of discharge                from    most                      Reason        for       Discharge
             recent out-of-home                                                           Charged           with       Unauthorized               use         of    motor
                                                         placement
             See current placement                                  log                   vehicle       arrested              and     detained.




  5.     Substance                   Abuse           History
                                                                                                                                                                                                                                                Yes          No      Unknown
            Does           the child          have      a history          of   substance            abuse
             If   yes         indicate            degree       of   substance             abuse
                                                                                                                                                                     Inhalants
Alcohol
                                                                                                                                                                     Unknown                        None                       Mild                     Moderate                         Severe
Unknown                              None                           Mild                   Moderate                             Severe

Cocaine/Crack                                                                                                                                                        Marijuana

                                                                                                                                                                      Unknown                         None                       Mild                      Moderate                       Severe
 inknown                             None                           Mild                  Moderate                              Severe

   ier      Drugs Specify
                                                                                                                                                                                                                                 Mild                        Moderate                         Severe



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Is   specialized   program required
                                      Yes     No            Unknown                                                  If
                                                                                                                          yes   specify Therapuetic   Group
                                                                                Foster   Home




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                                                                                                                     Residential Care




     6.     History          of    Abuse               and    Neglect          SEE SECTION 6
                                                                                                                                                                                                    Yes        X     No          Unknown
      Does    the       child          have        a history        of   abuse      or   neglect
                                                                                                                                                     Sexual
Ifyes        indicate         de               reePh     sical


                                                                                          Moderate                         Severe                    Unknown                    None             Mild                Moderate                  Severe
Unknown                                None                         Mild

Emotional                                                                                                                                            Neglect

                                                                                                                                                     Unknown                    None              Mild                Moderate                  Severe
Unknown                                    None                    Mild                   Moderate                        Severe


                                                                                                                                                                                             Yes                    No               Unknown
     Abandonment


7.-8.       Family/Parental                        Involvement

     Legal     Status             PMC/            Rts Not      Term           as    of 11/28/1995

     Will    family/others                      participate        in    treatment       or                   Can    child return         home
                                                                                                                                                           No-Not                           For Visits        Only                       Unkown
     cooperate           with          others                                Yes                 No          Yes-Permanently                                        At    All




9.    Education
                                                                                                           School                Educational      Needs
      Highest          Grade Completed                                  Currently        Enrolled     in


                                                                                                                                              Classes               Vocational                   Resource                        Special   Education
      10th Grade                                                        Yes                      No                              Regular

                  of                                                                                                             On Campus                          Other        specify
      History           Truancy
                         Yes                                  No                              Unknown

                                                                        Performance                                              Date    of   Most Recent      IQ Test                      Name        of Test
      IQ   Scores            Full                  Verbal

      Scale
                                                                                                                                                                                       WISC-III
      83                                           78                   93                                 Unknown               07-28-98




10.                          Health/Disabilities
          Physical
                                                                                                                                                                                                              Yes     No     Unknown
            Does        the       child          have    a   diagnosed             or suspected        health      condition         or disability

                                   describe             the condition              and   treatment         required            any
                        yes
                                                                                                                          if
                  If




                                                                                                                                                                                                    Requires         Specialized         Treatment
              Condition                                                                                       Severity

                                                                                                                            Moderate                      Severe    Unknown                             Yes          No              Unknown
                                               Acute                    Chronic          Unknown               Mild

                                                                                                                                                                   List   Allergies
              List      Current                 Medications




11.       Mental        Health
                                                                                                                                                                                                              Yes            No      Unknown
           Does        the   child              have    mental health              needs      requiring      treatment


                                                                                                                   evaluation                                                                           07-28-98
                       Date        of          most     recent      psychological             or psychiatric



                                                                                                                                                                     D/O       NOS
                       DSM         I   I   I

                                                Diagnosis          Anger      control     and    oppositional         defiant        behaviors.      Depressive



                                                                                                                                                                                                         Re    uires Specialized           Treatment
      Condition                                                                                     Severit

      Acute                        Chronic                              Unknown                     Mild                   Moderate                  Severe        L_      I
                                                                                                                                                                                Unknown                 Yes                 No               Unknown

      Ps    chotro           is   medications                 prescribed                                      If   ves.        specify

      Yes                         No                     Unknown

                                                                                                                      Agency          Contact     Person                                                Telephone          No.    Inc.   A/C
      Referring         Agency/Organization

      PRS                                                                                                             Laura          A   Flores                                                          817       590-9508        255


      Agency           Address
      951    W    PIPELINE                       ROAD         SUITE 310             HURST TX                76053-4849
                                                                                                                                                                                                         Date Completed
      Name       of     Person Completing                           Form                                              Title

                                                                                                                                                                                                         3/6/1997
      Laura      A     Flores                                                                                         Child       Protective      Services     Specialist        I




      Where       Placed--Facility                       Name and             Location

      See    current              placement                  log




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                                                                     Chi.        s    Name             Mark A         Soliz                                L3   1/27/1982




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                                                                                                            Residential           Care




A.        Recommended               level    of care


     List    the    key elements            in   order   of   importance        that led     you    to the   recommended           Level   of   Care

     1.     Most important


     Involved        in   criminal    activities        placing   himself      and    others   at   risk.




     2.     Next    most important



     Anti-social          behaviors-        shows no remorse             for   his actions.




     3.     Third    most important


                                       behaviors         towards     other.
     Physical       aggressive




     Other considerations                   or    comments          if   any




                                                                                                                                                                         4

B.        Billing   Level     of    Care


     If   the   billing     level    of care       is   different   from       the   recommended              level   of   care    explain




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 C.   Referral/Admissions                     Packet


                                                                                                                       CONTENTS
SECTION 1--Social and Developmental Assessment                                                     SECTION            5--Substance                 Abuse        History                   SECTION        9--Education

SECTION 2--Special Needs Problems and Behaviors                                                    SECTION            6--History             of   Abuse/Neglect                           SECTION        10--Physical         Health/Disabilities

SECTION 3--Juvenile Justice History                                                                SECTION            7--Family History                                                   SECTION        11--Mental          Health

SECTION 4--Placement History                                                                       SECTION            8--Financial                Information                             SECTION        12--Other        Attachments




SECTION             1--Social       and Developmental Assessment
Describe       the childs          general         social    and developmental              history.       Feel free         to    expand          the    description       of your impressions          of the     child.    Be   sure to include     all


of the following



A.    A    description        of the         circumstances             that led to        the   childs         referral.



      Mark     ran    away        from his       placement       Buckners           Baptist       Childrens          Home           broke          into    a   business and       led police on        an 85       mph   chase.       After    being

      released        from        Dallas     County         Juvenile   Detention          Center Mark was               placed          in   a shelter         The   City   House      Shelter      There he         assaulted        staff.




B.    The immediate and                     long-range goals            of   placement.


      Immediate         goals       are      academics counseling                  and    drug treatment.

       Long-range          goals        -   Mark    requires    a provider         that   can     adequately          address           his       aggressive      anti-social      behaviors      and    provide      stability    and    structure.




C.    A description          of the          childs     relationship         with       other     significant          adults           and       children.



      Mark     is   able to form            attachments         with adults        and    children.        He    tends to          be   a follower.            Mark has      difficulty     standing    on   his   own    merits      and   not following

      his peers.       Mark        craves        attention      Mark makes           verbal       threats       to   staff   and        peers       and has been          physically        aggressive       on    several    occasion.




      A   description        of the          childs behavior             including         both        appropriate           and        inappropriate             behavior


      Nark has        difficulty        taking     responsibility      for   his   actions.       He     usually       displays          a mild      mannered          sensitive     individual.       Mark can       become        inexplicably

      angry.        Mark   will    discuss         with peers      his families lack of involvement.                          Mark has             taken       a leadership     role   in   Boy   Scout.      Mark       craves    attention     positive

      or   negative and            if   acting     out negatively       gets attention            he    will   act   out.




E.    The childs developmental                         history     and    current         level    of functioning.



      Mark appears           to    be age        appropriate      in   functioning         and development                   but   is   needy        for   attention      and   structure.




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                                   Name   Mark A Soliz                                                                                                                  S  L1/27/1982



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SECTION          2--Special          Needs Problems and Behaviors
Describe        in   detail    the special         needs problems                or behaviors         identified      in   Section     2 of the Screening              Profile.




A.   Suicide         history.        Describe         in   detail suicide          attempts and             suicidal         gestures.       Include    the      number          of suicide    attempts      and    the date         of the    last

     known       suicide       attempt.



      Mark      displays       suicidal      gestures           frequently      which   will   take the form of choking                 himself.      Mark       may use         suicidal   threats   and   gestures     to   control people.




B.   History of assaultive                   behavior.



     Mark has an           extensive         history       of assaultive         behavior       the   more      recent being           threatening     staff at     The     City    House     Shelter   with a knife     and       two physical

     confrontation            with   peers while           in   Dallas    County      Juvenile        Detention       Center.




C.   Runaway           history.



     Mark       has runaway          from his        placement           at   Buckners         on three     occasions          including      the    most   recent       runaway on         01-03-1997.      Mark has         in   the past

     runaway on           foot to    visit    his    girlfriend.        Mark    returned       on   his   own   two        hours   later   weary     from the      travel.       The most     recent    runaway     involved        stealing   a

     facility    owned        vehicle     and       driving      it   through   the   grounds       gate.    He    then       broke    into a business           and    stole a     cell   phone and    pager.     In   an   attempt    to


     evade       police       he went on       a    85     mph speed and when                  the car    blew    a   tire    he   continued    to    run   on   foot    until    accosted.




D.   Other      significant          needs problems and behaviors including                                      setting       fires       maternity       etc..




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                                                                                                                                                                                      in




                                                                                                                      for
                                                                                  Common Application                         Placement                 Children

                                                                                                             Residential            Care




O.
                            -




                       3
       SECTION                    Juvenile Justice              History

                                                                       REFERRALS                                                                                                                                       DISPOSITIONS




                                                                       one
                                                                only         referral         date




                                                                                        per
                                                         list




                                                                                                                                                                                                                                              I
               Date                                         Offense                            Level          Penal     Code               Type                                         Date                                  Offense            Level                 Penal   Code




                                                                                                                                                                                                                                                           if
                                                                                                                                                                                                                                              list              different          referral




                                                                                                                                                                                                                                                     onl
                                                                                                                                                                                                                                                                            from




CD
            11-25-92                                                                                                                                                                  11-25-92




                                                                                                                                            AP
                                                                                                                                                                                                                                                     AP
            01-03-97                                                                                                                                                                                                   Outcome      Pending




            01-19-97                                                                                                                                                                                                   Outcome      Pending




                                                                                                       OF
                                                                                                                                                  OF
                                                                                              LEVEL         OFFENSE         CODES TYPE                  DISPOSITION                        CODES




                                  of
       Total       Number              Referrals




                                                                                                                                                                     and




                                                         i




                            one
                                                                                                                                       CRCounseled                                    Released      RDRefused/Dismissed




                                                                   3
                    only                     date                                               FLFelony




                                       per
CCount




                                                                                                                                                                                                                              TYC




                                                                                                                                                                                                                         to
                                                                                                MIMisdemeanor                          IAInformal         Adjustment                                AT-Adjudicated




                                                                                                                                                                           to
                                                                                                                                                                                      Probation                        Adult




                                                                                                                                                                                                                  as
                                                                                                                                                                                                    CACertified




                                  of
           Total   Number              Adjudications/                                           FCFamily Code                          APAdjudicated




                                                                                                                                                               TYC
                                                                                                                                       PTProven




                                                    or
                                                                                                                                                                                      Hearing




                                                                                                                                                          by
           Certifications




-0
                                                           CA
                                  APATPT




                                                         i




                            one
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           Count    only                     date




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                                                         of delinquency.             Include    a description          of contributing          factors       and any          patterns      of delinquency            you        detect.    Indicate
Briefly describe             the childs history

whether         the    child    is   a follower     or a leader.



                                                                                                                  and                                Marks                           behavior                       surfaces        after   Mark has had
Mark      tends       to   be   a follower       and   principally       steals     damages         property               is   threatening.                      delinquent                        usually

                                                                      Mark appears             be                                     and                               passes       with
some                                         home                                        to         assaultive                               physically      after                          family.
          contact          with family                 visits.                                                      verbally




Describe        the childs           most    recent     criminal      episode        contributing     factors       the     childs actions           or   role    in   the    episode       and how          this   episode        fits   into   the childs


history    of delinquency.



                                                                                                                    return            placement        01-03-97               Mark    stole a                 car    and     drove through          the
Mark had         spent the            1996   Christmas        holidays       with    his family.     After   his                 to                                                               facility


                                                                                                                 and                                 evade                    he went on          speed chase              with police.          Mark
grounds         gate.       Mark      then stole       some   property        from    a local   business               in   an    attempt       to               police                       a

                                     children    and was      the     one               the   vehicle.    This delinquent                episode       is typical       of    Marks     history     of delinquent            behavior.
runaway         with other                                                   driving




Does      the    child      have gang        affiliation                                            Yes                    No                Unknown                     If   yes gang       name              Mark     claims several            gangs

Do any                     members or           relatives   have               affiliation          Yes                No                    Unknown                          yes gang       name              Variety       of   gang      affiliation
                                                                       gang
                                                                                                                                                                         If
            family



TYC COMMITMENT                                                        Yes     No
                                                                  Commitment                    Judges       Last      Name                                  Court      Name
County
                                                                  Date



Cause      No.                                                    Prosecuting         Attorneys      Name                                                                                          Probation          I.D.    No.




TYPE OF COMMITMENT                                                           Direct    Commitment                                       Revocation         of Probation

                                                                             describe     most                    offense                which on probation                                         Offense          Code
Probation            Failure                                     If   yes                           serious                       for

   Yes          No
Reason          for Failure



                                                                                                                                                                                                    Offense          Code
   -scription          of   Current Offense


                                                                                                                                                                                                    Determinate                           Time
Weapon          Used
                                                 Instrument                     Blunt    Object           Hands            Feet       etc.                                                          Sentence                              yrs./mos.
Firearm                              Cutting

Other                                        None                            Unknown                                                                                                                Yes
                                                                                                                                                                                                    No

OFFENSE                                                                                                      Misdemeanor                                               Other
                                          Felony
LEVEL                                             Capital     1          2      3                            A         B                C                                     Specify

                                                                         Date                   TYC Commitment                                               of   Offense                           Offense          Code
Gang      Related                                                                  of Prior                                             Description

Yes       No      Unknown
                                                         ATTACH-ALL                COURT ORDERS INVOLVING THE JUVENILE                                                 JUSTICE        SYSTEM




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                                     Mark     s   Name              A   Soliz                      L




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Section   4--Placement   History



PRINT OUT PLACEMENT         LOG AND ATTACH   HERE




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SECTION 5--Substance                   Abuse      History



A.   Describe     the childs history of substance                     use abuse manufacture                     possession             and/or delivery.



     Mark began                                 the                      Marks                 and     inhalants        use was            severe while       his use of marijuana             was    moderate.       Presently       Mark   is
                        using     drugs   at          age     of   12.              alcohol

     sniffing
                white    out     and   glue the       last   known       incident    being    in   September           of    1996.



                                                                  substance                                                                                                                                       and                 but also
B.   Describe     the childs family            history of                         use abuse manufacture                      possession            and/or delivery.          Include    not    only    parents          siblings

      extended-family            members        such         as   grandparents        aunts uncles even                 if   they     do    not   live in   the    same household         as the      child.




      Marks mother          is   an    admitted       drug user.         Marks      mother     has been          using drug           for   over    15 years.        Mother has        admitted       herself twice     in   a drug

      treatment     program and           failed      to   complete       either.     Mother       stayed       with    the    last   program        only    five    days


C.   Describe                                           has       received    for   substance       abuse and           the    success        or   failure    of    this   treatment.    Include      the   lengths     and   dates of
                  any   treatment        the    child


      treatment whether            the    program was              residential      or outpatient       whether         the child completed                 the    program whether            the family    was   included      in   the

      treatment     and   so     on


      Drug      education      was     received       through       residential      treatment       facility    at   Buckners.




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SECTION           6--History           of   Abuse            and Neglect
A.    Type       of   Abuse        and     Neglect



                       Allegation                                        Disposition




     Refuse Parental                 Resp                         Reason          to   Believe



 Neglectful            Supv.         CPS                          Reason          to   Believe




B.    What       did the     parent/perpetrator                 do       Summarize            the    role   of   each     parent/perpetrator.



     Mother      was     the designated                 perpetrator.          Mother     is   a   known          crack   and     heroin        addict.    Mark was        at his     initial   placement    for   6   months    before    mother
     visited     him.    Mother would make                      plans    to   visit    then    not    show       up.     Mother    will    say she wants Mark              but     has     not   worked   to reunite    the    family.    Mother
has no      home        or   stability      and         is   a severe    drug user.            When Mark was                living    with      family there     was no      adult supervision.            Mark was      allowed     to   fend   for


himself.



Marks       biological            father    has no           emotional    ties   to    Mark and cannot                 provide    a   home        for   him


C.    What happened                 to the    child           Summarize          the   extent of       harm        or    the substantial          risk   of   harm   to   the    child.




     Mark   is   very    angry        about        his families      lack      of involvement.              Marks        behavior      fluctuates        from    being mild        mannered        to threatening       and     assaultive   to


     others.      Mark       is   very     loyal   to    his   family to the point            that    he    is   delusional      about         them.     Mark    talks   about       returning     home    with his family.




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 SECTION          7--Family History



 Home Address            Street      City       State Country ZIP                                                                                                                     Telephone      No.   inc.   A/C
 5200 S     BUCKNER BLVD DALLAS                        TX 75227-2006                                                                                                                  214   319-3406

 Marital    Status   of    Birth   Parents

                 Never    Married                     Married              Separated              Widowed

 Marital Status      of Adoptive              Parents

                 Never    Married                     Married              Separated              Widowed
 Deaths     in   immediate       family        list   names      relationships      and     the referred    childs   age   at the   time of   each   death

See Attached MedicallDevelopmental                               History



 If   adopted     what does        the    child       know   about     his or her   birth   parents




Significant        Persons


Name                          Donna S            Soliz

Relationship                  Other
DOB                           10/1/1959

DOD

                                                                              _
Address                       1225        DENVER AVE                  FORT    WORTH         TX 76106-9009
In     Home                                                             Yes             No
Currently        Involved     with        the    child                  Yes             No


Name                          Mike        J   Ortega
Relationship                  Other

DOB
      D
                              1/5/1978




                                                                              _
      .ldres                  1704        WATER ST               FORT     WORTH        TX 76102-5761


                                                                              _
In    Home                                                              Yes             No

Currently        Involved     with       the     child                  Yes             No




Other Persons

Name                                                            Date   of Birth              Relationship                                                   Social   Security   No.




Address         Street    City     State Country             ZIP                                                     Telephone       No.   Inc.   A/C                               Currently Involved       with Child

                                                                                                                                                                                    Yes         No
Name                                                            Date   of Birth              Relationship                                                   Social   Security   No.



Address     Street        City     State Country             ZIP                                                     Telephone       No.   Inc.   A/C                               Currently   Involved     with Child
                                                                                                                                                                                I

                                                                                                                                                                                    Yes         No
Name                                                            Date   of Birth              Relationship                                                   Social   Security   No.



Address     Street        City     State Country             ZIP                                                     Telephone       No.   Inc.   A/C                               Currently Involved       with Child

                                                                                                                                                                                    Yes         No
Name                                                            Date   of Birth             Relationship




Give approximate age                 if       date    of birth   is    unknown.


Characteristics           of Individual           Family
      embers with     Whom          Child       has Lived                         NO            YES                                                  FAMILY          MEMBERS
      Violent    Toward     Family        Members                                                            None documented


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 2.    Suicide                                                                                           None documented
 3.    Substance      Abuse         Problems                                                             Mother-    Donna     Soliz     DOB         10-01-59

 4.    Criminal Behavior                                                                                 Brother-   Mike Ortega
 5.    Involving    a Child     in   Criminal Behavior                                                   None documented

 6.    Mental     Retardation         or Limited     Intellectual                                        None documented

        Ability

7.     Mental     Illness    or Disability                                                               None documented
8.     Physical    Illness     or    Disability                                                          None   documented

9.    Sexual      Deviance                                                                               None documented


Characteristics           of the Family                   Not   At     Somewhat/          Very Much                                                                 Not At       Somewhat/       Very Much
as a    Whole      with     Whom       Child   has       All   Like    Sometimes          or Often                                                                  All   Like   Sometimes        or Often

Lived                                                     Family       Like    Famil      Like   Famil                                                              Family       Like   Family   Like   Family

 1.   Chronic      Poverty
                                                                                                                                        or
                                                                                                                    7.     Difficult
                                                                                                                                             Unacceptable
                                                                                                                    to    Express       Emotions
2.    Chaotic      Home Environment
                                                                                                                    8.     Frequent      Family       Moves
                                                                                                                    or School          Moves
3.    Rigid    Inflexible


                                                                                                                    9.     Child   Moved        from      One
                                                                                                                    Parent

                                                                                                                    or Family          Member        to   Another
4.
      Smothering Individualization                 of

      Members is Discouraged                                                                                         10.    Concern          with

                                                                                                                    Psychosomatic
                                                                                                                    Complaints
5.    Enmeshed Few             Outside




                                                   T-7
      Involvements                                                                                                  11.     Social      Isolation

6.    Discipline    Skills    Lacking

                                                                                                                    12.     Illiteracy




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                                                                with              members and       significant         others both     in   and   out of the   home.    Address     both strengths           and
Briefly describe        the childs relationships                       family

weaknesses.


Mark does        not   have    a   lot   of contact     with    his family    members.           Mark   will    make phones and speak               with family      members   but   Mark      is   usually      the   one   that

                                                                                                 home             Mark had was                     Christmas    of 1996.   Marks      mother                     at the   house
initiates   the contacts.          Mark     is
                                                 very   loyal   to his family.      The   last           visit                          during                                                      stayed

for only    a   few    hours   and went          out.   When Mark        is   home he does        not get a       lot   of adult   supervision.




                                                                                                                                                                                                           the    Family
                                                                                     the positive       and                   aspects   of the childs     family environment         including       all
Briefly describe        the overall       family situation         highlighting                                 negative

Characteristics          checked         previously.



Marks       mother      is   an admitted drug             addict with         an unstable        lifestyle      and no permanent address. One of the reasons Mark got into trouble                                            with


the law     was due          to a lack     of supervision.             Mark     was fending       for himself.       Marks mother was admitted to a drug treatment program twice                                             but


did not     complete         either      program.


                                                                                   but        unable           provide a      home    for Mark.       He has no emotional            ties to    Mark.
Marks       biological         father     has steady employment                          is             to




Other   significant      information




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                                                                          Ch.               s    Name         Mark     A    Soliz                                  L      3      1/27/1982



                                                                          Common                    Application        for    Placement             of   Children        in


                                                                                                                  Residential          Care




 SECTION              8--Financial               Information
Attach                            A copy        of clients   Medicaid     card         if   any.

 Name            of Responsible             Male                                                            Disabled                                 Occupation

                                                                                                            Yes        No

Employer                                                                                                                                                        Salary

                                                                                                                                                                                           per

Employers Address


Other Income                     Source                                                Amount                                      Other   Income   Source                                               Amount

     1                                                                                                                             2




Name            of   Responsible            Female                                                         Disabled                                  Occupation

                                                                                                            Yes        No

Employer                                                                                                                                                        Salary

                                                                                                                                                                                           per

Employers Address


Other Income                     Source                                            Amount                                          Other Income     Source                                               Amount
 1                                                                                                                                 2



Is       the family eligible              for   Medicaid                                                                                                                           Yes         No         Unknown


Is       the    family currently           receiving      Medicaid                                                                                                                 Yes              No     Unknown


Funds           Applicable             to Child

VA - Amount                                               VA   No.                                          Received    By


Social          Security          --   Amount             Social     Security    No.                        Received    By


     HAMPUS            --    Amount                       CHAMPUS         I.D.    No.                       Received    By


AFDC/SPFC                   --   Amount                   County      Paid   FC   --        Amount          Child   Support   --   Amount           Paid   By                   County




Insurance            Applicable            to   Child

Insurance            Company              Name                                                  Policy   Holder                                                                 Policy   No.

 1




Insurance            Company              Name                                                  Policy   Holder                                                                 Policy   No.

2
Insurance            Company              Name                                                  Policy   Holder                                                                 Policy   No.

3
               of Insurance
Type
                     Basic         Medical                                                                             Basic Dental                               Orthodontic                              Mental Health
                                                                       Hospitalization



Other          Resources               Applicable    to   Child




                                                                                                                       Page 15




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                                                                 Ch.        s   Name                Mark A   Soliz                          1   3        1/27/1982




                                                                 Common             Application           for   Placement       of   Children   in


                                                                                                    Residential        Care




 SECTION 9--Education
 Attach                 A.     Current    IEP      Individualized      Education        Plan

                        B.     Most Recent         ARD Committee          report    if        any
                        C.     Transcript

                        D.     Adaptive      Behavior      Level    Information     if        any


IName of Most           Recent       School    Attended                                                    School    District



  See Attached          Educational           History      Log   Report

 Address    fill   in   city   and   state    at   least   and   street   address        if   known



                                                            needs or behaviors not otherwise documented.                         Add any   additional   information   you   feel   is   important.
 Describe any educational problems




 PRINT     OUT EDUCATIONAL                    HISTORY LOG AND ATTACH                            HERE




                                                                                                           Page   16




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                                               Chi._.   s   Name        Mark A     Soliz                         L     3
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                                               Common           Application      for    Placement   of   Children      in


                                                                          Residential        Care




SECTION   10--Physical Health/Disabilities
Attach          A.   Medical    Records

                      1   Physical   Examination

                      2   Immunization    Records
                B.   Dental    Records


Describe any   physical   health    problems   or disability   not   otherwise   documented.    Add any   additional   information   you   feel   is   important.




PRINT OUT MED/MENTAL             ASSESSMENT      LOG AND ATTACH HERE




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                                                       Common          Application     for   Placement         of Children     in


                                                                                  Residential     Care




SECTION     11--Mental       Health

Attach   as appropriate
                A.   Psychological         Reports
                B.   Psychiatric      Reports


Describe any mental       health      problems        not otherwise documented.        Add any    additional    information   you   feel   is   important.




SECTION     12--Other    Attachments
Attach          A.   Birth   Certificate    or Other    Birth   Verification

                B.   Legal     Records     if   any
                C.   Authorization      Forms




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                                  s Name  Mark A Soliz                                                             l




                                                         Common    Application       for   Placement    of   Children   in


                                                                               Residential       Care




ATTACHMENT               CHECKLIST


Childs      Name                                                                                                                           Date Completed

Mark    A   Soliz



                         DOCUMENT                           TTACHED         FORTH-        NOT                           NOT AVAILABLE   BECAUSE
                                                                            COMING     RELEVANT

Birth Verification

        Birth   Certificate




Legal    Records
       Commitment Order

       Other     Court   Orders

       Police     Records
       Divorce      Decree

       Custody       Order




Education
       Individual     Education       Plan   IEP
       Admission Review              Dismissal     ARD
       Report

       Transcript

    Adaptive         Behavior     Level




Physical        Health/Disabilities

       Physical      Examination

       Immunization          Record
       Dental     Record




Mental      Health

    Psychological            Reports

    Psychiatric          Reports




Other

    Medicaid         Approval/Application

    Medicaid         Card
    Social Security           Card




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                            Childs Name



                                                                FOSTER CARE ASSISTANCE                                 ELIGIBILITY

                                                                                    DETERMINATION




          Medicaid       No.       Childs      Worker                                        Mail   Code
                                   Sandra       Mcguire                                      8191




     Eligibility         Determination          -    based on


                          Foster       Care Assistance               Application
                     -

                     x         Foster    Care Assistance                Review



                          Special        Review
                     _

     Received            on     date                01/30/1997




     Eligibility         Status                     State-Paid




     Eligibility         Start   Date               1/1/1997

     Eligibility         Review        Date         1/1/1998

     Eligibility         End Date


     Medicaid            Eligibility     Group Regular



     Payment Computation                       for    LOC                                                        Notifications

                                                                                                     Have  you reported the childs health
                                                                                                     Insurance on Form 1039
     Daily Rate                 82.64                  x        $   2479.20
     30                                                                                                    Yes                    X     N/A


                                                                                                     Have        you   notified   the childs   worker of   this


     Less Childs Monthly Income                                 $   0                                eligibility   determination

                                                                                                      x     Yes              No       N/A



                MONTHLY PAYMENT                                 $ 2479.20.




                                                                                              the type of foster-care assistance specified above.
    Comments-Explain why                            this   child        is   eligible for


     Child     is   15 years           old.    He does      not have any income. Child was removed from mother who had 0 income.
     Parents did not              live    together.         Court orders receive with proper language. Child removed from Buckners

     after 21        month stay           at   Juv.     Child continues            to   be    eligible     for   TP    10.




                                                                                                                                   01/30/1997



                                               Signature-Eligibility             Worker                                                        Date




     cc




                                                                                              532
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                                                              Childs           Name          Mark    A   Soliz                           DOB         1/27/1982



                                                          FOSTER CARE ASSISTANCE                                  ELIGIBILITY

                                                                                   DETERMINATION




      Chart2.
      Worksheet           Optional


      1.
                   Recognizable          Needs See Income Assistance
                  Total     Gross Earned Income of Certified Group
      3.          Total   W RE       Standard Deduction                                                  -



      4.          Adjusted Earned Income Line 2 minus Line                                   3
      5.a          $30 Disregard
           b       Subtotal    Line 4 minus Line 5.a
           c       1/3   of Line   5.b

           d.      Subtotal    Line 5.b minus Line 5.c
     6.           Total Child/Incap.            Care Costs

      7.          Subtotal    Line 5.d minus Line 6.                                                     _

     8.           Total   Unearned Income

     9.           Adjusted Gross Income Line                    7.   plus Line          8.
      10.          Unmet Need Line               1   minus Line       9
      11.          GRANT AMOUNT Round                         Down        to   $                                        _



     Applied        Income of Stepparent                  Complete only            if   a noncertified           stepparent   with   income   lives in   the

     home.

     1.           Stepparents         Gross Earnings

     2.           Standard Work-Related                Expenses            Deduction

     3.           Net Earned Income Line                  1   minus Line 2

     4.           Other Income of Stepparent

     5.           Total   Adjusted Income Line                 3 plus Line         4
     6.           Payments      to   De    p.   Outside       Home                                                       -



     7.           Alimony and Child support Payments
     8.           Remaining        Income        Subtotal
     9.           100% Needs          of   Stepparent and Noncert Dep.
     10.           Remaining Needs/Applied                    Income Line 8 minus Line                       9




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                                                                       FOSTER CARE ASSISTANCE                           ELIGIBILITY

                                                                                         DETERMINATION




       Medicaid        No.       Childs     Worker                                             Mail    Code
         508092037               Laura      A   Flores                                         0122




     Eligibility       Determination            -    based on


                         Foster      Care Assistance
                   -                                                    Application



                   x     Foster      Care Assistance                    Review


                         Special      Review
                   -

     Received          on    date                   01-28-98_




     Eligibility       Status                       State-Paid



     Eligibility       Start    Date                1/28/1998

     Eligibility       Review        Date           1/28/1999

     Eligibility       End Date


     Medicaid          Eligibility    Group Regular



     Payment Computation                    for      LOC                  05                          Notifications

                                                                                                        Have you        reported    the childs           health
                                                                                                -


     Daily Rate          99.68                  x   30             $    2990.40                         Insurance on Form            1039
                                                                                                              Yes                   X    N/A

                                                                                                -
                                                                                                        Have you        notified   the    childs        worker of   this

     Less Childs Monthly Income                                    $    0.00                            eligibility    determination

                                                                                                         X Yes               No      N/A



               MONTHLY PAYMENT                                     $    2990.40




   Comments-Explain why                             this child           is   eligible for      the type of foster-care               assistance specified above.


    TMC      continues.          Contrary           to   review formplacement on CAPs                             is   correct    and accepts            Loc   05.Child    has no
    income or           child   support.            Bc   is   in   case.       SS   is   on   file.    Domicile did not exist            at   initial   certification   for   an 08
    child.         TP10-A




                                            Signature-Eligibility                 Worker                                                                Date




    cc




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                                                           Childs      Name             Mark   A   Soliz                 DOB

                                                      FOSTER CARE ASSISTANCE                               ELIGIBILITY

                                                                          DETERMINATION




     Chart2.
     Worksheet         Optional


     1.        Recognizable          Needs See Income Assistance




     -9.
               Total   Gross Earned Income of Certified Group

     3.        Total   WRE      Standard Deduction                                                 -



     4.        Adjusted Earned Income Line 2 minus Line                                 3
     5.a       $30 Disregard
          b    Subtotal    Line 4 minus Line 5.a
          c    1/3   of Line    5.b                                                                -



          d.   Subtotal    Line 5.b minus Line 5.c
     6.        Total Child/Incap.         Care Costs

                          Line 5.d minus Line 6.
     7.        Subtotal                                                                            _

     8.        Total   Unearned          Income

               Adjusted Gross Income Line                    7.   plus Line        8.
     10.       Unmet Need Line              1   minus Line        9
     11.       GRANT AMOUNT Round                          Down    to $                                          _



    Applied      Income of Stepparent              Complete            only   if   a noncertified stepparent with income    lives   in   the

     home.

     1.        Stepparents          Gross Earnings

    2.         Standard Work-Related              Expenses Deduction
     3.        Net Earned Income Line                 1    minus Line 2

    4.         Other Income of Stepparent

    5.         Total Adjusted         Income Line           3 plus Line       4
    6.         Payments        to   De p. Outside Home                                                           -




    7.         Alimony and Child support Payments
    8.         Remaining Income             Subtotal
    9.         100% Needs           of   Stepparent and Noncert Dep.
     10.       Remaining Needs/Applied                     Income Line 8 minus Line                    9




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                                                                 FOSTER CARE ASSISTANCE                          ELIGIBILITY

                                                                                   DETERMINATION




      Medicaid      No.            Childs    Worker                                      Mail   Code

                                   Laura    A   Flores                                   0122




     Eligibility       Determination             -    based on


                        Foster       Care Assistance               Application



                   x    Foster       Care Assistance               Review


                                      Review
                   _    Special



     Received on            date                     4/2/99_




     Eligibility       Status                        State-Paid



     Eligibility       Start      Date               1/28/1999

    Eligibility        Review        Date            1/28/2000

    Eligibility        End Date


    Medicaid           Eligibility    Group Regular




    Payment Computation                         for       LOC          03                                  Notifications

                                                                                                 Have you         reported the childs              health
                                                                                          -


             Rate          58.08                x 31             $ 1800.48                       Insurance        on Form 1039
    Daily

                                                                                                       Yes                    X    N/A

                                                                                                 Have     you     notified   the    childs        worker of   this
                                                                                          -

    Less Childs Monthly Income                                   $ 0.00                          eligibility     determination

                                                                                                  X Yes             No         N/A



               MONTHLY PAYMENT                                   $ 1800.48




   Comments-Explain                        why       this child     is    eligible for    the type of foster-care assistance specified above.


    TMC      continues.            Placement and                 LOC     correct   in   CAPs.Child has            no income other than               child   support   in   the

    amount         of   $120.00 sent                 to   AG. Child has no resources.               Bc   is in   case.   SS    is    on   file.     Domicile   for   TP08

    not   met      at   initial    cert.    therefore           TP10.




                                                                              Worker                                                              Date
                                                Signature-Eligibility




    cc




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                                                            Childs      Name            Mark A      Soliz




                                                       FOSTER CARE ASSISTANCE                               ELIGIBILITY

                                                                             DETERMINATION




     Worksheet        Optional


     1.       Budgetary     100%           Needs See Income Assistance Chart
     2.       Total   Gross Earned Income of Certified Group

     3.       Total   WRE      Standard Deduction                      $90
    4.       Adjusted     Earned Income Line 2 minus Line                               3
     5.      Total Child/Incap.            Care Costs

     6.       Subtotal   Line 4 minus Line                  5
     7.      Total    Unearned          Income

     8.      Adjusted     Gross Income Line 6 plus Line                          7
    9.       Unmet Need Line               1   minus Line          8

                                                 Budgetary Need then income
     If   Unmet Need      is     less   than                                                         is   low enough      for IV-E.



                                                                                                                                 income
    Applied Income             of                                                           noncertified                  with            lives   in
                                    Stepparent              Complete only          if   a                   stepparent

    thehome.

     1.
              Stepparents           Gross Earnings
    2.       Standard Work-Related                    Expenses Deduction                    $90
    3.        Net Earned Income Line                   1    minus Line       2
    4.       Other Income of Stepparent

    5.       Total    Adjusted       Income Line             3 plus Line       4
    6.       Payments       to   De   p.   Outside         Home
    7.       Alimony and Child Support Payments
    8.       Remaining         Income          Line    5 minus Line 6 and Line                  7
    9.       Budgetary      100%           Needs       of    Stepparent and Noncert                 De p.

     10.      Remaining          Needs/Applied              Income Line          8 minus Line        9




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     SolizDonna            S


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                                                1
                                                     Childs          Name       Mark A     Soliz                         DOB    1/2711982


                                            MEDICAL AND DEVELOPMENTAL                                HISTORY




    CASE PLAN          -   PART TWO
    Complexion                                                                             Food/Medication      Allergies

                                                                                               No known      allergies


    Any     Disabilities


    None documented

    CHILDS MEDICAL HISTORY                  -   Obtain medical records                as needed.

                 ITEM                 YES                COMMENTS                              ITEM                       YES         COMMENTS

    Gestation     Problems                                                        Measles


    Prematurity                                                                  Mumps

    Congenital       Defects                                                      Rubella


    Birth   Injury                                                               Diphtheria


    Serious     Illness                                                          Tetanus


    Serious Accidents                                                            Pertussis

                                                    at   7   y/o   for

    Hospitalizations                                                             Polio
                                                    bacterial

                                                    infection


                                                                                                                                 at   6 y/o
    Surgeries                                                                    Chicken      Pox


    Seizures                                                                     Scarlet     Fever

                                                    frequent as a
    Eye/Ear Infections                                                           Rheumatic      Fever
                                                    toddler

                                                                                                                                 No known
    Respiratory      Infections                                                  Allergies
                                                                                                                                 allergies


    Urinary    Tract Infections                                                   Constipation/Diarrhea


    Vaginal    Tract                                                             Worms/Parasites
    Infections


    Venereal     Diseases                                                        -Digestive   Problems

    Headaches                                                                    Drug Use


    Menses/Dysmenorrhea                                                          AIDS/HIV


    Enuresis/Encopresis                                                          Fetal Alcohol       Syndrome


    Sexually Transmitted                                                         Other

    Disease




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     SolizDonna S


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                                                  I
                                                       Childs      Name       Mark      A   Soliz                      DOB    1/27/1982



                                               MEDICAL AND DEVELOPMENTAL                             HISTORY




    FAMILY HISTORY               -   Obtain records and death            certificates   as needed.


           DISEASE          or           BFA           BMO           PGF       PGM            MGF         MGM     AU         UC
          CONDITION
                                                                   Yes        Yes
    Diabetes

                                                                   Yes        Yes            Yes                 Yes
    Cardiovascular
                                                                                             high                high
    Disease
                                                                                             blood               blood

                                                                                             press               press

                                                                                             ure                 ure


    Renal Disease


    Cancer or Leukemia

                                                                                                                 Yes
    Tuberculosis



    Emotional/Mental
                                                                                             _
    Disorder


    Mental Retardation


   Genetic Abnormality



    Epilepsy/Convulsive                                                                      _
    Disorder

                                                      Yes
   Abuse/Neglect
                                                      drug

                                                      abuse
                                                                                                                 Yes
   Arthritis


                                                                                                                 Yes
   Age    at   Death


   Cause       of   Death




   HISTORY OF ILLNESSES                    PRIOR TO
   TDPRS CONSERVATORSHIP

      ILLNESSES             INJURIES      OPERATIONS                          YEAR                  DOCTOR                        RX
                                                                                                     If   used

   None Documented




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                                   MEDICAL AND           DEVELOPMENTAL HISTORY




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         SolizDonna        S


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                                                        Childs      Name           Mark A        Soliz                     DOB               1/27/1982          1




                                                  MEDICAL AND DEVELOPMENTAL                              HISTORY




     CHILDS BIRTH AND DEVELOPMENT
     Prenatal     Problems                                                                                          Term                         Birth   Weight
     None Documented                                                                                                                             8       pounds
                                                                                                                                                 15       ounces

     Birth   Defects   /   Birth      Injury                                                        Postnatal   Problems                        Age      of   First

                                                                                                                                                 Menstruation

    None Documented                                                                                 None Documented                              N/A

    Sat    Up                          Stood                         Walked                         First   Teeth   Words                        Short    Sentences
    7    months                        9 months                      11-12    months                6 months        11   months                 2 years old


    FEEDING HISTORY
    Breast                                                           Formula                                        Vitamins

    No                                                               Similac       with   Iron                      Poly    Vi-Sol

    Appetite                                                         Likes                                          Dislikes

    Good                                                                                                            Carrots Green Peas

    Feeding Problems
    None Documented

    HABITS
    Sleep                                                            Temper Tantrums                                Nervous Habits
    No problems documented                                           None Documented                                Dx ADHD        at    9 years old

    Bowels                                                           Bedwetting                                     Masturbation

    No problems documented                                           Until   the    age of 7 years old

    IMMUNIZATION               RECORD                                BIRTH CERTIFICATE                               TB TEST            If   needed
    In   Record                Date    Requested                      In   Record                   Date                   In   Record                   Date

                                                                                                    Requested                                            Requested
    Yes                        02-29-96                               Yes                           02-28-96

    TESTS
             TEST                        NOT             NORMAL              ABNORMAL                        TEST               NORMAL                 ABNORMAL
                                       TESTED
    PKU
    Urinalysis

    CBC
    Sickle Cell

    Hemoglobin
    Lead
                                                                             TB




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          SolizDonna S


                                       Case            17020998

                                                                      Childs            Name            Mark      A   Soliz                                    DOB             1/27/1982




                                                                               FOSTER CARE ASSISTANCE
                                                                                       REVIEW


                 Race                            Sex                                 Medicaid     No.            SSN

                 Hispanic                        M

                 If   no   SSN        date applied    for




                 Workers            Name                                                         Workers      BJN                 Mail    Code                    Telephone       No.          Extension


                 Sandra             Mcguire                                                      03154C02                        8191                             817     590-9508            251


                 Workers            Address    Street       City    State Zip

                 951       W   PIPELINE        ROAD    SUITE         310       HURST TX          76053-4849


          1.   Current         Placement
                                                                                                                          Number                           LOC   or Foster       are Daily   Rate
                 Name          of   Placement                                                                 Facility

                                                                                                              200184                                       4
                 City      House

                 Address                             State Zip                                                                                             Date Placed    in   Facility
                                    Street    City

                 902 E 16TH            ST PLANO             Texas 75074-5810                                                                               1/14/1997




                                       of Parental                             Address the conditions                    that    apply      now      to the    home from which            the child
          2.   Deprivation                                  Support        -



               was removed.
                                                                                                             benefits                    describe.
                                                       Is   either   parent         receiving   disability                 If   yes
                 PARENTS                               Yes            No
                                                                                                   unemployed                   the parents      are not   married has     the   mans     paternity   been
                 LIVING                                Is   the    primary wage-earner
                                                                                                                           If




                 TOGETHER                              AFDC-UP                                                             established

                                                        Yes              No                                                 Yes             No

                                                       Check       one
                 PARENTS NOT                            Never Married                           Separation                      Divorce
                 LIVING         TOGETHER                Desertion                               Incarceration                   Death


                 CHILDREMOVED                          Name        of Relative                                                                             Relationship    to Child


                 FROM A RELATIVE

                                                                                     Date   of Termination

                 PARENTAL              RIGHTS TERMINATED


          Comments




          3.   Childs Currently Effective                          Incomes and Resources


                           Income
                           Income      Type                  Amount                       Verfication        Method                      Source



                 0.00




                           Income        Not Listed Above
                           Income                             Amount                      Verification       Method                      Source
                                       Type




                           Resources                                                                542
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          SolizDonna                   S



                                           Case                  17020998

                                                                                 Childs           Name                      Mark       A   Soliz                                              DOB         1/27/1982



                                                                                       FOSTER CARE ASSISTANCE
                                                                                               REVIEW


                          Resource             Type                    Amount                          Verfication            Method                 Accessibili


                                                               0.00




                            Resources                  Not Listed Above
                        Resource           Type                        Amount                      Verification               Method                 Accessibilit




         4.   Resources                -   Does the child have more than $1000 equity                                                      in   property          and resources                     Yes        No


         5.   Alien Status                 -    If   the child         is   a U.S.     citizen skip                    this   item.

              Is   the childs                  temporary-residence                          status        still        in   effect         ................................................
                                                                                                                                                                                                          Yes       No

                       If
                            yes when does                      it
                                                                      expire

                                                                                                                                                         Effective           Date                   INS No.

                                                                                 If
                                                                                      yes complete                      the following


                     If     no has             the     child        been granted permanent                                  residency                                                                      Yes       No

         6.   Address            for       Form 3087 Medicaid                          I.D.     Card         -    if   form 3087           is   to   be sent          to    someone            other than the childs

              caregiver             specify             who
                  Name



              Medicaid           Card Address




         7.   Extended Education                           -     If   the child        is   under 17 skip                      this    item.

              Will     the child    finish
                                                     high school        or a                                                      Will the      child    finish     high             Planned    Date      of   Completion
              complete           a vocational           or technical                                                              school     before      turning       20
              trainin
                             program            before   tumin              19   Yes No                                     Yes    No


         Attach    a      copy   of the         most    recent        court   orders       to   this    review

         unless      the court      has          not   issued         any   orders    since      the     last     review.
                                                                                                                                   -

                                                                                                                                        Signature             -   Childs Worker                                     Date




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                                                               Name
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          SolizDonna S


                                     Case             17020998

                                                                     Childs         Name             Mark A        Soliz                                     DOB            1/27/1982




                                                                           FOSTER CARE ASSISTANCE
                                                                                   REVIEW


                                                Sex                                                            SSN
               rRace                                                             Medicaid     No.

                 White          Hispanic        M


                 If   no    SSN     date applied    for




                 Workers          Name                                                       Workers       BJN                Mail    Code                     Telephone      No.             Extension


                 Laura       A   Flores                                                      03163C03                         0122                             817     590-9508              255

                 Workers          Address     Street       City   State Zip
                 401       W.    SANFORD      STE 2040 ARLINGTON                        TX 76011-7087


          1.   Current          Placement
                                                                                                                       Number                           LOC   or Foster     Care            Rate
                 Name of Placement                                                                         Facility                                                                 Daily

                 Hams County Juvenile               Prob.                                                  0                                            5

                                                                                                                                                        Date Placed    in
                 Address          Street    City   State Zip                                                                                                                Facility


                 1401       WARREN         DR      MARSHALL           Texas 75672-5893                                                                  11/28/1997




          2.                         of Parental          Support      -   Address the conditions                     that apply        now      to   the   home from which            the child
               Deprivation
               was removed.
                                                     Is    either parent        receiving    disability
                                                                                                          benefits      If   yes     describe.

                 PARENTS                              Yes            No
                                                                                               unemployed                    the parents      are not   married has     the   mans     paternity   been
                 LIVING                               Is   the primary      wage-earner                                 If




                 TOGETHER                            AFDC-UP                                                            established

                                                      Yes              No                                                    Yes        No

                                                     Check one
                 PARENTS            NOT                Never Married                        Separation                       Divorce

                 LIVING          TOGETHER                                                   Incarceration                    Death
                                                      Desertion


                 CHILDREMOVED                        Name         of Relative                                                                           Relationship   to Child

                 FROM A RELATIVE

                                                                                 Date   of Termination

                 PARENTAL            RIGHTS TERMINATED


          Comments




          3.   Childs Currently Effective                         Incomes and Resources


                           Income
                           Income    Type                   Amount                   Verification         Method                     Source



                 0.00




                           Income         Not Listed Above
                           Income    Type                    Amount                   Verification        Method                     Source




                           Resources
                      Resource         Type                  Amount                   Verification        Method               Accessibility

                                                                                                544
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           SolizDonna S


                                          Case                     17020998

                                                                                   Childs           Name                     Mark     A    Soliz                                               DOB         1/27/1982



                                                                                         FOSTER CARE ASSISTANCE
                                                                                                                   REVIEW


                                                              0.00




                           Resources                Not Listed Above
                         Resource         Type                           Amount                      Verification              Method                   Accessibili




           4.   Resources             -   Does the child have more than $1000 equity                                                        in   property              and resources                Yes     No


           5.   Alien Status              -   If   the child             is   a U.S.     citizen          skip          this   item.

                Is   the childs               temporary-residence                             status       still        in   effect         ................................................
                                                                                                                                                                                                           Yes      No

                     If
                           yes when does                      it
                                                                        expire

                                                                                                                                                             Effective              Date             INS No.
                                                                                   If
                                                                                        yes complete                     the following


                     If
                           no has             the   child          been        granted            permanent residency                                                                                       Yes      No

          6.    Address         for       Form 3087 Medicaid                             I.D.     Card       -     if   form 3087           is   to     be sent             to    someone other than the childs

                caregiver          specify           who
                   Name



                Medicaid        Card Address




          7.    Extended           Education              -        If   the child        is   under 17 skip this item.
                Will the child        finish       high school            or a                                                      Will   the    child      finish      high                       Date   of   Completion
                complete        a vocational           or technical                                                              school       before         turning        20
                                                                                                                                                                                         JPlanned
                trainin
                            program           before    turning               19   Yes No                                     Yes    No

          Attach     a   copy   of the        most   recent             court orders         to   this   review

           unless    the   court    has        not issued               any   orders     since     the    last     review.

                                                                                                                                           Signature              -   Childs            Worker                     Date




                                                                                                                   545
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                                                      ase                           17020998

                                                                        Childs          Name           Mark A        Soliz                                  DOB            1/27/1982




                                                                              FOSTER CARE ASSISTANCE
                                                                                                 REVIEW


                 Race                           Sex                                 Medicaid     No.              SSN
                 White      Hispanic            M

                 If   no   SSN     date applied     for




                 817274-Workers
                 Workers          Name                                                          Workers      BJN                 Mail   Code                    Telephone      No.             Extension


                 Laura      A    Flores                                                         C0001254                        0122

                 Workers Address             Street        City    State Zip
                 401 W.         SANFORD       STE 204             ARLINGTON             TX 76011-7087


          1.   Current       Placement
                 Name       of   Placement                                                                   Facility   Number                          LOC    or Foster     Care    Daily   Rate

                 Contreras        Therapeutic       Fg     Home                                              200775                                     4

                                                                                                                                                        Date   Placed   in
                Address          Street     City   State Zip                                                                                                                 Facility


                 302       MISTLETOE        LN KEENE              Texas 76059-2018                                                                      9/17/1998




          2.                        of Parental            Support        -   Address the conditions                    that    apply    now     to   the   home from which             the child
               Deprivation
               was removed.
                                                     Is     either                                          benefits           yes   describe.
                                                                       parent      receiving   disability                 If




                 PARENTS                               Yes             No
                 LIVING                               If   the parents        are not      married has      the   mans    paternity      been established

                TOGETHER                               Yes             No


                                                     Check        one
                 PARENTS NOT                               Never Married                     Separation                        Divorce
                 LIVING         TOGETHER                                                       Incarceration                   Death
                                                           Desertion


                CHILDREMOVED                         Name         of   Relative                                                                         Relationship    to Child

                FROM A RELATIVE

                                                                                    Date   of Termination

                PARENTAL             RIGHTS TERMINATED


          Comments




          3.   Childs Currently Effective                       Incomes and Resources


                           Income
                       Income                                Amount                     Verification        Method                   Source
                                    Type

                                                     0.00




                           Income         Not Listed Above
                       Income        Type                    Amount                      Verification       Method                   Source



                 Child      Support                   $120.00/month                                                             Eddie

                                                                                                                                Saenz-BFA




                           Resources
                      Resource        Type                   Amount                      Verification       Method               Accessibility


                                                      0.00




                                                                                                  546
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                                                             ase                                    17020998

                                                                                         Childs         Name                     Mark A        Soliz                                           DOB          1127/1982         j




                                                                                              FOSTER CARE ASSISTANCE
                                                                                                      REVIEW




                          Resources               Not Listed                       Above
                    Resource           Type                                  Amount                      Verification              Method            -Accessibility




                                       Does the child have more than $1000 equity                                                                                      and resources                 Yes     No
        4.   Resources             -                                                                                                           in    property



        5.   Alien Status              -   If    the child                   is   a U.S.       citizen skip                 this    item.

                  the childs                                                                        status                  in   effect                                                                     Yes     No
             Is                            temporary-residence                                                 still                            ................................................




                    If
                         yes when does                            it        expire

                                                                                                                                                              Effective           Date               INS No.

                                                                                         If
                                                                                              yes complete the following

                                                                                                                                                                                                             Yes      No
                    If
                         no has            the        child            been         granted permanent                            residency


        6.   Address            for    Form 3087 Medicaid                                      I.D.    Card       -    if   form 3087           is to     be sent to someone other than the childs

             caregiver            specify              who
              Name



             Medicaid           Card Address




        7.    Extended            Education                   -        If   the child          is     under 17 skip                 this item.

                                                                                                                                               the                                        Planned    Date   of   Completion
                                                  high school                     or a                                                  Will         child    finish     high
             Will     the child       finish


             complete           a vocational            or technical                                                                    school before         turning       20
             training      program          before       turning                  19     Yes    No                                Yes    No                                               06-01-2000


        Attach    a      copy   of the     most        recent               court orders         to   this    review


         unless     the court         has       not   issued                any    orders     since     the   last     review.           -


                                                                                                                                               Signature           -   Childs Worker                                Date




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                                                                                Case          17020998
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                                Childs
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                                          SolizMark A
                                                                                                                               Page 254DOB
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                                                                                 Name


                                                                    PERMANENCY PLANNING
                                                          ADMINISTRATIVE CASE REVIEW




            Unit 54               Date of Last       PPT                                             Date of This PPT                   Meeting    11/26/1996




           FAMILY INFORMATION


           1.    Identifying           Information


                  A.   Principals
           Name                                                                          DOB                                     Relationship
           Mark A Soliz                                                                  1/27/1982                               Self

           Donna           S   Soliz                                                     10/1/1959                               Other

           Mike        J   Ortega                                                        1/5/1978                                Other




           II.    Family Service              Plan


                  A.       Date of the Family Service Plan being reviewed                                 for this   meeting

                           May 5 1996


                  B.       Extent of      Familys compliance                    with the service plan             i.e.    is   the family attending

                  counseling
                           Ms. Soliz has made             little
                                                                    progress on her service plan.                        She was admitted twice          to   an

                           in-patient     drug treatment            program but did not complete either program. She continues to
                           live   an unstable    lifestyle.         Mr. Saenz is paying child support as he agreed to do.



                  C.       Extent of      Familys progress with service plan i.e.                            is   the family benefiting           from

                 counseling.
                           She    is   not progressing         at   all




                 D.        Why isnt safe for the
                                         it                    child       to   go home yet
                           mom cannot provide a                safe       environment         and   his    behaviors are very             aggressive




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                                 Childs   SolizMark A
                                                                                     Name


                                                                         PERMANENCY PLANNING
                                                                 ADMINISTRATIVE     CASE REVIEW




           CHILD INFORMATION


           1.   Current Placement
                 Name        of   Placement                    BUCKNER BAPTIST CHILDR
                 LivingArrangement Basic Child Care
                 Authorized LOC       4

                 Date     Placed         in    Facility 6/5/1996



                     respect confidentiality                     of caregiver        as necessary


                A.    Date        CVS         child      initially    placed    in   substitute   care


                        Conservatorship                    Removal Date              11-27-95

                        Conservatorship
                        Removal Reason
                        Mark       was        court

                        ordered          to


                        placement              at


                        Buckners
                        treatment             facility

                        on 2-9-94 after

                        getting involved
                        with      JPD.        The
                        plan      for    Mark had
                        been      for    him        to


                        return      to   his

                        mother after

                        discharge but
                        Ms. Soliz made

                        no   effort      to    work
                        towards having
                        Mark      returned.              On
                        11-27-96 the

                        court     ordered that
                        Mark      be placed               in


                        custody of the
                        Texas Dept.                 of

                        Protective            and

                        Regulatory
                        Services




                B.   Date      of   most recent entry                    into   substitute   care   if   different   from above




                      Conservatorship                      Removal Date

                      Conservatorship
                      Removal             Reason



                C.   Reason             for    CPS        involvement include risk/safety                    factors



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                                                                                                                                                  PageID 8689
                                 Childs   SolizMark A
                                                                             Name


                                                              PERMANENCY PLANNING
                                                           ADMINISTRATIVE CASE REVIEW




                        At the time         Mark     was     to    be discharged from the Buckner program after being                                                 sent there

                        through       the    JPD system              the   case was referred to                     CPS   for      investigation.               Marks mother
                        admitted    to being a drug addict with an unstable lifestyle and no permanent address.

                        CPS     had previously investigated Ms. Soliz several times for not supervising her children

                        properly.      Marks         older brother          was     in    jail   at the       time and one of the reasons that Mark
                        had gotten          in   trouble    with the       law was because he was fending                                for   himself with           no

                        responsible          adult   to    supervise        him.




                 D.    Current type of legal               custody


                       Current Legal             Status           PMC/     Rts     Not Term

                       Legal Status          Date                 11/28/1995

                 E.    Next Ch.263 review date


                        May 1997

                 F.    Any    other    scheduled court hearings

                       No


           II.   Services      to   the Child


                 A.    Date    of   Childs Service Plan being reviewed                              for this        meeting
                       5-5-96



                 B.    Childs Permanency                   Plan
                  1.    1.    Long-range permanency goal Family Reunification had been                                                         the      plan but      it    seems
                              like long term care may be a more realistic plan for Mark.




                              Proposed date            to achieve permanency dismiss TDPRS Conservatorship
                  2.    2.


                              The     plan       and the proposed date are both uncertain at this time.


                  3.    3.    Date that permanent placement                          is    expected            to   be achieved          i.e.        placement             into   own
                             home     relative       home         or adoptive       home
                              Uncertain.



                 C.    Continued           Need    for    Placement
                  4.    1.    Why     is    placement         appropriate           to    meet      the individual            needs of the child                     i.e.    What
                        are            the services           offered       by   the     caregiver            how does        this   placement maintain                       sibling

                        r


                  5.                   relationships              how     are childs         level   of care service               needs being                 addressed etc.
                              He    receives       safety         structure      and consistency


                        2.   Why      does the       child    continue        to   need          out of   home placement                  i.e.          foster      care    relative


                         care etc.. example parents cannot provide a safe environment                                                             or childs          aggressive
                        behavior is prohibiting an adoptive or relative placement
                              Mom      cannot provide a safe environment                             and        his   behaviors are             still
                                                                                                                                                             very   aggressive


                        3.    Extent of      compliance            with    the childs service                 plan.    i.e.   is   the    child         in   resource classes


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                                 Childs  SolizMark A                                                                                                  1/27/1982

                                                                                             Name


                                                                               PERMANENCY PLANNING
                                                                             ADMINISTRATIVE CASE REVIEW




                                      He      is     full    residential treatment                  services.



                                4.    Extent of progress                       on the childs service plan i.e.                  are the resource classes                benefiting

                                     the child

                                      He     still      has aggressive behaviors and has other behavior problems


                                5.    Are there any additional recommendations                                        to help   achieve      the childs         permanency
                                                     goal
                                      SSI benefits                  will     be applied      for.




           Ill.   Conclusion


                  A.    Other Comments

                            He       will    be going              to    a friend of the familys             for   Thanksgiving.        He    is   not   on any meds.


                  B.    Long          Term Care                    in   Adulthood          only     for   youth who are 16 or older and have special
                                     characteristics                    such as physical             or   mental disabilities.


                  Is   it   a    possibility                this   youth      will   need    a guardian         as an adult            Yes                No


                  If   No        disregard              the following            question


                                 Are there
                                           any relatives who                               might be        willing    to

                                 assume guardianship                                                                                   Yes                No


                                 NOTE              Referral             to   APS     must be made before the childs 17th birthday                          if   there   is   no one
                                 who        will     assume             guardianship.




          Third        Party          Convener                          Barney Hisanaga                                         Date   for   next   PPT          2/97




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                                          Mark A Soliz
                                                                                                                                Page 258DOB
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                                                                                                                                              1/27/1982

                                                                                 Name


                                                                       PERMANENCY PLANNING
                                                              ADMINISTRATIVE CASE REVIEW




            Unit       54        Date        of   Last   PPT           11/26/1996                        Date of This PPT                Meeting   2/11/1997




           FAMILY INFORMATION


           1.
                 Identifying          Information


                  A.    Principals
           Name                                                                           DOB                                     Relationship
           Mark        A    Soliz                                                         1/27/1982                               Self

           Donna           S Soliz                                                        10/1/1959                               Other
           Mike        J   Ortega                                                         1/5/1978                                Other




           II.
                 Family Service                   Plan


                 A.        Date of the Family Service Plan being                        reviewed            for   this   meeting
                           November               1996


                  B.       Extent of         Familys compliance                 with the service         plan i.e.         is   the   family attending

                 counseling
                           Ms. Soliz has made                 little
                                                                       progress on her service plan. She was admitted on two
                           occasions         to   an in-patient drug treatment program.           Both times she failed to compete the

                           program.          She has      not      been    attending a twelve               step       program and she       continues   to    live   an
                           unstable     lifestyle.




                 C.        Extent of        Familys progress with service plan                          i.e.      is   the family benefiting    from

                 counseling.
                           She   is   not    progressing           very    much


                 D.        Why isnt safe for the
                                        it                         child   to   go home yet
                           Mom cannot provide a                    safe    environment        and Marks aggressive behaviors.




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                                                                                                                                               PageID 8692
                                              A                                Childs              Mark           Soliz

                                                                                  Name


                                                                     PERMANENCY PLANNING
                                                           ADMINISTRATIVE                                CASE REVIEW




           CHILD INFORMATION


           1.   Current Placement

                 Name      of   Placement                  Dallas       County Juvenile Detention Center
                 Living    Arrangement
                 Authorized          LOC                   5
                 Date     Placed      in    Facility                 02-03-97



                     respect confidentiality               of caregiver            as necessary


                A.    Date      CVS        child   initially    placed       in   substitute        care


                        Conservatorship              Removal Date
                        Conservatorship
                        Removal Reason




                B.    Date      of   most recent entry               into    substitute           care   if   different    from above



                        Conservatorship              Removal Date                     11-27-95

                        Conservatorship                        Mark was court ordered                     to      placement at Buckners            treatment       facility    on
                        Removal Reason                         2-9-94 after getting involved                       with   JPD.    The    plan   for    Mark   had been        to

                                                               return    him to      his    mother.           However       Ms.    Soliz did     not    work with JPD or

                                                               Buckners           and the court was not comfortable                        discharging        Mark   to   his

                                                               mothers care.              On 11-27-95              the court      ordered that Mark           be placed       in

                                                               the   custody of       TDPRS              and he remained            in   the   Buckner program.


                C.    Reason         for   CPS      involvement              include risk/safety factors



                      At the time           Mark was to be discharged                         from the Buckner program                     after being        sent there

                      through the        JPD system the case was referred to CPS for investigation. Marks mother
                      admitted        that she was a drug addict with an unstable lifestyle and no permanent address.

                      CPS       had previously investigated                        Ms.     Soliz several times              for   not supervising        her children

                      properly.        Marks         older brother            was    in    jail    at the      time and one of the reasons that Mark
                      had gotten            in   trouble with the            law was because he was fending                          for   himself with       no

                      responsible            adult    to   supervise          him.




                D.   Current type of legal                 custody


                     Current Legal               Status          TMC/ Rts Not Term
                     Legal Status            Date                11/28/1995

                E.   Next Ch.263 review date


                      May       1997

                F.   Any   other      scheduled            court      hearings

                      Marks behavior has                   involved    him with the juvenile system in Dallas                                  Collin   and Tarrant

                      Countys.         A     hearing       is   pending regarding his recent criminal charges                                   but a    date   has not




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                                                                                                                                                        1/27/1982

                                                                                    Name


                                                                    PERMANENCY PLANNING
                                                                  ADMINISTRATIVE CASE REVIEW




                         been        set.




            II.   Services           to   the Child


                  A.     Date       of    Childs Service Plan being reviewed                                  for this     meeting
                         November                  1996


                   B.    Childs Permanency                        Plan

                   1.     1.        Long-range permanency                         goal Foster Care with Commitment




                   2.     2.        Proposed date to achieve permanency
            1.                      The plan and the proposed date are uncertain at                                           this   time.




                   1.     3.    Date        that      permanent             placement       is   expected             to   be achieved           i.e.     placement            into   own
                               home         relative         home      or adoptive          home
                                Uncertain.



                  C.     Continued Need                     for   Placement
                   1.     1.    Why         is      placement appropriate                  to    meet the individual                 needs of the child                  i.e.       What
                          are                 the     services offered             by the caregiver                   how does       this    placement maintain                     sibling

                          r


                   3.                         relationships               how     are childs          level    of    care service needs being addressed etc.
                                He        receives          saety structure and consistency


                          2.   Why         does the          child    continue       to    need       out of        home placement               i.e.     foster       care     relative


                              care etc..              example             parents        cannot provide a safe environment                                or childs      aggressive
                          behavior            is
                                                    prohibiting       an adoptive or             relative        placement
                                Mom         cannot provide a safe environment                                  and Marks behaviors are very aggressive


                          3.   Extent of            compliance            with the childs service                     plan.   i.e.   is   the    child     in   resource classes
                                He        is in     detention        in   Dallas.



                         4.    Extent of            progress on the childs service plan i.e.                                  are the       resource            classes benefiting

                              the    childHe              visited   his family at         Thanksgiving                and Christmas.                 He   stole a      staff    car   at


                          Buckners                 stole     merchandise            at   a store and            tried to      break       into   a   mall.      He     stole    a   knife.

                         The        police         chased them and he led them on a high speed chase.                                                   He   is   in   detention       now
                         and he has charges against him.                                   He    is   showing no remorse.


                         5.    Are there any additional recommendations                                          to   help    achieve        the childs           permanency
                                              goal
                                Worker             will    work on getting his SSI benefits
                                Worker             thinks    he would do well at a wilderness                              camp.
                         Worker            will     pursue any possible                  relative      placements             and    will   do a report           to   the court

                        regarding           all    that Mark has done.



          Ill.    Conclusion


                  A.    Other Comments
                         He    is   not     on any meds.

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                                                                         Name


                                                              PERMANENCY PLANNING
                                                         ADMINISTRATIVE                  CASE REVIEW




              B.    Long Term Care             in   Adulthood        only    for   youth who are 16 or older and have            special

                             characteristics        such as physical or mental disabilities.


                        a                                         need    a guardian    as an adult      Yes                No
                            possibility this
              Is                                           will
                   it                           youth



             If    No       disregard the      following       question


                            Are there any relatives who                  might be   willing to

                            assume guardianship                                                          Yes                No


                            NOTE         Referral   to   APS      must be made before the childs 17th birthday              if   there   is   no one

                            who   will   assume     guardianship.




          Third               Convener              Barney Hisanaga
                                                                                                  Date   for   next   PPT        5/97
                   Party




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                                                                   PERMANENCY PLANNING
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          Unit        54         Date of Last            PPT      2/11/1997                           Date        of   This PPT Meeting        5/13/1997




          FAMILY INFORMATION


          1.
                Identifying           Information


                 A.       Principals
          Name                                                                             DOB                                  Relationship
          Mark A           Soliz                                                           1/27/1982                            Self

          Donna           S   Soliz                                                        10/1/1959                            Other
          Mike        J   Ortega                                                           1/5/1978                             Other




          II.
                Family Service                   Plan


                A.        Date   of the         Family Service Plan being reviewed                        for this     meeting
                          5-5-97



                B.        Extent of         Familys compliance                with the service        plan        i.e.   is   the family attending

                counseling
                          Mother      is    not   in   compliance.


                C.        Extent of        Familys progress with service plan i.e.                           is   the family benefiting      from

                counseling.
                          Mother      is    not progressing           since there     is   no compliance.


                D.        Why    isnt      it   safe   for   the child   to   go home yet
                          Mother cannot provide a safe environment.




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                                 Childs  Mark A Soliz

                                                                                       Name


                                                                PERMANENCY PLANNING
                                                             ADMINISTRATIVE CASE REVIEW




          CHILD INFORMATION


          1.   Current Placement
                Name        of   Placement                   Azleway Boys Ranch                        Inc

                Living      Arrangement                      Residential           Treat

                Authorized             LOC
                Date     Placed         in    Facility       3/21/1997



                     respect confidentiality                  of caregiver             as necessary


                A.    Date       CVS         child   initially    placed          in   substitute           care


                      Conservatorship                   Removal             Date 11-27-95

                       Conservatorship                  Removal Reason
                       Mark       was        court    ordered          to   placement           at

                       Buckners              RTC      on 02-09-94                after   getting

                       involved         with       JPD.      The       plan      was     to   return

                       Mark       to   his     Ms. Soliz however                       she made

                       no    effort to         have     Mark returned to                 her.

                       Mark was court ordered                          to   the    custody of
                      TDPRS.




               B.     Date       of   most recent entry                 into     substitute           care    if   different   from above



                      Conservatorship                  Removal              Date

                      Conservatorship
                      Removal Reason



               C.    Reason            for   CPS      involvement                include risk/safety                   factors



                      At the time             Mark     was       to   be discharged from the Buckner program                                      after being sent there

                      through          the JPD system the case was referred to CPS for investigation. Marks mother
                      admitted          that she was a drug addict with an unstable lifestyle and no permanent address.

                      CPS        had previously investigated                           Ms. Soliz several times                     for   not supervising   her children

                      properly.          Marks         older brother              was     in   jail
                                                                                                       at   the    time and one of the reasons that Mark
                      had gotten              in   trouble with the              law was because he was fending                             for   himself with   no

                      responsible              adult    to   supervise            him.




               D.    Current type of legal                   custody


                     Current Legal                 Status             TMC/       Rts     Not Term

                     Legal       Status        Date                   11/28/1995

               E.    Next Ch.263 review date


                      May 291997




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                                                                    PERMANENCY PLANNING
                                                                  ADMINISTRATIVE CASE REVIEW




                 F.    Any    other          scheduled court                  hearings

                        No


          II.    Services          to    the Child


                 A.    Date of Childs Service Plan being                                   reviewed     for   this      meeting

                        5-5-97



                 B.    Childs Permanency                          Plan

                  1.     1.    Long-range permanency goal Foster Care with Commitment




                  2.    2.     Proposed date                  to       achieve      permanency dismiss                   TDPRS         Conservatorship             3/1/1998




                  1.    3.     Date          that   permanent placement                      is    expected        to   be achieved          i.e.    placement        into   own

                             home            relative    home            or adoptive        home
                              six       months


                 C.    Continued Need                   for    Placement

                  1.     1.   Why            is    placement appropriate                    to    meet the individual             needs of the child             i.e.   What

                        are                   the    services offered                by   the    caregiver     how does           this   placement         maintain      sibling


                        r


                  3.                          relationships              how     are childs         level   of care service            needs being addressed                 etc.

                               He       receives safety                  structure        and consistency.


                                                                                           need out of home placement i.e.
                              Why        does the                                                                                                    foster   care      relative
                        2.                                   child      continue to

                            care etc..               example              parents cannot provide a safe environment or childs aggressive

                        behavior              is   prohibiting          an adoptive or            relative    placement
                              Mother cannot provide a safe environment.


                        3.    Extent of             compliance with the childs service plan.                               i.e.   is   the   child   in   resource classes

                              He        receives        residential treatment                     services.



                                                                                                                           are the       resource classes benefiting
                        4.    Extent of             progress on the childs service plan i.e.
                            the child

                              He        is   doing well           in    his   placement.           He has     not       ranaway since the week                after   he moved

                              in to          Alzeway.


                        5.    Are there any additional recommendations                                        to   help    achieve       the childs        permanency

                                              goal
                              No



          Ill.   Conclusion


                 A.    Other Comments
                        He    is   not       on meds.


                 B.    Long Term              Care      in   Adulthood              only   for    youth who are 16 or older and have                        special


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                                                             PERMANENCY PLANNING
                                                       ADMINISTRATIVE                 CASE REVIEW




                             characteristics        such as physical or mental disabilities.


              Is   it   a   possibility    this   youth   will   need   a guardian   as an adult      Yes                No


             If   No        disregard      the following     question


                            Are there any relatives who              might be   willing   to


                            assume guardianship                                                        Yes               No


                            NOTE         Referral to   APS       must be made before the childs 17th         birthday    if   there   is   no one
                            who   will   assume     guardianship.




         Third Party          Convener             Barney Hisanaga                             Date   for   next   PPT        8/97




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                                                                PERMANENCY PLANNING
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            Unit 54               Date of Last           PPT     5/13/1997                             Date of This PPT                 Meeting 8/19/1997




            FAMILY INFORMATION


           1.    Identifying           Information


                  A    Principals
           Name                                                                          DOB                                     Relationship
           Mark A           Soliz                                                        1/27/1982                               Self

           Donna           S   Soliz                                                     10/1/1959                               Other

           Mike        J   Ortega                                                        1/5/1978                                Other




           II.    Family Service                  Plan


                  A.       Date   of the         Family Service Plan being reviewed                        for this   meeting




                  B.       Extent of         Familys compliance                 with the service       plan i.e.          is   the family attending

                  counseling
                           Mother      is    not   working on her service plans.


                  C.       Extent of         Familys progress with service plan i.e.                          is   the family benefiting       from
                  counseling.
                           Mother      is    not progressing          in   her plan.



                  D.       Why    isnt      it   safe for the   child      to   go home yet
                           Mother cannot provide a safe environment.




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                                                                                  Name


                                                                      PERMANENCY PLANNING
                                                            ADMINISTRATIVE       CASE REVIEW




            CHILD INFORMATION


            1.   Current Placement
                  Name      of   Placement                 Azleway Boys Ranch                     Inc

                  Living   Arrangement                     Residential         Treat

                  Authorized          LOC                  5
                  Date     Placed       in Facility        3/21/1997



                       respect confidentiality                 of caregiver       as necessary


                  A.    Date     CVS        child   initially    placed      in   substitute          care


                         Conservatorship               Removal Date                              11-27-95

                         Conservatorship                        RAPR
                         Removal Reason




                  B.    Date     of   most recent entry               into   substitute          care    if   different      from above



                        Conservatorship               Removal           Date
                         Conservatorship
                         Removal Reason



                 C.    Reason         for    CPS     involvement             include risk/safety factors



                        At the time          Mark was           to   be discharged           from the Buckner program after being sent there

                        through        the    JPD system               the   case was referred                    to   CPS   for   investigation.   Marks mother
                        admitted that    she was a drug addict with an unstable lifestyle and no permanent address.
                        CPS      had previously investigated Ms. Soliz several times for not supervising her children

                        properly.       Marks         older brother           was    in   jail   at   the     time and one of the reasons that Mark
                        had gotten           in   trouble with the           law was because he was fending                           for   himself with   no

                        responsible adult to supervise                        him.




                 D.    Current type of legal                custody


                       Current Legal              Status             TMC
                       Legal     Status       Date                   11/28/1995

                 E.    Next Ch.263 review date


                        September 231997

                 F.    Any other scheduled court hearings




          II.    Services        to   the Child


                 A.    Date    of     Childs Service Plan being reviewed for                                  this     meeting




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                                                                                    PERMANENCY PLANNING
                                                                           ADMINISTRATIVE CASE REVIEW




                      B.    Childs Permanency                              Plan

                      1.            1.        Long-range permanency                        goal Foster Care with Commitment




                      2.        2.            Proposed date             to   achieve permanency dismiss                            TDPRS            Conservatorship 3/1/1998




                      1.        3.        Date      that       permanent placement                   is   expected           to   be achieved i.e.                placement     into   own
                                     home           relative          home         or adoptive      home
                                          six   months


                  C.        Continued Need                        for      Placement
                      1.        1.        Why       is    placement appropriate                     to   meet the individual                  needs of the child             i.e.   What
                                are                  the services offered                   by the caregiver                 how does         this       placement maintain          sibling

                                r


                      3.                             relationships                 how     are childs      level    of care            service     needs being          addressed           etc.
                                          He    receives          safety structure             and consistency.


                                2.       Why        does the          child      need out of home placement i.e. foster care relative
                                                                              continue        to


                                     care etc..                example parents cannot provide a safe environment or childs aggressive
                                behavior             is   prohibiting          an adoptive or             relative      placement
                                          Mother cannot provide a safe environment.


                                3.       Extent of         compliance with the childs service plan.                                    i.e.   is   the    child   in   resource     classes
                                          Mark receives residential treatment services.                                           He   is   going    to   on-campus         school     in   the

                                          ninth grade.



                                4.       Extent of         progress on the childs service plan i.e.                                     are the      resource classes benefiting

                                    the child

                                          Mark      is    doing well          in    his placement.          He     is   on probation               for   steeling a car while        he was

                                          on runaway status from Alzeway.


                                5.       Are there any additional                     recommendations                   to   help      achieve the childs permanency

                                                     goal
                                          Worker          is   looking       into    a sponsor family            for    him.




          Ill.   Conclusion


                 A.    Other Comments
                            He           is   not   on meds.


                 B.        Long Term                 Care        in   Adulthood            only    for   youth who           are       16 or older and have special
                                         characteristics              such as physical or mental disabilities.


                 Is    it   a       possibility           this   youth       will    need    a guardian as an adult                            Yes                     No


                 If   No            disregard             the following            question




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                                                       PERMANENCY PLANNING
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                       Are there any relatives who              might be   willing   to

                       assume guardianship                                                        Yes               No


                       NOTE         Referral   to   APS     must be made before the childs 17th birthday            if   there   is   no one
                       who   will   assume      guardianship.




           Third   Party   Convener            Barney Hisanaga                            Date   for   next   PPT        11/97




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            Unit 54           Date         of    Last   PPT      8/19/1997                          Date of This PPT Meeting                 11/25/1997




           FAMILY INFORMATION


           1.    Identifying        Information


                  A.   Principals
           Name                                                                         DOB                                   Relationship

           Mark A       Soliz                                                           1/27/1982                             Self

           Donna        S   Soliz                                                       10/1/1959                             Other

           Mike J Ortega                                                                1/5/1978                              Other




           II.    Family Service                Plan


                  A.   Date    of the       Family Service Plan being reviewed                          for this   meeting
                       11-97    -   On 08-23-97 TDPRS was awared PMC/                                    Rts not Term of Mark


                  B.   Extent of       Familys compliance                    with   the service     plan i.e.          is   the family attending

                 counseling
                       Ms. Soliz       is       not   compliant       and has made no progress on her service plan.


                 C.    Extent of       Familys progress with service plan i.e.                             is   the family benefiting      from

                 counseling.
                       Ms. Soliz has made no progress on her service                                    plan.




                 D.    Why    isnt    it   safe       for   the child   to   go home yet
                       Ms. Soliz has no home address and cannot                                provide a         secure enviroment        for   Mark.




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                                                                PERMANENCY PLANNING
                                                             ADMINISTRATIVE CASE REVIEW




          CHILD INFORMATION


          1.   Current Placement
                Name         of   Placement                  Choices

                Living   Arrangement                         Substance Abuse Treatment                                 Center

                Authorized             LOC                   5

                Date     Placed          in Facility         10/27/1997



                    respect        confidentiality               of caregiver        as necessary


               A.    Date         CVS     child      initially     placed      in   substitute          care



                       Conservatorship                 Removal Date                  11-27-95

                       Conservatorship                  Removal          Reason Mark
                       was        court   ordered           to   placement          at

                       Buckners               RTC     on 02-09-94            after       getting
                       involved          with      JPD.      The     plan      had been           to

                       return          Mark    to   Ms. Soliz        after     discharge

                       but    Ms. Soliz made no                    effort    to     have       him
                       returned          to   her.     TDPRS was               awarded

                       custody of Mark.




               B.   Date          of   most recent entry              into     substitute             care   if   different     from above



                     Conservatorship                   Removal Date

                       Conservatorship
                       Removal Reason



               C.   Reason for                CPS     involvement include risk/safety factors



                     At the time              Mark was to be discharged from the Buckner program after being sent there

                     through            the   JPD system the case was referred to CPS for investigation. Marks mother
                     admitted            that      she was a drug addict with an unstable                                  lifestyle     and no permanent address.
                     CPS          had previously investigated Ms.                              Soliz several times                for   not supervising   her children

                     properly.            Marks        older brother              was     in   jail    at   the       time and one of the reasons that Mark
                     had gotten               in   trouble       with the      law was because he was fending                              for   himself with   no

                     responsible adult                  to   supervise         him.




               D.   Current type of                 legal    custody


                    Current Legal                  Status          PMC/        Rts    Not Term

                    Legal         Status      Date                 9/23/1997

               E.   Next Ch.263 review date

                     March             17 1998




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                   F.       Any other scheduled court hearings

                            No


            II.   Services             to    the Child


                  A.        Date of Childs Service Plan being reviewed                                   for this   meeting
                            10-10-97



                   B.       Childs Permanency                     Plan

                       1.    1.    Long-range permanency                         goal Foster Care with Commitment




                   2.        2.    Proposed date               to      achieve    permanency          dismiss TDPRS Conservatorship 9/1/1998




                       1.    3.    Date that permanent                    placement        is   expected      to    be achieved           ie. placement         into   own
                                  home        relative    home           or adoptive      home             12 months




                  C.        Continued Need               for      Placement
                   1.        1.
                                   Why        is    placement           appropriate       to    meet the individual            needs of the child            i.e.   What
                             are               the services offered               by the caregiver            how does         this   placement maintain             sibling

                             r


                   3.                          relationships             how     are childs      level     of care service          needs being addressed etc.
                                   This       placement           is   appropriate       because      it   provides    Substance            Abuse Treatment            as

                                   well      as    stability      close supervision             and positive        role   models.


                             2.   Why         does the child continue               to   need out of home placement                       i.e.    foster   care     relative


                                 care etc..           example            parents    cannot provide a safe environment                             or childs aggressive

                             behavior          is   prohibiting         an adoptive or          relative    placement
                                   CPS        has    PMC

                             3.   Extent of         compliance            with the childs         service     plan.    i.e.    is   the   child    in   resource classes
                                   He    is   receiving        residential        treatment       center services.



                            4.    Extent of         progress on the childs service plan i.e.                           are the       resource classes benefiting
                                 the child

                                   He    is   doing well          in   his current placement.



                            5.    Are there any additional recommendations                                  to help    achieve        the childs         permanency
                                               goal
                                  No



          Ill.    Conclusion


                  A.    Other Comments
                            He    is   not    on meds.


                  B.    Long Term Care                  in   Adulthood           only    for   youth who are 16 or older and have special

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                                                            PERMANENCY PLANNING
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                              characteristics        such     as physical or mental disabilities.


               Is   it   a   possibility    this   youth    will   need   a   guardian as an adult       Yes                No


              If    No       disregard      the following       question


                             Are there any relatives who might be                  willing   to


                             assume guardianship                                                          Yes               No


                             NOTE         Referral   to   APS      must be made before the childs 17th birthday             if   there   is   no one
                             who   will   assume      guardianship.




           Third    Party      Convener              Jo Anne Coe                                  Date   for   next   PPT        2/98




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                                                              PERMANENCY PLANNING
                                                            ADMINISTRATIVE CASE REVIEW




            Unit 63              Date        of Last   PPT     11/25/1997                    Date of This PPT              Meeting 2/5/1998




           FAMILY INFORMATION


           1.    Identifying           Information


                  A.   Principals
           Name                                                                    DOB                              Relationship
           Mark A Soliz                                                            1/27/1982                        Self

           Donna           S   Soliz                                               10/1/1959                        Other

           Mike        J   Ortega                                                  1/5/1978                         Other




           II.    Family Service               Plan


                  A.       Date of the Family Service Plan being                 reviewed     for this   meeting
                           PMC    without termination.



                  B.       Extent of     Familys compliance with the service plan i.e.                       is   the-family attending

                 counseling
                           PMC    without termination.



                  C.       Extent of     Familys progress with service plan i.e.                 is   the family benefiting       from

                 counseling.
                           PMC    without termination.



                  D.       Why isnt safe for the child
                                        it                           to   go home yet
                           PMC without termination.




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                                                                Case      Name      SolizDonna           S

                                                                          Case

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                                                                    PERMANENCY PLANNING
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           CHILD INFORMATION


           1.   Current Placement
                 Name      of   Placement                   Desert       Hills     Rtc

                 Living    Arrangement Residential Treat
                Authorized           LOC                    5

                 Date     Placed      in Facility           12/5/1997



                     respect confidentiality                    of caregiver        as necessary


                A.    Date      CVS     child     initially       placed      in   substitute            care


                        Conservatorship                Removal Date                 11-27-95

                        Conservatorship                Removal Reason                    Mark
                        was     court      ordered      to       placement at
                        Buckners           RTC     and was          to   be returned                to


                        Ms. Soliz at time of discharge.                          Ms. Soliz
                        made no        effort     to   have        Mark returned to her
                        and   TDPRS was                awarded           TMC       of   Mark.




                B.    Date      of   most recent entry               into     substitute            care    if   different   from above



                      Conservatorship                  Removal Date

                        Conservatorship
                        Removal Reason



                C.    Reason         for   CPS     involvement                include risk/safety                 factors



                      At the     time Mark was to be discharged from the Buckner program after being sent there

                      through the JPD system the case was referred to                                                CPS     for   investigation.    Marks mother
                      admitted        that      she was a drug addict with an unstable                                  lifestyle    and no permanent address.
                      CPS       had previously investigated Ms.                              Soliz several times             for    not supervising    her children

                      properly.         Marks          older brother           was      in   jail    at the      time and one        of   the   reasons that Mark
                      had gotten           in   trouble with the              law was because he was fending                           for   himself with   no

                      responsible           adult      to   supervise          him.




                D.   Current type of             legal      custody


                     Current Legal              Status            PMC/        Rts   Not Term

                     Legal Status           Date                  9/23/1997

                E.   Next Ch.263 review date

                      March 171998

                F.   Any   other      scheduled court hearings

                      No




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                                                                       PERMANENCY PLANNING
                                                                ADMINISTRATIVE CASE REVIEW




           II.   Services              to   the Child


                  A.       Date of Childs Service Plan being                             reviewed       for this    meeting
                           01-22-98


                  B.       Childs Permanency                    Plan

                      1.    1.        Long-range permanency                      goal Foster Care with Commitment




                      2.    2.        Proposed date            to   achieve        permanency         dismiss        TDPRS            Conservatorship                9/1/1998




                      1.    3.        Date that permanent placement                       is   expected to be achieved                      i.e.    placement         into   own
                                 home        relative    home         or adoptive         home
                                  One more year


                  C.       Continued Need                for   Placement
                      1.    1.    Why        is    placement         appropriate         to    meet   the individual             needs of the child                i.e.   What
                            are                the services          offered       by the caregiver              how does        this   placement             maintain     sibling

                            r


                  3.                           relationships          how        are childs     level       of   care service needs being addressed etc.
                                  This       placement         is
                                                                    appropriate          because      it    meets Marks      needs by providing counseling

                                  drug       education         academic            education      and recreational               activities        in   a therapeutic

                                  setting.




                            2.   Why         does the     child      continue       to   need out of home placement                         i.e.        foster   care     relative


                                care etc..          example parents cannot provide a safe environment                                               or childs aggressive

                            behavior          is   prohibiting       an adoptive or            relative      placement
                                  Mark continues               to   require        placement      because on 9-23-97                    TDPRS was                appointed

                                  PMC.


                            3.   Extent of         compliance          with the       childs service             plan.    i.e.   is   the   child       in   resource classes
                                  He runaway form Choices two weeks into the program and was trying to steel a car.
                                               He was in several detention placements before he went to his current
         RTC           Placement.


                           4.    Extent of         progress on the childs service plan i.e.                               are the      resource classes benefiting
                                the    child

                                  He    is    now doing        well    in   school       and his behavior            is   improving.




                           5.    Are there any additional recommendations                                    to help      achieve       the   childs          permanency
                                              goal
                                  He needs          to   be enrolled          in   the   PAL Program.



         Ill.    Conclusion


                 A.    Other          Comments
                           He    is   on     Zoloft.


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                                                           PERMANENCY PLANNING
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              B.   Long       Term Care           in   Adulthood       only   for   youth   who   are   16 or older and have           special

                             characteristics           such as physical or mental disabilities.


              Is   it   a   possibility    this   youth    will   need    a guardian        as an adult        Yes                No


              If   No       disregard      the following       question


                            Are there any relatives who                might be      willing to

                            assume guardianship                                                                Yes                No


                            NOTE         Referral to     APS      must be made before the childs 17th birthday                    if   there   is   no one
                            who   will   assume        guardianship.




           Third   Party      Convener                 Barney Hisanaga          LMSW-ACP                Date   for   next   PPT        7/98




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                                                                    PERMANENCY PLANNING
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            Unit 63                  Date        of   Last   PPT     2/5/1998                               Date of This PPT Meeting                    7/28/1998




           FAMILY INFORMATION


           1.
                 Identifying           Information


                  A.   Principals
           Name                                                                               DOB                                     Relationship
           Mark A           Soliz                                                             1/27/1982                               Self

           Donna           S   Soliz                                                          10/1/1959                               Parent    Birth
           Mike        J   Ortega                                                             1/5/1978                                Sibling




           II.   Family Service                       Plan


                 A.        Date of the Family Service Plan being reviewed                                       for   this   meeting
                           N/A


                  B.       Extent of         Familys compliance with the service plan i.e.                                     is   the family attending

                 counseling
                           N/A


                 C.        Extent of        Familys progress with service plan i.e.                                   is   the family benefiting    from
                 counseling.
                           N/A


                 D.        Why   isnt       it   safe for the       child    to   go home yet
                           N/A   -   PRS was            granted      PMC         of the   child   in   09-97




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                                                                 PERMANENCY PLANNING
                                                               ADMINISTRATIVE CASE REVIEW




          CHILD INFORMATION


          1.   Current Placement

                Name        of    Placement                   Desert          Hills    Rtc

                Living      Arrangement                   Residential            Treat

                Authorized             LOC                    5
                Date     Placed             in   Facility     12/5/1997



                    respect confidentiality                    of caregiver             as necessary


               A.    Date        CVS         child initially        placed        in   substitute care



                       Conservatorship                   Removal           Date 11-27-95
                       Conservatorship                    Removal
                       Reason                Mark       was    court       ordered
                       to   placement at Buckner
                       Childrens                 Home     on 02-09-94
                       after     getting involved with                     JPD.
                       The       plan       had been          to    return      him
                       home           to    his   mother after

                       discharge                 but   Ms. Soliz made no
                       effort to           work towards having                   Mark
                       returned.             Ms. Soliz admitted                  to


                       being a             drug addict with an
                       unstable             lifestyle     and no

                       permanent address.                          On    11-27-95
                     the     court          ordered that Mark be

                     placed            in   custody of TDPRS.




               B.   Date         of   most recent entry                  into    substitute       care   if   different   from above




                     Conservatorship                     Removal Date                   N/A

                     Conservatorship                     Removal
                     Reason                 N/A



               C.   Reason             for       CPS    involvement             include risk/safety factors



                     At the       time           Mark was          to   be discharged           from the Buckner program after being sent
                     there through the                    JPD system                   the   case was referred           to   CPS   for   investigation.

                     Marks mother                      admitted         that   she was a drug addict with an unstable                        lifestyle       and
                     no permanent                      address.         CPS      had previously investigated Ms. Soliz several times
                     for    not supervising                 her children              properly.     Marks         older brother     was    in   jail
                                                                                                                                                       at   the

                     time and one of the reasons that Mark had gotten                                              in   trouble with the        law was

                     because he was fending                             for    himself with         no responsible adult            to   supervise          him.




               D.   Current type of legal                     custody




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                        Current Legal            Status            PMC/       Rts   Not Term

                        Legal      Status       Date               9/23/1997




                 E.     Next Ch.263 review date


                         September 1998



                 F.     Any    other      scheduled court hearings


                        June 16 1998 -Order to change                             payee         for   child support




           II.   Services          to    the Child


                 A.     Date       of   Childs Service           Plan being         reviewed            for this   meeting
                        07-06-98


                 B.     Childs Permanency                   Plan

                  1.     1.     Long-range permanency                         goal Independent Living




                  2.     2.     Proposed date              to   achieve       permanency                dismiss TDPRS               Conservatorship
                                          1/27/2000




                  3.     3.     Date that permanent placement                             is   expected to be achieved                       i.e.    placement
                           into     own home            relative        home      or adoptive            home          N/A-   OV       is    expected to age
                         out of         placement




                 C.     Continued Need               for   Placement
                  4.     1.    Why        is    placement appropriate                    to    meet     the individual        needs of the child                     i.e.

                         What           are the services offered               by   the        caregiver       how does        this      placement
                         maintain          sibling     relationships           how       are childs        level    of care service                 needs being

                         addressed           etc.
          1.                              Mark has been                enrolled     in   the    PAL Program            through        Texas          A      M
          University.                                                               Mark              has taken     the Daniel           Memorial           Institute


          Independent Living                    Assessment                                                       for Life     Skills.         The    facility       has

          been         able   to   meet Marks              basic       needs but there                                        is    some        question        as    to

          how     well the therapeutic                 aspect of the program                     is   going.                                   The       facility    was
          investigated             due to Mark         being       assaulted         by a       staff   member
          who has         since          been    terminated            from employment.                 Mark has made               little



                  progress          in   the    Desert     Hills       program and has once                    again   been        placed       on
                         medications.          Pending             a
                                                          psychological                         evaluation         another     facility        presently

                                          would better meet Marks needs.




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                               2.   Why     does the          child    continue           to    need    out of    home placement                     i.e.     foster         care
                               relative                        care etc..            example             parents         cannot provide a safe
                               environment              or childs       aggressive              behavior     is   prohibiting            an adoptive              or   relative


                               placement
                                                              Mark     continues           to   require    placement               because on 09-23-97
           TDPRS was                                                                                     appointed             PMC. Mark              continue              to


           display inappropriate                        behaviors        such        as                                                                 physical

           aggression and displays poor                                staff   and peer           relations.




                               3.   Extent of      compliance                with the childs            service        plan.      i.e.    is   the   child    in   resource

                               classes
                                     Mark       has been           enrolled     in   the       PAL program             at   Desert        Hills.     Mark         academic
                                     and recreational needs are being                             met. The             facility    is    attempting          to   meet
                                     Marks        therapeutic          needs through counseling                          and group sessions.




                               4.   Extent of      progress on the childs service plan i.e.                                       are the       resource classes

                                benefiting the            child

                                     Mark       has performed well               in   school           however           has made minimal progress

                                     therapeutically.




                               5.   Are there any additional recommendations                                      to help         achieve        the childs

                                                permanency            goal
                                     Search       for   an alternative           placement.




          Ill.   Conclusion


                 A.   Other Comments
                           He       is   on Adderol and Serzone.


                 B.   Long           Term Care           in   Adulthood only for youth who are 16 or older and have                                                         special

                                    characteristics           such as physical or mental disabilities.


                 Is   it   a    possibility       this    youth       will    need    a guardian           as an adult                     Yes                     No            X

                 If   No       disregard          the following          question


                                Are there any relatives who might be                                   willing    to

                                assume guardianship                                                                                        Yes                     No


                                NOTE            Referral      to   APS       must be made before the childs 17th birthday                                              if   there    is   no one
                               who       will   assume         guardianship.




          Third Party                Convener                 Barney Hisanaga                    LMSW-ACP                         Date    for    next   PPT                  11/99



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                                                                           PERMANENCY PLANNING
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           Unit 54                Date         of   Last       PPT      7/2811998                        Date of This PPT Meeting                   11/17/1998




           FAMILY INFORMATION


           1.
                 Identifying            Information


                  A        Principals
           Name                                                                               DOB                                  Relationship
           Mark        A    Soliz                                                             1/27/1982                           Self

           Donna           S   Soliz                                                          10/1/1959                            Parent   Birth
           Mike        J   Ortega                                                             1/5/1978                            Sibling




           II.
                  Family Service                    Plan


                  A.       Date       of the    Family Service Plan being reviewed                           for this   meeting
                           N/A    -PMC         granted             09-97


                  B.       Extent of       Familys compliance                       with   the service   plan        i.e.   is   the family attending

                  counseling
                           N/A    -   PMC       granted            09-97


                  C.       Extent of       Familys progress with service plan i.e.                              is    the family benefiting     from

                  counseling.
                           N/A    -   PMC       granted 09-97


                  D.       Why    isnt    it   safe          for   the child   to   go home yet
                           MO     resides           in   a   half-way      house.      MO    does not have a permanent residence nor

                           employment.




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           CHILD INFORMATION


           1.   Current Placement
                 Name      of   Placement                                   Therapeutic                    Fg     Home
                 Living    Arrangementlnd               Ther F Grp               Home
                 Authorized        LOC       4

                 Date     Placed     in   Facility     9/17/1998


                      respect confidentiality            of caregiver                as necessary


                 A.    Date     CVS      child   initially    placed       in    substitute                care



                        Conservatorship            Removal           Date 11-27-95
                        Conservatorship            Removal Reason
                                   At the time         Mark was            to    be

                                   discharged from the Buckner
                                   program after being sent there
                                   through the         JPD system                    the      case

                                   was     referred      to   CPS     for


                                   investigation.            Marks mother
                                   admitted that         she was a drug

                                   addict with         an unstable              lifestyle

                                   and no permanent address. CPS
                                   had previously investigated Ms.
                                   Soliz several         times       for    not

                                   supervising         her children              properly.

                                   Marks         older brother        was         in   jail    at

                                   the    time and one of the reasons
                                   that    Mark had gotten in trouble with
                                   the    law was because he was
                                   fending       for   himself with             no

                                   responsible adult            to   supervise                him.




                B.    Date    of   most     recent entry        into       substitute                care    if   different   from above



                       Conservatorship             Removal Date

                       Conservatorship
                       Removal Reason



                C.    Reason       for    CPS     involvement          include risk/safety factors



                       At the time        Mark was to be discharged from the Buckner program after being                                                sent there

                       through the      JPD system the case was referred to CPS for investigation. Marks mother
                       admitted      that she was a drug addict with an unstable lifestyle and no permanent address.

                       CPS      had previously investigated                       Ms.         Soliz several times             for   not supervising   her children

                       properly.      Marks        older brother            was        in     jail    at   the    time and one of the reasons that Mark


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                           had gotten            in   trouble      with the      law was because he was fending                             for   himself with    no

                           responsible adult              to    supervise          him.




                D.         Current type of legal                   custody


                       Current Legal                  Status          PMC/        Rts   Not Term

                       Legal Status               Date               9/23/1997



                E.     Next Ch.263 review date


                           April   1999



                F.     Any       other      scheduled court hearings

                           None



          II.   Services           to the        Child


                A.     Date of Childs Service Plan being reviewed                                     for this      meeting
                           11-04-98


                B.     Childs Permanency                        Plan
                 1.         1.    Long-range permanency                          goal Independent              Living




                 2.         2.    Proposed date to achieve permanency                                dismiss         TDPRS           Conservatorship                1/27/2000




                 1.         3.   Date       that      permanent        placement           is   expected       to   be achieved             i.e.    placement         into   own
                             home           relative     home         or adoptive         home         01-27-00




                C.     Continued Need                   for    Placement
                 1.         1.
                                 Why        is
                                                 placement           appropriate          to    meet the individual            needs of the child               i.e.       What
                            are the services             offered       by    the   caregiver         how does         this   placement             maintain     sibling

                            relationships              how     are childs         level   of    care service needs being addressed                             etc.


                                                         This       placement           meets Marks need                because        it   is    the least   restrictive


          placement              for    him.                                            Mark     reside   in   a    group foster home with 6 other children.
          Mark        is   able    to   experience             a                                                    home     like   setting        at   the                  Home
          which assists                in   transitioning           Mark    for                                                                               independent

          living      and returning               home.        Mark attends public school. Mark is able to

          have       family contact               and home        visits. Mark also receives individual and group

                                                         counseling.             Marks behavior           is   improving            and his       level   of care     is



          dropping.




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                                2.    Why     does.the                child    continue         to    need    out     of   home placement                   i.e.   foster           care        relative


                                    care etc..               example             parents        cannot provide a safe environment or childs                                            aggressive

                                behavior           is   prohibiting            an adoptive or              relative        placement


                                                                    Mark       continues         to   need     out of the              home placement due                      to   Mark

           continuing need                        for   I                                                       individual             and group counseling.                        Mark    also

           needs           to       complete the independent                              living                                                              program as                well.

           Marks mother                       reside         in   a    half-   way house and does                      not       have a

           permanent address nor employment.


                                3.   Extent of              compliance             with    the childs service                   plan.    i.e.   is   the   child     in   resource classes


                                      Mark        is    in   compliance with his service plan. Mark                                     is    attending public school                      in   special

                                      education              and attending counseling weekly. Mark                                           has begun       having            visit   with      his

                                      mother and                  brother.



                               4.    Extent of              progress on the childs service plan i.e.                                     are the       resource classes benefiting
                                 the child



                                      Mark        is    making progress on                      his   service         plan       and    is   benefiting      from the special
                                      education              classes offered at the high school.                                     Mark     studies      for his   school            work      at   the

                                      local       colleges            library.      He     is   doing very well                 in   his current       placement.


                               5.    Are there any additional recommendations                                              to help       achieve       the childs              permanency
                                                   goal


                                      Continue with the PAL program and                                       visit    with          mother and brother and other family
                                      members.




          Ill.   Conclusion


                 A.   Other               Comments
                           He        is   on Adderol and Serzone.


                 B.    Long Term Care                          in     Adulthood           only       for   youth who are 16 or older and have                                  special

                                     characteristics                  such as physical                or   mental disabilities.


                 Is   it   a    possibility             this      youth     will    need a guardian as an adult                                  Yes          X           No


                 If   No        disregard              the following             question


                                 Are there any relatives who                               might be          willing       to


                                 assume guardianship                                                                                             Yes          X           No


                                NOTE              Referral            to   APS     must be made before the childs 17th birthday                                           if   there       is   no one
                                who        will   assume               guardianship.




          Third Party                 Convener                      Barney Hisanaga                    LMSW-ACP                         Date     for   next    PPT              5/99

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                                                     ADMINISTRATIVE CASE REVIEW




          Unit 54          Date of Last         PPT        11/17/1998                         Date of This PPT              Meeting 5/27/1999




          FAMILY INFORMATION


          1.   Identifying     Information


                A.   Principals
          Name                                                                  DOB                                      Relationship
          Mark A      Soliz                                                     1/27/1982                            Self

          Donna S      Soliz                                                    10/1/1959                            Parent    Birth
          Mike J Ortega                                                         1/5/1978                             Sibling




         II.    Family Service          Plan


                A.   Date of the Family Service Plan being                     reviewed       for this    meeting
                     N/A -PMC Granted 09-23-97


                B.   Extent of     Familys compliance                  with the service plan           i.e.   is   the    family attending

                counseling
                     N/A -PMC Granted 09-23-97




                C.   Extent of     Familys progress with service plan i.e.                        is    the family benefiting       from

                counseling.


                     N/A   -PMC Granted 09-23-97


                D.   Why   isnt   it   safe   for   the   child   to   go home yet


                     N/A   -PMC Granted 09-23-97




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                                                                                   Name


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                                                            ADMINISTRATIVE CASE REVIEW




           CHILD INFORMATION


           1.   Current Placement
                 Name        of   Placement                                    Therapeutic              Fg    Home
                 Living      Arrangement                  Ind        Ther F Grp       Home
                 Authorized            LOC                3
                 Date Placed            in   Facility     9/17/1998



                      respect confidentiality               of caregiver            as necessary


                 A.    Date       CVS    child      initially    placed       in   substitute       care


                       Conservatorship                Removal Date                  11-27-95

                        Conservatorship                       ABAN
                        Removal Reason




                 B.    Date of most recent entry                       into   substitute          care   if   different.   from above



                       Conservatorship                Removal Date

                       Conservatorship
                       Removal Reason



                C.     Reason          for   CPS     involvement              include risk/safety                 factors



                       At the time           Mark was           to    be discharged from the Buckner program after being sent there

                       through the         JPD system the case was referred to CPS for investigation. Marks mother
                       admitted         that she was a drug addict with an unstable lifestyle and no permanent address.

                       CPS        had previously investigated Ms. Soliz several times                                       for   not supervising   her children

                       properly.         Marks        older brother            was    in   jail    at   the   time and one of the reasons that Mark
                       had gotten            in   trouble       with the      law was because he was fending                         for   himself with   no

                       responsible            adult to supervise               him.




                D.    Current type of legal                 custody


                      Current Legal               Status             PMC/     Rts   Not Term

                      Legal       Status      Date                   9/23/1997

                E.    Next Ch.263 review date


                       September             1999


                F.    Any     other     scheduled court hearings

                       N/A


          II.   Services          to   the Child


                A.    Date of Childs Service Plan being reviewed for                                          this   meeting




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                       02-23-99


                 B.    Childs Permanency                    Plan

                  1.     1.
                               Long-range permanency goal Independent Living




                  2.    2.     Proposed date             to      achieve        permanency dismiss                 TDPRS         Conservatorship             1/27/2000




                  1.    3.     Date     that    permanent placement                     is   expected       to    be achieved         i.e.   placement       into   own
                             home       relative       home        or adoptive         home           01-27-00




                 C.    Continued Need              for   Placement
                  1.    1.    Why       is     placement          appropriate          to    meet the individual           needs of the child           i.e.   What
                        are              the services             offered       by the caregiver          how does         this      placement maintain         sibling

                                                        relationships            how        are childs    level     of care      service     needs being

                        addressed              etc.

                              Mark      continues           to   have some behavior problems and                           is   in   alternative   education

                              program.           TDPRS was              granted        PMC      of   Mark    in   09-97.        Marks mother        continues       to


                              use drugs and lead an unstable                           lifestyle.     Marks mother              currently    has a warrant out for
                              her     arrest.




                        2.    Why does the child continue to need out of home placement i.e. foster care relative

                            care etc.. example parents cannot provide a safe environment or childs aggressive
                        behavior         is    prohibiting        an adoptive or             relative   placement
                              Mark      continues           to   have    some      behavior          problems and          is   in   alternative   education

                              program.          TDPRS was               granted        PMC      of   Mark    in   09-97.        Marks mother        continues       to

                              use drugs and lead an unstable                           lifestyle.     Marks mother              currently    has a warrant out           for

                              her     arrest.




                        3.    Extent of        compliance with the childs service plan. i.e. is the child in resource classes
                              Mark      is    compliant with his service plan. Mark is in resources classes and an

                              alternative        education          school.       Mark        attend    and participates             in   school regularly.



                       4.     Extent of        progress on the childs service plan i.e.                             are the resource classes                 benefiting
                            the child

                              Mark      is    compliant          with his service            plan.    Mark   is    in   resources classes and an
                              alternative        education          school.       Mark        attend    and participates in school regularly. Mark
                              will    turn    18 years old next January 2000                          and a GED program should be explored. He
                              is
                                     planning    to    participate         in   Mini   PAL     this   summer.


                       5.     Are there any additional                  recommendations                 to help     achieve          the childs    permanency
                                         goal


                              Mark      will    turn   18 years old next January 2000 and a                              GED         program should be explored
                              as well as a drivers education course and post graduation                                              education.    He   is   planning

                              to
                                     pursu his education.


          Ill.   Conclusion

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              A.    Other Comments

                        During the        last   review      6 mo. ago he was on Aderoll                     Azerone the worker was on
                        vacation.



              B.    Long      Term Care           in   Adulthood       only   for   youth who       are   16 or older and have           special

                             characteristics           such    as physical       or   mental disabilities.


              Is   it   a   possibility    this   youth      will   need   a guardian      as an adult           Yes          X     No


              If
                   No       disregard the following               question


                            Are there any relatives who might be                       willing to

                            assume guardianship                                                                  Yes          X     No


                            NOTE         Referral      to   APS     must be made before the childs 17th birthday                    if   there   is   no one
                            who   will   assume        guardianship.




           Third Party        Convener                 Barney Hisanaga         LMSW-ACP                   Date   for   next   PPT        11/99




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                                                                 PERMANENCY PLANNING
                                                              ADMINISTRATIVE CASE REVIEW




          Unit 54                Date        of   Last   PPT      5/27/1999                                Date of This PPT                   Meeting       11/2/1999




          FAMILY INFORMATION


          1.   Identifying            Information


                A.       Principals
          Name                                                                                 DOB                                     Relationship
          Sharon           Rangle                                                              1/1/1960                                Aunt/Uncle
          Mark       A    Soliz                                                                1/27/1982                               Self

          Donna           S   Soliz                                                            10/1/1959                               Parent    Birth
         Mike        J   Ortega                                                                1/5/1978                                Sibling




         II.
                Family Service                    Plan


                A.       Date    of the       Family Service Plan being reviewed                               for   this   meeting
                         N/A-TDPRS                was granted PMC on 09-23-97-Ms.                               Soliz      has not worked         on any service

                         plans



                B.       Extent of       Familys compliance                   with the service             plan i.e.            is   the family attending

                counseling


                         N/A-TDPRS was                   granted       PMC    on 09-23-97-Ms.                   Soliz      has not worked         on any service

                         plans



               C.        Extent of       Familys progress with service plan i.e.                                     is   the family benefiting         from

               counseling.


                         N/A-TDPRS                was    granted       PMC    on 09-23-97-Ms.                   Soliz      has not worked nor made any

                         progress on any service plans




               D.        Why     isnt   it   safe for the       child    to   go home yet
                         Ms. Soliz continues               to   live   an unstable            lifestyle.       Ms. Soliz had been              incarcerated      due    to


                         probation       violation        and    drug use.         Ms.        Soliz recently              was   released      from   jail   however     does

                         not    have    a stable         home     to   live   in   nor   is    she employed.




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                                                                      PERMANENCY PLANNING
                                                              ADMINISTRATIVE                             CASE REVIEW




           CHILD INFORMATION


           1.   Current Placement

                 Name         of    Placement                 N/A-     Mark    is   currently       on run away status.                A   report   to   Fort   Worth

                 Police       has been              made     regarding        Mark being an escapee.

                 Living      Arrangement                      Unauthorized          Absence
                 Authorized             LOC                   3

                 Date     Placed         in    Facility       9/14/1999



                      respect confidentiality                     of caregiver      as necessary


                 A.    Date        CVS        child   initially     placed    in   substitute           care



                        Conservatorship                 Removal Date                11-27-95

                        Conservatorship
                        Removal Reason
                        RAPR            and
                        ABAN-Mark
                          was placed
                        at    Buckners
                        Childrens              Home
                        via    Juvenile.

                        However               upon
                        his    release         Ms.
                        Soliz

                       whereabouts

                        were unknown
                        and    TDPRS was
                        awarded    TMC of
                        Mark




                B.     Date        of   most recent entry              into   substitute          care    if   different      from above



                       Conservatorship                  Removal Date

                       Conservatorship
                        Removal Reason



                C.     Reason           for    CPS     involvement include risk/safety                             factors



                       At the time             Mark was to be discharged from the Buckner program                                            after being sent there

                       through the             JPD system              the    case was referred                    to   CPS   for   investigation.       Marks mother
                       admitted that       she was a drug addict with an unstable lifestyle and no permanent address.

                       CPS         had previously investigated Ms. Soliz several times for not supervising her children

                       properly.          Marks         older brother          was    in   jail    at   the    time and one of the reasons that Mark
                       had gotten              in   trouble with the          law was because he was fending                           for   himself with       no

                       responsible              adult   to    supervise       him.




                D.    Current type of                 legal   custody



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                      Current Legal             Status              PMC/        Rts   Not Term

                      Legal       Status    Date                    9/23/1997


                E.    Next Ch.263 review date

                       March        2000

                F.    Any     other   scheduled               court   hearings

                       No


          II.   Services to the Child


                A.    Date of Childs Service Plan being reviewed                                        for this        meeting

                       10-20-99


                B.    Childs Permanency                       Plan

                 1.     1.    Long-range               permanency            goal Independent Living- Aging Out of Care




                                                                                                        dismiss TDPRS
                                                                  achieve                                                               Conservatorship                 1/27/2000
                 2.    2.     Proposed date                  to                 permanency




                 1.    3.     Date    that       permanent            placement             is   expected          to   be achieved           i.e.    placement         into   own
                            home      relative         home         or adoptive            home01-27-00



                C.    Continued Need                   for   Placement
                                                                                                 meet                              needs                child             What
                 2.     1.
                              Why     is    placement               appropriate            to           the individual                         of the              i.e.


                       are             the services                offered       by the caregiver                  how does        this   placement maintain               sibling


                        r


                 3.                    relationships                 how     are childs           level   of care service               needs        being   addressed etc.


                                                        N/A-       Mark    is   currently         on an unauthorized leave.
                                                        Mark       continues          to   need     placement              due    to   not having       completed         his


                              education           or                                  a    GED      Program.


                       2.    Why      does the          child      continue       to       need    out of      home placement                 i.e.    foster      care    relative


                            care etc..           example             parents          cannot provide a safe environment or childs aggressive

                        behavior       is       prohibiting         an adoptive or               relative      placement
                                                                                      N/A-       Mark     is   currently        on an unauthorized leave.
                                                                                      Mark        continues         to   need      placement due             to   not   having

          completed           his   education or                                                                                                 a    GED    Program




                             Extent        of                         with      the childs service                                      the   child    in   resource classes
                                                compliance                                                         plan.           is
                        3.                                                                                                 i.e.




                                                                      N/A-       Mark       is   currently         on an unauthorized leave.                   Mark has

          however            completed           the                                                                               PAL program


                       4.    Extent        of progress             on the childs service plan i.e.                          are the       resource classes              benefiting

                            the   child

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                                                                             N/A-   Mark   is   currently        on an unauthorized leave.                Mark     has
            however                  completed       the                                                                        PAL program. He             will   be 18   in


            1/27/2000.




                                5.   Are there any additional recommendations                               to    help    achieve     the childs         permanency
                                                  goal
                                                               N/A-   Mark     is   currently    on an unauthorized leave.
                                                               Mark has completed               the   PAL program however has                  not        completed his
           education.                                                                                 Should he return          to    foster care        he will need to be

           enrolled             in    a   GED     Program




           Ill.   Conclusion


                  A.   Other Comments




                  B.    Long          Term Care           in   Adulthood        only    for   youth who          are     16 or older and have            special

                                     characteristics            such as physical or mental disabilities.


                  Is   it   a    possibility       this   youth       will   need a guardian as an adult                        Yes                No         X


                  If   No       disregard          the following          question


                                 Are there any relatives who might be                            willing    to


                                 assume guardianship                                                                            Yes                No


                                NOTE             Referral      to   APS      must be made before the childs 17th birthday                           if   there     is   no one
                                who       will   assume         guardianship.




          Third Party                 Convener                 BarneyHisanaga              LMSW ACP                      Date   for   next   PPT          4/2000




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                                                                                            Childs        Name       Mark     A   Soliz        DOB       1/27/1982




                                                                       Childs Service              Plan
                                                              PLACEMENT INFORMATION

  CASE PLAN    -   PART TWO


  1.        PLACEMENT

                                          Date Placed         2/17/1994                                   Emergency Placement           N

                             Date Parents       Notified                                           Date   of   Preplacement   Visit




                                    Placement      Type       JPC S.O.      use   only

                               Living   Arrangement           Residential   Treat

                                    Placing     Agency
                                        Facility   Name BUCKNER             BAPTIST       CHILDR
                                          Facility     Nbr 23013960
                               Person     Placed     With
                                    Contact       Person


                               Residence       Address 5200 S BUCKNER                BLVD                              Telephone        512   424-6700

                                                              DALLAS       Texas 752272006                                        Ext

                                                              DALLAS

                                     Address       Notes


                        Medicaid   Addr   if   different
                                                              401   W   SANFORD      ST

                                                              ARLINGTON       Texas 76011-7087

                                                              TARRANT




                             Other Placement           Info




                   Dt   Removed    From    This    Plcmt      11/27/1995

                                   Removal      Reason        Other

           Continued Contact        Recommended               Y
                              Removal     Comments




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                                                Childs Service     Plan
                                      PLACEMENT INFORMATION



  Ill.      APPROVAL

           Approved    By
           Approved    Date




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                                                                                         Childs Service                             Plan
                                                                        PLACEMENT INFORMATION

 IV.       DISCUSSIONS               AND DOCUMENTATION


                          Discussion           with the       Child
            Date




                          Describe                                                                                                                                Describe   the   childs                      of   and
                                         your discussion               with the          child       about the         reasons     for   this   placement.                                  understanding

                                                                                              the                                                                                                 the childs   removal
                          response        to   the    placement.         If   this       is              initial   placement       describe      your   discussion     of the    reasons    for


                          as well




                          Discussion           with the       Caregiver              -   of   all    information           known   about the       childs social      and    psychological        history   and needs
            Date
                          as   it   relates    to   the   childs care         and management.



                          Medical       History           and Needs           or     MEDICAL AND DEVELOPMENTAL                                     HISTORY AND PHYSICAL EXAMINATION                             Form
            Date
                                                                  records
                      I

                          including      immunization                              given            to    caregiver.




                          Educational           History       and      Needs             or EDUCATION                      LOG   given     to caregiver      if   appropriate.
            Date
                          N/A Y


                          School        Records           given   to   caregiver               if   appropriate.
            Date
                          N/A       Y



                          Childs Service              Plan    updated              if    necessary                 given   to caregiver.
           FD   ate




                          If   the caregiver         has    not   been        given           any    of the        above documents              explain




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                                                                    Childs Service          Plan

                                                           PLACEMENT INFORMATION

 CASE PLAN    -   PART TWO


 1.        PLACEMENT
                                         Date Placed       11/27/1995                              Emergency    Placement       N

                            Date Parents       Notified                                     Date   of   Preplacement   Visit




                                   Placement       Type    JPC S.O. use only
                                                                         Treat
                              Living   Arrangement         Residential

                                   Placing     Agency
                                       Facility   Name BUCKNER           BAPTIST   CHILDR
                                         Facility      Nbr 23013960
                              Person     Placed     With
                                   Contact      Person


                              Residence       Address 5200 S BUCKNER BLVD                                       Telephone       512   424-6700

                                                           DALLAS       Texas 752272006                                   Ext

                                                           DALLAS

                                   Address        Notes


                       Medicaid   Addr   if   different
                                                           401   W    SANFORD ST

                                                           ARLINGTON       Texas 76011-7087

                                                           TARRANT




                            Other Placement Info




                  Dt   Removed    From This Plcmt          6/5/1996

                                  Removal      Reason      Other

           Continued Contact       Recommended             Y

                             Removal      Comments




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                                                               Childs   Name     Mark   A   Soliz   DOB   1/27/1982




                                                Childs Service     Plan
                                      PLACEMENT INFORMATION



  III.      APPROVAL
           Approved    By
           Approved    Date




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                                                                              Childs Service                         Plan

                                                                PLACEMENT INFORMATION

 IV.      DISCUSSIONS             AND DOCUMENTATION


                      Discussion           with the   Child
           Date




                      Describe                                 with    the                about the      reasons                                  Describe   the childs understanding         of   and
                                      your discussion
                                                                              child                                 for this    placement.

                                                                                   the               placement     describe      your discussion       of the    reasons   for   the   childs removal
                      response        to   the placement.        If   this    is           initial


                      as well




                                                                                                             known about       the childs social      and                    history     and needs
                      Discussion           with the   Caregiver           -   of   all    information                                                        psychological
           Date
                      as    it   relates to the childs care           and     management.



                      Medical                  and    Needs or            MEDICAL AND DEVELOPMENTAL                                HISTORY AND PHYSICAL EXAMINATION                            Form
                                     History
           Date
                                      immunization        records                        to caregiver.
                  I
                      including                                         given




                      Educational          History    and Needs               or     EDUCATION               LOG   given   to caregiver      if   appropriate.
           Date
                      N/A Y


                      School        Records     given     to   caregiver            if   appropriate.
           Date
                      N/A Y


                      Childs        Service    Plan updated             if    necessary              given to caregiver.
           Date




                       If   the caregiver     has   not    been       given        any    of the     above    documents        explain




                                                                                                       595
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